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                                    14246



                            1=;68C$4=6<>A<99@$
                             352$1B;<7<A$),$
 $                      $
Case 1:16-cv-00375-AJT-JFA Document 306-28 Filed 03/12/19 Page 2 of 100 PageID#
                                    14247




  "#$%&'#()* +, "(-+*./ 01 2#+.3
   45&(6%$*57 85)#5&5%*$*(95
                               4$*5; "#$%& '( )*'+
                      <$&5; ,- .#/0( 12 #-3 454 6#7-1( 12 #-3




     0=$%5* 45)+&
     0.+%5; +++389939;<;
     >-$(=;; 2$#=>%$?@2>A@-#=12/1@B>3%BC
     ???1)=$%5*75)+&1'+-



         DEFGHDIH, JEKFL F,MEFLINO P INL,FMF,LQLIEN P LFIQG R,FSIJ,R
Case 1:16-cv-00375-AJT-JFA Document 306-28 Filed 03/12/19 Page 3 of 100 PageID#
                                    14248
                                   8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ   " #" $% &'

                                                  1CEYDFOJY CE ALKFU #> $+#)
                                                          !                                                "
!                  +,-./0 1.2./1 0-1.3-4. 45+3.                #        ,- - .,/,01 .2
"                /21./3, 0-1.3-4. 56 7-38-,-2                  $ 30 4.5,67 37 85. -6,9089772;
#                        29/;2,03-2 0-7-1-5,                   "    <,=.9/ ,44,2> .2?@9/.
$    < < < < < < < < < < < < =
                                                               %    6.0, A,2/9> .2?@9/.
%      2,21 /9 >20?@ /.        A
                                                               &    1,/36B0 53A./> .2?@9/.
&      29B@                    A
                                                               '    1CDEFGH CE ,IJKGFLEM9NHLIGF /JHLOGCEN
'                CDEFGHFIIJ@   A   4EJK ,LB !&<MN<**#'%
(          NB                  A
                                                               (    %&" 0JP QJKNJR ,SJEDJ> 2.
)      4>239/1 >B O2P9/@       A
                                                               )    TLNUGEVOCE> =W1W $+++"
!*     0FQKMHLQ LI HRK         A                               *    $+$M(%$M'%$"
!!     .KQQLQFJH 1MQKKGFGS     A                               #+
!"     4KGHKQT FG RFJ          A                               ##
!#     LIIFMFED MEUEMFHV@      A                               #$ 30 4.5,67 37 85. =.7.0=,08 15,/6.2 5W
!$     KH EDB@                 A                               #" X,46.;
!%               0KIKGWEGHJB   A                               #% ,08309, X30X36B> .2?@9/.
!& < < < < < < < < < < < < =
                                                               #& @EGOJY 2OLOJN ,OOCKEJRZN 3[[GFJ
!'     7FWKLHEUKW 0KULJFHFLG LI .KQQLQ 1MQKKGFGS 4KGHKQ
                                                               #' $#++ QLIGJNCE ,SJEDJ
!(      PV EGW HRQLXSR FHJ 0KJFSGEHKW 3KUQKJKGHEHFNK
                                                               #( ,HJ\LEYKGL> ]GKVGEGL $$"#%M&(+$
!)                      .-Y5.>? CB 835>
"*                      ZEJRFGSHLG@ 0B4B
                                                               #) (+"M$**M"(**
"!                 .RXQJWEV@ YEQMR !@ "*!(
                                                               #*
""                         )A*' EB[B                           $+
                                                               $#
                                                               $$
                                                          $                                                %
#     =J^CNGOGCE C[ 89A385B -W </35> UJHY LO OUJ               # ,--.,/,01. 130890@.=;
$ C[[GFJN C[;                                                  $     ,AB -3T.66> .2?@9/. `SGL ^UCEJa
"                                                              "     @W2W =.-,/8A.08 37 Q@2891.
%                                                              %     "#+ 0JP 4JKE ,SJEDJ
&        =J^LKOIJEO C[ 5CIJHLEY 2JFDKGOR                       &     7JYJKLH 4DGHYGEV> 2DGOJ )++
'        $+ ALNNLFUDNJOON ,SJEDJ> 0WTW                         '     /LHJGVU> 0CKOU 1LKCHGEL $('+#
(        TLNUGEVOCE> =W1W $+++#                                (     $+$M&#%M*)"'
)                                                              )
*                                                              *     =.0, AW /385> .2?@9/.
#+                                                             #+    @W2W =.-,/8A.08 37 Q@2891.
##                                                             ##    $+ ALNNLFUDNJOON ,SJEDJ> 0WTW
#$                                                             #$    /CCI (##$
#" -DKNDLEO OC 0COGFJ> _J[CKJ 1LKHL 6W ,EYKJPN>                #"    TLNUGEVOCE> =W1W $+&$*M$+**
#% 0COLKR -D_HGF GE LEY [CK OUJ =GNOKGFO C[ 1CHDI_GLW          #%
#&                                                             #&    Q.0097./ </..04,0=> .2?@9/.
#'                                                             #'    X.]90 53@695,0> .2?@9/. `SGL ^UCEJa
#(                                                             #(    @W2W =J^LKOIJEO C[ QDNOGFJ
#)                                                             #)    '+# #$OU 2OKJJO> 2CDOU
#*                                                             #*    ,KHGEVOCE> ]GKVGEGL $+&*)
$+                                                             $+
$# QC_ 0CW; #)++#%                                             $#
$$ -LVJN; # M ")*                                              $$
                                                        -6,0.8 =.-32
                                           )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                    14249
                      8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ            ( #) $% *'

                                     1CEYDFOJY CE ALKFU #> $+#)
                                               &                                                       (
# ,--.,/,01.2 `130890@.=a;                         #             -M/M3M1M.M.M=M9M0M<M2
$     Q,BA. X,083/> .2?@9/.                        $
"     B.3/, -,/X> .2?@9/.                          "         85. ]9=.3</,-5./; 5JKJ _JVGEN YGNc
%     @W2W =J^LKOIJEO C[ QDNOGFJ                   % EDI_JK CEJ GE OUJ SGYJCOL^JY YJ^CNGOGCE C[ 8GICOUR
&     *"& -JEENRHSLEGL ,SJEDJ> 0WTW                & -LDH <KCU GE OUJ ILOOJK C[ .HULYR> JO LHW SJKNDN
'     2DGOJ #+#%+                                  ' XL_HJ> JO LH> GE OUJ =GNOKGFO 1CDKO [CK OUJ .LNOJKE
(     TLNUGEVOCE> =W1W $+&"&                       ( =GNOKGFO C[ ]GKVGEGL> 1LNJ 0CW #' 1]M"(&W 8CYLRZN
)     $+$M"$%M(#*%                                 ) YLOJ GN ALKFU #> $+#)> LEY OUJ OGIJ CE OUJ SGYJC
*   ,623 -/.2.08;                                  * ICEGOCK GN *;+( LWIW 8UJ SGYJCVKL^UJK [CK OCYLR GN
#+    X.]90 43<@1X9> 8JKKCK 2FKJJEGEV 1JEOJK       #+ QCJ =CECUCJ KJ^KJNJEOGEV -HLEJO =J^CNW 8UGN
##    6LP @EGO                                     ## SGYJCOL^JY YJ^CNGOGCE GN OLcGEV ^HLFJ LO $+
#$    A.6922, -,159X,/,> 749                       #$ ALNNLFUDNJOON ,SJEDJ> 0CKOUPJNO> TLNUGEVOCE> =W1W
#"    Q32.-5 16,/X> @W2W 1DNOCIN LEY 4CKYJK        #"        TCDHY FCDENJH ^HJLNJ SCGFJMGYJEOG[R
#%    -KCOJFOGCE                                   #% OUJINJHSJN LEY NOLOJ PUCI OUJR KJ^KJNJEOd
#&    Q3. =30353.> ]GYJCVKL^UJK                    #&        A/W ,44,2; 8UGN GN <LYJGK ,__LNW 9 LI
#'                                                 #' UJKJ [CK OUJ ^HLGEOG[[NW
#(                                                 #(        A2W X30X36B; ,EOCEGL XCEcCHR> [CK OUJ
#)                                                 #) =J^LKOIJEO C[ QDNOGFJW
#*                                                 #*        A/W 43<@1X9; XJSGE 4CVDFcG> 8JKKCK
$+                                                 $+ 2FKJJEGEV 1JEOJK 6LP @EGOW
$#                                                 $#        A2W </..04,0=; QJEEG[JK <KJJE_LEY>
$$                                                 $$ 8KLEN^CKOLOGCE 2JFDKGOR ,YIGEGNOKLOGCEW
                                               '                                                       )
#            1 3 0 8. 0 82                         #         A2W X,083/; QLRIJ XLEOCK> 749W
$  .e,A90,8930      37 89A385B -W </35      -,<.   $         A2W -,/X; BJCKL -LKc> 821W
" 4R AKW ,__LN                    (                "         A2W -,159X,/,; AJHGNNL -LFUGcLKL> 749W
%                                                  %         A/W 16,/X; QCNJ^U 1HLKc> @W2W 1DNOCIN
&          . e 5 9 4 9 82                          & LEY 4CKYJK -KCOJFOGCEW
'        `,OOLFUJY OC OKLENFKG^Oa                  '         A2W /385; =JEL /COU> =J^LKOIJEO C[
(   =.-3298930    .e59498            -,<.          ( QDNOGFJW
) , MM 3SJKSGJP C[ TLOFUHGNOGEV -KCFJNN "$&        )         A2W 53A./; ,EY 1LKCHRE 5CIJK> [CK OUJ
*      LEY -KCFJYDKJN                              * ^HLGEOG[[NW
#+ 4 MM =J[JEYLEONZ 3_fJFOGCEN OC    "&+           #+        85. ]9=.3</,-5./; 8UJ FCDKO KJ^CKOJK
##     9EOJKKCVLOCKGJN                             ## OCYLR GN 1LKHL ,EYKJPN KJ^KJNJEOGEV -HLEJO =J^CNW
#$                                                 #$        TCDHY OUJ FCDKO KJ^CKOJK ^HJLNJ NPJLK GE
#"                                                 #" OUJ PGOEJNNd
#%                                                 #% 8UJKJD^CE>
#&                                                 #&            89A385B -W </35>
#'                                                 #' PLN FLHHJY LN L PGOEJNN LEY> L[OJK _JGEV YDHR NPCKE
#(                                                 #( _R OUJ ECOLKR> PLN J\LIGEJY LEY OJNOG[GJY LN
#)                                                 #) [CHHCPN;
#*                                                 #*        .e,A90,8930 4B 13@02.6
$+                                                 $+            73/ -6,9089772
$#                                                 $#        4B A/W ,44,2;
$$                                                 $$ ?W <CCY ICKEGEV> AKW <KCUW
                                         -6,0.8 =.-32
                            )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                    14250
                         8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                + #, $% "('

                                        1CEYDFOJY CE ALKFU #> $+#)
                                                     *                                                     ##
"      &' ())* +),-.-/'                                   #      ?W TUJE PLN OUJ 8JKKCK 2FKJJEGEV 1JEOJK
$      ?W ,I 9 ^KCECDEFGEV RCDK ELIJ FCKKJFOHRd           $ FKJLOJYd
#      &' 0123 2.,'                                       #      &' 46 =72 >,1761* .- 8761 $??#'
%      ?W AR ELIJ GN <LYJGK ,__LNW 9 LI LE                %      ?W TUC FKJLOJY OUJ 8JKKCK 2FKJJEGEV 1JEOJKd
& LOOCKEJR KJ^KJNJEOGEV OUJ ^HLGEOG[[N GE OUGN LFOGCEW    &          A2W X30X36B; 3_fJFOGCEW ]LVDJW
' 8CYLR 9 LI VCGEV OC OLcJ RCDK YJ^CNGOGCEW 4J[CKJ 9      '          85. T980.22; 8UJ 821 PLN FKJLOJY _R OUJ
( _JVGE gDJNOGCEGEV RCD> 9 LI VCGEV OC ^KCSGYJ LE         ( LOOCKEJR VJEJKLH LO OULO OGIJW
) CSJKSGJP OULO 9 LI NDKJ RCDK LOOCKEJRN ULSJ LHKJLYR     )          4B A/W ,44,2;
* ^KCSGYJY> _DO 9 [JJH C_HGVLOJY OC ^KCSGYJ ECPW =C       *      ?W TUR YGY OUJ LOOCKEJR VJEJKLH FKJLOJ OUJ
#+ RCD DEYJKNOLEY OULO RCDK C_HGVLOGCE OCYLR GN OC OJHH   #+ 8JKKCK 2FKJJEGEV 1JEOJKd
## OUJ OKDOUd                                             "" &' @A1 766),-19 /1-1,78 =72 ,17>6.-/ 6) 6A1
"$ &' 4 *)'                                               "$ B126 )C +9 D-*1,267-*.-/ 6) EFGHIJ II E)+187-* ),
#" ?W ,EY YDKGEV OUJ FCDKNJ C[ OUJ YJ^CNGOGCE>            "# EFGHIJ3 =A.>A =72 7 K,12.*1-6.78 ),*1, II 7-
#% 9 PGHH _J LNcGEV RCD gDJNOGCENW ,EY _JFLDNJ IR         "; 1L1>D6.M1 ),*1, *.,1>6.-/ 6A1 766),-19 /1-1,78 6)
#& PCKYN LEY RCDK PCKYN LKJ _JGEV OR^JY> 9 PGHH LNc       "< >)-2)8.*761 6A1 61,,), =76>A 8.26'
#' OULO JSJE G[ RCD cECP PULO OUJ gDJNOGCE GN VCGEV OC    #' ?W =CJN 52-=M' VCSJKE OUJ C^JKLOGCE C[ OUJ
#( _J OULO RCD PLGO DEOGH OUJ SJKR JEY C[ IR gDJNOGCE     #( 8JKKCK 2FKJJEGEV 1JEOJKd
#) OC KJN^CEYW                                            #)         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
"% &' 51,67.-89'                                          #* HJVLH FCEFHDNGCEW
$+ ?W 8ULOZN ECO HGcJ ECKILH FCESJKNLOGCENW 2C            $+         85. T980.22; 9 LI ECO NDKJ PULO RCD IJLE
$# DE[CKODELOJHR> YJN^GOJ CDK _JNO J[[CKON> PJ PGHH CE    $# _R VCSJKEW
$$ CFFLNGCE GEOJKKD^O JLFU COUJKW ,EY 9 L^CHCVGhJ GE      $$         4B A/W ,44,2;
                                                     #+                                                    #$
# LYSLEFJ [CK LER GEOJKKD^OGCEN 9 ILcJW 4DO HJOZN         #      ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK C^JKLOJ
$ fDNO YC CDK _JNO OC ECO GEOJKKD^O JLFU COUJKd           $ GE LFFCKYLEFJ PGOU 52-=M'd
#     &' OC >)D,21'                                       "         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
%     ?W 9N OUJKJ LER KJLNCE PUR RCD LKJ DEL_HJ OC        % HJVLH FCEFHDNGCEW
& ^KCSGYJ OKDOU[DH OJNOGICER OCYLRd                       &         85. T980.22; 9 OUGEc GO C^JKLOJN
J     &' P)'                                              ' FCENGNOJEOHR PGOU 52-=M'W 4DO 9 PCDHY NLR OULO
(     ?W TULO GN RCDK DEYJKNOLEYGEV C[ PUR RCD LKJ        ( OUJKJ LKJ ILER COUJK CKYJKN LEY ^CHGFGJN> ^KCFJYDKJN
) UJKJd                                                   ) OULO LHNC VCSJKE PULO PJ YCW
%     &' 4 7+ A1,1 6) K,)M.*1 6126.+)-9 )- B1A78C         *         4B A/W ,44,2;
"? )C 6A1 @1,,), F>,11-.-/ 51-61, 7B)D6 @F& K,)>1*D,12    #+ ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK C^JKLOJ
"" 7-* 7>6.M.6.12'                                        ## GE LER ILEEJK OULOZN GEFCENGNOJEO PGOU 52-=M'd
#$ ?W BCD DEYJKNOLEY OULO OJNOGICER RCD ^KCSGYJ           #$        A2W X30X36B; 3_fJFOGCEW ]LVDJW
#" OCYLR GN _GEYGEV LN OC OUJ LVJEFRd                     #" 3_fJFOGCE FLHHN [CK L HJVLH FCEFHDNGCEW
"; &' 4 *)'                                               #%        85. T980.22; 0CO OULO 9 FLE OUGEc C[W
#& ?W <KJLOW TULO GN OUJ 8JKKCK 2FKJJEGEV                 #&        4B A/W ,44,2;
#' =LOL_LNJd 9 LI NCKKRW TULO GN OUJ 8JKKCK 2FKJJEGEV     #' ?W 9N GO OUJ 8JKKCK 2FKJJEGEV 1JEOJKZN
#( 1JEOJKd                                                #( OJNOGICER OCYLR OULO 52-=M' VDGYJN PULO 8JKKCK
"N &' @A1 @1,,), F>,11-.-/ 51-61, .2 7-                   #) 2FKJJEGEV 1JEOJK YCJNd
"% .-61,7/1->9 >1-61, 1-6.69 7*+.-.261,1* B9 6A1 QR4      #*        A2W X30X36B; 3_fJFOGCEW
$? BD6 )- B1A78C )C 6A1 S'F' ()M1,-+1-6 6) +7.-67.- 6A1   $+ AGNFULKLFOJKGhJN  ^KGCK OJNOGICERW 1LHHN [CK L HJVLH
$" 7C),1+1-6.)-1* @FHR3 )6A1,=.21 T-)=- 72 6A1 61,,),     $# FCEFHDNGCEW
$$ =76>A 8.26 C), 6A1 S'F' ()M1,-+1-6'                    $$        85. T980.22; 8UJ 52-=M'> LN ^KJSGCDNHR
                                             -6,0.8 =.-32
                                )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                    14251
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  & #"+ $% "-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #"                                                       #&
# NOLOJY GE IR ^KJSGCDN LENPJK> JNOL_HGNUJY LEY VLSJ     "     &' R1>7D21 .- 6A1 21,M.>1 )C )D, )6A1,
$ KGNJ OC GOW 4DO OUJKJ ULSJ _JJE ILER ND_NJgDJEO        $ K7,6-1,23 B)6A C,)+ 6A1 -)+.-76.)-2 7-* 6A1
" J\JFDOGSJ CKYJKN LEY COUJK YGKJFOGCE [KCI OUJ          # 1->)D-61, 2.*1 )C 6A.-/23 =1 =),T 6) C7>.8.6761
% LOOCKEJR VJEJKLH OULO ICYG[GJN OULOW 2C 9 OUGEc        ; 6A1., +.22.)-' OD, K)8.>.12 7-* K,)>1*D,12
& OUJKJZN L PUCHJ FCENOJHHLOGCE C[ LDOUCKGOGJN OULO      < /1-1,7889 7,1 /)M1,-1* B9 =A761M1, 6A1 >D,,1-6 V76>A
' VCSJKE PULO PJ YCW                                     J W.26.-/ (D.*7->1 .23 =A.>A .2 K,)+D8/761* B9 7-
(           4B A/W ,44,2;                                U .-61,7/1->9 II 9)D T-)=3 6A1 V76>A W.26.-/ &*M.2),9
)       ?W =CJN LECOUJK LVJEFR FCEOKCH OUJ 8JKKCK        N 5)D->.83 =A.>A >1,67.-89 .->8D*12 +7-93 +7-9 )6A1,
* 2FKJJEGEV 1JEOJKd                                      % K7,6.12 )6A1, 6A7- 6A1 QR4' (1-1,78893 6A76 >)D->.8
#+          A2W X30X36B; 3_fJFOGCEW ]LVDJW               "? =),T2 6A,)D/A >)-21-2D2' 4C 6A1,1 .2 D86.+76189 7
##          85. T980.22; ,VLGE> PULO YC RCD IJLE _R      "" *.27/,11+1-63 6A1- 6A76X2 /).-/ 6) B1 A7-*81*
#$ FCEOKCHd                                              "$ 6A,)D/A )6A1, K,)>12212' &-* 6A1 QR43 )C >)D,213 .2
#"          4B A/W ,44,2;                                "# 782) K7,6 )C 6A76'
#% ?W 1LE LECOUJK [JYJKLH VCSJKEIJEO LVJEFR              #% ?W ,N LE LNGYJ> AKW <KCU> LO OGIJN RCD PGHH
#& OJHH OUJ 8JKKCK 2FKJJEGEV 1JEOJK PULO OC YCd          #& UJLK IJ NLR ,KGhCELW ,O OGIJN RCD PGHH UJLK IJ NLR
#'          A2W X30X36B; 3_fJFOGCEW ]LVDJW               #' 9EYGLELW 9 LI fDNO ILcGEV ECOJN OC IRNJH[ GE OUJ
#(          85. T980.22; 8UJ 8JKKCK 2FKJJEGEV 1JEOJK     #( OKLENFKG^OW 2C ^HJLNJ J\FDNJ IJW TULO LVJEFGJN LKJ
#) GN LE GEOJKLVJEFR _CYR> PUGFU PCKcN OC [LFGHGOLOJ     #) L ^LKO C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
#* OUJ IGNNGCE C[ ILER COUJK LVJEFGJNW 2C OC NLR OULO    #*        A2W X30X36B; 3_fJFOGCEW , FCI^HJOJ
$+ FLE LECOUJK LVJEFR CKYJK DN MM GN OULO PULO RCD LKJ   $+ LENPJK OC OULO gDJNOGCE PCDHY GI^HGFLOJ HLP
$# NLRGEVd 8JHH DN OC YC NCIJOUGEV PJ YCEZO PLEO OC      $# JE[CKFJIJEO LEY ^COJEOGLHHR NOLOJ NJFKJON
$$ YCd                                                   $$ ^KGSGHJVJNW 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO
                                                  #%                                                       #'
#           4B A/W ,44,2;                                # RCD FLE PGOUCDO PLGSGEV JGOUJK C[ OUCNJW
$       ?W   2DKJW 6JO IJ LNc RCD OULOW 1LE LECOUJK      $          85. T980.22; 2DKJW 9O GN _LNGFLHHR ILYJ
" LVJEFR FCIILEY OUJ 8JKKCK 2FKJJEGEV 1JEOJK OC YC       " D^ C[ LVJEFGJN OULO LKJ GESCHSJY GE JGOUJK
% NCIJOUGEVd                                             % ECIGELOGEV GYJEOGOGJN OC OUJ 8JKKCK 2FKJJEGEV
&           A2W X30X36B; 3_fJFOGCEW ]LVDJW               & =LOL_LNJ CK OULO OUJE NFKJJE [KCI CDK YLOL_LNJW
'           85. T980.22; 8UJ 8JKKCK 2FKJJEGEV 1JEOJK     ' 8ULO PCDHY FJKOLGEHR GEFHDYJ CDK FCHHJLVDJN [KCI
(  GN LYIGEGNOJKJY  _R OUJ 749> NC OULO CDK FULGE C[     ( _COU C[ OUCNJ ^CCHN C[ CKVLEGhLOGCENW 9O YCJN
) FCIILEY VCJN OUKCDVU OUJ 749W                          ) GEFHDYJ> C[ FCDKNJ> 82,W 9O YCJN GEFHDYJ OUJ 749W
*           4B A/W ,44,2;                                *          4B A/W ,44,2;
#+ ?W 2C OUJ 749 FLE OJHH OUJ 8JKKCK 2FKJJEGEV           #+ ?W BCD FLE VC LUJLYW
## 1JEOJK PULO OC YCd                                    "" &' &-* .6 .->8D*123 C), .-267->13 +1+B1,2 )C
#$          A2W X30X36B; 3_fJFOGCEW                      "$ 6A1 .-6188./1->1 >)++D-.69' RD6 4 >7-X6 /16 .-6)
#" AGNFULKLFOJKGhJY ^KGCK OJNOGICERW                     "# +),1 *167.8 72 6) 2K1>.C.>2 =.6A 6A76'
#%          4B A/W ,44,2;                                #% ?W 9 LI VCGEV MM 9 YCEZO OUGEc RCD LENPJKJY
#& ?W 9 PGHH PGOUYKLP IR gDJNOGCEW 1LE OUJ 749           #& OUJ gDJNOGCEW TULO LVJEFGJN FCI^KGNJ OUJ TLOFU
#' OJHH OUJ 8JKKCK 2FKJJEGEV 1JEOJK PULO OC YCd          #' 6GNOGEV ,YSGNCKR 1CDEFGHd
#(          A2W X30X36B; 3_fJFOGCEW ]LVDJW <C            #(         A2W X30X36B; 9 LI VCGEV OC LNNJKO OUJ
#) LUJLYW                                                #) NLIJ C_fJFOGCE OULO L FCI^KJUJENGSJ LENPJK OC OULO
#*          85. T980.22; <JEJKLHHR> RJNW                 #* gDJNOGCE PCDHY GI^HGFLOJ OUJ HLP JE[CKFJIJEO
$+          4B A/W ,44,2;                                $+ ^KGSGHJVJW 9 _JHGJSJ OUJ PGOEJNN ULN LHKJLYR
$# ?W -HJLNJ JHL_CKLOJ CE PUR RCD LOOLFU OUJ             $# LENPJKJY OC OUJ J\OJEO OULO UJ FLE PGOUCDO PLGSGEV
$$ gDLHG[GFLOGCE VJEJKLHHR OC RCDK LENPJKW               $$ OUJ ^KGSGHJVJW 8C OUJ J\OJEO OUJKJ GN LEROUGEV
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   ) #". $% (/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #(                                                         #*
# [DKOUJK OC LYY> RCD FLE LENPJKW 3OUJKPGNJ> 9 PGHH       #           A2W X30X36B; 9O ULN _JJE LNcJY LEY
$ [DKOUJK C_fJFO OULO OUJ gDJNOGCE ULN _JJE LNcJY LEY     $ LENPJKJYW 9 PGHH NOLOJ OULO C_fJFOGCE LEY MM
" LENPJKJYW                                               "           4B A/W ,44,2;
%          A/W ,44,2; QDNO NC OULO 9 MM 9 L^CHCVGhJ       %      ?W 9N OUJ 8JKKCK 2FKJJEGEV 1JEOJK L IJI_JK
& [CK GEOJKKD^OGEVW QDNO NC OUJ KJFCKY GN FHJLK> LKJ      & C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
' RCD LNNJKOGEV OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY OUJ     '           A2W X30X36B; 2LIJ C_fJFOGCENW BCD FLE
( NOLOJ NJFKJON ^KGSGHJVJ CSJK OUJ ELIJN C[ OUJ           ( LENPJKW
) LVJEFGJN OULO FCI^KGNJ OUJ TLOFU 6GNOGEV ,YSGNCKR       )           85. T980.22; 9 NLGY LHKJLYR RJNW
* 1CDEFGHd                                                *           4B A/W ,44,2;
#+         A2W X30X36B; 3SJK L FCI^KJUJENGSJ HGNO         #+ ?W 9N OUJ 749 L IJI_JK C[ OUJ TLOFU 6GNOGEV
## C[ LHH LVJEFGJN> RJNW                                  ## ,YSGNCKR 1CDEFGHd
#$         A/W ,44,2; 4DO OUJKJ LKJ NCIJ LVJEFGJN         #$          A2W X30X36B; 9 LI VCGEV OC LVLGE LNNJKO
#" OULO RCD LKJ ECO LNNJKOGEV OUJ HLP JE[CKFJIJEO LEY     #" OUJ NLIJ ^KGSGHJVJNW , FCI^KJUJENGSJ HGNO C[
#% NOLOJ NJFKJON ^KGSGHJVJd                               #% JSJKRCEJ CE OUJ ,YSGNCKR 1CDEFGH GEOJKLVJEFR FCDEFGH
#&         A2W X30X36B; 9 LI LNNJKOGEV GO CSJK L          #& PCDHY GI^HGFLOJ OUJ NOLOJ NJFKJO MM ^COJEOGLHHR OUJ
#' FCI^KJUJENGSJ HGNOW                                    #' NOLOJ NJFKJON ^KGSGHJVJ LEY OUJ HLP JE[CKFJIJEO
#(         A/W ,44,2; ,EY GOZN MM OUJ LNNJKOGCE GN        #( ^KGSGHJVJW TJ FLEZO ^KCFJJY LVJEFR _R LVJEFR GE
#) C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY OUJ NOLOJ         #) OUGN ILEEJK> _JFLDNJ OC YC NC PCDHY DHOGILOJHR
#* NJFKJON ^KGSGHJVJd                                     #* KJNDHO GE OULO FCI^KJUJENGSJ HGNOW
$+         A2W X30X36B; ,EY ^COJEOGLHHR OUJ NOLOJ         $+          4B A/W ,44,2;
$# NJFKJONW                                               $#     ?W    9 LI VCGEV OC LNc MM
$$         4B A/W ,44,2;                                  $$          A2W X30X36B; 5CPJSJK> 9 PGHH LHHCP OUJ
                                                  #)                                                         $+
#      ?W 9N OUJ 8JKKCK 2FKJJEGEV 1JEOJK L MM YC          # PGOEJNN OC LENPJK OUJ gDJNOGCE OC OUJ J\OJEO OULO UJ
$ RCD FLHH OUJ LVJEFR IJI_JKN C[ OUJ TLOFU 6GNOGEV        $ _JHGJSJN UJ FLE PGOUCDO PLGSGEV OUCNJ ^KGSGHJVJN LN
" ,YSGNCKR 1CDEFGHd TULOZN OUJ HLEVDLVJ OULO OUJ          " OC OUGN ^LKOGFDHLK LVJEFRW
% GEOJKMLVJEFGJN DNJd                                     %           A/W ,44,2; 9 PGHH fDNO LNc OULO OUJ
<      &' 0123 4 =)D8* 279 +1+B1,2'                       & YJ[JEYLEOZN FCDENJH ECO JEVLVJ GE N^JLcGEV
'      ?W 9N OUJ 8JKKCK 2FKJJEGEV 1JEOJK L IJI_JK         ' C_fJFOGCENW QDNO ILcJ OUJ C_fJFOGCENW 9[ RCD PLEO
( C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd                  ( OC GENOKDFO UGI ECO OC LENPJK> RCD LKJ [KJJ OC YC
)          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR GO         ) OULOW
* FLHHN [CK GE[CKILOGCE GE OUJ MM OULO PCDHY [LHH         *           4B A/W ,44,2;
#+ PGOUGE OUJ ^LKLIJOJKN C[ OUJ HLP JE[CKFJIJEO>          #+ ?W 9N OUJ 749 L IJI_JK C[ OUJ TLOFU 6GNOGEV
## ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW TJ FLEECO VC      ## ,YSGNCKR 1CDEFGHd
#$ LVJEFR _R LVJEFR _JFLDNJ OULO PCDHY DHOGILOJHR         #$          A2W X30X36B; ,HH OUJ NLIJ C_fJFOGCE OULO
#" KJNDHO GE L FCI^KJUJENGSJ HGNO C[ JSJKRCEJW 2C PJ      #" 9 fDNO NOLOJYW
#% FLEECO ^KCFJJY GE OULO ILEEJK PGOUCDO FLHHGEV OUCNJ    #%          85. T980.22; 9E OUGN FLNJ> RJNW
#& ^KGSGHJVJN GEOC ^HLRW 5CPJSJK MM                       #&          4B A/W ,44,2;
#'         A/W ,44,2; 5J ULN LHKJLYR LENPJKJYW 5J         #' ?W 9N OUJ 82, L IJI_JK C[ OUJ TLOFU 6GNOGEV
#( ULN LHKJLYR NLGY OULO OUJ 8JKKCK 2FKJJEGEV 1JEOJK GN   #( ,YSGNCKR 1CDEFGHd
#) ^LKO C[ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd                #)          A2W X30X36B; 9 LI VCGEV OC LVLGE C_fJFO
#*         A2W X30X36B; 3cLRW 8UJE OULO gDJNOGCE          #* CE OUJ _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ>
$+ ULN _JJE  LNcJY LEY LENPJKJYW                          $+ ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW ,
$#         A/W ,44,2; ,KJ RCD GENOKDFOGEV UGI ECO         $# FCI^KJUJENGSJ HGNO C[ JSJKR_CYR CE OUJ FCDEFGH PCDHY
$$ OC LENPJKd                                             $$ GI^HGFLOJ OUCNJ ^KGSGHJVJNW 5CPJSJK> RCD FLE LENPJK
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  - #(" $% (&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $#                                                       $"
# OULO gDJNOGCE OC OUJ J\OJEO OULO RCD _JHGJSJ RCD        # OUKCDVU L _DEFU C[ OUJNJW 9N OUJ =J^LKOIJEO C[ OUJ
$ FLEW BCD FLEECO VC OCC IDFU [DKOUJK YCPE OUGN KCLY      $ ,GK 7CKFJ L IJI_JK C[ OUJ TLOFU 6GNOGEV ,YSGNCKR
" CK 9 PGHH EJJY OC GENOKDFO UGI ECO OC LENPJKW           " 1CDEFGHd
%         85. T980.22; 9 YCEZO _JHGJSJ 9 FLE VC           %          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ
& LER [DKOUJKW                                            & _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR
'         4B A/W ,44,2;                                   ' NOLOJ NJFKJON ^KGSGHJVJW 3E OUJ _LNGN C[ OUCNJ
(      ?W 9N 1=- L IJI_JK C[ OUJ TLOFU 6GNOGEV            ( ^KGSGHJVJN> 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO
) ,YSGNCKR 1CDEFGHd                                       ) OC LENPJKW
*         A2W X30X36B; 9 LI VCGEV OC LNNJKO OUJ           *          4B A/W ,44,2;
#+ HLP JE[CKFJIJEO LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON      #+ ?W 9N OUJ =J^LKOIJEO C[ QDNOGFJ L IJI_JK C[
## ^KGSGHJVJ LEY CE OULO _LNGN GENOKDFO OUJ PGOEJNN ECO   ## OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW
#$ OC LENPJKW                                             #$         A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ
#"        4B A/W ,44,2;                                   #" _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR
#% ?W 9N OUJ 0LOGCELH 2JFDKGOR ,VJEFR L IJI_JK            #% OUJ NOLOJ NJFKJON ^KGSGHJVJW 3E OUJ _LNGN C[ OUCNJ
#& C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW                 #& ^KGSGHJVJN> 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO
#'        A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ        #' OC LENPJKW
#( _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY             #(         4B A/W ,44,2;
#) ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 3E OUJ        #) ?W 5CP YCJN LE LVJEFR _JFCIJ L IJI_JK C[ OUJ
#* _LNGN C[ OUCNJ ^KGSGHJVJN> 9 LI VCGEV OC GENOKDFO      #* TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
$+ OUJ PGOEJNN ECO OC LENPJKW                             $+         A2W X30X36B; 9 LI VCGEV OC C_fJFOW
$#        4B A/W ,44,2;                                   $# ]LVDJ>  ^COJEOGLHHR HLP JE[CKFJIJEO> ^COJEOGLH NOLOJ
$$ ?W BCD LKJ ECO LENPJKGEVd                              $$ NJFKJONW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW
                                                   $$                                                       $%
"      &' @A76X2 >),,1>6'                                 #           85. T980.22; 9 _JHGJSJ OUJ VDGYLEFJ
$      ?W 9N OUJ =J^LKOIJEO C[ 5CIJHLEY 2JFDKGOR L        $  GONJH[ NOG^DHLOJN OC FJKOLGE IJI_JKNW ,EY 9 OUGEc
" IJI_JK C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd           " COUJK LVJEFGJN PUC _JHGJSJ OULO OUJR ILR ULSJ
%          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ       % JgDGOGJN GE OUJ PLOFU HGNOGEV LEY NFKJJEGEV ^KCFJNN
& _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR         & FCDHY ILcJ OUJGK YJNGKJ cECPEW ,EY OUJE 9 OUGEc OUJ
' NOLOJ NJFKJON ^KGSGHJVJW 3E OUJ _LNGN C[ OUCNJ          ' TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH PCDHY YJFGYJ PUJOUJK
( ^KGSGHJVJN> 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO      ( CK ECO LE LYYGOGCELH ^LKOR FCDHY fCGEW
) OC LENPJKW                                              )           4B A/W ,44,2;
*          4B A/W ,44,2;                                  *      ?W =CJN LE LVJEFR ULSJ [GELH LDOUCKGOR CSJK
#+ ?W BCD LKJ ECO LENPJKGEVd                              #+ PULO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH YCJNd
"" &' 4 7+ -)6 7-2=1,.-/'                                 ##          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#$ ?W 9N OUJ 0181 L IJI_JK C[ OUJ TLOFU 6GNOGEV           #$ 3_fJFOGCEW     -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO
#" ,YSGNCKR 1CDEFGHd                                      #" ^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK OC OUJ
#%         A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ       #% J\OJEO RCD FLEW
#& _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR     #&          85. T980.22; =C RCD IJLE YCJN L
#' OUJ NOLOJ NJFKJON ^KGSGHJVJW ,EY CE OUJ _LNGN C[       #' ^LKOGFDHLK LVJEFRd
#( OUCNJ ^KGSGHJVJN> 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN   #(          A/W ,44,2; 1CDHY RCD KJLY _LFc OUJ
#) ECO OC LENPJKW                                         #) gDJNOGCEW
#*         4B A/W ,44,2;                                  #*          `8UJ KJFCKY PLN KJLYWa
$+ ?W BCD LKJ ECO LENPJKGEVd                              $+          A2W X30X36B; 2LIJ C_fJFOGCENW
$" &' 4 7+ -)6 7-2=1,.-/'                                 $#          85. T980.22; 9 _JHGJSJ 9 LHKJLYR
$$ ?W ,EY 9 L^CHCVGhJW TJ fDNO ULSJ OC VC                 $$ OJNOG[GJY  OULO PJ PGHH PCKc SGL L FCENJENDNW 2C
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  . #() $% (*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 $&                                                         $(
# OUJKJ GN EC LVJEFRW 9O GN L _CYR OULO FCIJN            #          85. T980.22; 9O FKJLOJN L [CKDI [CK
$ OCVJOUJK OC UC^J[DHHR KJLFU FCENJENDNW                 $ GEOJKLVJEFR YGNFDNNGCE L_CDO UCP OUJ PLOFU HGNOGEV
"          4B A/W ,44,2;                                 " LEY NFKJJEGEV JEOJK^KGNJ [DEFOGCEN LICEVNO OUJ
%     ?W =CJN LE LVJEFR HJLY OUJ TLOFU 6GNOGEV           % YG[[JKJEO LVJEFGJNW
& ,YSGNCKR 1CDEFGHd                                      &          4B A/W ,44,2;
'          A2W X30X36B; 3_fJFOGCEW ]LVDJW                '      ?W =CJN OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
( 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO       ( ^KCYDFJ OUJ TLOFU 6GNOGEV <DGYLEFJd
) GE[CKILOGCEW BCD FLE LENPJK OC J\OJEO OULO RCD FLEW    )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
*          85. T980.22; 8UJKJ LKJ MM PGOUCDO             * 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW 4DO RCD
#+ VJOOGEV GEOC YJOLGHN LN OC PUC OUJR LKJ> OUJKJ LKJ    #+ FLE LENPJK OC OUJ J\OJEO RCD FLEW
## OPC LVJEFGJN OULO HJLY GO> CEJ C[ PUGFU GN 9 PGHH     ##         85. T980.22; 9[ RCD IJLE _R ^KCYDFJ
#$ NLR GN OUJ 821W                                       #$ J[[JFOGSJHR PKGOJ OULO VDGYLEFJ> RJNW
#"         4B A/W ,44,2;                                 #"         4B A/W ,44,2;
#% ?W TULO GN OUJ COUJK LVJEFR OULO HJLYN OUJ            #% ?W 8UJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH PKGOJN
#& TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd                       #& OUJ TLOFU 6GNOGEV <DGYLEFJd
#'         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK HLP         #'         A2W X30X36B; 3_fJFOGCEW
#( JE[CKFJIJEO ^KGSGHJVJNW 1LHHN [CK ^COJEOGLHHR NOLOJ   #( AGNFULKLFOJKGhJN ^KGCK OJNOGICERW <C LUJLYW
#) NJFKJONW BCD FLE LENPJK G[ RCD _JHGJSJ RCD FLEW       #)         4B A/W ,44,2;
#*         85. T980.22; 9 YCEZO _JHGJSJ 9 FLE            #* ?W 9 LI NCKKRW 6JO IJ fDNO MM
$+ LENPJKW                                               $? &' G81721'
$#         4B A/W ,44,2;                                 $# ?W 9N GO 821ZN OJNOGICER OCYLR OULO OUJ
$$ ?W 9N GO OUJ YJ[JEYLEO OULO HJLYN MM OULO             $$ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH PKGOJN LEY ^D_HGNUJN
                                                 $'                                                         $)
# FCMHJLYN OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd           # OUJ TLOFU 6GNOGEV <DGYLEFJd
$          A2W X30X36B; 9ZI NCKKRW 9 YGYEZO UJLK         $          A2W X30X36B; 3_fJFOGCEW ]LVDJW
" OULO gDJNOGCEW                                         " 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE
%          4B A/W ,44,2;                                 % LENPJK G[ RCD FLEW
&      ?W 8UJ 8JKKCK 2FKJJEGEV 1JEOJK GN OUJ             &          85. T980.22; TUJE 9 NLR PKGOJN> 9 IJLE
' YJ[JEYLEOW 9N OUJ COUJK HJLYJK C[ OUJ TLOFU 6GNOGEV    ' OUJKJ GN GEOJKLVJEFR YGNFDNNGCE OC LVKJJ OC
( ,YSGNCKR 1CDEFGH L YJ[JEYLEOd                          ( HLEVDLVJW 2C [KCI OULO YJ[GEGOGCE C[ PKGOJ> RJNW
)          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ      ) ,EY G[ RCD IJLE ^D_HGNU> G[ RCD IJLE OUJE ^KCSGYJN
* NLIJ VKCDEYNW -COJEOGLHHR HLP JE[CKFJIJEO LEY          * OULO OC @W2W <CSJKEIJEOZN JEOGOGJN LEY OUJE
#+ ^COJEOGLHHR NOLOJ NJFKJONW BCD FLE LENPJK G[ RCD      #+ ^LKOGFG^LOJ GE OULO ^KCFJNN> OUJ LENPJK PCDHY LHNC
## FLEW                                                  ## _J RJNW
#$         85. T980.22; 9 YCEZO cECP J\LFOHR PUC         #$         4B A/W ,44,2;
#" LHH OUJ YJ[JEYLEON LKJW 4DO JSJE G[ GO GN> 9 YCEZO    #" ?W 5CP YCJN OUJ TLOFU 6GNOGEV ,YSGNCKR
#% _JHGJSJ 9 FLE LENPJK OULOW                            #% 1CDEFGH LFOd TCDHY GO HGcJ SCOJ OC [GELHGhJ OUJ
#&         4B A/W ,44,2;                                 #& TLOFU 6GNOGEV <DGYLEFJd
#' ?W TJ ULSJ LNcJY [CK LHH YJ[JEYLEONW TULO             #'         A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP
#( YCJN OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH YCd           #( JE[CKFJIJEOW    BCD FLE MM C_fJFOGCEW ]LVDJW BCD FLE
#)         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #) LENPJK G[ RCD FLEW
#* 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO CK   #*         85. T980.22; <JEJKLHHR> GO GN VCGEV OC
$+ NOLOJ NJFKJONW 9OZN L ^KGSGHJVJY FCI^KJUJENGSJ        $+ PCKc _R DELEGICDN FCENJEOW
$# LENPJKW 4DO RCD FLE LENPJK OC OUJ J\OJEO RCD          $#         4B A/W ,44,2;
$$ _JHGJSJ RCD FLEW                                      $$    ?W    5LN OUJ TLOFU 6GNOGEV <DGYLEFJ MM GN OUJ
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   * #(, $% +('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 $*                                                          "#
# FDKKJEO TLOFU 6GNOGEV <DGYLEFJ OULO 821 DOGHGhJN OUJ   # OULO RCD FLEW
$ ^KCYDFO C[ OUJ DELEGICDN FCENJENDN C[ OUJ TLOFU        $         85. T980.22; 9 YCEZO _JHGJSJ OUJKJ GN
" 6GNOGEV ,YSGNCKR 1CDEFGHd                              " LEROUGEV LYYGOGCELH 9 FLE NLR OULOZN ECO ^KGSGHJVJYW
%          A2W X30X36B; 3_fJFOGCEW ]LVDJW                %         4B A/W ,44,2;
& 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJW      &     ?W <CGEV _LFc OC OUJ TLOFU 6GNOGEV ,YSGNCKR
' 4DO RCD FLE LENPJK G[ RCD FLEW                         ' 1CDEFGH> PUJE YGY OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
(          85. T980.22; 9 PLNEZO LO OUJ 821 PUJE         ( FCIJ GEOC J\GNOJEFJd
) OUJ ICNO KJFJEO VDGYLEFJ PLN ^KCIDHVLOJYW 4DO OC       )         A2W X30X36B; 3_fJFOGCEW ]LVDJW
* OUJ _JNO C[ IR cECPHJYVJ> RJNW                         *         85. T980.22; 9 YCEZO cECP OUJ ^KJFGNJ
#+         4B A/W ,44,2;                                 #+ LENPJK OC OULOW
## ?W TULO LKJ OUJ [DEFOGCEN C[ OUJ 8JKKCK               ##        4B A/W ,44,2;
#$ 2FKJJEGEV 1JEOJKd                                     #$ ?W =GY OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#"         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #" FCIJ GEOC J\GNOJEFJ _J[CKJ $++&d
#% 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO LEY NOLOJ      #%        A2W X30X36B; 3_fJFOGCEW ]LVDJW
#& NJFKJON GE L FCI^KJUJENGSJ LENPJKW 4DO RCD FLE        #&        85. T980.22; 9 YCEZO cECPW
#' LENPJK OC OUJ J\OJEO OULO RCD FLEW                    #'        4B A/W ,44,2;
#(         85. T980.22; <JEJKLHHR> GO GN OC              #( ?W =GY OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#) FCENCHGYLOJ OUJ @W2W <CSJKEIJEOZN L^^KCLFU OC         #) FCIJ GEOC J\GNOJEFJ _J[CKJ $+#+d
#* OJKKCKGNO PLOFU HGNOGEV> OC _DGHY LEY ILGEOLGE OUJ    #*        A2W X30X36B; 3_fJFOGCEW ]LVDJW
$+ 8JKKCK 2FKJJEGEV =LOL_LNJ> LEY OC ^KCSGYJ OULO OC     $+        85. T980.22; 9 _JHGJSJ NC> _DO 9 YCEZO
$# L^^KC^KGLOJ NFKJJEGEV LVJEFGJN GE ND^^CKO C[ OUJGK    $# cECP  ^KJFGNJHR _JRCEY OULOW
$$ SLKGCDN IGNNGCENW                                     $$        4B A/W ,44,2;
                                                 "+                                                          "$
#          4B A/W ,44,2;                                 #      ?W 2C GO GN RCDK OJNOGICER OCYLR MM 9EYGLELW
$     ?W =CJN 821 NJKSJ L [DEFOGCE OULOZN                $  9N GO 821ZN OJNOGICER OCYLR OULO OUJ TLOFU 6GNOGEV
" DEKJHLOJY OC OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd            " ,YSGNCKR 1CDEFGH FLIJ GEOC J\GNOJEFJ ^KGCK OC $+#+d
%          A2W X30X36B; 3_fJFOGCEW ]LVDJW                ;      &' 4 B18.1M1 2)'
& 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJW      &      ?W TUJE YGY OUJ TLOFU 6GNOGEV ,YSGNCKR
' 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW         ' 1CDEFGH ^KCYDFJ OUJ [GKNO SJKNGCE C[ OUJ TLOFU
(          85. T980.22; 1LE RCD KJNOLOJ OUJ              ( 6GNOGEV <DGYLEFJd
) gDJNOGCEd =C PJ YC MM                                  )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
*          A/W ,44,2; 1LE RCD KJLY _LFc OUJ              * 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE
#+ gDJNOGCEd                                             #+ LENPJK OC OUJ J\OJEO OULO RCD FLEW
##         `8UJ KJFCKY PLN KJLYWa                        ##         85. T980.22; 8C OUJ _JNO C[ IR
#$         A2W X30X36B; 2LIJ C_fJFOGCENW                 #$ cECPHJYVJ>   NCIJOGIJ LKCDEY $++)> _DO 9 LI ECO NDKJ
#"         85. T980.22; 9 PCDHY NLR OULO GN _R [LK       #" _J[CKJ OULOW 9 PCDHY NLR _R $++)W
#% CDK _GVVJK [DEFOGCEW 4JRCEY OULO> 9 OUGEc MM 9        #%         4B A/W ,44,2;
#& YCEZO OUGEc 9 FLE VC GEOC YJOLGHW                     #& ?W 2C GO GN OUJ 8JKKCK 2FKJJEGEV 1JEOJKZN
#'         4B A/W ,44,2;                                 #' OJNOGICER OULO _R $++) OUJ TLOFU 6GNOGEV ,YSGNCKR
#( ?W TULO [DEFOGCEN YCJN OUJ 8JKKCK 2FKJJEGEV           #( 1CDEFGH ULY ^D_HGNUJY L TLOFU 6GNOGEV <DGYLEFJd
#) 1JEOJK NJKSJ OULO LKJ DEKJHLOJY OC OUJ 8JKKCK         #)         A2W X30X36B; 3_fJFOGCEW
#* 2FKJJEGEV =LOL_LNJd                                   #* AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW
$+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $+         85. T980.22; 8C OUJ _JNO C[ IR
$# 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO      $# cECPHJYVJ> RJNW
$$ NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO   $$         4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14256
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 , #++ $% +-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   ""                                                       "&
#      ?W 8UJ OGOHJ C[ OULO [GKNO TLOFU 6GNOGEV           # C[ OGIJN GO ULN _JJE D^YLOJYW
$ <DGYLEFJ> PLN OUJ OGOHJ C[ OULO [GKNO TLOFU 6GNOGEV     $           4B A/W ,44,2;
" <DGYLEFJ TLOFU 6GNOGEV <DGYLEFJ $++)d                   "      ?W 5LN OUJ TLOFU 6GNOGEV <DGYLEFJ _JJE
%           A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR           % D^YLOJY ICKJ OULE #+ OGIJN NGEFJ OUJ TLOFU 6GNOGEV
& FLHHN [CK HLP JE[CKFJIJEO CK ^COJEOGLHHR NOLOJ          & ,YSGNCKR 1CDEFGH ULN [GKNO ^D_HGNUJY OUJ TLOFU
' NJFKJON GE[CKILOGCEW 4DO RCD FLE LENPJK OC OUJ          ' 6GNOGEV <DGYLEFJd
( J\OJEO OULO RCD FLEW                                    (           A2W X30X36B; 9 LI VCGEV OC ILcJ OUJ NLIJ
)           4B A/W ,44,2;                                 ) C_fJFOGCENW -COJEOGLHHR HLP JE[CKFJIJEO LEY
*      ?W ,EY fDNO OC FHLKG[R> 9 LI fDNO LNcGEV [CK       * ^COJEOGLHHR NOLOJ NJFKJONW ,EY 9 PGHH> LVLGE> ECOJ
#+ OUJ OGOHJ C[ OUJ YCFDIJEOW                             #+ OULO 9 LI ECO NDKJ OULO OUGN GN FHJLKHR PGOUGE OUJ
##          A2W X30X36B; 3cLRW                            ## NFC^JW ,EY G[ LO L FJKOLGE ^CGEO PJ FCEOGEDJ OC
#$          85. T980.22; 9 LI ECO NDKJW ?DGOJ             #$ ^KJNN OUGN HGEJ C[ gDJNOGCEGEV> 9 ILR EJJY OC
#" UCEJNOHR> 9 PLN OKRGEV OC OUGEc G[ 9 PLN> _DO 9 LI     #" GENOKDFO ECO OC LENPJKW 4DO [CK ECP RCD FLE VC
#% LFODLHHR ECO NDKJW 8UGN GN LHH gDGOJ _J[CKJ IR         #% LUJLY LEY LENPJKW
#& OGIJW                                                  #&          85. T980.22; BJLU> 9 YCEZO OUGEc 9 MM 9
#'          4B A/W ,44,2;                                 #' YCEZO  OUGEc 9 FLE> OUJ ^KJFGNJ EDI_JK C[ OGIJN CK
#( ?W 2DKJW 4DO RCD LKJ OJNOG[RGEV CE _JULH[              #( JSJE L FULKLFOJKGhLOGCE C[ PGOUGE LHCEV OUJNJ HGEJNW
#) C[ OUJ 8JKKCK 2FKJJEGEV 1JEOJKd                        #) 9 fDNO YCEZO OUGEc 9 PGHH _J L_HJ OC LENPJK OULOW
"% &' FD,1'                                               #*          4B A/W ,44,2;
$+ ?W TLN GO OUJ TLOFU 6GNOGEV ,YSGNCKR                   $+ ?W 5LSJ OUJKJ _JJE RJLKN PUJKJ OUJ TLOFU
$# 1CDEFGHZN ^KLFOGFJ OC KJSGNJ LEY ^D_HGNU EJP           $# 6GNOGEV ,YSGNCKR 1CDEFGH ULN ECO D^YLOJY OUJ TLOFU
$$ SJKNGCEN C[ OUJ TLOFU 6GNOGEV <DGYLEFJ JLFU RJLK       $$ 6GNOGEV <DGYLEFJd
                                                   "%                                                       "'
# NGEFJ $++)d                                             #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ       $  3_fJFOGCEW  1LHHN [CK HLP JE[CKFJIJEO NJENGOGSJ
" _LNGN C[ ^COJEOGLHHR HLP JE[CKFJIJEO> ^COJEOGLHHR       " GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
% NOLOJ NJFKJON> LEY LHNC NOLOJ LE C_fJFOGCE _LNJY CE     % FLEW
& OUJ NFC^J C[ OUJ OC^GFN OULO PJ LKJ HGIGOJY OC          &          85. T980.22; 2LIJ LENPJKW 9 FLEZO
' OCYLRW 4DO 9 PGHH LHHCP OUJ PGOEJNN OC LENPJK OC        ' LENPJK OULOW
( OUJ J\OJEO OULO UJ FLEW                                 (          4B A/W ,44,2;
)          85. T980.22; 9 OUGEc OUJ CEHR OUGEV 9          )      ?W BCD FLEZO OJHH IJ MM PULOZN OUJ _LNGN [CK
* FLE NLR L_CDO OULO GN OULO GO GN ^JKGCYGFLHHR           * MM 9 LI NCKKRW QDNO NC OUJ KJFCKY GN KJLH FHJLK>
#+ D^YLOJYW                                               #+ PULOZN OUJ _LNGN [CK OUJ C_fJFOGCE OC UGI LENPJKGEV
##         4B A/W ,44,2;                                  ## PUJOUJK OUJ TLOFU 6GNOGEV <DGYLEFJ ULN _JJE D^YLOJY
#$    ?W     5CP ILER OGIJN ULN OUJ TLOFU 6GNOGEV         #$ JSJKR NGEVHJ RJLKd
#" <DGYLEFJ _JJE D^YLOJY _R OUJ TLOFU 6GNOGEV ,YSGNCKR    #"         A2W X30X36B; 8UJ FLOJVCKGJN OULO PJ ULSJ
#% 1CDEFGHd                                               #% YJNGVELOJY YCEZO EJFJNNLKGHR JEOLGH JSJKR FULEVJ OC
#&         A2W X30X36B; 9 LI VCGEV OC ILcJ OUJ NLIJ       #& OUJ TLOFU 6GNOGEV <DGYLEFJ VCGEV _LFc OC OUJ
#' C_fJFOGCENW -COJEOGLHHR HLP JE[CKFJIJEO>               #' _JVGEEGEV C[ OUJ GEFJ^OGCE C[ OUJ FCDEFGHW
#( ^COJEOGLHHR NOLOJ NJFKJONW ,EY 9 PGHH LVLGE ECOJ       #(         4B A/W ,44,2;
#) NFC^J GNNDJW 9 LI ECO NDKJ G[ OUGN GN FHJLKHR          #) ?W 7LGK JECDVUW 6JO IJ OKR L YG[[JKJEO PLRW
#* PGOUGE OUJ NFC^J OULO PJ LKJ ^KCFJJYGEV CE OCYLR>      #* 5LSJ OUJKJ _JJE IDHOG^HJ KJSGNGCEN OC OUJ TLOFU
$+ _DO 9 PGHH LHHCP OUJ PGOEJNN OC LENPJK G[ UJ FLEW      $+ 6GNOGEV <DGYLEFJ NGEFJ $++)d
$#         85. T980.22; 9 YCEZO OUGEc 9 FLE>              $" &' 012'
$$ PGOUCDO  VJOOGEV GEOC ^KGSGHJVJ> VJO GEOC OUJ EDI_JK   $$ ?W ,EY OUCNJ KJSGNGCEN LKJ OUJ ^KCYDFO C[
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                "/ #+. $% &/'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "(                                                      "*
# OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHZN FCENDHOLOGSJ      # ^KJSGCDNHRW
$ ^KCFJNNd                                               $          85. T980.22; 9 YCEZO cECPW
#     &' 012'                                            "          A/W ,44,2; 9EYGLELW
%     ?W ,EY OUJ TLOFU 6GNOGEV <DGYLEFJ ULN _JJE         %          9 PGHH fDNO ECOJ> [CK OUJ KJFCKY> OULO
& OUJ ^KCYDFO C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHZN    & OUJ ALVGNOKLOJ QDYVJ ,EYJKNCE ILYJ GO KJLHHR FHJLK
' DELEGICDN FCENJENDN JLFU OGIJ GO ULN _JJE GNNDJYd      ' GE OUJ UJLKGEV L [JP PJJcN LVC OULO UJ gDCOJ> OUGEcN
U     &' @) 6A1 B126 )C +9 T-)=81*/13 912'               ( OUJKJ EJJYN OC _J NCIJ YGNFDNNGCE LN OC UCP OUGN ULN
)     ?W TULO GN OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd 9        ) JSCHSJY CSJK OGIJ G[ OULO ULN JSCHSJY CSJK OGIJ LEY
* LI NCKKRW , [JP ICKJ gDJNOGCEN CE OUJ 8JKKCK           * PULO ^JKGCY C[ OGIJW ?DCOJ> OUGN ULN OC _J ^DO GE
#+ 2FKJJEGEV 1JEOJKW 8UJ 8JKKCK 2FKJJEGEV 1JEOJK> RCD    #+ NCIJ FCEOJ\O C[ L FCEOGEDDI> ECO fDNO CE OUJ YLR
## NLGY> PLN FKJLOJY GE $++"d                            ## OULO OUJ YJ^CNGOGCE VJON OLcJEW
"$ &' 012'                                               #$         A2W X30X36B; ,EY 9 PCDHY ECOJ> [CK OUJ
#" ?W TLN OUJKJ MM YGY OUJ TLOFU 6GNOGEV                 #" KJFCKY> OULO OULO YGNFDNNGCE PLN GE OUJ FCEOJ\O C[
#% ,YSGNCKR 1CDEFGH J\GNO GE $++"d                       #% IJLNDKJN OC GI^KCSJ OUJ KJHGL_GHGOR LEY LFFDKLFR C[
"< &' GD,2D7-6 6) +9 K,1M.)D2 7-2=1,3 4 *)-X6            #& OUJ PLOFU HGNOGEV ^KCFJNNW ,EY PJ LKJ ^KJ^LKJY OC
"J T-)= K,1>.2189 =A1- 6A76 B)*9 =72 >)+K)21*' 4 T-)=    #' OJNOG[R L_CDO OULO OCYLR> _DO PJ YC ECO DEYJKNOLEY
"U 6A1 766),-19 /1-1,78 *.,1>61* 6A1 QR4 6) 267-* DK     #( OULO GENOKDFOGCE OC FCSJK JSJKR GOJKLOGCE TLOFU
"N @1,,), F>,11-.-/ 51-61, .- $??#' 4 *)-X6 T-)= 6A1     #) 6GNOGEV <DGYLEFJ VCGEV _LFc OC $++"W 2C LO L
"% K,1>.21 21YD1->1 )C 1M1-62 C)88)=.-/ 6A76'            #* FJKOLGE ^CGEO> 9 PGHH EJJY OC GESCcJ OUJ ^KCOJFOGSJ
$+ ?W ,EY RCD IGVUO ECO cECP> LEY OULOZN [GEJW           $+ CKYJKW
$# BCD cECP> G[ RCD YCEZO cECP> OULOZN L KJLNCEL_HJ      $#         4B A/W ,44,2;
$$ LENPJKW 4DO fDNO [CK OUJ FHLKGOR C[ OUJ KJFCKY> YGY   $$ ?W TULO GN OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd
                                                   ")                                                      %+
# OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH J\GNO GE $++"d      #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             $ 3_fJFOGCEW -COJEOGLHHR GO FLHHN [CK HLP JE[CKFJIJEO
" LENPJKJYW                                              " NJENGOGSJ GE[CKILOGCE CK NOLOJ NJFKJON ^KGSGHJVJW
%          85. T980.22; 9 YCEZO cECP PUJE GO PLN         % 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
& JNOL_HGNUJY> NCW                                       &          85. T980.22; 8UJ 8JKKCK 2FKJJEGEV
'          A/W ,44,2; 9EYGLELW                           ' =LOL_LNJ GN OUJ FCENCHGYLOJY PLOFU HGNO PGOU KJN^JFO
(          4B A/W ,44,2;                                 ( OC OJKKCKGNI [CK OUJ @EGOJY 2OLOJN <CSJKEIJEOW
)      ?W =GY OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH         )          4B A/W ,44,2;
* ^KCYDFJ L TLOFU 6GNOGEV <DGYLEFJ GE $++"d              *     ?W TUC CPEN OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd
#+         A2W X30X36B; 3_fJFOGCEW 9 LI VCGEV OC         #+         A2W X30X36B; 3_fJFOGCEW ]LVDJW
## C_fJFO CE OUJ _LNGN C[ OUJ NFC^J C[ OUJ OC^GFN PJ     ##         85. T980.22; 9[ RCD IJLE PUC GN
#$ ULSJ _J[CKJ DN OCYLR LEY LHNC ^COJEOGLH HLP           #$ KJN^CENG_HJ OC ILGEOLGE GO> CPEJKNUG^> 9 OUGEc>
#" JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK     #" ILR_J ULN YG[[JKJEO FCEECOLOGCENW 4DO G[ 9 OLcJ GO
#% G[ RCD FLEW                                           #% OULO OULO GN RCDK IJLEGEV> GO GN LYIGEGNOJKJY _R OUJ
#&         85. T980.22; 9 OUGEc 9 ULSJW 9[ 9 YCEZO       #& 8JKKCK 2FKJJEGEV 1JEOJKW
#' cECP G[ GO J\GNOJY> 9 PCDHYEZO cECP G[ GO YGY         #'         4B A/W ,44,2;
#( NCIJOUGEVW                                            #( ?W TUC FCEOKCHN OUJ 8JKKCK 2FKJJEGEV
#)         4B A/W ,44,2;                                 #) =LOL_LNJd
#* ?W 9N OUJKJ L TLOFU 6GNOGEV <DGYLEFJ LN CHY           #*         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$+ LN $++"d                                              $+         85. T980.22; 8UJ 8JKKCK 2FKJJEGEV
$#         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             $# 1JEOJKW
$$ LENPJKJYW ,EY NLIJ C_fJFOGCEN LN 9 NOLOJY             $$         4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14258
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   "" #&" $% &&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  %#                                                         %"
#     ?W 9O PLN 821ZN OJNOGICER OCYLR OULO OUJ 749       #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$ FCEOKCHN OUJ 8JKKCK 2FKJJEGEV 1JEOJKi GN OULO          $          85. T980.22; 8UJ YGKJFOCK C[ OUJ 8JKKCK
" FCKKJFOd                                               " 2FKJJEGEV 1JEOJKW
%         A2W X30X36B; 3_fJFOGCEW                        %          4B A/W ,44,2;
& AGNFULKLFOJKGhJN UGN ^KGCK OJNOGICERW 3_fJFOGCEW       &      ?W ,EY PULOZN UGN ELIJd
' ]LVDJW                                                 J      &'   5A7,812 Z7B81'
(         85. T980.22; 9O GN _R YGKJFOGCE C[ OUJ         (      ?W =CJN UJ ULSJ L _CNNd
) LOOCKEJR VJEJKLH LYIGEGNOJKJY _R OUJ 749W 4DO NJJ      N      &' E1 *)12'
* IR ^KGCK OJNOGICER PGOU KJVLKY OC OUJ KCHJ C[ OUJ      *      ?W TUC GN UGN _CNNd
#+ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW                       "? &' @A1 1L1>D6.M1 722.267-6 *.,1>6), C), 6A1
##        4B A/W ,44,2;                                  "" P76.)-78 F1>D,.69 )C 6A1 QR4'
#$ ?W =CJN OUJ 749 FCEOKCH OUJ 8JKKCK 2FKJJEGEV          #$ ?W 1LE OUJ J\JFDOGSJ LNNGNOLEO YGKJFOCK MM 9
#" =LOL_LNJd                                             #" LI NCKKRW TULO PLN OUJ OGOHJ CEJ ICKJ OGIJd
#%        A2W X30X36B; 3_fJFOGCEW ,NcJY LEY              "; &' [L1>D6.M1 722.267-6 *.,1>6), C), P76.)-78
#& LENPJKJYW 3_fJFOGCE SLVDJW                            "< F1>D,.69'
#'        85. T980.22; 8UJ 749 LYIGEGNOJKN OUJ           #' ?W 2C OUJ J\JFDOGSJ LNNGNOLEO YGKJFOCK [CK
#( 8JKKCK 2FKJJEGEV 1JEOJKW 8UJ 8JKKCK 2FKJJEGEV         #( 0LOGCELH 2JFDKGOR C[ OUJ 749 GN OUJ _CNN C[ OUJ UJLY
#) 1JEOJK LYIGEGNOJKN OUJ 82=4W                          #) C[ OUJ 8JKKCK 2FKJJEGEV 1JEOJK> FCKKJFOd
#*        4B A/W ,44,2;                                  "% &' 012'
$+ ?W 1LE OUJ 749 OJHH OUJ 8JKKCK 2FKJJEGEV              $+ ?W 1LE OUJ _CNN C[ OUJ 8JKKCK 2FKJJEGEV
$# 1JEOJK PULO OC YC PGOU OUJ 8JKKCK 2FKJJEGEV           $# 1JEOJKZN UJLY OJHH OUJ 8JKKCK 2FKJJEGEV 1JEOJK UJLY
$$ =LOL_LNJd                                             $$ PULO OC YCd
                                                  %$                                                         %%
#          A2W X30X36B; 3_fJFOGCEW ]LVDJW                #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$ 3_fJFOGCEW ,NcJY LEY LENPJKJYW                         $  3_fJFOGCEW    ,NcJY LEY LENPJKJYW 3_fJFOGCEW
"          85. T980.22; 9 OUGEc OULOZN LE CSJK           " AGNHJLYGEVW
% NGI^HG[GFLOGCE C[ IR ^KGCK OJNOGICERW                  %          85. T980.22; ,VLGE> 9 OUGEc PJ LKJ LO
&          A/W ,44,2; 8UJKJ GN L gDJNOGCEW 1LE RCD       & OUJ NLIJ ^HLFJ PJ PJKJ _J[CKJW BJNW ,EY OUJKJ GN
' KJLY _LFc OUJ gDJNOGCEd                                ' LHNC LE GI^CKOLEO KCHJ [CK OUJ TLOFU 6GNOGEV
(          `8UJ KJFCKY PLN KJLYWa                        ( ,YSGNCKR 1CDEFGH LEY OUJ GEOJKLVJEFR OC ^HLR GE
)          A2W X30X36B; 2LIJ C_fJFOGCENW ,EY 9           ) VCSJKEGEV UCP OUJ 8JKKCK 2FKJJEGEV 1JEOJK [DEFOGCENW
* PGHH LYY MM NCKKRW 9 HCNO IR OKLGE C[ OUCDVUOW         * 9[ OUJ MM G[ OUJKJ GN YGNLVKJJIJEO> OUJE OUCNJ
#+ AGNFULKLFOJKGhJN ^KGCK OJNOGICERW                     #+ YGNLVKJJIJEON PCDHY _J KJNCHSJY OUKCDVU OUJ 0LOGCELH
##         85. T980.22; 9 VC _LFc OC IR NLIJ             ## 2JFDKGOR 1CDEFGHW
#$ LENPJKW 8UJ [CKI RCD ^DO OULO HJLYGEV gDJNOGCE GE     #$         4B A/W ,44,2;
#" LNNDIJN FJKOLGE OUGEVN 9 ULSJ ECO OJNOG[GJY OCW ,EY   #" ?W 8UJR PCDHYEZO _J KJNCHSJY OUKCDVU OUJ
#% IR LENPJK GN GO GN ICKJ FCI^HJ\ OULE OULOW            #% TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
#&         4B A/W ,44,2;                                 #&         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#' ?W 2C 9 PGHH LNc HJLYGEV gDJNOGCENW ,EY               #' 3_fJFOGCEW
#( G[ MM                                                 #(         85. T980.22; <CGEV PGOU OUGN FCENOKDFO>
"N &' 4 T-)=' &-* 4 =.88 7-2=1, 6A1+ 72 II 7-*           #) OUJE OUJ NGODLOGCE RCD LKJ YJNFKG_GEV GN PUJOUJK
"% 4 =.88 7-2=1, 6A1+ 72 II                              #* OUJKJ GN ECO FCENJENDN PGOU OUJ OJKKCKGNO PGOU OUJ
$+ ?W BCD ULSJEZO LENPJKJY GOW 2C fDNO HJOZN             $+ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW =GNLVKJJIJEON
$# MM HJO IJ OKR LNcGEV GO L YG[[JKJEO PLRW TUC GN OUJ   $# PGOUGE PUJE OUJ FCENJENDN FLEZO _J KJLFUJY LKJ
$$ ^JKNCE GE FULKVJ C[ OUJ 8JKKCK 2FKJJEGEV 1JEOJKd      $$ KJNCHSJY OUKCDVU 0LOGCELH 2JFDKGOR 1CDEFGH
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14259
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   "( #&) $% &*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   %&                                                         %(
# ^KCFJNNJNW                                              # OULO gDJNOGCE GN ^CNJY GE OUJ J\LFO NLIJ OJKINW
$          4B A/W ,44,2;                                  $         4B A/W ,44,2;
"     ?W 9N OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH            "     ?W 2DKJW 2C 9 LI VCGEV OC ^CNJ GO GE L
% LYSGNCKR CK FLE GO OJHH OUJ 8JKKCK 2FKJJEGEV 1JEOJK     % HGOOHJ YG[[JKJEO OJKINW 9E PULO NJENJ GN OUJ
& PULO OC YCd                                             & J\JFDOGSJ LNNGNOLEO YGKJFOCK C[ OUJ 0LOGCELH
'          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 ' 2JFDKGOR C[ OUJ 749 OUJ _CNN C[ OUJ UJLY C[ OUJ
(          85. T980.22; 2GEFJ 9 ULSJ LHKJLYR              ( 8JKKCK 2FKJJEGEV 1JEOJKd
) OJNOG[GJY OULO OUJ 8JKKCK 2FKJJEGEV 1JEOJK GN L         N     &' 4 6A.-T 6A76X2 ,178893 ,17889 B,)7* 7-*
* IJI_JK C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH> OULO      % M7/D13 A7,* 6) 7-2=1,' 4 =)D8* 279 6A76 A1 .2 6A1
#+ PCDHY IJLE OUJKJ GN ECO L FCENJENDN PGOUGE OUJ         "? B)22 .- 6A1 21-21 6A76 6A76 .2 -),+7889 /1-1,7889
## FCDEFGHW ,EY> LVLGE> OULO PCDHY VC OC OUJ ELOGCELH     "" 6A)D/A6 )C =.6A 6A1 >7M176 6A76 6A1,1 7,1 II
#$ NJFDKGOR ^KCFJNNW ,EY> FJKOLGEHR> OUJ                  "$ B72.>78893 .C A./A1, +7-7/1+1-6 .- 6A1 QR4
#" LYIGEGNOKLOGCE OUKCDVU OUJ ELOGCELH NJFDKGOR ^KCFJNN   "# .-26,D>61* 6A1 @1,,), F>,11-.-/ 51-61, 6) *)
#% FLE OJHH OUJ 821 PULO OC YCW                           "; 2)+16A.-/ 6A76 =72 >)-6,7,9 6) 6A1 >)-21-2D2 ,17>A1*
#& ?W 2C OUJ 0LOGCELH 2JFDKGOR 1CDEFGH LNc OJHH           "< B9 6A1 V76>A W.26.-/ &*M.2),9 5)D->.83 6A1,1 .2 7
#' OUJ 8JKKCK 2FKJJEGEV 1JEOJK PULO OC YCd                "J K,)>122 6) /) A./A1, .- 6A1 /)M1,-+1-6 6) ,12)8M1
#(         A2W X30X36B; 3_fJFOGCEW                        "U 6A)21 *.CC1,1->12' &-* 1M1- 6A)D/A 6A1 @1,,),
#) AGNFULKLFOJKGhJN ^KGCKN OJNOGICERW 3_fJFOGCE           "N F>,11-.-/ 51-61, .2 7*+.-.261,1* B9 6A1 QR43 .6 .2
#* IGNHJLYGEVW 3_fJFOGCEW ]LVDJW BCD FLE LENPJK G[        "% 6,D89 7- .-61,7/1->9 >1-61,' &-* .6 .2 7 >)+K81L II
$+ RCD FLEW                                               $? =A76 4 7+ 6,9.-/ 6) 1LK87.- .2 .6 .2 >)+K81L' @A1,1
$#         85. T980.22; ,N ^LKO C[ OUJ .\JFDOGSJ          $" .2 -)6 7 2.+K81 7-2=1, 6) 9)D, YD126.)-'
$$ 4KLEFU C[ OUJ @W2W <CSJKEIJEO> RJNW                    $$ ?W BJLU> 9 LVKJJ OULO GO GN FCI^HJ\W ,EY NC
                                                   %'                                                         %)
#           4B A/W ,44,2;                                 # ULN OUJKJ JSJK _JJE L YGNLVKJJIJEO _JOPJJE 821 LEY
$      ?W 1LE OUJ .-, OJHH OUJ 8JKKCK 2FKJJEGEV           $ OUJ 749 LN OC UCP OC LYIGEGNOJK OUJ 8JKKCK 2FKJJEGEV
" 1JEOJK PULO OC YCd                                      " =LOL_LNJd
;      &' P)'                                             %          A2W X30X36B; 9 LI VCGEV OC C_fJFO
&      ?W 3cLRW 1LE OUJ 749 OJHH OUJ 8JKKCK               & GENC[LK LN OULO FLHHN [CK YJHG_JKLOGSJ ^KCFJNN
' 2FKJJEGEV 1JEOJK PULO OC YCd                            ' GE[CKILOGCE PGOUGE OUJ YJHG_JKLOGSJ ^KCFJNN
(           A2W X30X36B; 3_fJFOGCEW ]LVDJW                ( ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
) 3_fJFOGCEW AGNHJLYGEVW 3_fJFOGCEW ,NcJY LEY             ) FLEW
* LENPJKJYW 8UGN gDJNOGCE ULN _JJE ^CNJY [GSJ OGIJN       *          85. T980.22; 9 YCEZO OUGEc 9 FLE VJO
#+ LO OUGN ^CGEOW ,EY 9 ILR EJJY OC NOLKO GENOKDFOGEV     #+ GEOC N^JFG[GFNW 4DO 9 OUGEc 9 FLE NLR OULO RJN> PJ
## OUJ PGOEJNN ECO OC LENPJK G[ GO GN LNcJY LVLGEW        ## ULSJ ULY YGNLVKJJIJEON PGOU CDK 749 FCHHJLVDJN [KCI
#$          A/W ,44,2; ,EY 9 LI fDNO NOKDVVHGEV OC        #$ OGIJ OC OGIJW
#" DEYJKNOLEYW 2C 9 L^CHCVGhJ [CK MM OUJ KJ^JOGOGCE GN    #"         4B A/W ,44,2;
#% [CK IR NLcJW ,EY 9 L^CHCVGhJ [CK FCSJKGEV VKCDEY       #% ?W 5LN OUJ 0LOGCELH 2JFDKGOR 1CDEFGH
#& OULO 9 IGVUO ULSJ LHKJLYR FCSJKJYW 9 fDNO PLEO OC      #& KJNCHSJY YGNLVKJJIJEON _JOPJJE OUJ 749 LEY 821
#' ILcJ NDKJ OULO 9 ULSJ L FHJLK DEYJKNOLEYGEV C[ UCP     #' KJVLKYGEV OUJ 82=4d
#( OUJ 8JKKCK 2FKJJEGEV 1JEOJK PCKcNW                     #(         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#)          A2W X30X36B; 9 LI fDNO VCGEV OC ECOJ>         #) 3_fJFOGCEW -COJEOGLHHR YJHG_JKLOGSJ ^KCFJNNW
#* [CK OUJ KJFCKY> OULO 9 _JHGJSJ OULO GN OUJ [CDKOU CK   #* 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE
$+ [G[OU OGIJ OULO J\LFO gDJNOGCE ULN _JJE LNcJYW 9       $+ LENPJK OC J\OJEO OULO RCD FLEW
$# PGHH LHHCP OUJ PGOEJNN OC LENPJK CEJ ICKJ OGIJW        $#         4B A/W ,44,2;
$$ ,[OJK OULO> 9 LI VCGEV OC GENOKDFO ECO OC LENPJK C[    $$     ?W    ,EY fDNO OC FHLKG[R> 9 LI fDNO LNcGEV [CK
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                         8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 "+ #&, $% )('

                                        1CEYDFOJY CE ALKFU #> $+#)
                                                     %*                                                     &#
# YJFGNGCEN C[ OUJ 0LOGCELH 2JFDKGOR 1CDEFGHW 5LN OUJ      #          85. T980.22; 9[ RCD PLEO IJ OC LENPJKW
$ 0LOGCELH 2JFDKGOR 1CDEFGH JSJK ILYJ YJFGNGCEN OULO       $          A/W ,44,2; =C RCD PLEO DN OC NOJ^ CDOd
" KJNCHSJY YG[[JKJEFJN C[ C^GEGCE _JOPJJE OUJ 8JKKCK       "          A2W X30X36B; BCD FLE NOJ^ CDOW
% 2FKJJEGEV 1JEOJK LEY OUJ 749 LN OC UCP OUJ 82=4          %          85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ
& NUCDHY _J ILGEOLGEJY LEY C^JKLOJYd                       & KJFCKYW 8UJ OGIJ GN *;%* LWIW
'           A2W X30X36B; 2LIJ C_fJFOGCEW 4DO RCD           '          `, KJFJNN PLN UJHYWa
( FLE LENPJKW                                              (          85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ
)           85. T980.22; 0CO OC IR cECPHJYVJW              ) KJFCKYW 8UJ OGIJ GN #+;+% LWIW ,EY PJ ULSJ _JJE CE
*           4B A/W ,44,2;                                  * OUJ KJFCKY [CK %$ IGEDOJN LEY " NJFCEYNW
#+ ?W 2C GE OUJ UGNOCKR C[ OUJ 8JKKCK 2FKJJEGEV            #+         A/W ,44,2; 1CDHY RCD KJLY OUJ HLNO
## 1JEOJK> OUJKJ ULN EJSJK _JJE L YGNLVKJJIJEO _JOPJJE     ## gDJNOGCE>  ^HJLNJd 3U> 9ZI NCKKRW 6JEL ALNKG GN ECP
#$ OUJ 8JKKCK 2FKJJEGEV 1JEOJK LEY OUJ 749 OULO OUJ        #$ UJKJ [CK OUJ ^HLGEOG[[NW 1CDHY RCD KJLY OUJ HLNO
#" 0LOGCELH 2JFDKGOR 1CDEFGH ULN ILYJ L YJFGNGCE OC        #" gDJNOGCE _LFcd
#% KJNCHSJd                                                #%         `8UJ KJFCKY PLN KJLYWa
#&          A2W X30X36B; 9 LI VCGEV OC C_fJFOW             #&         A2W X30X36B; ,EY 9 LI VCGEV OC C_fJFO
#' AGNFULKLFOJKGhJY   UGN ^KGCK OJNOGICERW 9 LI VCGEV OC   #' OULO OULO FLHHN [CK L HJVLH FCEFHDNGCEW 9 LI VCGEV
#( ILcJ LE C_fJFOGCE _LNJY CE OUJ NFC^J C[ OUJ OC^GFN      #( OC C_fJFO CE OUJ _LNGN C[ OUJ NFC^J C[ OUJ
#) _J[CKJ DN UJKJ OCYLRW BCD FLE LENPJK OC OUJ J\OJEO      #) ^KCOJFOGSJ CKYJK OULO PLN JEOJKJYW ,EY 9 LI LHNC
#* OULO MM LEY LHNC SLVDJEJNNW BCD FLE LENPJK OC           #* VCGEV OC C_fJFO GENC[LK LN OUJ LENPJK OC OULO
$+ J\OJEO OULO RCD FLEW                                    $+ gDJNOGCE GESCHSJN GE[CKILOGCE OULO GN PGOUGE OUJ
$#          85. T980.22; 0CO OULO 9 LI LPLKJ C[W           $# ^DKSGJP C[ LECOUJK LVJEFR LEY ECOJ OULO PUGHJ
$$          4B A/W ,44,2;                                  $$ AKW <KCU FLE LENPJK OUGN gDJNOGCE _LNJY CE UGN
                                                     &+                                                     &$
#      ?W 9N OUJ 0LOGCELH 2JFDKGOR 1CDEFGHZN               # DEYJKNOLEYGEV UJ FLEECO _GEY LER COUJK LVJEFR PGOU
$  LDOUCKGOR  OC KJNCHSJ YG[[JKJEFJN _JOPJJE OUJ 8JKKCK    $ UGN LENPJKW
" 2FKJJEGEV 1JEOJK LEY OUJ 749 LN OC UCP OC 82=4           "          85. T980.22; 2C 9 OUGEc OUJ MM
% NUCDHY _J OUJ ILGEOLGEJY LEY C^JKLOJY IJICKGLHGhJY       % VJEJKLHHR> 9 PLNEZO NDKJ G[ OUJKJ PLN L ^KGSGHJVJ
& GE NCIJ YCFDIJEOd                                        & LNNCFGLOJY PGOU GOW 4DO 9 YCEZO _JHGJSJ OUJKJ GNW
'          A2W X30X36B; 3_fJFOGCEW ]LVDJW                  ' 02-AM%> PUGFU PLN ^D_HGNUJY HLNO RJLK> PUGFU HLRN
(  3_fJFOGCEW    -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE      ( CDO 0LOGCELH 2JFDKGOR 1CDEFGH ^KCFJYDKJN VJEJKLHHR>
) LENPJK G[ RCD FLEW                                       ) GN OUJ ^KCFJNN OULO PCDHY _J DNJY OC KJNCHSJ LER
*          85. T980.22; 9 _JHGJSJ GO GN VJEJKLHHR          * YG[[JKJEFJN _JOPJJE LER IJI_JKN C[ OUJ TLOFU 6GNOGEV
#+ IJICKGLHGhJY GE OUJ J\JFDOGSJ CKYJKW                    #+ ,YSGNCKR 1CDEFGH> GEFHDYJ OUJ 821 LEY OUJ 749W
##         4B A/W ,44,2;                                   ##         A/W ,44,2; ,KGhCELW
#$     ?W   52-=M'd                                        #$         4B A/W ,44,2;
#"         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L             #" ?W 02-AM%d
#% HJVLH FCEFHDNGCEW                                       "; &' P76.)-78 F1>D,.69 G,12.*1-6.78 \1+),7-*D+
#&         85. T980.22; 9 ILR ULSJ OC FCE[JKW 9 LI         "< ;'
#' ECO NDKJ G[ OULO YCFDIJEO GONJH[ GN ^KGSGHJVJYW 9ZI     #' ?W ,EY OUJ 0LOGCELH 2JFDKGOR -KJNGYJEOGLH MM
#( ECO NDKJW                                               "U &' \1+),7-*7 ), +1+),7-*D+'
#)         A/W ,44,2; =C RCD PLEO OC OLcJ L NJFCEYd        #) ?W 8UJ 0LOGCELH 2JFDKGOR -KJNGYJEOGLH
#*         A2W X30X36B; 9[ OUJ PGOEJNN EJJYN LYSGFJ        #* AJICKLEYDI PLN [GKNO ^D_HGNUJY GE $+#(i GN OULO
$+ LN OC PUJOUJK UJ FLE LENPJK PGOUCDO PLGSGEV OUJ         $+ FCKKJFOd
$# ^KGSGHJVJ> PJ PCDHY LNc OC OLcJ L _KJLcW                $" &' @A.2 K7,6.>D87, )-13 912'
$$         A/W ,44,2; 9OZN D^ OC RCDW                      $$ ?W ,KJ OUJKJ ^KGCK SJKNGCEN C[ OUJ 02-Ad
                                             -6,0.8 =.-32
                                )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 "& #)+ $% )-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   &"                                                       &&
#           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L           # DEYJKNOLEYGEV C[ OUJ LENPJK OC OUGN gDJNOGCE> _DO
$ HJVLH FCEFHDNGCEW 3_fJFOGCEW 4LNJY CE OUJ NFC^J C[      $ RCD FLEECO _GEY LECOUJK LVJEFR PGOU UGN LENPJKW
" OUJ ^KCOJFOGSJ CKYJK> 9 OUGEc OUGN GN ^KJOOR MM         "           A/W ,44,2; ,EY fDNO N^JLcGEV C_fJFOGCEN
% VJOOGEV L HGOOHJ [LK L[GJHY C[ OUJ OC^GFN PJ ULSJ       % MM
& LVKJJY OC LEY OUJ FCDKO ULN JEOJKJYW ,EY 9 LI VCGEV     &           A2W X30X36B; 9O GN ECO L N^JLcGEV
' OC C_fJFO GENC[LK LN> LVLGE> UGN LENPJK FLHHN [CK       ' C_fJFOGCEW
( GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ LECOUJK LVJEFRW       (           A/W ,44,2; 8ULO PLN L N^JLcGEV
) AKW <KCU FLE OJNOG[R LN OC UGN DEYJKNOLEYGEV L_CDO      ) C_fJFOGCEW 8ULO PLN HGcJ L "&MNJFCEY N^JLcGEV
* OUJ LENPJK OC OUGN gDJNOGCEW 4DO UJ FLEECO _GEY         * C_fJFOGCEW
#+ LECOUJK LVJEFR PGOU UGN LENPJKW                        #+          A2W X30X36B; 9 LI ILcGEV FHJLK OULO UGN
##          A/W ,44,2; ,EY OUJ [GKNO OC^GF GN OUJ         ## LENPJK   YCJN ECO _GEY COUJK LVJEFGJNW
#$ 8JKKCK 2FKJJEGEV 1JEOJKZN KCHJ GE OUJ 82=4             #$          A/W ,44,2; ,EY GO YCJNEZOW 9 IJLE>
#" ECIGELOGCEN ^KCFJNNW 9O L^^JLKN OULO OUJ 8JKKCK        #" OULOZN fDNO UCP OUGN YJ^CNGOGCE PCKcNW
#% 2FKJJEGEV 1JEOJK GN ^LKO C[ OUJ TLOFU 6GNOGEV          #%          A2W X30X36B; <LYJGK> 9 PGHH NOLOJ OULO
#& ,YSGNCKR 1CDEFGHW 9O GN OUJ YJ^CEJEOZN OJNOGICER       #& C_fJFOGCE PUJE 9 NJJ [GOW
#' OCYLR OULO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH LEY      #'          85. T980.22; 2C OUJ MM CEFJ LVLGE> 9 LI
#( OUJ 0LOGCELH 2JFDKGOR 1CDEFGH ^HLR L KCHJ GE OUJ       #( NCKKRW 3EJ ICKJ OGIJW /JLY OUJ gDJNOGCEW 2CIJUCP
#) 82=4 ECIGELOGCE ^KCFJNNW 9 LI LNcGEV [CK OUJ 821ZN     #) 9 LI MM
#* KCHJ GE OUJ 82=4 ECIGELOGCE ^KCFJNN PGOU KJVLKYN OC    #*          `8UJ KJFCKY PLN KJLYWa
$+ OUGN 01-A `NGFa YCFDIJEO> NC MM                        $+          A2W X30X36B; 2LIJ C_fJFOGCEW
$#          A2W X30X36B; 3cLRW ,EY 9 PCDHY ECOJ           $#          85. T980.22; 2C> [GKNO C[ LHH> GO GN
$$ fDNO> [CK OUJ KJFCKY> OULO OUJ FCDKO J\^KJNNHR KDHJY   $$ 02-A> 0LOGCELH 2JFDKGORW
                                                   &%                                                       &'
# CDO NCDKFJN C[ HJVLH LDOUCKGOR LN L SLHGY OC^GF [CK     #          4B A/W ,44,2;
$ OCYLRZN YJ^CNGOGCEW 9 PGHH KJLNNJKO LHH OUJ NLIJ        $      ?W 02-Ad
" ^KGSGHJVJW ,EY AKW <KCU FLE LENPJK OC OUJ J\OJEO        #      &' F1>D,.69' &-* PFG\I;3 7>6D78893 ,./A63
% OULO UJ FLEW                                            ; /1-1,7889 ,12)8M12 II 4 *)-X6 T-)= 6A763 C),
&          85. T980.22; BJLUW 6JOZN KJ^JLO OUJ            < .-267->13 6A1 V76>A W.26.-/ &*M.2),9 5)D->.8 .2
' gDJNOGCEW 9 HCNO GO L[OJK LHH C[ OULOW                  J -7+1* .- 6A1,1' RD6 .6 K,)M.*12 C), 6A.2
(          4B A/W ,44,2;                                  U 7*+.-.26,76.)- /1-1,78 K,)>1*D,12' RD6 4 6A.-T .6
)     ?W ,EY fDNO OC _J FHJLK> 9 LI CEHR LNcGEV           N .2 782) .+K),67-6 6) 7** 6A76 4 *)-X6 6A.-T 6A76
* PUJOUJK YCFDIJEON J\GNO> KGVUOd                         % +761,.7889 >A7-/1* 7-96A.-/ 6A76 K,1M.)D289 1L.261*'
"? &' ]./A6'                                              #+ ?W 2C HLNO RJLKZN 02-A PLN FLHHJY 02-AM%d
## ?W 2C OUJKJ GN LE 01-A `NGFa OULO PLN                  "" &' 5),,1>6'
#$ ^D_HGNUJY GE $+#(> FCKKJFOd                            #$ ?W 9N OUJKJ LE 02-AM"d
"# &' 012'                                                #"         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#% ?W ,EY OUJ 01-A `NGFa ^D_HGNUJY GE $+#(                #% HJVLH FCEFHDNGCEW 3_fJFOGCE ^COJEOGLHHR _JRCEY OUJ
#& IJICKGLHGhJN UCP L YGN^DOJ _JOPJJE OUJ 8JKKCK          #& NFC^JW
#' 2FKJJEGEV 1JEOJK LEY OUJ 749 PCDHY _J KJNCHSJYd        #'         4B A/W ,44,2;
#(         A2W X30X36B; 3cLRW 9 LI VCGEV OC C_fJFO        #( ?W 9N OUJKJ L YCFDIJEO OULOZN FLHHJY 02-AM"d
#) OULO OULO FLHHN [CK L HJVLH FCEFHDNGCEW ,EY 9 LI       "N &' 4 A)-12689 *)-X6 T-)='
#* VCGEV OC C_fJFO _LNJY CE OUJ NFC^J C[ OUJ ^KCOJFOGSJ   #* ?W 9N OUJKJ L YCFDIJEO FLHHJY 02-AM$d
$+ CKYJKW 9 LI VCGEV OC LVLGE C_fJFO GENC[LK LN OUGN      $? &' 4 *)-X6 T-)='
$# LENPJK FLHHN [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[     $# ?W 9N OUJKJ L YCFDIJEO FLHHJY 02-AM#d
$$ LECOUJK LVJEFRW AKW <KCU FLE LENPJK LN OC UGN          $$ &' 4 *)-X6 T-)='
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
Case 1:16-cv-00375-AJT-JFA Document 306-28 Filed 03/12/19 Page 17 of 100 PageID#
                                     14262
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 ") #). $% -/'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   &(                                                      &*
#          A/W ,44,2; ,KGhCEL> 9EYGLELW                   #     ?W TUR YGY OUJ 8JKKCK 2FKJJEGEV 1JEOJK
$          4B A/W ,44,2;                                  $ FKJLOJ OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd
"      ?W TUC GN KJN^CENG_HJ [CK ^KCIDHVLOGEV             "         A2W X30X36B; 3_fJFOGCEW ]LVDJW
% 02-AM%d                                                 % 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE OULO ILR _J
&          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L            & ND_fJFO OC OUJ HLP JE[CKFJIJEO ^KGSGHJVJ CK OUJ
' HJVLH FCEFHDNGCEW 3_fJFOGCEW 4JRCEY OUJ NFC^J C[        ' NOLOJ NJFKJON ^KGSGHJVJW BCD FLE LENPJK OC OUJ
( OUJ ^KCOJFOGSJ CKYJK JEOJKJY _R OUJ FCDKOW              ( J\OJEO OULO RCD FLEW
) 3_fJFOGCE GENC[LK LN OUGN GE[CKILOGCE FLHHN [CK         )         85. T980.22; 8C [DH[GHH CDK ILEYLOJ> OC
* GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ LECOUJK LVJEFRW       * FCENCHGYLOJ OUJ SLKGCDN PLOFUMHGNOJY CK SLKGCDN
#+ AKW <KCU FLEECO _GEY LECOUJK LVJEFR PGOU UGN LENPJKW   #+ PLOFU HGNON OULO J\GNOJY _J[CKJ *j##W
## 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW         ##        4B A/W ,44,2;
#$         A/W ,44,2; 1LE PJ fDNO MM 9ZI NCKKRW           #$ ?W =GY MM ULN OUJ 8JKKCK 2FKJJEGEV 1JEOJK MM
#" 1LE PJ fDNO ILcJ OULO MM 9 IJLE> OULO C_fJFOGCE GN     #" 9 LI NCKKRW 5LN OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ
#% L^^HGFL_HJ OC JSJKR NGEVHJ gDJNOGCE 9 PGHH LNc OULO    #% LHPLRN ULY GEFHDNGCE NOLEYLKYNd
#& AKW <KCUZN OJNOGICER OCYLR GN ECO VCGEV OC _GEY LER    #&        A2W X30X36B; 3_fJFOGCEW ]LVDJ
#' COUJK LVJEFR _JFLDNJ GO FLEZOW 9 LI ECO LNcGEV UGI     #' C_fJFOGCEW
#( OC _GEY LER COUJK LVJEFRW 1LE PJ fDNO NOG^DHLOJ>       #(        4B A/W ,44,2;
#) [CK OUJ KJFCKY> OULO JSJKR NGEVHJ gDJNOGCE 9 LNc       #) ?W 9 LI VCGEV OC PGOUYKLPW 9ZI VCGEV OC
#* OULO RCD PGHH ILcJ OUJ C_fJFOGCE OULO AKW <KCU         #* PGOUYKLP OULO gDJNOGCEW TULO LKJ OUJ OJKKCK
$+ OJNOGICERZN FLEECO _GEY COUJK LVJEFGJNd                $+ NFKJJEGEV YLOL_LNJN GEFHDNGCE NOLEYLKYNd
$#         A2W X30X36B; 8UJKJ LKJ gDJNOGCEN RCD           $#        A2W X30X36B; 3_fJFOGCEW ]LVDJW
$$ FCDHY LNc OULO PCDHY VC NGI^HR OC PULO OUJ 821 YCJN    $$ 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE PGOUGE OUJ HLP
                                                   &)                                                      '+
# OULO PCDHY _GEY OUJ LVJEFRW ,EY 9 OUGEc OC ILcJ L       # JE[CKFJIJEO ^KGSGHJVJ> NOLOJ NJFKJON ^KGSGHJVJ> 229W
$ FHJLK KJFCKY> 9 OUGEc 9 EJJY OC ILcJ OUJ C_fJFOGCE      $ BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
" PUJE RCD LKJ NOKLRGEV CDONGYJ C[ OUCNJ HGEJNW           "          85. T980.22; <JEJKLHHR> OUJ NOLEYLKY [CK
%          4B A/W ,44,2;                                  % GEFHDNGCE GN OULO PJ ULSJ IGEGIDI _GCVKL^UGF
&      ?W TUC YJFGYJY PULO OUJ FCEOJEON C[ 02-AM%         & GE[CKILOGCE LEY OULO GO IJJON OUJ KJLNCEL_HJ
' PCDHY _Jd                                               ' NDN^GFGCE NOLEYLKYW
U      &' &- PFG\ .2 2./-1* B9 6A1 K,12.*1-6 )C 6A1       (          4B A/W ,44,2;
N S-.61* F67612'                                          )      ?W 5LN OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ LHPLRN
*      ?W =CJN 02-AM% KJVLKY ILOOJKN OULO YC ECO          * ULY L KJLNCEL_HJ NDN^GFGCE MM 9 LI NCKKRW 5LN OUJ
#+ GEFHDYJ OUJ 82=4d                                      #+ 8JKKCK 2FKJJEGEV =LOL_LNJ LHPLRN ULY OUJ NLIJ
##         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 ## GEFHDNGCE NOLEYLKYd
#$ 3_fJFOGCEW   1LHHN [CK L HJVLH FCEFHDNGCEW             #$         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#" 3_fJFOGCEW 4JRCEY OUJ NFC^J C[ OUJ ^KCOJFOGSJ          #" 3_fJFOGCEW 4JRCEY OUJ NFC^J C[ OUJ ^KCOJFOGSJ
#% CKYJKW 3_fJFOGCE GENC[LK LN OUGN GE[CKILOGCE FLHHN     #% CKYJKW 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE PGOUGE OUJ
#& LEY MM OUGN gDJNOGCE FLHHN [CK GE[CKILOGCE PGOUGE      #& HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR NOLOJ
#' OUJ ^DKSGJP C[ COUJK LVJEFGJNW                         #' NJFKJON> ^COJEOGLHHR 229W BCD FLE LENPJK OC OUJ
#(         85. T980.22; 9 _JHGJSJ GO VCSJKEN OUJ          #( J\OJEO OULO RCD FLEW
#) [DEFOGCEGEV VJEJKLHHR C[ OUJ 0LOGCELH 2JFDKGOR         #)         85. T980.22; <JEJKLHHR> 9 _JHGJSJ GO ULN
#* 1CDEFGH> PUGFU PCDHY FJKOLGEHR GEFHDYJ ILER ILOOJKN    #* LHPLRN _JJE OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKYW
$+ OULO LKJ CDONGYJ OUJ NFC^J C[ OUJ 821 CK OUJ TLOFU     $+         4B A/W ,44,2;
$# 6GNOGEV .EOJK^KGNJW                                    $# ?W TUJE PLN OUJ 82=4ZN GEFHDNGCE NOLEYLKYN
$$         4B A/W ,44,2;                                  $$ [GKNO JNOL_HGNUJYd 9 LI VCGEV OC KJ^UKLNJ OULO
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14263
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  "- #-" $% -&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  '#                                                        '"
# gDJNOGCEW TUJE YGY OUJ GEFHDNGCE NOLEYLKYN C[ OUJ      # LYYGOGCELH NOLEYLKYN [CK CDONGYJ C[ OUJ X28
$ 82=4 [GKNO FCIJ GEOC _JGEVd                            $ NOLEYLKYW 7CK GENOLEFJ> OUJ FKGOJKGL [CK EC [HR LEY
"          A2W X30X36B; 3_fJFOGCEW ]LVDJW                " NJHJFOJJ ND_FCI^CJEON C[ OUJ 82=4W
% 3_fJFOGCEW 4JRCEY OUJ NFC^J C[ OUJ ^KCOJFOGSJ          %          4B A/W ,44,2;
& CKYJKW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW      &      ?W 1LE RCD _J CE OUJ NJHJFOJJ HGNO LEY ECO
'          85. T980.22; 9 YCEZO cECP ^KJFGNJHR PUJE      ' CE MM 9 LI NCKKRW 1LE RCD _J CE OUJ NJHJFOJJ HGNO
( OUJ [GKNO OGIJ OUJ YJ[GEGOGCE PLN PKGOOJE YCPE VCGEV   ( LEY ECO CE OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd 6JO IJ
) _LFc OC IR ^KJSGCDN LENPJKN L_CDO PUJE OUJ TLOFU       ) NOLKO LVLGEW 1LE L ^JKNCE _J CE L NJHJFOJJ HGNO _DO
* 6GNOGEV <DGYLEFJ PLN [GKNO ^KCIDHVLOJYW 4DO 9 YCEZO    * ECO GE OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd
#+ _JHGJSJ OULO OUJKJ PLN JSJK L YG[[JKJEO NOLEYLKY      "? &' P)'
## DNJYW 2C PUJEJSJK OUJ 82=4 LFODLHHR NOLKOJY           ## ?W 1LE L ^JKNCE _J CE OUJ 0CM7HR 6GNO _DO
#$ C^JKLOGEV> OULO PCDHY ULSJ _JJE OUJ OGIJ OUJ          #$ ECO CE OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd
#" KJLNCEL_HJ NDN^GFGCE NOLEYLKY _JVLE OC _J DNJYW       "# &' P)'
#%         4B A/W ,44,2;                                 #% ?W 2C JSJKRCEJ CE L NJHJFOJJ HGNO LEY OUJ
#& ?W ,EY GO ULN LHPLRN _JJE OUJ NLIJd                   #& 0CM7HR 6GNO GN LHNC GE OUJ 8JKKCK 2FKJJEGEV
#'         A2W X30X36B; 3_fJFOGCEW                       #' =LOL_LNJ> FCKKJFOd
#( AGNFULKLFOJKGhJN ^KGCK OJNOGICERW                     "U &' @A76 .2 >),,1>6'
#)         4B A/W ,44,2;                                 #) ?W 1LE L ^JKNCE _J GEFHDYJY CE OUJ OJKKCK MM
#* ?W 9 LI NCKKRW 6JO IJ PGOUYKLP OULO                   #* 9 LI NCKKRW 5LN OUJ MM FLE L ^JKNCE _J GEFHDYJY GE
$+ gDJNOGCEW 8UJ 82=4 GEFHDNGCE NOLEYLKY ULN LHPLRN      $+ OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ LEY ECO NLOGN[R 82=4ZN
$# _JJE OUJ NLIJ> FCKKJFOd                               $# GEFHDNGCE NOLEYLKYd
$$         A2W X30X36B; 3_fJFOGCEW                       $$         A2W X30X36B; 3_fJFOGCEW 9 LI VCGEV OC
                                                  '$                                                        '%
# AGNFULKLFOJKGhJN ^KGCK OJNOGICERW                      # C_fJFO CE OUJ VKCDEY C[ SLVDJEJNNW ,HNC>
$          85. T980.22; 8C OUJ _JNO C[ IR                $ ^COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ
" cECPHJYVJ> OUJ CSJKLHH NOLEYLKY ULN _JJE OUJ NLIJW     " GE[CKILOGCE LEY ^COJEOGLHHR NOLOJ NJFKJONW BCD FLE
%          4B A/W ,44,2;                                 % LENPJK OC OUJ J\OJEO OULO RCD FLEW
&      ?W ,EY PULO YC RCD IJLE _R MM OUJ CSJKLHH GN      &         85. T980.22; 1LE RCD KJNOLOJ OUJ ^KJFGNJ
' L HGOOHJ NgDGNURW 8UJ 82=4 GEFHDNGCE NOLEYLKY ULN      ' gDJNOGCEd
( LHPLRN _JJE OUJ NLIJ> FCKKJFOd                         (         A/W ,44,2; 1LE RCD KJLY _LFc OUJ
N      &' @A1 ,172)-7B81 2D2K.>.)- 267-*7,* A72          ) gDJNOGCEd
% 78=792 B11-3 6) +9 T-)=81*/13 6A1 27+1'                *         `8UJ KJLY PLN KJLYWa
#+ ?W 9N OUJKJ LECOUJK 82=4 GEFHDNGCE NOLEYLKYd          #+        A2W X30X36B; 2LIJ C_fJFOGCEW
##         A2W X30X36B; 3_fJFOGCEW ]LVDJW                ##        85. T980.22; TULO YC RCD IJLE _R OUJ
#$ 3_fJFOGCEW -COJEOGLH MM                               #$ 82=4 GEFHDNGCE NOLEYLKYd 2CKKRW
#"         4B A/W ,44,2;                                 #"        4B A/W ,44,2;
#% ?W ,EY 9 LI NCKKRW 6JO IJ PGOUYKLP OULO               #% ?W BCD OJNOG[GJY OULO OUJ 82=4 GEFHDNGCE
#& gDJNOGCEW 9N OUJKJ LECOUJK 82=4 GEFHDNGCE NOLEYLKY    #& NOLEYLKY GN L KJLNCEL_HJ NDN^GFGCE NOLEYLKY>
#' COUJK OULE OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKY OULO     #' FCKKJFOd
#( RCD IJEOGCEJYd                                        "U &' 5),,1>6'
#)         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #) ?W TJ PGHH MM 9 PGHH LNc RCD NCIJ ICKJ
#* 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO CK   #* gDJNOGCEN L_CDO OUJ FCENJEO C[ OULO KJLNCEL_HJ
$+ NOLOJ NJFKJONM^KGSGHJVJY GE[CKILOGCEW BCD FLE         $+ NDN^GFGCE NOLEYLKYW 4DO KGVUO ECP 9 fDNO PLEO OC
$# LENPJK OC OUJ J\OJEO OULO RCD FLEW                    $# cECP FLE L ^JKNCE _J GE OUJ OJKKCK NFKJJEGEV YLOL MM
$$         85. T980.22; 2C OUJKJ LKJ FJKOLGEHR           $$ 9 LI NCKKRW 1LE 821 GEFHDYJ L ^JKNCE GE OUJ 8JKKCK
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14264
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                ". #-) $% -*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   '&                                                      '(
# 2FKJJEGEV =LOL_LNJ OULO YCJN ECO NLOGN[R OUJ 82=4      # ULSJ ECO PCKcJY LO OUJ 821> NC 9 YCEZO cECP RCDK
$ GEFHDNGCE NOLEYLKYd                                    $ HLEVDLVJW
"           A2W X30X36B; 3_fJFOGCEW ]LVDJW               #      &' 4 D-*1,267-*'
% 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO CK    %      ?W =CJN OUJ 821 MM HJO IJ OKR LNcGEV OUJ
& NOLOJ NJFKJON GE[CKILOGCEW 4DO RCD FLE LENPJK OC       & gDJNOGCE L YG[[JKJEO PLRW =CJN OUJ 821 L^^HR OUJ
' OUJ J\OJEO OULO RCD FLEW                               ' NLIJ NOLEYLKY OC JSJKR ^JKNCE GE OUJ 8JKKCK
(           85. T980.22; 8UJKJ LKJ HGIGOJY ^DK^CNJN      ( 2FKJJEGEV =LOL_LNJd
) [CK PUGFU GEYGSGYDLHN PUC YC ECO IJJO OUJ KJLNCEL_HJ   )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
* NDN^GFGCE NOLEYLKY FLE _J GEFHDYJY GE OUJ 8JKKCK       * 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE OULOZN ^COJEOGLHHR
#+ 2FKJJEGEV =LOL_LNJ GE CKYJK OC [LFGHGOLOJ NFKJJEGEV   #+ MM L [DHH LENPJK ILR FLHH [CK GE[CKILOGCE ^KCOJFOJY
## ^KCFJNNJN N^JFG[GFLHHR [CK OUJ =J^LKOIJEO C[          ## _R OUJ HLP JE[CKFJIJEO CK NOLOJ NJFKJON ^KGSGHJVJW
#$ 5CIJHLEY 2JFDKGOR LEY =J^LKOIJEO C[ 2OLOJW            #$ 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
#"          4B A/W ,44,2;                                #"         85. T980.22; 9 _JHGJSJ> LN 9 fDNO
#% ?W 2C OUJ 8JKKCK 2FKJJEGEV 1JEOJK YCJN ECO            #% OJNOG[GJY> OUJ LENPJK OC OULO GN ECW
#& L^^HR OUJ 82=4 GEFHDNGCE NOLEYLKYN OC JSJKR ^JKNCE    #&         4B A/W ,44,2;
#' OULO GN GE OUJ 82=4d                                  #' ?W TUR YCJNEZO OUJ 8JKKCK 2FKJJEGEV 1JEOJK
#(          A2W X30X36B; 3_fJFOGCEW ]LVDJW 1LHHN         #( L^^HR OUJ NLIJ NOLEYLKYN OC JSJKR ^JKNCE GE OUJ
#) [CK MM C_fJFOGCEW ]LVDJW                              #) 8JKKCK 2FKJJEGEV 1JEOJKd 9 LI NCKKRW 6JO IJ NOLKO
#*          85. T980.22; 9 PCDHY FHLKG[R OULO RCD        #* OULO LVLGEW TUR YCJNEZO OUJ 8JKKCK 2FKJJEGEV 1JEOJK
$+ cJJ^ DNJ OUJ PCKY 82=4 GEFHDNGCE NOLEYLKYW 8ULOZN     $+ L^^HR OUJ NLIJ NOLEYLKY OC JLFU ^JKNCE GE OUJ 8JKKCK
$# ECO L PCKY 9 ULSJ DNJYW 9 PCDHY NLR OULO GN OUJ       $# 2FKJJEGEV =LOL_LNJd
$$ KJLNCEL_HJ NDN^GFGCE NOLEYLKY OULOZN L^^HGJY OC       $$         A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                                   ''                                                      ')
# cECPE CK NDN^JFOJY OJKKCKGNONW                         # 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE ^COJEOGLHHR
$          4B A/W ,44,2;                                 $ ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK NOLOJ NJFKJON
"      ?W 2C PJ LKJ VCGEV OC LKVDJ MM ECO LKVDJW 9       " ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
% LI VCGEV OC LNc RCD gDJNOGCEN L_CDO OUJ FCEOJEO C[     % FLEW
& OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKYW ,EY 9 LI DNGEV      &          85. T980.22; 4JFLDNJ PJ PJKJ YGKJFOJY _R
' OUJ GEFHDNGCE NOLEYLKY> _JFLDNJ 9 YCEZO OUGEc GO GN    ' OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH GE FJKOLGE
( L KJLNCEL_HJ NDN^GFGCE NOLEYLKYW 4DO GN OUJ            ( GENOLEFJN [CK FJKOLGE ^DK^CNJN OC L^^HR L YG[[JKJEO
) NOLEYLKY OULO 821 L^^HGJN OC YJOJKIGEJ PUJOUJK         ) NOLEYLKYW
* NCIJCEJ GN GEFHDYJY GE OUJ 82=4> RCD KJ[JK OC OULO     *          4B A/W ,44,2;
#+ LN OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKY> FCKKJFOd        #+ ?W TUJE YGY OUJ TLOFU 6GNOGEV ,YSGNCKR
"" &' @A76 .2 >),,1>6'                                   ## 1CDEFGH OJHH OUJ 8JKKCK 2FKJJEGEV 1JEOJK OC
#$ ?W 3cLRW 9 KJ[JK OC OULO LN OUJ GEFHDNGCE             #$ JNOL_HGNU J\FJ^OGCEN OC PULO RCD LKJ FLHHGEV OUJ
#" NOLEYLKYW                                             #" KJLNCEL_HJ NDN^GFGCE NOLEYLKY C[ OUJ 82=4d
"; &' OT79' 4 7+ ^D26 279.-/ 6A76 +9 >)->1,-             #%         A2W X30X36B; 3_fJFOGCEW ]LVDJW
"< 7B)D6 6A76 .2 K,1>.2.)- .2 .+K),67-6 A1,1'            #& 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO
#' ?W 3[ FCDKNJW                                         #' NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO
"U &' 46 .2 /).-/ 6) B1 >)-CD2.-/ /).-/                  #( OULO RCD FLE LENPJKW ,EY 229W
"N C),=7,*' &-* =1 +79 A7M1 6) T11K >87,.C9.-/ 6A.2      #)         85. T980.22; 9 OUGEc 9 FLE CEHR VGSJ L
"% B1>7D21 6A.2 .2 >)+K81L 26DCC' F) =1 A7M1 /)6 6) B1   #* VJEJKLH LENPJK OC OULO OC NLR OULO PLN L[OJK $++*W
$? K,1>.21'                                              $+         4B A/W ,44,2;
$# ?W ,EY 9 L^^KJFGLOJ RCD PCKcGEV OCVJOUJK              $# ?W 3cLRW ,KJ OUJ J\FJ^OGCEN OC OUJ 82=4
$$ PGOU IJ LN PJ LKJ OKRGEV OC FHLKG[R OUJ HLEVDLVJW 9   $$ GEFHDNGCE NOLEYLKYN IJICKGLHGhJY GE OUJ YCFDIJEOd
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14265
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   "* #-, $% .('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  '*                                                         (#
#          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 # OUJKJ GN OPC J\FJ^OGCEN CK %+ J\FJ^OGCENW BCD LKJ
$ 3_fJFOGCEW -COJEOGLHHR FLHHN [CK GE[CKILOGCE PGOUGE     $ LNNJKOGEV OUJ NOLOJ NJFKJON ^KGSGHJVJ LEY OUJ HLP
" OUJ HLP JE[CKFJIJEO CK NOLOJ NJFKJON ^KGSGHJVJNW        " JE[CKFJIJEO ^KGSGHJVJ CSJK OUJ EDI_JK C[ J\FJ^OGCEN
% BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW              % OC OUJ 82=4 GEFHDNGCE NOLEYLKYNd
&          85. T980.22; 9 OUGEc OUJR PCDHY _J             &          A2W X30X36B; AR C_fJFOGCE GN CE OUJ
'  IJICKGLHGhJY    GE SLKGCDN YCFDIJEONW                  ' KJFCKYW
(          4B A/W ,44,2;                                  (          A/W ,44,2; 9 LI FHLKG[RGEVW ,KJ RCD
)      ?W TULO YCFDIJEON IJICKGLHGhJY OUJ SLKGCDN         ) C_fJFOGEVd ,KJ RCD LNNJKOGEV OUJ NOLOJ NJFKJON
* J\FJ^OGCEN OC OUJ 82=4ZN GEFHDNGCE NOLEYLKYd            * ^KGSGHJVJ LEY OUJ HLP JE[CKFJIJEO ^KGSGHJVJ CSJK OUJ
#+         A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ       #+ EDI_JK C[ J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKYd
## _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR     ##         A2W X30X36B; AR C_fJFOGCE GN CE OUJ
#$ NOLOJ NJFKJONW 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN      #$ KJFCKYW ,EY RJN> 9 LIW
#" ECO OC LENPJK OULO gDJNOGCEW                           #"         4B A/W ,44,2;
#%         A/W ,44,2; 9 LI fDNO LNcGEV [CK OUJ            #% ?W 1CDHY OUJ ^KJNGYJEO CKYJK OUJ 8JKKCK
#& OGOHJN C[ OUJ YCFDIJEONW ,KJ RCD LNNJKOGEV OUJ MM      #& 2FKJJEGEV 1JEOJK OC ^HLFJ L ^JKNCE GE OUJ 82=4 PUC
#' PULO ^KGSGHJVJN LKJ RCD LNNJKOGEV CSJK OUJ OGOHJN C[   #' YGY ECO NLOGN[R OUJ 82=4 GEFHDNGCE NOLEYLKYd
#( OUJ YCFDIJEO OULO IJICKGLHGhJY OUJ J\FJ^OGCEN OC OUJ   #(         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#) 82=4 GEFHDNGCE NOLEYLKYNd                              #) HJVLH FCEFHDNGCEW 3_fJFOGCEW ]LVDJW 3_fJFOGCEW
#*         A2W X30X36B; 6LP JE[CKFJIJEO>                  #* 1LHHN [CK N^JFDHLOGCEW 3_fJFOGCEW -COJEOGLHHR HLP
$+ ^COJEOGLHHR NOLOJ NJFKJONW 9 LI GENOKDFOGEV UGI ECO    $+ JE[CKFJIJEO CK NOLOJ NJFKJONW 4DO RCD FLE LENPJK G[
$# OC LENPJKW                                             $# RCD FLEW
$$         A/W ,44,2; 3SJK OUJ ELIJN C[ OUJ               $$         85. T980.22; 9 OUGEc> ND_fJFO OC OUJ
                                                  (+                                                         ($
# YCFDIJEONd                                              # 1CENOGODOGCE LEY HLPN C[ OUJ @EGOJY 2OLOJN> OUJ
$          A2W X30X36B; AR C_fJFOGCE GN CE OUJ            $ ^KJNGYJEO DHOGILOJHR GN L ^LKO C[ OUJ .\JFDOGSJ
" KJFCKYW                                                 " 4KLEFU PUC FLE VGSJ CKYJKN OC OUJ 821> PUGFU FCDHY
%          4B A/W ,44,2;                                  % GEFHDYJ PULO RCD LKJ YJNFKG_GEVW
&      ?W 9N OUJ PLOFU HGNOGEV MM YCJN OUJ TLOFU          &          4B A/W ,44,2;
' 6GNOGEV <DGYLEFJ LKOGFDHLOJ OUJ J\FJ^OGCEN OC OUJ       '      ?W 9N OUJ 82=4 GEFHDNGCE NOLEYLKY MM EJSJK
( 82=4 GEFHDNGCE NOLEYLKYNd                               (  IGEYW   ,KJ OUJKJ ICKJ OULE [GSJ J\FJ^OGCEN OC OUJ
)          A2W X30X36B; 3_fJFOGCEW 9 LI VCGEV OC          ) 82=4 GEFHDNGCE NOLEYLKYNd
* C_fJFO CE OUJ _LNGN C[ HLP JE[CKFJIJEO ^KGSGHJVJ>       *          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ
#+ ^COJEOGLHHR NOLOJ NJFKJONW ,EY 9 LI VCGEV OC           #+ _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR
## GENOKDFO OUJ PGOEJNN ECO OC LENPJK OULO gDJNOGCEW      ## OUJ NOLOJ NJFKJON ^KGSGHJVJW ,EY 9 LI VCGEV OC
#$         4B A/W ,44,2;                                  #$ GENOKDFO OUJ PGOEJNN ECO OC LENPJK OULO gDJNOGCEW
#" ?W 5CP ILER J\FJ^OGCEN LKJ OUJKJ OC OUJ 82=4           #"         4B A/W ,44,2;
#% GEFHDNGCE NOLEYLKYd                                    #% ?W ,KJ OUJKJ ICKJ OULE #+ J\FJ^OGCEN OC OUJ
#&         A2W X30X36B; 9 LI VCGEV OC LVLGE C_fJFO        #& 82=4 GEFHDNGCE NOLEYLKYNd
#' CE OUJ _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ>         #'         A2W X30X36B; 9 LI VCGEV OC LVLGE C_fJFO
#( ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW ,EY 9 LI      #( CE  OUJ _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ>
#) VCGEV OC> LVLGE> GENOKDFO OUJ PGOEJNN ECO OC LENPJK    #) ^COJEOGLHHR NOLOJ NJFKJON> LEY GENOKDFO OUJ PGOEJNN
#* OULO gDJNOGCEW                                         #* ECO OC LENPJKW
$+         A/W ,44,2; 5CP ILER MM RCD LKJ LNNJKOGEV       $+         4B A/W ,44,2;
$# OUJ ^KGSGHJVJ CSJK UCP ILER MM UJ NLGY OULO OUJKJ      $# ?W 8UJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
$$ LKJ SLKGCDN J\FJ^OGCENW 9 PLEO OC cECP PUJOUJK         $$ FKJLOJY J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKYN
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 ", #.+ $% .-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   ("                                                       (&
# GE $++*> FCKKJFOd                                       # TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH ULN GNNDJY EJP
$          A2W X30X36B; 3_fJFOGCEW                        $ J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKY> RCD LKJ
" AGNFULKLFOJKGhJN ^KGCK OJNOGICERW 3_fJFOGCEW            " LNNJKOGEV OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY OUJ
% ]LVDJW                                                  % NOLOJ NJFKJON ^KGSGHJVJ CSJK OUJ EDI_JK C[ OGIJN
&          85. T980.22; 9 LI fDNO OJNOG[RGEV OULO         & OULO OUJ 82=4 GEFHDNGCE NOLEYLKYN ULSJ ULY
' GO PLN L[OJK $++* MM YDKGEV CK L[OJK $++*W              ' J\FJ^OGCEN ILYJ OC OUJId
(          4B A/W ,44,2;                                  (         A2W X30X36B; AR C_fJFOGCE GN CE OUJ
)      ?W 2C RCD LKJ ECO NDKJ LN OC OUJ RJLKW 4DO         ) KJFCKY LEY RJNW
* GO PLN LO HJLNO L[OJK $++* OULO OUJ J\FJ^OGCEN PJKJ     *         4B A/W ,44,2;
#+ FKJLOJYd                                               #+ ?W 5LN OUJ MM 9 LI NCKKRW 5LN OUJ TLOFU
"" &' @A76X2 >),,1>6'                                     ## 6GNOGEV ,YSGNCKR 1CDEFGH GNNDJY MM 9 LI NCKKRW 5LN
#$ ?W -KGCK OC $++*> PJKJ OUJKJ LER J\FJ^OGCEN            #$ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH FKJLOJY
#" OC OUJ 82=4 GEFHDNGCE NOLEYLKYd                        #" J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKYN CE
#%         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #% IDHOG^HJ CFFLNGCENd
#& 3_fJFOGCEW 2FC^J C[ OUJ ^KCOJFOGSJ CKYJKW BCD FLE      #&        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#' LENPJK OC OUJ J\OJEO OULO RCD cECPW                    #' GE[CKILOGCE PGOUGE OUJ HLP JE[CKFJIJEO ^KGSGHJVJ>
#(         85. T980.22; 9 YCEZO _JHGJSJ NCW               #( ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW ,EY 9 LI
#)         4B A/W ,44,2;                                  #) VCGEV OC GENOKDFO UGI ECO OC LENPJK OULO gDJNOGCEW
#* ?W TUR YGY OUJ 8JKKCK 2FKJJEGEV 1JEOJK                 #*        A/W ,44,2; TUJOUJK CK ECO OUJ TLOFU
$+ FKJLOJ J\FJ^OGCEN MM 9 LI NCKKRW BCDK OJNOGICER GN     $+ 6GNOGEV ,YSGNCKR 1CDEFGH ULN YCEJ NC CE IDHOG^HJ
$# OULO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH FKJLOJY OUJ    $# CFFLNGCENd 8ULOZN ^COJEOGLHHR L NOLOJ NJFKJO G[
$$ J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKYN> FCKKJFOd   $$ OUJR ULSJ YCEJ GO OPGFJ CK OUKJJ CK ICKJ OULE CEFJd
                                                   (%                                                       ('
#         A2W X30X36B; 3_fJFOGCEW ]LVDJW                  # BCD ULSJ OCHY IJ OULO OUJR ULSJ YCEJ GO CEFJW TUR
$         85. T980.22; 9 IJLE> fDNO VGSJE OUJ PCKY        $ FLEZO AKW <KCU OJHH IJ G[ GO ULN UL^^JEJY ICKJ OULE
" FKJLOJY> _DO J[[JFOGSJHR LVKJJ OULO OUJKJ PCDHY _J      " CEFJd TULOZN OUJ MM
% J\FJ^OGCENW                                             %           A2W X30X36B; AR C_fJFOGCE GN CE OUJ
&         4B A/W ,44,2;                                   & KJFCKYW 8UJ GENOKDFOGCE NOLEYNW BCD LKJ PJHFCIJ OC
'     ?W TULO PLN OUJ KLOGCELHJ C[ OUJ TLOFU              ' LNc RCDK EJ\O gDJNOGCEW
( 6GNOGEV MM 9ZI NCKKRW TULO PLN OUJ KLOGCELHJ C[ OUJ     (           4B A/W ,44,2;
) TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH PUJE GO FKJLOJY          )      ?W ,KJ OUJKJ ^JKNCEN HGNOJY GE OUJ 8JKKCK
* J\FJ^OGCEN OC OUJ 82=4 GEFHDNGCE NOLEYLKYd              * 2FKJJEGEV =LOL_LNJ [CK PUCI OUJ 821 HLFcN KJLNCEL_HJ
#+        A2W X30X36B; 3_fJFOGCEW 8ULO FLHHN [CK          #+ NDN^GFGCE OULO OUJR LKJ L cECPE CK NDN^JFOJY
## GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           ## OJKKCKGNOd
#$ ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW 9      #$          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR
#" LI GENOKDFOGEV OUJ PGOEJNN ECO OC LENPJKW              #" FLHHN [CK HLP JE[CKFJIJEO> ^COJEOGLHHR NOLOJ
#%        4B A/W ,44,2;                                   #% NJFKJONW BCD FLE LENPJK OULO G[ RCD FLEW
#&    ?W   3E UCP ILER CFFLNGCEN ULN OUJ TLOFU            #&          85. T980.22; 9 PCDHY NLR OULO> RJN> PGOU
#' 6GNOGEV ,YSGNCKR 1CDEFGH FKJLOJY J\FJ^OGCEN OC OUJ     #' L FLSJLO OULO OUCNJ GEYGSGYDLHN LKJ GE OUJKJ [CK
#( 82=4 GEFHDNGCE NOLEYLKYd                               #( HGIGOJY ^DK^CNJNW ,EY NC _JGEV GE OUJ YLOL_LNJ GN
#)        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK               #) ECO OUJ NLIJ LN _JGEV LSLGHL_HJ OC LHH ^COJEOGLH
#* GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #* NFKJJEJKNW
$+ ^KGSGHJVJ> ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW    $+          4B A/W ,44,2;
$# 9 LI GENOKDFOGEV OUJ PGOEJNN ECO OC LENPJKW            $# ?W TULO LKJ OUJ HGIGOJY ^DK^CNJN OULO 821 MM
$$        A/W ,44,2; 8UJ EDI_JK C[ OGIJN OULO OUJ         $$ 9 LI NCKKRW 6JO IJ NOLKO LHH CSJKW TULO LKJ OUJ
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                         8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 (/ #.. $% */'

                                        1CEYDFOJY CE ALKFU #> $+#)
                                                     ((                                                     (*
# HGIGOJY ^DK^CNJN [CK PUGFU OUJ 821 PGHH LHHCP LE         # LPLKJ C[ FJKOLGE YCFDIJEONW 9 LNNDIJ OUJKJ LKJ
$ GEYGSGYDLH OC _J GEFHDYJY GE OUJ 82=4 PUC YCJN ECO       $ COUJK YCFDIJEONW
" NLOGN[R OUJ 82=4 GEFHDNGCE NOLEYLKYd                     "          A/W ,44,2; ,KGhCELW
%           A2W X30X36B; 3_fJFOGCEW ,NcJY LEY              %          4B A/W ,44,2;
& LENPJKJYW 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE               &      ?W TULO YCFDIJEON IJICKGLHGhJY PULO
' ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ>              ' NFKJJEGEV =52 YCJN SGL OUJNJ 82=4 GEFHDNGCE NOLEYLKY
( ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW BCD FLE         ( J\FJ^OGCENd
) LENPJK OULO G[ RCD FLEW                                  )          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
*           85. T980.22; 2C LN 9 ^KJSGCDNHR NOLOJY>        * GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
#+ GO GN [CK NFKJJEGEV FCEYDFOJY _R OUJ =J^LKOIJEO C[      #+ ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW 3E
## 5CIJHLEY 2JFDKGOR LEY _R OUJ =J^LKOIJEO C[ 2OLOJW       ## OULO _LNGN> 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO
#$          4B A/W ,44,2;                                  #$ OC LENPJKW 5CPJSJK> 9 PGHH LHNC LYY OUJ C_fJFOGCE
#" ?W TULO NFKJJEGEV YCJN OUJ =J^LKOIJEO C[                #" OULO OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE PGOUGE
#% 5CIJHLEY 2JFDKGOR LEY OUJ =J^LKOIJEO C[ 2OLOJ YC SGL    #% OUJ ^DKSGJP C[ COUJK LVJEFGJN GE LER JSJEOW
#& OUJNJ 82=4 GEFHDNGCE NOLEYLKY J\FJ^OGCENd               #&         A/W ,44,2; 1LE RCD KJLY _LFc OUJ
#'          A2W X30X36B; 3_fJFOGCEW ,E LENPJK OC           #' gDJNOGCEW   9 [CKVCO GO LHKJLYRW 9 L^CHCVGhJW
#( OULO PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP    #(         `8UJ KJFCKY PLN KJLYWa
#) JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ         #)         A2W X30X36B; 9 LI LNNJKOGEV OUJ NLIJ
#* NJFKJON ^KGSGHJVJW 9 LI GENOKDFOGEV OUJ PGOEJNN ECO     #* ^KGSGHJVJ LEY GNNDGEV OUJ NLIJ GENOKDFOGCE ECO OC
$+ OC LENPJKW                                              $+ LENPJK OULO gDJNOGCEW
$#          4B A/W ,44,2;                                  $#         A/W ,44,2; BCD LKJ LNNJKOGEV OUJ HLP
$$ ?W 2C RCD FLE OJHH IJ PUGFU LVJEFR> _DO RCD             $$ JE[CKFJIJEO ^KGSGHJVJ LEY NOLOJ NJFKJON ^KGSGHJVJ
                                                     ()                                                     )+
# FLEZO OJHH IJ PULO OUJ LVJEFR YCJN PGOU OUJ              # CSJK OUJ ELIJ C[ OUJ YCFDIJEON OULO IJICKGLHGhJY OUJ
$ GE[CKILOGCEW ,EY fDNO OJHH IJ PULO 821ZN cECPHJYVJ       $ LVKJJIJEOW 9 LI NCKKRW AJICKGLHGhJY UCP =52
" GN C[ PULO OUCNJ OPC LVJEFGJN YC PGOU OUJ J\FJ^OGCEN     " DOGHGhJN OUJ 82=4 GEFHDNGCE NOLEYLKY J\FJ^OGCENW
% OC OUJ 824 GEFHDNGCE NOLEYLKYd                           %          A2W X30X36B; BJN> <LYJGKW AR C_fJFOGCE
&          A2W X30X36B; 9 PGHH LYY OUJ C_fJFOGCE           & GN CE OUJ KJFCKYW
' OULO OULO LENPJK PCDHY FLHH [CK GE[CKILOGCE PGOUGE       '          4B A/W ,44,2;
( OUJ ^DKSGJP C[ COUJK LVJEFGJNW ,EY =KW <KCU FCDHY        (      ?W   5CP ILER YCFDIJEON IJICKGLHGhJY UCP
) ECO _GEY MM AKW <KCU FCDHY ECO _GEY OUJIW 4DO 9 LI       ) =52 MM 9ZI NCKKRW 5CP ILER YCFDIJEON IJICKGLHGhJY
* GENOKDFOGEV OUJ PGOEJNN ECO OC LENPJK CE OUJ _LNGN       * UCP =52 DOGHGhJN OUJ 82=4 GEFHDNGCE NOLEYLKY
#+ C[ ^KGSGHJVJN 9 ULSJ LNNJKOJY UJKJ> PUGFU LKJ CE OUJ    #+ J\FJ^OGCEN [CK OUJGK NFKJJEGEVd
## KJFCKYW                                                 ##         A2W X30X36B; 3_fJFOGCE CE OUJ _LNGN C[
#$         4B A/W ,44,2;                                   #$ OUJ HLP JE[CKFJIJEO ^KGSGHJVJW -COJEOGLHHR NOLOJ
#" ?W 9N OUJKJ L YCFDIJEO OULO IJICKGLHGhJN UCP            #" NJFKJONW ,HNC> GO PCDHY FLHH [CK GE[CKILOGCE PGOUGE
#% =52 DOGHGhJN OUGN 82=4 GEFHDNGCE NOLEYLKY J\FJ^OGCE     #% OUJ ^DKSGJP C[ LECOUJK LVJEFRW 9 LI GENOKDFOGEV OUJ
#& [CK OUJGK NFKJJEGEV ^DK^CNJNd                           #& PGOEJNN ECO OC LENPJKW
#'         A2W X30X36B; 9 LI VCGEV OC C_fJFO OC            #'         A/W ,44,2; 3SJK OUJ EDI_JK C[ YCFDIJEONd
#( NFC^J  ^COJEOGLHHR _DO LHNC OUJ [LFO OULO OULO LENPJK   #(         A2W X30X36B; <LYJGK> IR C_fJFOGCE GN CE
#) PCDHY FLHH [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[        #) OUJ KJFCKYW
#* LECOUJK LVJEFRW ,EY NC> OUJKJ[CKJ> AKW <KCU FLEZO       #*         A/W ,44,2; 9 LI fDNO FHLKG[RGEVW 9 LI
$+ _GEY 82,W BCD FLE LENPJK> UCPJSJK> LN OC RCDK           $+ fDNO ILcGEV NDKJ C[ OULOW
$# DEYJKNOLEYGEVW                                          $#         A2W X30X36B; 9 DEYJKNOCCY OUJ gDJNOGCE>
$$         85. T980.22; BJNW 8UJKJ LKJ MM 9 LI             $$ LEY  IR  C_fJFOGCE GN CE OUJ KJFCKYW
                                             -6,0.8 =.-32
                                )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 (" #*" $% *&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    )#                                                      )"
#          A/W ,44,2; 2C RCD ULSJ LNNJKOJY OUJ HLP        #      ?W =CJN MM GN GO 821ZN DEYJKNOLEYGEV OULO
$ JE[CKFJIJEO ^KGSGHJVJ LEY OUJ NOLOJ NJFKJON             $ OUJ 749 DOGHGhJN OUJ 82=4 [CK GESJNOGVLOGSJ
" ^KGSGHJVJ CSJK OUJ ELIJN C[ OUJ YCFDIJEON LEY OUJ       " ^DK^CNJNd
% EDI_JK C[ YCFDIJEON OULO IJICKGLHGhJ OUJ PLRN OULO      %          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
& =52 DOGHGhJN OUJ 82=4 GEFHDNGCE NOLEYLKY J\FJ^OGCEN     & FLHHN [CK LE LENPJK OULO VCJN OC GE[CKILOGCE CPEJY
' [CK OUJGK NFKJJJEGEVW                                   ' _R LECOUJK LVJEFRW 4DO RCD FLE LENPJK LN OC RCDK
(          A2W X30X36B; BJN> <LYJGKW 9 DEYJKNOCCY         ( DEYJKNOLEYGEVW
) RCDK gDJNOGCEW ,EY 9 NOLOJY IR C_fJFOGCE LEY            )          85. T980.22; BJN> PJ ND^^CKO 749
* GENOKDFOGCE [CK OUJ KJFCKYW                             * GESJNOGVLOGCENW
#+         A/W ,44,2; 8ULEc RCDW                          #+ ?W =CJN OUJ 82=4 ND^^CKO 749 GESJNOGVLOGCEN
##         4B A/W ,44,2;                                  ## _R UJH^GEV OUJ 749 KJFKDGO GE[CKILEONd
#$ ?W TULO LKJ OUJ ^DK^CNJN C[ OUJ 8JKKCK                 #$         A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW
#" 2FKJJEGEV =LOL_LNJd                                    #" 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO> ^COJEOGLHHR
#%         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #% NOLOJ NJFKJONW BCD FLE LENPJK OC OUJ J\OJEO OULO
#& 3_fJFOGCEW -COJEOGLHHR FLHHN [CK GE[CKILOGCE PGOUGE    #& RCD FLEW
#' OUJ HLP JE[CKFJIJEO CK OUJ NOLOJ NJFKJON>              #'         85. T980.22; TJ ND^^CKO GESJNOGVLOGCENW
#( ^COJEOGLHHR 229W 4DO RCD FLE LENPJK OULO OC OUJ        #( 7KCI OGIJ OC OGIJ GESJNOGVLOGCEN HJLY OC OUJ
#) J\OJEO OULO RCD FLEW                                   #) KJFKDGOIJEO C[ GE[CKILEONW 4DO 9 PCDHYEZO NLR OUJKJ
#*         85. T980.22; 8UJ 82=4ZN ^DK^CNJ GN OC          #* GN LER YGKJFO KJHLOGCENUG^ _JOPJJE KJFKDGO
$+ FCENCHGYLOJ PULO CEFJ PJKJ YGN^LKLOJ PLOFUMHGNOJY MM   $+ GE[CKILEON LEY OUJ 82=4W
$# YGN^LKLOJ PLOFU HGNON OC ^KCSGYJ L FCIICE C^JKLOGEV    $#         4B A/W ,44,2;
$$ ^GFODKJ [CK OUJ GEOJHHGVJEFJ FCIIDEGOR NFKJJEJKN LEY   $$ ?W =CJN 821 ULSJ LER cECPHJYVJ OULO OUJ 749
                                                    )$                                                      )%
# OUJ HLP JE[CKFJIJEO FCIIDEGOR GE CKYJK OC _JOOJK        # DOGHGhJN OUJ 82=4 OC KJFKDGO GE[CKILEONd
$ ^KJSJEO OJKKCKGNIW                                      $          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP
"         4B A/W ,44,2;                                   " JE[CKFJIJEO CK NOLOJ NJFKJONW 3_fJFOGCEW ]LVDJW
%     ?W 9N OUJ ^DK^CNJ C[ OUJ 8JKKCK 2FKJJEGEV           % 3_fJFOGCEW -COJEOGLHHR FLHHN [CK GE[CKILOGCE PGOUGE
& =LOL_LNJ OC ^KJSJEO OJKKCKGNId                          & OUJ ^DKSGJP C[ LECOUJK LVJEFRW BCD FLE LENPJK OC
'         A2W X30X36B; 3_fJFOGCEW ]LVDJW                  ' OUJ J\OJEO OULO RCD FLEW
( 3_fJFOGCEW -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO        (          85. T980.22; ,N 9 ^KJSGCDNHR NOLOJY> PJ
) NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK G[ RCD FLEW       ) ND^^CKO GESJNOGVLOGCEN VJEJKLHHRW 8UJ 749 YCJN
*         4B A/W ,44,2;                                   * KJFKDGO GE[CKILEON> _DO 9 YCEZO OUGEc GO GN [LGK OC
#+ ?W 9 LI NCKKRW 9 LI VCGEV OC PGOUYKLP OULO             #+ YKLP cGEY C[ L YGKJFO KJHLOGCENUG^ _JOPJJE OUJ
## gDJNOGCEW 9 [CKVCO OC LNc L [JP gDJNOGCEN KJVLKYGEV    ## ^KJNJEFJ C[ 82=4 LEY _JGEV DNJY OC FCJKFJ ^JC^HJ OC
#$ OUJ GEFHDNGCE NOLEYLKYNW 2C 9 L^CHCVGhJ [CK fDI^GEV    #$ _JFCIGEV GE[CKILEONW
#" LKCDEYW 9 fDNO IGNNJY NCIJOUGEVW =CJN OUJ 821          #"         4B A/W ,44,2;
#% LHHCP OUJ 749 OC DOGHGhJ OUJ 82=4 OC FCJKFJ            #% ?W 9N OUJ KJFKDGOIJEO C[ GE[CKILEON LE
#& GEYGSGYDLHN GEOC _JFCIGEV GE[CKILEONd                  #& L^^KC^KGLOJ DNJ C[ OUJ 82=4 GE OUJ SGJP C[ 8JKKCK
#'        A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW             #' 2FKJJEGEV 1JEOJKd
#( 3_fJFOGCEW ]LVDJW 3_fJFOGCEW 1LHHN [CK HLP             #(         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#) JE[CKFJIJEO LEY ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJY   #) 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO ^KGSGHJVJYW
#* GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD     #* -COJEOGLHHR VCJN OC GE[CKILOGCE GE OUJ ^DKSGJP C[
$+ FLEW                                                   $+ LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ J\OJEO OULO
$#        85. T980.22; 0CW                                $# RCD FLEW
$$        A/W ,44,2;                                      $$         85. T980.22; AR C^GEGCE MM GELNIDFU LN
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14269
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                     (( #*) $% **'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  )&                                                           )(
# OUJKJ GN LE GESJNOGVLOGCE C[ LE GEYGSGYDLH> 9 OUGEc     # OUJ 749W
$ OULO GN L^^KC^KGLOJW 4DO OC [DHHR LENPJK RCDK           $          4B A/W ,44,2;
" gDJNOGCE> OULO PCDHY LNNDIJ L ^KJYGFLOJY                "      ?W 8UJ 8JKKCK 2FKJJEGEV 1JEOJK cECPN OULO
% GESJNOGVLOGCE ^DKNDLEO OC MM G[ PJ LKJ OLHcGEV L_CDO    % OUJ 749 DOGHGhJN OUJ 82=4 OC ICEGOCK OUJ ICSJIJEO C[
& OUJ 749> ^DKNDLEO OC OUJ VDGYJHGEJN OULO OUJ 749        & ^JKNCEN HGNOJY GE OUJ 749> FCKKJFOd
' [CHHCPNW 4DO GN ECO> ^JK NJ> NGI^HR OC KJFKDGO          '          A2W X30X36B; 3_fJFOGCEW
( NCIJCEJ PUC GN ECO ND_fJFO OC L ^KJYGFLOJY              ( AGNFULKLFOJKGhJN ^KGCK OJNOGICERW 3_fJFOGCEW
) GESJNOGVLOGCEW                                          ) -COJEOGLHHR HLP JE[CKFJIJEO GE[CKILOGCE PGOUGE OUJ
*         4B A/W ,44,2;                                   * ^DKSGJP C[ LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ
#+ ?W ,KJ OUJKJ GEYGSGYDLHN CE OUJ 8JKKCK                 #+ J\OJEO OULO RCD FLEW
## 2FKJJEGEV =LOL_LNJ OULO LKJ GE[CKILEON [CK OUJ 749d    ##         85. T980.22; 9 OUGEc OUJ PCKY ICEGOCK GN
#$        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK               #$ MM 9 PCDHYEZO DNJ OULO ^LKOGFDHLK PCKYW TJ KJ^CKO
#" GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #" JEFCDEOJKN PUJE PJ _JFCIJ LPLKJ C[ OUJIW
#% ^KGSGHJVJ> ^COJEOGLHHR OUJ NOLOJ NJFKJONW 9 LI         #%         4B A/W ,44,2;
#& VCGEV OC GENOKDFO ECO OC LENPJK OULO CEJW              #& ?W TUR YC RCD KJ^CKO MM PUR YCJN 821 KJ^CKO
#'        4B A/W ,44,2;                                   #' JEFCDEOJKN PGOU 82=4 HGNOJJN OC OUJ 749d
#( ?W =CJN OUJ 82=4 FCEOLGE ECOLOGCEN G[                  #(         A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR
#) NCIJCEJ GN LE GE[CKILEO C[ OUJ 749d                    #) FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW
#*        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK HLP           #* BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
$+ JE[CKFJIJEO NJENGOGSJ LEY ^COJEOGLHHR NOLOJ NJFKJONW   $+         85. T980.22; 8C ILGEOLGE OULO FCIICE
$# 9 LI GENOKDFOGEV UGI ECO OC LENPJK OULO gDJNOGCEW      $# C^JKLOGEV   ^GFODKJ> 9 [CKILHHR KJ[JKKJY OC> LN GO PLN
$$        4B A/W ,44,2;                                   $$ CEJ C[ OUJ cJR HJNNCEN OC _J [CDEY GE OUJ *j##
                                                  )'                                                           ))
#       ?W 9N MM YCJN OUJ 749 DOGHGhJ MM 9 LI NCKKRW      # 1CIIGNNGCE /J^CKOW
$  9E  821ZN   DEYJKNOLEYGEV> YCJN OUJ 749 DOGHGhJ OUJ    $          4B A/W ,44,2;
" 82=4 OC OKLFc ^JKNCEN GE OUJ 749d                       "      ?W TUC OCHY OUJ 8JKKCK 2FKJJEGEV 1JEOJK OC
%           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             % KJ^CKO JEFCDEOJKN PGOU 82=4 HGNOJJN OC OUJ 749d
& GE[CKILOGCE ^COJEOGLHHR PGOUGE HLP JE[CKFJIJEO>         &          A2W X30X36B; 3_fJFOGCEW ]LVDJW
' NOLOJ NJFKJON ^KGSGHJVJNW ,HNC PGOUGE OUJ ^DKSGJP       ' 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJW
( C[ LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ J\OJEO         ( BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
) OULO RCD FLEW                                           )          85. T980.22; 9 LI VCGEV OC LNNDIJ OULO
*           4B A/W ,44,2;                                 * OULO UL^^JEJY SJKR JLKHR CE GE OUJ FKJLOGCE C[ OULOW
#+ ?W 6JO IJ PGOUYKLP OULO gDJNOGCEW 9 fDNO               #+ BCD cECP> OULO PCDHY _J NCIJOUGEV VCSJKEJY _R OUJ
## LNcJY GO ^CCKHRW =CJN OUJ 821 cECP PUJOUJK OUJ 749     ## TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW 9O ULN HCEV LEYjCK
#$ DOGHGhJN OUJ 82=4 OC OKLFc OUJ ICSJIJEO C[ ^JKNCEN     #$ LHPLRN _JJE OUJ FLNJ OULO OULOZN _JJE OKDJW
#" HGNOJY GE OUJ 749d                                     #"         4B A/W ,44,2;
#%          A2W X30X36B; 2LIJ C_fJFOGCENW                 #% ?W TULO GN 821ZN DEYJKNOLEYGEV C[ PULO OUJ
#& -COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJ> ^COJEOGLHHR     #& 749 VJEJKLHHR YCJN PGOU 82=4 HGNOJJ JEFCDEOJK
#' NOLOJ NJFKJONW ]LVDJ LEY PGOUGE OUJ ^DKSGJP C[         #' GE[CKILOGCE OULO GO KJFJGSJN [KCI OUJ 8JKKCK
#( LECOUJK LVJEFRW 4DO RCD FLE LENPJK LN OC RCDK          #( 2FKJJEGEV 1JEOJKd
#) DEYJKNOLEYGEVW                                         #)         A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR
#*          85. T980.22; 9 OUGEc VJEJKLHHR> OUJ 749       #* FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW
$+ ILR DNJ MM PJ PCDHY MM NCIJCEJ OULO OUJ 749 ULN        $+ ,HNC> GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ LECOUJK
$# GEOJKJNO CK JgDGOGJN PGOU KJN^JFO OC> PJ PCDHY         $# LVJEFR OC PUGFU AKW <KCU FLEECO _GEY LER COUJK
$$ KJ^CKO PULO PJ PCDHY FLHH JEFCDEOJKN VJEJKLHHR OC      $$ LVJEFRW 4DO RCD FLE LENPJK LN OC RCDK DEYJKNOLEYGEV
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14270
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   (+ #*, $% ,('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  )*                                                        *#
# PGOUCDO PLGSGEV LER ^KGSGHJVJNW                         #          A2W X30X36B; 3_fJFOGCEW ]LVDJ> FLHHN
$          85. T980.22; TJ KJ^CKO OULO GE[CKILOGCE        $ [CK N^JFDHLOGCE> ^COJEOGLHHR HLP JE[CKFJIJEO
" OC OUJ MM OC OUJ GESJNOGVLOCK [CK PULOJSJK ILOOJK       " NJENGOGSJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
% OULO ILR KJHLOJ OCW ,EY 9 _JHGJSJ OULO OULO GN OUJE     % FLEW
& KJFCKYJY GE OUJ GESJNOGVLOGSJ FLNJ [GHJW                &          85. T980.22; 2C> LVLGE> CDK ^KCFJNNJN
'          4B A/W ,44,2;                                  '  PJKJ   JESGNGCEJY LN L KJNDHO C[ *j##W ,EY NC LN LE
(      ?W =CJN OUJ YGNNJIGELOGCE C[ =52 HGNOJJ            ( J\LI^HJ> 9 PGHH VGSJ RCD OULO OUJKJ PJKJ GEYGSGYDLHN
) JEFCDEOJK GE[CKILOGCE OC OUJ 749 UL^^JE                 ) cECPE OC OUJ @EGOJY 2OLOJN GEOJHHGVJEFJ FCIIDEGOR
* LDOCILOGFLHHRd                                          * PUC PJKJ _JGEV NCDVUO GE KJHLOGCE OC SLKGCDN
#+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #+ GESJNOGVLOGCEN ^KGCK OC *j## PUC PJKJ ^KJNJEO GE OUJ
## 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO MM              ## @EGOJY 2OLOJNW 8UJR PJKJ ND_NJgDJEOHR JEFCDEOJKJY
#$         4B A/W ,44,2;                                  #$ _R HCFLH HLP JE[CKFJIJEOW 4DO OULO GE[CKILOGCE YGY
#" ?W 1LE 9 _LFc D^ OULO gDJNOGCEd BCD DNJY               #" ECO VJO _LFc OC JGOUJK OUJ GEOJHHGVJEFJ FCIIDEGOR CK
#% OUJ PCKY JEFCDEOJKd                                    #% OUJ 749W ,EY> OUDN> C^^CKODEGOGJN OC ULSJ
"< &' 012'                                                #& GEOJKSJEJY LEY ^KJSJEOJY OUJ JSJEON C[ *j## PJKJ
#' ?W TULO GN 821ZN YJ[GEGOGCE C[ LE JEFCDEOJKd           #' IGNNJYW
"U &' F) 7- 1->)D-61, .2 II =1 D21 6A1 61,+               #(         4B A/W ,44,2;
"N 1->)D-61, 6) *12>,.B1 7-9 6.+1 )-1 )C )D, 2>,11-.-/    #) ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK _JHGJSJ
"% K7,6-1,2 >)+12 .-6) >)-67>6 KA92.>7889 ),              #* OULO GEFKJLNGEV OUJ EDI_JK C[ OKLFcJY JEFCDEOJKN
$? 7*+.-.26,76.M189 =.6A 2)+1B)*9 6A76 .2 =76>AI8.261*    $+ PGOU 82=4 HGNOJJN [DKOUJKN OUJ ^DK^CNJN C[ OUJ
$" .- 6A1 @FHR'                                           $# 8JKKCK 2FKJJEGEV =LOL_LNJd
$$ ?W =CJN OUJ 821 OKR OC IL\GIDI OUJ EDI_JK C[           $$         A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                                  *+                                                        *$
# JEFCDEOJKN C[ 82=4 HGNOJJNd                             # 3_fJFOGCEW AGNHJLYGEVW 3_fJFOGCE HLP JE[CKFJIJEO
$          A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW            $ NJENGOGSJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
" 3_fJFOGCE> SLVDJW                                       " FLEW
%          85. T980.22; TUJE RCD NLR MM 9 YCEZO           %          A/W ,44,2; 9 IJLE> G[ RCD YGNLVKJJ MM 9
& DEYJKNOLEY PULO RCD IJLE _R IL\GIGhJ OUJ EDI_JKW        & IJLE> G[ UJ NLRN OULO UJ YCJNEZO LVKJJ PGOU OULO> UJ
'          4B A/W ,44,2;                                  ' NUCDHY ECO LVKJJ PGOU OULOW 9 YCEZO DEYJKNOLEY MM
(      ?W TULOZN OUJ DOGHGOR C[ MM PJHH> VGSJ IJ LE       (          A2W X30X36B; AR C_fJFOGCEN LKJ NOLOJY
) J\LI^HJ C[ L 82=4 HGNOJJ JEFCDEOJKd                     ) [CK OUJ KJFCKYW 8UJR NOLEYW BCD FLE LENPJK OC OUJ
*          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR            * J\OJEO OULO RCD FLEW
#+ FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ CK NOLOJ NJFKJON   #+         85. T980.22; 9 OUGEc G[ MM [CK ^JC^HJ
## ^KGSGHJVJ GE[CKILOGCEW BCD FLE LENPJK OULO G[ RCD      ## OULO LKJ L^^KC^KGLOJHR PLOFUMHGNOJY GE OUJ KJFCKY>
#$ FLE PGOUCDO PLGSGEV OUJ ^KGSGHJVJW                     #$ OULO LYYGOGCELH MM LYYGOGCELH JEFCDEOJKN OUKCDVU
#"         85. T980.22; 9O FCDHY _J L MM GO FCDHY         #" LYYGOGCELH L^^KC^KGLOJ NFKJJEGEV IJFULEGNIN LKJ
#% _J L OKL[[GF NOC^ _R L HCFLH HLP JE[CKFJIJEO           #% VJEJKLHHR UJH^[DHW
#& C[[GFJKW 9O FCDHY _J NCIJOUGEV PGOU KJN^JFO OC         #&         4B A/W ,44,2;
#' _CKYJK NFKJJEGEVW 9O FCDHY _J NCIJOUGEV PGOU           #' ?W TURd
#( KJN^JFO OC L YCIJNOGF [GVUOW                           #(         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#)         4B A/W ,44,2;                                  #) N^JFDHLOGCE> ^COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJ
#* ?W TUR GN OULO MM PUR GN PUJOUJK L 82=4                #* GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
$+ HGNOJJ MM HJO IJ NOLKO LHH CSJKW TUR GN L HCFLH        $+ FLEW
$# ^CHGFJ C[[GFJKZN OKL[[GFMKJHLOJY JEFCDEOJK PGOU L      $#         85. T980.22; 4JFLDNJ JLFU JEFCDEOJK GN
$$ 82=4 HGNOJJ DNJ[DH GE[CKILOGCEd                        $$ LE C^^CKODEGOR OC VLOUJK LEY ILOFU GEOJHHGVJEFJ GE
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14271
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  (& #,+ $% ,-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   *"                                                       *&
# CKYJK OC JEL_HJ GYJEOG[GFLOGCE LEY YGNKD^OGCE C[        #          A2W X30X36B; 3_fJFOGCEW -COJEOGLH HLP
$ OJKKCKGNO LFOGSGOGJNW                                   $ JE[CKFJIJEO LEY SLVDJW 4DO RCD FLE LENPJK OC OUJ
"         4B A/W ,44,2;                                   " J\OJEO OULO RCD FLEW
%     ?W =CJN OUJ 82=4 ULSJ ^DK^CNJN DEKJHLOJY OC         %          85. T980.22; <JEJKLHHR> RJNW
& OUJ NJFDKGOR C[ FCIIJKFGLH LSGLOGCEd                    &          4B A/W ,44,2;
'         A2W X30X36B; 3_fJFOGCEW ]LVDJW                  '      ?W =CJN OUJ 821 HJLYJKNUG^ LELHRhJ OUJ
( 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO NJENGOGSJ        ( EDI_JK C[ JEFCDEOJK PGOU 82=4 HGNOJJNd
) GE[CKILOGCEW 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO      )          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP
* RCD FLEW                                                * JE[CKFJIJEOW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
#+        85. T980.22; 9 OUGEc OULO OUJ 82=4 GN           #+ FLEW
## VJEJKLHHR OUJKJ OC ^KJSJEO OJKKCKGNO LOOLFcN GE        ##         85. T980.22; BJNW
#$ VJEJKLH> ECO HGIGOJY OC LSGLOGCE NJFDKGORW             #$         4B A/W ,44,2;
#"        4B A/W ,44,2;                                   #" ?W =CJN 821 SGJP MM HJO IJ NOLKO LVLGEW
#% ?W 9N JSJKR JEFCDEOJK PGOU L 82=4 HGNOJJ               #% =CJN 821 LOOJI^O OC YGNNJIGELOJ OUJ 82=4 GE L PLR
#& LYYJY OC OUJ 82=4 GONJH[d                              #& OULO GEFKJLNJN OUJ EDI_JK C[ ^COJEOGLH JEFCDEOJKN
"J &' @A1 II                                              #' PGOU 82=4 HGNOJJNd
#(        A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ        #(         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#) _LNGN C[ ^COJEOGLH HLP JE[CKFJIJEOW 4DO RCD FLE        #) 3_fJFOGCEW -COJEOGLH HLP JE[CKFJIJEONW 4DO RCD FLE
#* LENPJK OC OUJ J\OJEO OULO RCD FLEW                     #* LENPJK OC OUJ J\OJEO RCD FLEW
$+        85. T980.22; TJ ILGEOLGE JEFCDEOJK              $+         85. T980.22; 0CO LN L [GKNO CKYJK C[
$# GE[CKILOGCE GE L NJ^LKLOJ YLOL_LNJW                    $# LELHRNGNW  4DO PJ HCCc LO OUJ NFKJJEGEV ^DK^CNJNW
$$        4B A/W ,44,2;                                   $$ ,EY OUJ L^^KC^KGLOJ NFKJJEGEV ^DK^CNJN LKJ OUJ
                                                   *%                                                       *'
#      ?W 2C RCD ULSJ MM NC OUJ 8JKKCK 2FKJJEGEV          # _JVGEEGEV C[ OUJ LELHRNGNW 4DO 9 PCDHY FJKOLGEHR
$  1JEOJK  ULN JEFCDEOJK GE[CKILOGCE PGOU LHH 82=4        $ PLEO OC VJEJKLHHR> LHOUCDVU OUJKJ LKJ KJgDGKJIJEON
" HGNOJJN> FCKKJFOd                                       " _JGEV IJO> PLEO OC JENDKJ OULO OUJ PLR PJ
%          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP        % YGNNJIGELOJ CDK GE[CKILOGCE GN UJH^[DH OC OUJ
& JE[CKFJIJEOW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD      & NFKJJEGEV ^LKOEJK> _JFLDNJ G[ PJ JEFCDEOJK OUJ
' FLEW                                                    ' LFODLH GE[CKILOGCE> PJ FJKOLGEHR PLEO OC MM PJ
(          85. T980.22; TJ MM PJ ULSJ GE[CKILOGCE         ( FJKOLGEHR PLEO OC ILcJ NDKJ OULO PJ YJOJFO OULO
) CE LHH JEFCDEOJKNW TJ FJKOLGEHR YCEZO ULSJ              ) JEFCDEOJKW
* JEFCDEOJKN PGOU JSJKR ^JKNCE GE OUJ 82=4W               *          4B A/W ,44,2;
#+         4B A/W ,44,2;                                  #+ ?W 2C OUJ 821 MM NC OUJ 8JKKCK 2FKJJEGEV
## ?W 2DKJW =CJN 821 ICEGOCK UCP 82=4 HGNOJJN             ## 1JEOJK SGJPN JEFCDEOJKN PGOU 82=4 HGNOJJN LN L
#$ LKJ JEFCDEOJKJYd                                       #$ NCDKFJ C[ SLHDL_HJ GEOJHHGVJEFJ GE[CKILOGCEd
#"         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #"         A2W X30X36B; 3_fJFOGCEW
#% 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO ^KGSGHJVJ>      #%         4B A/W ,44,2;
#& _DO RCD FLE LENPJKW                                    #&     ?W   6JO IJ NOLKO LHH CSJKW 8ULO PLN
#'         85. T980.22; =C RCD IJLE OUJ IJOUCY GE         #' OJKKG_HJW ,HH KGVUOW 2C OUJ 8JKKCK 2FKJJEGEV
#( PUGFU  CK PUC OUJ JEFCDEOJK FLIJ [KCId                 #( 1JEOJK _JHGJSJN OULO JEFCDEOJKN PGOU 82=4 HGNOJJN
#)         4B A/W ,44,2;                                  #) ULSJ FCDEOJKMGEOJHHGVJEFJ SLHDJd
#* ?W QDNO LN LE J\JFDOGSJW ,N LE J\JFDOGSJ C[            #*         A2W X30X36B; 9 PGHH C_fJFO LN SLVDJ LEY
$+ L _GV CKVLEGhLOGCE> YCJN OUJ J\JFDOGSJ HJLYJKNUG^ C[   $+ IGNFULKLFOJKGhJN  GE[CKILOGCE ^COJEOGLHHR HLP MM
$# OUJ 8JKKCK 2FKJJEGEV 1JEOJK ^LR LOOJEOGCE OC           $# ^KGCK OJNOGICER MM IGNFULKLFOJKGhJY ^KGCK OJNOGICERW
$$ JEFCDEOJK ^LOOJKEN PGOU 82=4 HGNOJJNd                  $$ -COJEOGLHHR GI^HGFLOJN OUJ HLP JE[CKFJIJEO
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14272
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   () #,. $% "//'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 *(                                                          **
# ^KGSGHJVJW BCD FLE LENPJK OULO OC OUJ J\OJEO OULO       # gDJNOGCE> PJ FLEZO VC LVJEFR _R LVJEFR _JFLDNJ OULO
$ RCD FLEW                                                $ PCDHY ^KCSGYJ L FCI^KJUJENGSJ LENPJK OC OULO
"         85. T980.22; 9 FJKOLGEHR MM PJHH> 9             " gDJNOGCE MM OC OUJ ^KJSGCDN gDJNOGCEW 4DO RCD FLE
% PCDHY FJKOLGEHR ECO DNJ OUJ PCKY                        % LENPJK OUGN CEJ OC OUJ J\OJEO OULO RCD _JHGJSJ RCD
& FCDEOJKMGEOJHHGVJEFJ> PUGFU LN PJ VGSJ MM ILR_J OUGN    & FLEW
' GN DN DNGEV OJKIN YG[[JKJEOHR> 9 NDN^JFOW 9 PCDHY       '          85. T980.22; BJNW
( NLR FCDEOJKMOJKKCKGNI SLHDJ> RJNW <JEJKLHHR> 9          (          4B A/W ,44,2;
) LVKJJ OULO ^CNGOGSJ MM                                  )      ?W =CJN OUJ MM YCJN 14- MM 9 LI NCKKRW
*     ?W 4DO FLE 9 fDNO MM                                * =CJN MM YCJN 821 KJFJGSJ GE[CKILOGCE [KCI 14- PUJE
"? &' [->)D-61,2 II                                       #+ 14- JEFCDEOJKN L 82=4 HGNOJJd
##        A2W X30X36B; 6JO UGI [GEGNUW                    ##         A2W X30X36B; 9 LI VCGEV OC ILcJ HLKVJHR
#$        8. T980.22; MM PGOU ^JC^HJ GE OUJ 82=4          #$ OUJ NLIJ C_fJFOGCENW 6LP JE[CKFJIJEO> ^COJEOGLH
#" ULN GEOJHHGVJEFJ CK HLP JE[CKFJIJEO SLHDJW             #" NOLOJ NJFKJONW ,EY [CK OUJ KJLNCE 9 GENOKDFOJY OUJ
#%        4B A/W ,44,2;                                   #% PGOEJNN ECO OC LENPJK OUJ gDJNOGCE ^CNJY GE PUCHJ>
#& ?W BJLU> 9 NJJ RCDK FHLKG[GFLOGCEW 9 OUGEc             #& PJ FLEZO ^KCFJJY OC VC OCC [LK YCPE OUJ
#' RCD LKJ KGVUOW 8ULEc RCD [CK OKLENHLOGEV [CK IJW       #' LVJEFRM_RMLVJEFR ^LOU> _JFLDNJ OULO PCDHY ^KCSGYJ LE
#( 2C HJO IJ fDNO cGEY C[ [CK FHLKGOR NLcJ KJ^UKLNJ       #( LENPJK OC OUJ gDJNOGCE 9 GENOKDFOJY OUJ PGOEJNN ECO
#) PGOU FCDEOJKMOJKKCKGNI KLOUJK OULE                     #) OC LENPJKW TGOU OULO NLGY> RCD FLE LENPJK OUGN CEJ
#* FCDEOJKMGEOJHHGVJEFJW                                  #* OC OUJ J\OJEO OULO RCD _JHGJSJ RCD FLEW
$+        8UJ 821ZN OJNOGICER OCYLR GN OULO GO            $+         85. T980.22; BJNW
$# SGJPN JEFCDEOJKN PGOU 82=4 HGNOJJN LN ULSGEV           $#         4B A/W ,44,2;
$$ FCDEOJKMOJKKCKGNI SLHDJd                               $$ ?W =CJN @219 MM 9ZI NCKKRW =CJN 821 KJFJGSJ
                                                 *)                                                         #++
#           A2W X30X36B; 3_fJFOGCEW ]LVDJ>                # GE[CKILOGCE [KCI @2192 PUJE @2192 JEFCDEOJKN L 82=4
$  ^COJEOGLH  HLP JE[CKFJIJEOW BCD FLE LENPJKW            $ HGNOJJd
"           85. T980.22; BJNW 8ULOZN PULO 9 fDNO          "          A2W X30X36B; 9 LI VCGEV OC LVLGE C_fJFO
% NLGYW                                                   % CE OUJ _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY>
&           4B A/W ,44,2;                                 & LVLGE> ECOJ [CK OUJ KJLNCEN 9 GENOKDFOJY OUJ PGOEJNN
'      ?W TULO LKJ LHH OUJ 7JYJKLH <CSJKEIJEO             ' ECO OC LENPJK OUJ ^KJSGCDN gDJNOGCE LNcGEV [CK LHH
(  JEOGOGJN OULO FLE ULSJ JEFCDEOJKN PGOU 82=4 HGNOJJNd   ( LVJEFGJNW 9 KJLHHR FLEZO VC IDFU [DKOUJK YCPE OUGN
)           A2W X30X36B; 3_fJFOGCEW , FCI^KJUJENGSJ       ) HGEJW 2C 9 EJJY OC FDO C[[ OUGN HGEJ C[ gDJNOGCEGEV
* LENPJK OC OULO PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY     * [CK OUJ NLIJ KJLNCEW TGOU OULO NLGY> RCD FLE LENPJK
#+ _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ   #+ OUGN gDJNOGCE OC OUJ J\OJEO OULO RCD FLEW
## NOLOJ NJFKJON ^KGSGHJVJW 9 LI VCGEV OC GENOKDFO OUJ    ##         85. T980.22; BJNW
#$ PGOEJNN ECO OC LENPJK OULO gDJNOGCEW                   #$         4B A/W ,44,2;
#"          4B A/W ,44,2;                                 #" ?W =CJN 821 KJFJGSJ GE[CKILOGCE [KCI OUJ
#% ?W =CJN 821 KJFJGSJ JEFCDEOJK KJ^CKON [KCI             #% =J^LKOIJEO C[ 2OLOJ PUJE OUJ =J^LKOIJEO C[ 2OLOJ
#& OUJ 82,d 9 LI NCKKRW 6JO IJ _LFc D^W =CJN OUJ          #& JEFCDEOJKN L 82=4 HGNOJJd
#' 8JKKCK 2FKJJEGEV 1JEOJK KJFJGSJ GE[CKILOGCE [KCI 82,   #'         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#( PUJE 82, JEFCDEOJKN L 82=4 HGNOJJd                     #( GE[CKILOGCE   ^COJEOGLHHR ^KCOJFOJY _R OUJ HLP
#)          A2W X30X36B; 3_fJFOGCEW 229W 3_fJFOGCE        #) JE[CKFJIJEO ^KGSGHJVJW 7CK OUJ NLIJ KJLNCEN LN 9
#* HLP JE[CKFJIJEOW 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE      #* NOLOJY _J[CKJ> PJ FLEECO ^KCSGYJ OC LENPJK OUGN
$+ ^COJEOGLHHR PGOUGE OUJ ^DKSGJP C[ L YG[[JKJEO          $+ gDJNOGCE [CK JSJKR NGEVHJ LVJEFR RCD IGVUO PLEO OC
$# LVJEFRW ,HNC> 9 LI VCGEV OC ECOJ OULO [CK KJLNCEN 9    $# LNc GO [CK> _JFLDNJ OULO PCDHY ^KCSGYJ LE LENPJK OC
$$ GENOKDFO OUJ PGOEJNN ECO OC LENPJK OUJ ^KJSGCDN        $$ OUJ gDJNOGCE OULO 9 ULSJ GENOKDFOJY OUJ PGOEJNN ECO
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14273
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  (- #"/" $% "/&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    #+#                                                     #+"
# OC LENPJKW 2C RCD FLE LENPJK OUGN CEJ OC OUJ J\OJEO     #          4B A/W ,44,2;
$ OULO RCD _JHGJSJ OULO RCD FLEW                          $      ?W TULO YC RCD IJLE _R CDONGYJ C[ OUJ
"          85. T980.22; BJNW                              " LVJEFGJN PJ ULSJ LHKJLYR YGNFDNNJYd TULO YC RCD
%          4B A/W ,44,2;                                  % IJLEd
&      ?W =CJN =5 MM 9 LI NCKKRW =CJN 821 KJFJGSJ         &          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP
' GE[CKILOGCE [KCI =52 PUJE =52 JEFCDEOJKN L 82=4         ' JE[CKFJIJEOW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
( HGNOJJd                                                 ( FLE JHL_CKLOJ PGOUCDO PLGSGEV L ^KGSGHJVJW
)          A2W X30X36B; 9 LI VCGEV OC C_fJFO OC           )          85. T980.22; 9 VC _LFc OC IR ^KJSGCDN
* OULO gDJNOGCE LN SLVDJW 9 LI LHNC VCGEV OC C_fJFO       * LENPJK L_CDO J\FJ^OGCENW 9O GN [CK HGIGOJY
#+ CE HLP JE[CKFJIJEO ^KGSGHJVJW 9 LI VCGEV OC C_fJFO     #+ NFKJJEGEV DNJN _R OUJ =J^LKOIJEO C[ 5CIJHLEY
## [CK OUJ NLIJ KJLNCE OULO OUGN FCENOJHHLOGCE C[         ## 2JFDKGOR LEY OUJ =J^LKOIJEO C[ 2OLOJ> _COU C[ PUCI
#$ gDJNOGCEN PGHH DHOGILOJHR ^KCSGYJ LE LENPJK OC OUJ     #$ PJ ULY fDNO YGNFDNNJYW BCD ULY LNcJY IJ G[ PJ
#" gDJNOGCE 9 ULSJ GENOKDFOJY OUJ PGOEJNN ECO OC          #" KJFJGSJY JEFCDEOJKNW 8UJKJ LKJ EC COUJK LVJEFGJN
#% LENPJKW TGOU OULO NLGY> RCD FLE LENPJK OUGN CEJ OC     #% [CK PUGFU PJ KJFJGSJ JEFCDEOJKN OC ^JC^HJ OULO LKJ
#& OUJ J\OJEO OULO RCD FLEW                               #& LE J\FJ^OGCE OC OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKYW
#'         85. T980.22; 9 OUGEc GELNIDFU 14- LEY          #'         4B A/W ,44,2;
#( 82, LKJ _COU ^LKO C[ =52> 9 ULSJ LENPJKJY OUJ          #( ?W 2C OUJ PLR OULO =52 LEY =J^LKOIJEO C[
#) gDJNOGCEW BJNW                                         #) 2OLOJ KJ^CKO JEFCDEOJK GE[CKILOGCE OC 821 GN
#*         4B A/W ,44,2;                                  #* YG[[JKJEO OULE OUJ PLR OULO OUJ 82, LEY 749 LEY
$+ ?W =CJN 821 KJFJGSJ GE[CKILOGCE [KCI OUJ 749           $+ @2192 KJ^CKO JEFCDEOJK GE[CKILOGCE OC 821d
$# PUJE OUJ 749 JEFCDEOJKN L 82=4 HGNOJJd                 $#         A2W X30X36B; 3_fJFOGCEW ]LVDJ>
$$         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK HLP          $$ ^COJEOGLH HLP JE[CKFJIJEOW BCD FLE LENPJKW
                                                    #+$                                                     #+%
# JE[CKFJIJEO NJENGOGSJ GE[CKILOGCE> ^LKOGFDHLKHR G[      #          85. T980.22; 9 PCDHYEZO NLR OUJ PLR OUJR
$ OUGN FCENOJHHLOGCE C[ gDJNOGCEN PJKJ OLcJE OCVJOUJK     $  KJ^CKO GE[CKILOGCE GN YG[[JKJEOW TULO 9 PCDHY NLR
" LEY ^KCFJJYN [DKOUJK YCPE OUJ HGEJW 8ULO NLGY> RCD      " GN OUJ PLR OULO PJ J\^CKO OUJ 82=4 GN YG[[JKJEOW
% FLE LENPJK OUGN gDJNOGCE OC OUJ J\OJEO OULO RCD         %          4B A/W ,44,2;
& _JHGJSJ RCD FLEW                                        &      ?W 3U> NC MM NC OUJKJ LKJ NCIJ ^LKON C[ OUJ
'           85. T980.22; BJNW                             ' 82=4 OULO J\GNO SGL OUJNJ 82=4 GEFHDNGCE NOLEYLKY
(           4B A/W ,44,2;                                 ( J\FJ^OGCEN> FCKKJFOd
)      ?W =CJN 821 KJFJGSJ JEFCDEOJK GE[CKILOGCE          )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
* [KCI COUJK 7JYJKLH <CSJKEIJEO LVJEFGJN L_CDO            * 3_fJFOGCEW -COJEOGLH HLP JE[CKFJIJEOW 4DO RCD FLE
#+ JEFCDEOJKN PGOU 82=4 HGNOJJN GKKJN^JFOGSJ C[ PUJOUJK   #+ LENPJKW
## CK ECO OUJ 82=4 GEFHDNGCE NOLEYLKY ULN _JJE L^^HGJY    ##         85. T980.22; BJNW
#$ OC OULO GEYGSGYDLHd                                    #$         4B A/W ,44,2;
#"          A2W X30X36B; 3_fJFOGCEW ]LVDJW                #" ?W 4DO OUJ GE[CKILOGCE OULO 821 ULN OULOZN
#% 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW 3_fJFOGCEW           #% FKJLOJY SGL OUJNJ 82=4 GEFHDNGCE NOLEYLKY J\FJ^OGCEN
#& 1LHHN [CK ^COJEOGLHHR HLP JE[CKFJIJEO CK NOLOJ         #& GN CEHR YGNNJIGELOJY OC =52 LEY =32d
#' NJFKJON ^KGSGHJVJW BCD FLE LENPJK OULO OC OUJ          #'         A2W X30X36B; 3_fJFOGCEW -COJEOGLH HLP
#( J\OJEO OULO RCD FLEW                                   #( JE[CKFJIJEOW   BCD FLE LENPJK G[ RCD FLEW
#)          85. T980.22; 3DONGYJ C[ OUJ LVJEFGJN PJ       #)         85. T980.22; BJNW
#* ULSJ LHKJLYR YGNFDNNJY> ECW                            #*         4B A/W ,44,2;
$+          A/W ,44,2; 9 LI NCKKRd 1LE RCD KJLY           $+ ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK KJFJGSJ
$# _LFc OUJ gDJNOGCE LEY UGN LENPJKd                      $# JEFCDEOJK GE[CKILOGCE [KCI NOLOJ LEY HCFLH
$$          `8UJ KJFCKY PLN KJLYWa                        $$ LDOUCKGOGJNd
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 (. #"/) $% "/*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #+&                                                     #+(
#          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP       # PJ VCO LPLR L HGOOHJ _GO [KCI OUJ 82=4 ^DK^CNJNW 2C
$ JE[CKFJIJEO ^KGSGHJVJ> _DO RCD FLE LENPJK OC OUJ       $ 9 LI VCGEV OC VC _LFc OC OULOW 9 IGVUO FCSJK NCIJ
" J\OJEO OULO RCD FLEW                                   " VKCDEY OULO PJ LHKJLYR FCSJKJYW 4DO OULOZN fDNO
%          85. T980.22; BJNW                             % _JFLDNJ 9 FLEZO KJIJI_JK J\LFOHR PUJKJ PJ LKJW
&          4B A/W ,44,2;                                 <      &' 4 7+ 9)D,2 C), 7-)6A1, 2.L ), II C.M1 ),
'      ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK KJFJGSJ       J  2.L A)D,2'
( JEFCDEOJK GE[CKILOGCE [KCI ECEMVCSJKEIJEO JEOGOGJNd    (      ?W 9 PGHH OLcJ JSJKR IGEDOJW ,EY RCD FLE
)          A2W X30X36B; 3_fJFOGCEW ]LVDJW                ) OLcJ L _KJLc PUJEJSJK RCD PCDHY HGcJd
* -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE LENPJK OC OUJ     %      &' 4 7+ /))*'
#+ J\OJEO OULO RCD FLEW                                  #+ ?W 4DO CEJ ICKJ JEFCDEOJKMKJHLOJY gDJNOGCEW
##         85. T980.22; 0CW                              ## 1LE MM FLE OUJ 749 MM YCJN OUJ 749 ULSJ LFFJNN OC
#$         4B A/W ,44,2;                                 #$ JEFCDEOJK GE[CKILOGCE OULO KJVLKYN 82=4 HGNOJJNW 9
#" ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK KJFJGSJ           #" LI NCKKRW 6JO IJ NOLKO LHH CSJKW =C MM YCJN OUJ
#% JEFCDEOJK GE[CKILOGCE [KCI [CKJGVE VCSJKEIJEONd       #% 8JKKCK 2FKJJEGEV 1JEOJK ^KCSGYJ JEFCDEOJK
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #& GE[CKILOGCE OC LVJEFGJN OULO YGY ECO CKGVGELOJ OUJ
#' 3_fJFOGCEW   1LHHN [CK HLP JE[CKFJIJEO NJENGOGSJ      #' JEFCDEOJK GE[CKILOGCEd
#( GE[CKILOGCE LEY ^COJEOGLHHR OUJ NOLOJ NJFKJONW 4DO    #(        A2W X30X36B; 3_fJFOGCEW ]LVDJW
#) RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW            #) 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE
#*         85. T980.22; BJNW                             #* LENPJK G[ RCD FLE PGOUCDO PLGSGEV L ^KGSGHJVJW
$+         4B A/W ,44,2;                                 $+        85. T980.22; 3EJ C[ OUJ MM CEJ C[ OUJ
$#     ?W   5CP ILER FCDEOKGJN ^KCSGYJ OUJ 8JKKCK        $# _LNGF ^KJIGNJN  C[ CDK YGNNJIGELOGCE C[ JEFCDEOJK
$$ 2FKJJEGEV 1JEOJK PGOU JEFCDEOJK GE[CKILOGCEd          $$ GE[CKILOGCE GN OC VJEJKLHHR GE[CKI PULO PJ FLHH OUJ
                                                   #+'                                                     #+)
#           A2W X30X36B; 5DUd                            # ECIGELOCK MM OUJ CKGVGELOCK C[ OULO GE[CKILOGCEW 9O
$           4B A/W ,44,2;                                $ GN ECO EJFJNNLKGHR OUJ CEHR FCENGYJKLOGCEW
"      ?W 9ZI NCKKRW 6JO IJ KJ^UKLNJ OUJ gDJNOGCEW       "          4B A/W ,44,2;
% 5CP ILER [CKJGVE VCSJKEIJEON ^KCSGYJ OUJ 8JKKCK        %      ?W =CJN OUJ 14- MM YCJN 14- KJFJGSJ
& 2FKJJEGEV 1JEOJK PGOU JEFCDEOJK GE[CKILOGCE            & JEFCDEOJK GE[CKILOGCEd 9 LI NCKKRW =CJN 821
' KJVLKYGEV 82=4 HGNOJJNd                                ' ^KCSGYJ 14- PGOU JEFCDEOJK GE[CKILOGCE OULO 82,
(           A2W X30X36B; 3_fJFOGCEW 8ULO gDJNOGCE        ( ^KCSGYJY OC 821d
) FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP             )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
* JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR OUJ NOLOJ           *          A/W ,44,2; 8ULO PLN PJHH PCKYJYW
#+ NJFKJONW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLE    #+         A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR
## PGOUCDO PLGSGEV L ^KGSGHJVJW                          ## FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#$          85. T980.22; TJ ULSJ LVKJJIJEON PGOU         #$ JE[CKFJIJEO ^KGSGHJVJ> 229 MM ^COJEOGLHHR 229> LHNC
#" ICKJ OULE '+ [CKJGVE FCDEOKGJNW 8UJR MM LEY 9 OUGEc   #" [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ LECOUJK LVJEFR
#% OULOZN LHH 9 FLE NLRW                                 #% LN OC PUGFU AKW <KCU FLEECO N^JLc GE L _GEYGEV
#&          4B A/W ,44,2;                                #& FL^LFGORW 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD
#' ?W 2CIJ C[ OUCNJ LVKJJIJEO LKJ ^D_HGF>                #' FLEW
#( FCKKJFOd                                              #(         85. T980.22; 6JO IJ ILcJ NDKJ 9 MM ILcJ
"N &' 0123 2)+1 )C 6A1 7/,11+1-62 7,1 1.6A1, II          #) NDKJ 9 DEYJKNOLEY OUGN CEJW 2C RCD LKJ NLRGEV G[
"% A7M1 B11- *.2>8)21* B9 6A1 C),1./- /)M1,-+1-6         #* 82, ULN LE JEFCDEOJK> PCDHY 9 GE[CKI 14- OULO 82,
$? 6A1+218M12' @A76X2 6,D1'                              $+ ULN ULY LE JEFCDEOJKd
$# ?W TUR YCJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK               $#         4B A/W ,44,2;
$$ YGNNJIGELOJ MM ECO RJO> ECO RJOW 3cLRW 2C 9 cECP      $$     ?W    BJNW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14275
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  (* #"/, $% ""('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 #+*                                                      ###
#           A2W X30X36B; 2LIJ C_fJFOGCENW                #          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR HLP
$           4B A/W ,44,2;                                $ JE[CKFJIJEO ^KGSGHJVJW 3_fJFOGCEW ]LVDJW BCD FLE
"       ?W TCDHY 82, GE[CKI 14- OULO 82, ULN ULY LE      " LENPJK OC OUJ J\OJEO RCD FLEW
% JEFCDEOJK PGOU L 82=4 HGNOJJd                          %          85. T980.22; <JEJKLHHR> G[ OUJR KJgDJNO
&           A2W X30X36B; 2LIJ C_fJFOGCENW                & GO CK G[ PJ OUGEc GO GN KJHJSLEO> PJ PCDHYEZO
'           85. T980.22; -CNNG_HR> ECO EJFJNNLKGHR       ' PGOUUCHY OULOW ,EY PGOU CDK NFKJJEGEV ^LKOEJKN> G[
( LDOCILOGFLHHRW                                         ( OUJR KJgDJNO JEFCDEOJK GE[CKILOGCE> PJ PGHH
)           4B A/W ,44,2;                                ) VJEJKLHHR ^KCSGYJ GOW 4DO LN L ILOOJK C[ YLGHR
*       ?W 2C PCDHY 14- ULSJ OC KJgDJNO OULO             * ^KLFOGFJ> 9 ULSJ VCO OC NLR OULO YJ^JEYN CE OUJ
#+ GE[CKILOGCEd                                          #+ [LFON LEY FGKFDINOLEFJNW 9O FCDHY _J _JFLDNJ OUJKJ
##          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK            ## PJKJ COUJK C_SGCDN JEFCDEOJKN OULO PJKJ KJHLOJY OC
#$ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO          #$ OUGN CEJ LEY OULO IGVUO _J NCIJOUGEV PJ PCDHY
#" ^KGSGHJVJ> 229> CDONGYJ C[ ^DKSGJP C[ OUJ 821W 4DO    #" UGVUHGVUO CK GO ILR ULSJ _JJE NCIJOUGEV OULO YCJN
#% RCD FLE LENPJK OC OUJ J\OJEO OULO RCD _JHGJSJ RCD     #% ECO L^^JLK OC _J KJHLOJY LEY PJ IGVUO ECO
#& FLEW                                                  #& EJFJNNLKGHR UGVUHGVUO OULOW 9O PCDHY _J MM GO GN
#'          85. T980.22; .LFU FGKFDINOLEFJ MM PJ         #' ULKY OC NLRW
#( HCCc LO JSJKR JEFCDEOJK GE YJOLGH> JSJKR PULO PJ      #(         4B A/W ,44,2;
#) FLHH ^CNGOGSJ JEFCDEOJK> PUGFU GN PUJKJ PJ _JHGJSJ    #) ?W 9 LI fDNO OKRGEV OC DEYJKNOLEYW
#* GO GN LFODLHHR OUJ GEYGSGYDLH OULO GN HGNOJY GE OUJ   "% &' FD,1'
$+ 82=4W 3EFJ PJ ULSJ ILYJ OULO YJOJKIGELOGCE> PJ HCCc   $+ ?W 9 YCEZO DEYJKNOLEYW , 82=4 HGNOJJ VJON
$# LO OUJ [LFON LEY FGKFDINOLEFJN C[ OUJ GEYGSGYDLH      $# CE L ^HLEJ LEY [HGJN [KCI =W1W OC 1UGFLVCW =CJN L
$$ JEFCDEOJKW ,EY OUJE PJ PGHH ILcJ L^^KC^KGLOJ          $$ UDILE _JGEV LO 821 YJFGYJ PUC KJFJGSJN L
                                                 ##+                                                      ##$
# ECOG[GFLOGCE YJFGNGCEN L[OJK OULOW 9O GN ^CNNG_HJ      # ECOG[GFLOGCE OULO OUJ 82=4 HGNOJJ ULN [HCPE [KCI
$ PJ IGVUOW ,VLGE> 9 VC _LFc OC PULO 9 NLGYW 9O          $ =W1W OC 1UGFLVCd
" PCDHYEZO EJFJNNLKGHR _J LDOCILOGFW                     #      &' 012' 4X+ 2),,9_
%     ?W ,KJ RCD ILcGEV GEYGSGYDLHGhJY YJFGNGCEN         %          A2W X30X36B; <C LUJLYW
& L_CDO PUGFU JEFCDEOJK GE[CKILOGCE OC YGNNJIGELOJ OC    &          85. T980.22; BJLUW
' PUGFU LVJEFGJNd                                        '          4B A/W ,44,2;
U     &' &B2)8D6189'                                     (      ?W =C KJFG^GJEON C[ 82=4 JEFCDEOJK
)     ?W 2C JSJKR OGIJ OUJKJ GN LE JEFCDEOJK> 821        ) GE[CKILOGCE KJgDJNO JEFCDEOJK YLOL _R L ^JKNCE CK
* ILcJN L YJFGNGCE L_CDO PUGFU LVJEFGJN KJFJGSJ          * FLE OUJR KJgDJNO GO LFKCNN L HLKVJ VKCD^ CK L ND_NJO
#+ GE[CKILOGCE L_CDO OULO JEFCDEOJKd                     #+ C[ ^JKNCENd
##        A2W X30X36B; 3_fJFOGCEW                        ##         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#$ AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCEW      #$ 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE
#" ]LVDJW 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO         #" LENPJK OC OUJ J\OJEO OULO RCD FLEW
#% NJENGOGSJW 4DO RCD FLE LENPJK OC OUJ J\OJEO RCD       #%         85. T980.22; 9 OUGEc OUJR FCDHY YC _COUW
#& FLEW                                                  #& 9 IJLE>  FJKOLGEHR GEYGSGYDLHN MM LEY 9 FLE JESGNGCE
#'        85. T980.22; <JEJKLHHR RJN> JSJKR OGIJW        #' FGKFDINOLEFJN PUJKJ OUJR PCDHY [CK SLKGCDN KJLNCEN
#(        4B A/W ,44,2;                                  #( PLEO OC cECP L_CDO _KCLYJK VKCD^GEVN [CK
#) ?W 3cLRW 9[ 14- ULN LE JEFCDEOJK PGOU L               #) GEOJHHGVJEFJ LELHRNGN CK COUJK ^DK^CNJNW 2C
#* 82=4 HGNOJJ> YCJN MM 9 LI NCKKRW 6JO IJ NOLKO LHH     #* VJEJKLHHR> RJNW
$+ CSJKW 9[ 14- ULN LE JEFCDEOJK PGOU L 82=4 HGNOJJ>     $+         4B A/W ,44,2;
$# YCJN 14- KJFJGSJ GE[CKILOGCE [KCI 821 L_CDO ^KGCK     $# ?W =CJN 821 ULSJ LVKJJIJEON PGOU COUJK
$$ JEFCDEOJKN PGOU COUJK LVJEFGJNd                       $$ 7JYJKLH <CSJKEIJEO LVJEFGJN KJVLKYGEV OUJ
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14276
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 (, #""+ $% ""-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   ##"                                                     ##&
# YGNNJIGELOGCE C[ JEFCDEOJK GE[CKILOGCE PGOU 82=4        # OUJ _KJLc OULO _J[CKJ PJ NOLKO> YJ[JEYLEON ULSJ
$ HGNOJJNd 9 LI VCGEV OC NLR OULO gDJNOGCE LVLGEW 9       $ FCENDHOJY KJVLKYGEV L FJKOLGE HGEJ C[ gDJNOGCEGEV LN
" LI VCGEV OC OKR GO LVLGEW =CJN 821 ULSJ LVKJJIJEON      " OC OUJ IJI_JKN C[ OUJ TLOFU 6GNOGEV ,YSGNCKR
% CK DEYJKNOLEYGEVN PGOU 7JYJKLH <CSJKEIJEO LVJEFGJN      % 1CDEFGHW ,EY PJ ULSJ YJOJKIGEJY OULO OUJKJ GN
& OULO KJFJGSJ 82=4 HGNOJJ JEFCDEOJK GE[CKILOGCEd         & FJKOLGE GE[CKILOGCE OULO PJ FLE FHLKG[R LEY YGNFHCNJ
'          A2W X30X36B; 9N OULO OUJ JEY C[ OUJ            ' CE OUJ ^D_HGF KJFCKYW 2C AKW <KCU GN ^KJ^LKJY OC YC
( gDJNOGCEd                                               ( OULOW
)          A/W ,44,2; BJNW                                )          85. T980.22; 2C RCD ULY LNcJY IJ
*          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 * ^KJSGCDNHR PUC NGON CE OUJ FCDEFGHW ,EY NC PJ LKJ
#+ 3_fJFOGCE ^COJEOGLHHR HLP JE[CKFJIJEOW 3_fJFOGCEW      #+ ^KJ^LKJY OC LYSGNJ OULO LHNC CE OUJ FCDEFGH GN
## 1CI^CDEYW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD        ## =J^LKOIJEO C[ 5CIJHLEY 2JFDKGORW ,EY OUJ 0LOGCELH
#$ FLEW                                                   #$ 1CDEOJKM8JKKCKGNI 1JEOJK GN OUJ FCMFULGK C[ OUJ
#"         85. T980.22; <JEJKLHHR> RJNW 9 PCDHY           #" TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH OCVJOUJK PGOU OUJ
#% NLR NCIJ C[ OULO GN VCSJKEJY _R SGL OUJ TLOFU          #% 821W
#& 6GNOGEV ,YSGNCKR 1CDEFGH [KCI L ND_NOLEOGSJ            #& ?W 2C OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH GN
#' ^JKN^JFOGSJW 4DO OUJE OUJKJ GN MM 9 PCDHY NLR OUJKJ    #' FCMFULGKJY _R 821 LEY 0181d
#( LKJ COUJK OJFUEGFLH LVKJJIJEON PGOU> RCD cECP> UCP     "U &' 5),,1>6'
#) OULO FLE UL^^JEW                                       #) ?W ,EY =52> 821> LEY 14- LKJ LHH IJI_JKN C[
#*         4B A/W ,44,2;                                  #* OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
$+ ?W ,KJ OUCNJ OJFUEGFLH LVKJJIJEON OULO RCD             $+         A2W X30X36B; ,NcJY LEY LENPJKJYW 8ULO
$# LKJ KJ[JKKGEV OC IJICKGLHGhJY GE YCFDIJEONd            $# PCDHY  _J  GE OUJ KJFCKY JLKHGJK LN OC PUC PJ PJKJ
$$         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $$ L_HJ OC YGNFHCNJW
                                                   ##%                                                     ##'
# 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE         #          A/W ,44,2; 9 LI ECO FJKOLGE OULOZN GE
$ LENPJK OC OUJ J\OJEO OULO RCD FLEW                      $  OUJ KJFCKYW
"          85. T980.22; 8R^GFLHHR> OUCNJ PGHH _J          "          85. T980.22; 2C 9 PCDHY NLR =52 LEY> C[
% IJICKGLHGhJY GE L IJICKLEYDI C[ DEYJKNOLEYGEV PGOU      % FCDKNJ> 14-> LEY 82, ND_FCI^CEJEON C[ =52W
& PUCJSJK OUCNJ ^LKOEJK LVJEFGJN LKJW                     &          4B A/W ,44,2;
'          A/W ,44,2; ,KGhCELW                            '      ?W ,EY OUJ 749 GN LHNC L IJI_JK C[ OUJ TLOFU
(          85. T980.22; TULO UL^^JEN G[ 9 NLR             (  6GNOGEV ,YSGNCKR 1CDEFGHd
) ,KGhCELd                                                N      &' 012'
*          A/W ,44,2; TJ VC OC HDEFUW                     *      ?W ,HH C[ OUJ YJ[JEYLEON GE OUGN LFOGCE LKJ
#+         8UJKJ GN [GSJ IGEDOJN HJ[O CE OUJ OL^JW        #+ IJI_JKN C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHd
## TUR YCEZO PJ NOC^ ECP LEY OLcJ #+ IGEDOJN PUGHJ UJ     ##         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#$ NPGOFUJN OL^JW                                         #$ HJVLH FCEFHDNGCEW
#"         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ         #"         4B A/W ,44,2;
#% KJFCKYW 8UJ OGIJ GN ##;#" LWIW                         #% ?W 3U> RCD YCEZO cECP OUJ YJ[JEYLEONW
#&         `, KJFJNN PLN UJHYWa                           #& 8ULOZN [GEJW 8ULOZN [LGKW
#'         85. ]9=.3</,-5./; 5JKJ _JVGEN YGNc             "J &' 4 *)-X6 ,1+1+B1, K,1>.2189'
#( EDI_JK   OPC GE OUJ SGYJCOL^JY YJ^CNGOGCE C[ 8GICOUR   #( ?W 9 PGOUYKLP OUJ gDJNOGCEW BJLU> OULOZN
#) -LDH <KCUW 8UJ OGIJ CE OUJ SGYJC ICEGOCK GN            #) [GEJW 2C PJ LKJ VCGEV OC VJO _LFc OC 82=4 ^DK^CNJNW
#* ##;$( LWIW TJ ULSJ _JJE CE OUJ KJFCKY [CK # UCDK &#    #* ,EY 9 cECP MM 9 OUGEc 9 L^CHCVGhJY KGVUO _J[CKJ OUJ
$+ IGEDOJN LEY "& NJFCEYNW ,EY PJ LKJ _LFc CE OUJ         $+ _KJLc OULO 9 LI ^KC_L_HR VCGEV OC FCSJK NCIJ VKCDEY
$# KJFCKYW                                                $# OULO 9 ULSJ LHKJLYR FCSJKJYW ,EY OULOZN fDNO
$$         A2W X30X36B; ,EY 9 PLN fDNO ECOGEV GE          $$ _JFLDNJ 9 ULSJ L _LY IJICKRW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    +/ #"". $% "(/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 ##(                                                         ##*
#          TULO MM OC PULO JEYN YCJN 821 ILGEOLGE MM      # RCD FLE PGOUCDO PLGSGEV OUJ ^KGSGHJVJW
$ 9 LI NCKKRW 8C PULO JEYN YCJN 821 FKJLOJ> ILGEOLGE>     $         85. T980.22; 9 _JHGJSJ 9 LHKJLYR NLGY
" LEY YGNNJIGELOJ OUJ 82=4d                               " EC> OUJR YCEZO LHH KJFJGSJ OUJ NLIJ GE[CKILOGCEW
%          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              %         4B A/W ,44,2;
& GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO            &      ?W 8C PULO J\OJEO YCJN OUJ SLKGJY
' ^KGSGHJVJ ^COJEOGLHHRW BCD FLE LENPJK OULO OC OUJ       ' YGNNJIGELOGCE C[ 82=4 GE[CKILOGCE JNOL_HGNU PULO RCD
( J\OJEO OULO RCD FLEW                                    ( ULSJ KJ[JKKJY OC LN L FCIICE C^JKLOGEV ^GFODKJd
)          85. T980.22; 9 VC _LFc OC OUJ ^KJSGCDN         )         A2W X30X36B; 3_fJFOGCEW ]LVDJW
* LENPJKW TJ ILGEOLGE OUGN GE CKYJK OC [LFGHGOLOJ L       * 3_fJFOGCEW -COJEOGLHHR FLHHGEV [CK HLP JE[CKFJIJEO>
#+ FCIICE C^JKLOGEV ^GFODKJ LICEVNO OUJ GEOJHHGVJEFJ      #+ _DO RCD FLE L_CDO LENPJKW
## NFKJJEGEV LEY HLP JE[CKFJIJEO FCIIDEGOGJN GE CKYJK     ##        85. T980.22; 9 OUGEc OUJ GYJL C[ L
#$ OC YJOJFO LEY DHOGILOJHR ^KJSJEO OJKKCKGNIW            #$ FCIICE C^JKLOGEV ^GFODKJ GN NOGHH MM NOGHH HGIGOJY
#"         4B A/W ,44,2;                                  #" _R L^^KC^KGLOJ HJVLH LEY ^CHGFR FCENGYJKLOGCEN LEY
#% ?W TULO YC RCD IJLE _R FCIICE C^JKLOGEV                #% ^KLFOGFLH FCENGYJKLOGCEN L_CDO UCP GE[CKILOGCE FLE
#& ^KCFJYDKJd 9 LI NCKKRW TULO YC RCD IJLE _R FCIICE      #& _J DNJY [CK NFKJJEGEV YCPENOKJLI [KCI DNW
#' C^JKLOGEV ^GFODKJd                                     #'        4B A/W ,44,2;
"U &' 4 +17- 6A76 =1 7,1 1-2D,.-/ 6A76 788 )C             #( ?W .\^HLGE UCP OUJ YGNNJIGELOGCE MM 9 LI
"N 6A121 *.2K7,761 K7,62 )C 6A1 /)M1,-+1-6 A7M1           #) NCKKRW .\^HLGE UCP 821ZN YGNNJIGELOGCE C[ 82=4
"% .-C),+76.)- 6A76 1-7B812 6A1., +.22.)-3 7-* 6A1        #* GE[CKILOGCE JNOL_HGNUJN LICEV 7JYJKLH <CSJKEIJEO
$? .-C),+76.)- *)12-X6 /16 26)M1IK.K1* .- )-1 K7,6 )C     $+ LVJEFGJN L FCIICE C^JKLOGEV ^GFODKJd
$" 6A1 /)M1,-+1-6 ), 7-)6A1,'                             $#        A2W X30X36B; 3_fJFOGCEW ]LVDJ>
$$ ?W =C LHH LVJEFGJN OULO KJFJGSJ 82=4                   $$ FCI^CDEY> ^COJEOGLHHR HLP JE[CKFJIJEOW 4DO RCD FLE
                                                 ##)                                                         #$+
# GE[CKILOGCE KJFJGSJ LHH GE[CKILOGCE KJVLKYGEV           # LENPJKW
$ JEFCDEOJKN PGOU 82=4 HGNOJJNd                           $           85. T980.22; TJHH> [CK GENOLEFJ> 9 VC
"          A2W X30X36B; 3_fJFOGCE CE OUJ _LNGN C[         " _LFc OC IR ^KJSGCDN J\LI^HJ C[ OUJ 1JEOKLH
% HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR 229W BCD FLE     % 9EOJHHGVJEFJ ,VJEFR ULSGEV _JJE LPLKJ C[ GE[CKILOGCE
& LENPJK OULO OC OUJ J\OJEO OULO RCD FLEW                 & L_CDO GEYGSGYDLHN> NDFU LN XULHGY ,HMAGUYULK _JGEV
'          85. T980.22; 2C RCD LNcJY YC LHH               ' GESCHSJY GE ,HM?LJYL ^HCONW 8ULO GE[CKILOGCE ULY
( GEYGSGYDLH MM YC LHH LVJEFGJN OULO MM                   ( ECO _JJE NULKJY PGOU OUJ 749W ,EY GO FJKOLGEHR
)          A/W ,44,2; =C RCD PLEO OUJ gDJNOGCE KJLY       ) ULYEZO _JJE NULKJY PGOU LER HCFLH HLP JE[CKFJIJEO
* _LFcW                                                   * _CKYJK NFKJJEJKNW ,EY LN L KJNDHO> YJN^GOJ OUJ [LFO
#+         85. T980.22; BJLU> OULO PCDHY _J               #+ OULO OUJ @W2W <CSJKEIJEO ULY L DNJ[DH GEOJHHGVJEFJ
## UJH^[DHW                                               ## UCHYGEV> OULO GE[CKILOGCE PLN EJGOUJK LFOGCEL_HJ ECK
#$         `8UJ KJLY PLN KJLYWa                           #$ DNJ[DHW
#"         A2W X30X36B; 2LIJ C_fJFOGCENW                  #"          4B A/W ,44,2;
#%         85. T980.22; 2C EC> LHH GEYGSGYDLHN OULO       #% ?W 2C OUJ 821 NJJN LN GON KCHJ GE OUJ PLOFU
#& MM CK LHH LVJEFGJN OULO KJFJGSJ OUJ 82=4 GE[CKILOGCE   #& HGNOGEV ^KCFJNN OUJ [LFGHGOLOGEV OUJ YGNNJIGELOGCE
#' YC ECO KJFJGSJ GE[CKILOGCE CE LHH JEFCDEOJKNW          #' C[ GE[CKILOGCE OULO ILR_J 19, ULN [CK HCFLH HLP
#(         4B A/W ,44,2;                                  #( JE[CKFJIJEOd
#) ?W =C LHH LVJEFGJN OULO KJFJGSJ 82=4                   "N &' @) II
#* GE[CKILOGCE KJFJGSJ OUJ NLIJ 82=4 GE[CKILOGCEd         #*          A2W X30X36B; <C LUJLYW
$+         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              $+          85. T980.22; 9 PCDHY NLR MM 9 PCDHYEZO
$# GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           $# N^JFG[R LER ^LKOGFDHLK LVJEFRW 9 PCDHY NLR
$$ ^KGSGHJVJW BCD FLE LENPJK OULO OC OUJ J\OJEO OULO      $$ VJEJKLHHR UJHY _R GEOJHHGVJEFJ LEY HLP JE[CKFJIJEO
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14278
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 +" #"(" $% "(&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #$#                                                     #$"
# LVJEFGJNW                                               "      &' @A19 A7* II 4 B18.1M1 8)>78 87=
$          4B A/W ,44,2;                                  $ 1-C),>1+1-6 *.*' 4 T-)= 6A19 *1C.-.6189 A7* >)-67>6
"      ?W 9EFHDYGEV NOLOJ LEY HCFLH HLP JE[CKFJIJEO       # =.6A %`"" A.^7>T1,2' &-* 4 B18.1M1 6A19 *.* =.6A
% LVJEFGJN> FCKKJFOd                                      ; &8I\.*A7,' 4 7+ -)6 1-6.,189 2D,1' RD6 B9 =79 )C
&          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 < 1L7+K813 4 T-)= )6A1, %`"" A.^7>T1,2 7-* K,)B7B89
'  3_fJFOGCEW   -COJEOGLHHR HLP JE[CKFJIJEOW BCD FLE      J A.+'
( LENPJK G[ RCD FLEW                                      (      ?W 2C YCJN 821 SGJP LN CEJ C[ GON C_fJFOGSJN
)          4B A/W ,44,2;                                  ) OUJ NULKGEV C[ GE[CKILOGCE OULO NCIJ VCSJKEIJEO
*      ?W BCDK J\LI^HJ PLN L YGNNJIGELOGCE C[ 19,         * LVJEFGJN ULSJ OC COUJK VCSJKEIJEO LVJEFGJN LN PJHH
#+ GE[CKILOGCE SGL 821 OC HCFLH HLP JE[CKFJIJEOW 9 LI     #+ LN NOLOJ LEY HCFLH HLP JE[CKFJIJEOd
## fDNO LNcGEV RCD L gDJNOGCE L_CDO OUJ J\LI^HJ OULO      ##          A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY
#$ RCD ^KCSGYJYW                                          #$ FCI^CDEYW
#"         A2W X30X36B; 3cLRW 2LIJ C_fJFOGCENW            #"          85. T980.22; BJNW
#%         85. T980.22; BJNW                              #%          4B A/W ,44,2;
#&         A/W ,44,2; QDNO [CK FHLKGOR> 9 LI VCGEV        #& ?W 9 PLEO OC VJO _LFc OC OUGN FCIICE
#' OC LNc fDNO OULO OUJ gDJNOGCE GN KJ^JLOJYW 9 PGHH      #' C^JKLOGEV ^GFODKJW TULO GE[CKILOGCE YCJN 821
#( LNc UJK OC KJ^JLO OUJ gDJNOGCE fDNO NC PJ cECP PULO    #( YGNNJIGELOJ OULO JNOL_HGNUJN LICEV 7JYJKLH
#) RCD LKJ NLRGEV RJN OCW                                 #) <CSJKEIJEO LVJEFGJN L FCIICE C^JKLOGEV ^GFODKJd
#*         `8UJ KJFCKY PLN KJLYWa                         #*          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$+         4B A/W ,44,2;                                  $+          4B A/W ,44,2;
$# ?W 0CP 9 KJIJI_JK OUJ gDJNOGCEW 6JO IJ OKR             $# ?W 6JO IJ PGOUYKLP OULOW 8ULO PLN L
$$ LVLGEW                                                 $$ OJKKG_HJ gDJNOGCEW 5CP YCJN 821 JNOL_HGNU L FCIICE
                                                   #$$                                                     #$%
"      &' H) 6A1+ 788 7/7.-'                              # C^JKLOGEV ^GFODKJ LICEV [JYJKLH MM 9 LI NCKKRW
$      ?W BJLUW TULO PLN OUJ ELIJ C[ OUJ ^JKNCE GE        $ 6JOZN OKR CEJ ICKJ OGIJW 5CP YCJN 821 JNOL_HGNU L
" OUJ J\LI^HJ OULO RCD DNJYd TULO PLN OULO ELIJd          " FCIICE C^JKLOGEV ^GFODKJ LICEV OUJ KJFG^GJEON C[
;      &' @A1 %`"" 5)++.22.)- ]1K),6 >.612 =A76 4         % 82=4 GE[CKILOGCEd
< 7+ ,1C1,,.-/ 6) II 4 B18.1M1 .6X2 ZA78.* &8I\.*A7,'     &          A2W X30X36B; 3_fJFOGCEW -COJEOGLHHR
J 46X2 )-1 )C 6A1 %`"" A.^7>T1,2'                         ' FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
(      ?W 1LE RCD N^JHH OUJ HLNO ELIJ OUJ _JNO RCD        ( JE[CKFJIJEO ^KGSGHJVJW 3_fJFOGCEW ]LVDJW BCD FLE
) FLEd 8UGN GN ECO LVJEFR _GEYGEVW                        ) LENPJK OC OUJ J\OJEO OULO RCD FLEW
%      &' 4 6A.-T .6X2 &IWI\I4IHIEI&I]'                   *          85. T980.22; 2C GEOJHHGVJEFJ CK
#+ ?W ,EY PUC GN OUGN ^JKNCEd                             #+ GE[CKILOGCE OULO MM RCD cECP> OULO [JJYN ECIGELOGCEN
"" &' E1 .2 )-1 )C 6A1 %`"" A.^7>T1,2'                    ## OUJE GN MM RCD cECP> OUJ [LFO OULO OUJ @2< MM @W2W
#$ ?W ,EY YJFJLNJY> FCKKJFOd                              #$ <CSJKEIJEO MM ULN GE[CKILOGCE KJHLOJY OC OJKKCKGNI
"# &' 012'                                                #" CE GEYGSGYDLHN GN MM OUJE [LFGHGOLOJN OUJGK
#% ?W 2C GE RCDK J\LI^HJ> RCD GEYGFLOJY OULO              #% NFKJJEGEV IGNNGCE OC LGY OUJIW ,EY ^CNNG_HR
#& OUJ 19, ULY GE[CKILOGCE KJVLKYGEV MM PULOZN UGN HLNO   #& YJ^JEYGEV CE OUJ FGKFDINOLEFJN VCGEV _LFc OC
#' ELIJ LVLGEd                                            #' YGNFCSJK PULO OULO YJKCVLOCKR GE[CKILOGCE GN> GO
"U &' &8I\.*A7,'                                          #( VGSJN OUJI OUJ C^^CKODEGOR OC ILcJ [DKOUJK GEgDGKR
#) ?W ,HMAGYULK> FCKKJFOd                                 #) CK COUJKPGNJ PULOJSJK OUJGK ^LKOGFDHLK IGNNGCE GN OC
"% &' 012' @A76X2 =A76 6A1 %`"" 5)++.22.)-                #* LFFCI^HGNU OULO FCDEOJKMOJKKCKGNI IGNNGCEW ,EY OUJ
$? ]1K),6 2792'                                           $+ KJ^CKOGEV _LFc C[ JEFCDEOJKN C[ OULO GE[CKILOGCE
$# ?W ,EY HCFLH HLP JE[CKFJIJEO ULY LE                    $# FCI^HJOJN OULO PULO PJ PCDHY YJNFKG_J LN OUJ
$$ JEFCDEOJK PGOU OUGN ^JKNCEd                            $$ GEOJHHGVJEFJ FRFHJW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14279
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   +( #"() $% "(*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #$&                                                       #$(
#     ?W =CJN MM GO NCDEYN HGcJ OUJ ^DK^CNJ C[            # LENPJK OULO OC OUJ J\OJEO OULO RCD FLEW ,HNC>
$ PULO RCD LKJ FLHHGEV OUJ GEOJHHGVJEFJ FRFHJ GN          $ SLVDJW
" _KCLYJK OULE LYYKJNNGEV GIIGEJEO OUKJLON OC             "           85. T980.22; BJNW
% FCIIJKFGLH LSGLOGCE> FCKKJFOd                           %           4B A/W ,44,2;
&          A2W X30X36B; 3_fJFOGCEW ]LVDJ>                 &       ?W 3EJ C[ OUJ YLOL_LNJN OULO OUJ 8JKKCK
'  IGNFULKLFOJKGhJN    UGN ^KGCK OJNOGICERW BCD FLE       ' 2FKJJEGEV 1JEOJK FKJLOJN> ILGEOLGEN> LEY
( LENPJKW                                                 ( YGNNJIGELOJN GN FLHHJY OUJ 8JKKCK 2FKJJEGEV
)          85. T980.22; 9 _JHGJSJ 9 ULSJ LHKJLYR          ) =LOL_LNJ> FCKKJFOd
* LENPJKJY OULO> RJNW                                     %       &' 012'
#+         4B A/W ,44,2;                                  #+ ?W ,EY OUJKJ GN LECOUJK YLOL_LNJ OULO
## ?W 2C 821 YGNNJIGELOJN 82=4 GE[CKILOGCE OC             ## FCEOLGEN GE[CKILOGCE KJVLKYGEV JEFCDEOJKN PGOU 82=4
#$ FCDEOJK OUKJLON OULO LKJ ECO GIIGEJEO> FCKKJFOd        #$ HGNOJJN> FCKKJFOd
#"         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 "# &' 012'
#% 3_fJFOGCEW AGNFULKLFOJKGhJN UGN ^KGCK OJNOGICERW       #% ?W TULO GN OUJ ELIJ C[ OUJ YLOL_LNJ OULO 821
#&         85. T980.22; TULO YC RCD YJNFKG_J LN           #& FKJLOJN> ILGEOLGEN> LEY YGNNJIGELOJN OULO FCEOLGEN
#' GIIGEJEOd                                              #' JEFCDEOJK GE[CKILOGCE PGOU 82=4 HGNOJJNd
#(         4B A/W ,44,2;                                  #(          A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ
#) ?W 9IIJYGLOJ> [CKOUFCIGEV> L_CDO OC UL^^JEW            #) _LNGN C[ OUJ HLP JE[CKFJIJEO ^KGSGHJVJW 4DO RCD FLE
#*         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #* LENPJK OULO OC OUJ J\OJEO OULO RCD FLEW
$+         85. T980.22; TJHH> 9 YCEZO cECPW 8C            $+          85. T980.22; 8UJ YLOL_LNJ OULO ILGEOLGEN
$# FHLKG[R> GO GN OC ^KJSJEO OUGEVN HGcJ *j##W ,EY G[     $# JEFCDEOJKN   GN ECP FLHHJY 822W 9 YCEZO KJIJI_JK> OC
$$ CEJ C[ OUJNJ GEYGSGYDLHN ULY _JJE CE OUJ PLOFU HGNO    $$ _J UCEJNO> PULO OUJ 822 NOLEYN [CKW 9O DNJY OC _J
                                                  #$'                                                       #$)
# LEY ULY _JJE NOC^^JY GE L OKL[[GF NOC^ LN OUJR YKCSJ    # FLHHJY OUJ .EFCDEOJK ALELVJIJEO ,^^HGFLOGCEW
$ LFKCNN OUJ FCDEOKR> 9 YCEZO cECP G[ OULO IJJON RCDK     $         A/W ,44,2; 9EYGLELW
" YJ[GEGOGCE C[ GIIGEJEOW 4DO OULO GN NCIJOUGEV PJ        "         4B A/W ,44,2;
% LKJ OKRGEV OC YJOJFO GE CKYJK OC DHOGILOJHR OUPLKO      %      ?W 822 GN OUJ ELIJ C[ OUJ YLOL_LNJ OULO
& OULOW 4DO 9 YCEZO cECP PULO RCDK YJ[GEGOGCE C[          & FCEOLGEN =52 HGNOJJ JEFCDEOJK GE[CKILOGCE> FCKKJFOd
' GIIGEJEO GE OULO FLNJ GNW                               J      &' 012'
(          4B A/W ,44,2;                                  (      ?W BCD YCEZO cECP PULO 822 NOLEYN [CK>
)      ?W 9 LI fDNO OKRGEV OC VJO L HGOOHJ                ) FCKKJFOd
* JHL_CKLOGCE CE PULO OUGN FCIICE C^JKLOGEV ^GFODKJ       %      &' 4 *)-X6'
#+ GNW =CJN OUJ MM YCJN OUJ FKJLOGCE C[ 82=4              #+ ?W TUJE PLN 822 FKJLOJYd
## GE[CKILOGCE> PUGFU GEFHDYJ OUGN JEFCDEOJK              "" &' 46 2A.C61* )M1, 7KK,)L.+76189 7 917, 7/)'
#$ GE[CKILOGCE> FCKKJFO MM YCJN OUJ 82=4 MM 9 PLEOJY OC   #$ ?W 9O NUG[OJY CSJKW TULO GN OULOd
#" FHLKG[RW 9N JEFCDEOJK GE[CKILOGCE KJVLKYGEV 82=4       "# &' Q,)+ \O II 6A1 K,1M.)D2 29261+ =72
#% HGNOJJN GE L NJ^LKLOJ YLOL_LNJ [KCI OUJ 82=4 GONJH[d   "; ,1K87>1* B9 @FF'
"< &' 012'                                                #& ?W 2C OUJKJ PLN L ^KJSGCDN NRNOJI MM OUJKJ
#' ?W 2C OUJKJ GN OPC YG[[JKJEO YLOL_LNJN OULO            #' PLN L MM 9ZI NCKKRW 6JO IJ NOLKO CSJK LHHW 8UJKJ
#( MM ILR_J OUJKJ GN L _GHHGCEW 8UJKJ LKJ LO HJLNO OPC    #( PLN L NRNOJI ^KGCK OC 822 OULO FCEOLGEJY 82=4 HGNOJJ
#) YG[[JKJEO YLOL_LNJN OULO OUJ 8JKKCK 2FKJJEGEV 1JEOJK   #) JEFCDEOJK GE[CKILOGCE> FCKKJFOd
#* FKJLOJN> ILGEOLGEN> LEY YGNNJIGELOJNd                  "% &' 5),,1>6'
$+         A2W X30X36B; 3_fJFOGCEW                        $+ ?W TULO PLN OUJ ELIJ C[ OUJ NRNOJI ^KGCK OC
$# AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCEW       $# 822 OULO FCEOLGEJY 82=4 HGNOJJ JEFCDEOJK
$$ -COJEOGLHHR HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE         $$ GE[CKILOGCEd
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14280
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   ++ #"(, $% "+('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    #$*                                                      #"#
#          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY              # _JHGJSJ> LEY 821 ^KC_L_HR GE FCEFDKKJEFJ YJFGYJY
$ LENPJKJYW                                               $ OULO OULO PLN OUJ OUGEV OC YCW 9 LNNDIJ OULO OULO
"          85. T980.22; 9O GN .A,> PUGFU NOLEYN [CK       " PLN OUJE KLOG[GJY _R OUJ TLOFU 6GNOGEV ,YSGNCKR
% .EFCDEOJK ALELVJIJEO ,^^HGFLOGCEW TJ KJ[JK OC GO LN     % 1CDEFGHW
& .A,W                                                    &          A/W ,44,2; 9EYGLELW
'          4B A/W ,44,2;                                  '          4B A/W ,44,2;
(      ?W 2C .A,d                                         (      ?W 8UJ MM PUR YGY 821 LNNDIJ FCEOKCH CSJK
N      &' 012'                                            ) JEFCDEOJK GE[CKILOGCE [KCI OUJ 749d
*      ?W =CJN 821 MM 821 FKJLOJN> ILGEOLGEN> LEY         *          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#+ YGNNJIGELOJN 822> FCKKJFOd                             #+ HJVLH FCEFHDNGCEW 3_fJFOGCEW -COJEOGLHHR
"" &' H.221+.-7612 II 4 ^D26 =7-6 6) +7T1 7               ## ^KGSGHJVJY DEYJK OUJ HLP JE[CKFJIJEO ^KGSGHJVJW 4DO
"$ *.26.->6.)- B16=11- 6A1 =79 @FHR .2 *.221+.-761*'      #$ RCD FLE LENPJK G[ RCD cECP PGOUCDO PLGSGEV OUJ
"# 46 .2 YD.61 *.CC1,1-6 C,)+ 6A1 =79 [\& ), 1->)D-61,    #" ^KGSGHJVJW
"; .-C),+76.)-3 =)D8* B1 7 B1661, =79 6) KD6 .63 .2       #%         85. T980.22; 9 OUGEc GO PLN [CDEY MM GO
"< *.221+.-761*' @A19 7,1 -)6 6A1 27+1 T.-* )C            #& PLN _JHGJSJY OC _J ICKJ J[[GFGJEO OC ULSJ OUJ [CHcN
"J 7D6)+76.> 7>>122 6) 6A76 *767 6A76 6A1,1 .2 C), 6A1    #' OULO ILYJ YJFGNGCEN CE YGNNJIGELOGCE FCMHCFLOJY PGOU
"U @1,,), F>,11-.-/ H767B721' 4- 2)+1 =792 6A19 7,1       #( OUJ GEYGSGYDLHN PUC KJFJGSJY OUJ GEGOGLH KJ^CKO C[
"N YD.61 *.CC1,1-6'                                       #) OUJ JEFCDEOJKW 9O PLN LE C^^CKODEGOR [CK _JOOJK
#* ?W 3cLRW 2C OUJR LKJ YGNNJIGELOJY                      #* FCHHL_CKLOGCEW ,EY OC OUJ _JNO C[ IR cECPHJYVJ>
$+ YG[[JKJEOHR LEY LFFJNN OC OUJI MM 9ZI NCKKRW 821       $+ OULOZN PUR L YJFGNGCE PLN ILYJW
$# KJVDHLOJN LFFJNN OC .A, GE[CKILOGCE YG[[JKJEOHR OULE   $#         4B A/W ,44,2;
$$ MM 9 LI NCKKRW 6JO IJ _LFc D^W 821 ILELVJN LFFJNN      $$ ?W =GY OUJ OKLEN[JK C[ JEFCDEOJK GE[CKILOGCE
                                                    #"+                                                      #"$
# OC JEFCDEOJK GE[CKILOGCE YG[[JKJEOHR OULE GO ILELVJN    # [KCI OUJ 749 OC OUJ 8JKKCK 2FKJJEGEV 1JEOJK GESCHSJ
$ LFFJNN OC 82=4 GE[CKILOGCEd                             $ OUJ J\^CKO C[ GE[CKILOGCE OULO 821 YGY ECO LHKJLYR
#      &' 5),,1>6'                                        " ULSJd
%      ?W TLN GO LHPLRN 821 OULO ILELVJY MM 9 LI          ;      &' 4 7+ 2),,9' @) 1LK),6 6) =A)_
& NCKKRW TLN GO LHPLRN 821 OULO LHPLRN ILGEOLGEJY         &      ?W 821W 7KCI OUJ 749 OC 821W 6JO IJ OKR OC
' JEFCDEOJK GE[CKILOGCE KJVLKYGEV 82=4 HGNOJJNd           ' LNc GO L YG[[JKJEO PLRW
(          A2W X30X36B; 3_fJFOGCEW ]LVDJ>                 U      &' FD,1'
) C_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO ^KGSGHJVJW       )      ?W TLN OUJ 749 MM YGY OUJ 749 FCHHJFO
* 3_fJFOGCEW 2FC^JW 4DO RCD FLE LENPJK OULO G[ RCD        * JEFCDEOJK GE[CKILOGCE MM 9 LI NCKKRW -KGCK OC 822>
#+ cECPW                                                  #+ YGY OUJ 749 FCHHJFO JEFCDEOJK GE[CKILOGCE OULO 821
##         85. T980.22; 8UJ MM OUJ JEFCDEOJKN ULSJ        ## YGYEZO ULSJd
#$ LHPLRN  _JJE  KJ^CKOJY OC 821W 8UJKJ PLN L FULEVJ> 9   "$ &' 4 B18.1M1 @F5 A7* 7>>122 6) 6A76
#" _JHGJSJ> GE L_CDO $+#" PUJKJ OULO JEFCDEOJK            "# .-C),+76.)-' RD6 9123 4 6A.-T II .6 =72 ,17889 7
#% GE[CKILOGCE DNJY OC _J UCDNJY LO 749 LEY GN ECP        "; 6=)I261K II .6 =72 ,17889 7 6=)I261K K,)>122 K,.),
#& UCDNJY LO 821W                                         "< 6A76 =1 A7M1 -)= +7*1 +),1 217+8122 B9 >)I8)>76.-/
#'         4B A/W ,44,2;                                  "J 7-* A)-12689 B,.-/.-/ =A76 =72 K,1M.)D289 21K7,761
#(     ?W    TUC ILYJ OUJ YJFGNGCE OC OKLEN[JK            "U 29261+2 6)/16A1,'
#) JEFCDEOJK GE[CKILOGCE [KCI 749 OC 821d                 #) ?W 2C ECP OUJKJ GN CEHR CEJ NGEVHJ NRNOJI
#*         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #* OULO UCDNJN 82=4 HGNOJJ JEFCDEOJK GE[CKILOGCE>
$+ 3_fJFOGCEW -COJEOGLHHR HLP JE[CKFJIJEO ^KGSGHJVJW      $+ FCKKJFOd
$# 3_fJFOGCEW 2FC^JW BCD FLE LENPJK G[ RCD cECPW          $" &' 012'
$$         85. T980.22; 1JKOLGEHR OUJ 749> 9              $$ ?W ,EY OUJ ELIJ C[ OULO NRNOJI GN 822d
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14281
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   +& #"++ $% "+-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #""                                                       #"&
"       &' 5),,1>6'                                       # BCD FLE LENPJK GO G[ RCD FLEW
$       ?W TJ YCEZO cECP PULO 822 NOLEYN [CK> _DO         $          85. T980.22; BJLU> 9 YCEZO _JHGJSJ 9 FLE
" OULOZN OUJ ELIJ C[ OUJ NRNOJId                          " LENPJK OULO PGOUCDO MM PGOUCDO VJOOGEV GEOC
;       &' 012'                                           % ^KGSGHJVJW
&       ?W 9N OUJ 82=4 LEY 822 FKCNNMKJ[JKJEFJY _R        &          A/W ,44,2; 1LE RCD KJ^JLO OUJ gDJNOGCEd
'  HGNOJJ ELIJ CK GE NCIJ COUJK PLRd                      '          `8UJ KJFCKY PLN KJLYWa
U       &' 51,67.-89 B9 II                                (          A2W X30X36B; 2LIJ C_fJFOGCENW
)       ?W 9 LI NCKKR [CK GEOJKKD^OGEV RCDW 6JO IJ        )          A/W ,44,2; TULO LKJ OUJ C_fJFOGCENd
* _LFc D^W 8ULO PLN L _LY gDJNOGCEW TULO GN OUJ           *          A2W X30X36B; 8ULO GO FLHHN [CK
#+ KJHLOGCENUG^ _JOPJJE 822 LEY 82=4d                     #+ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
"" &' V1883 2)+1)-1 =)D8* -)6 B1 .- @FF D-8122            ## ^KGSGHJVJW ,EY 9 NLGY UJ FLE LENPJK OC OUJ J\OJEO
"$ 6A19 A7* B11- .- @FHR3 C.,26 )C 788' @A1,1 .2 7        #$ OULO UJ FCDHYW ,EY UJ NLGY OULO UJ FLEZOW
"# ,1C1,1->1 -D+B1, 6A76 =)D8* B1 II 6A76 =)D8* 6.1 6A1   #"         85. T980.22; ,EY 9 OUGEc GO LHNC
"; ,1>),*2 6)/16A1,' &-* 2) 6A76 K7,6.>D87, ,1C1,1->1     #% GESCHSJN NOLOJ NJFKJONW
"< -D+B1, =)D8* B1 II B12.*12 6A1 -7+1 II =)D8* B1 6A1    #&         A2W X30X36B; TJHH> OUJE NOLOJ NJFKJON LN
"J .*1-6.C.1,'                                            #' PJHHW
#( ?W =CJN 822 LEY 82=4> YC OUCNJ OPC YLOL_LNJN           #(         4B A/W ,44,2;
#) LDOCILOGFLHHR ^C^DHLOJ JLFU COUJK GE NCIJ ILEEJKd      #) ?W =CJN MM [HGVUO MM 821 GN LPLKJ OULO 82,
"% &' P)'                                                 #* cJJ^N OKLFc C[ [HGVUO KJFCKYN C[ LGK OKLSJHJKN>
$+ ?W 2C LER FULEVJ OC 822 KJgDGKJN L UDILE               $+ FCKKJFOd
$# _JGEV OC ILcJ GOd                                      $#         A2W X30X36B; 3_fJFOGCEW 229> ^COJEOGLH
$$          A2W X30X36B; 3_fJFOGCEW                       $$ HLP JE[CKFJIJEOW BCD FLE LENPJK OULO G[ RCD FLEW
                                                  #"%                                                       #"'
# AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCEW        #           85. T980.22; 9 IJLE> 9 VJEJKLHHR cECP
$ -COJEOGLH HLP JE[CKFJIJEOW BCD FLE LENPJKW              $  OULO 82,   NFKJJEN LVLGENO [HGVUON> LEY OUJKJ LKJ
"          4B A/W ,44,2;                                  " JHJFOKCEGF NRNOJIN OULO LKJ GESCHSJNW
%     ?W 6JO IJ PGOUYKLP OUJ gDJNOGCEW =CJN MM GE         %           4B A/W ,44,2;
& CKYJK OC ILcJ L FULEVJ OC 822> YCJN L UDILE _JGEV       &      ?W ,EY OULO ^JK GON NFKJJEGEV ^KLFOGFJN>
' ULSJ OC ILcJ L FULEVJ OC 822d 9 LI NCKKRW 6JO IJ        ' KJFCKYN LKJ VJEJKLOJY C[ JLFU [HGVUO OULO JSJKR
( OKR CEJ ICKJ OGIJW =CJN L FULEVJ OC 822 KJgDGKJ L       ( ^JKNCE DEYJKOLcJNd
) UDILE _JGEVZN GESCHSJIJEOd 8UJKJ PJ VCW                 )           A2W X30X36B; 9 LI VCGEV OC C_fJFOW
*          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO           * -COJEOGLHHR 229> ^COJEOGLHHR HLP JE[CKFJIJEOW 8ULO
#+ FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP             #+ GN LHNC L gDJNOGCE OULO FLHHN [CK GE[CKILOGCE GE OUJ
## JE[CKFJIJEO ^KGSGHJVJW 4DO RCD FLE LENPJK G[ RCD       ## ^CNNJNNGCE C[ LECOUJK LVJEFRW BCD FLE N^JLc OC RCDK
#$ FLEW                                                   #$ DEYJKNOLEYGEVW 4DO UGN LENPJK PGHH ECO _GEYW
#"         85. T980.22; BJN> GEYGSGYDLHN ULSJ OC MM       #"          A/W ,44,2; 9 IJLE> OULO NOD[[ GN GE OUJ
#% OUJKJ ILR _J NCIJ YLOL OULO FCIJN GE LDOCILOGFLHHR     #% CSJKSGJP YCFDIJEOW
#& [KCI SLKGCDN [JJYNW 4DO> DHOGILOJHR> ECOUGEV           #&          A2W X30X36B; 3cLRW
#' UL^^JEN PGOUCDO L UDILE _JGEVZN GESCHSJIJEO PGOU       #'          A/W ,44,2; 9O GE OUJ CSJKSGJP YCFDIJEOW
#( 822W                                                   #(          85. T980.22; BJLU> _DO RCD DNJY FJKOLGE
#)         4B A/W ,44,2;                                  #) PCKYN HGcJ JSJKR LEY JSJKR ^LNNJEVJKW ,EY KJFCKYN
#* ?W TULO GE[CKILOGCE JEOJKN 822 LDOCILOGFLHHR           #* LKJ ILYJ MM 9 YCEZO cECP MM RCD cECP> PJ FCDHY MM L
$+ PGOUCDO L UDILE _JGEVZN GESCHSJIJEOd                   $+ _DEFU C[ HLPRJKN GE L KCCI FCDHY N^JEY LHH YLR CE
$#         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         $# OULO> KGVUOd
$$ FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW       $$          4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14282
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    +) #"+. $% "&/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #"(                                                        #"*
#      ?W 2DKJ> NDKJW ,EY GO GN ECO L OKGFc               # KJ[JKKGEV OC GE OULO LENPJKd
$ gDJNOGCEW ,EY G[ 9 LI PKCEV> OJHH IJ 9 LI PKCEVW        $      &' 4 *)-X6 6A.-T 4 >7- /) II
" 821 DEYJKNOLEYN OULO 821 FKJLOJN KJFCKYN OULO KJVLKY    "          A2W X30X36B; 9 C_fJFO _LNJY CE 229 LEY
% JLFU [HGVUO OULO JSJKR ^LNNJEVJK OULO FKCNNJN @W2W      % LHNC OULO _JGEV GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[
& GEOJKN^LFJ DEYJKOLcJNd                                  & LECOUJK LVJEFRW
'           A2W X30X36B; 3_fJFOGCEW ]LVDJW                '      ?W 2C RCD FLE OJHH IJ OULO 821 ULN
( 3_fJFOGCEW -COJEOGLHHR 229 CK HLP JE[CKFJIJEOW          ( GE[CKILOGCE OULO 82, FCHHJFON L_CDO ^JC^HJZN
)           85. T980.22; BJLU> OUJ PLR RCD ^UKLNJ         ) OKLSJHN> _DO RCD FLEZO OJHH IJ PULO GE[CKILOGCE 821
* OULO> 9 YCEZO cECPW                                     * FCHHJFON MM 82, FCHHJFONW
#+          4B A/W ,44,2;                                 #+         A2W X30X36B; 3_fJFOGCEW ]LVDJW
##     ?W    =CJN 821 ULSJ GE[CKILOGCE L_CDO OUJ          ##         85. T980.22; 9 YCEZO DEYJKNOLEYW
#$ [HGVUON OULO 82=4 HGNOJJN DEYJKOLcJd                   #$         4B A/W ,44,2;
#"          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #" ?W 9N OUJKJ L ND_NJO C[ 82=4 GE[CKILOGCE
#% LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP      #% OULO LHH [JYJKLH LVJEFGJN KJFJGSJd
#& JE[CKFJIJEO ^KGSGHJVJ CK ^COJEOGLHHR OUJ NOLOJ         #&         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#' NJFKJONW 4DO RCD FLE LENPJK GO OC OUJ J\OJEO RCD MM    #' FLHHN [CK GE[CKILOGCE ND_fJFO OC OUJ HLP JE[CKFJIJEO
#( CK 229W                                                #( ^KGSGHJVJW BCD FLE LENPJK GO G[ RCD FLEW
#)          A/W ,44,2; 9 LI fDNO LNcGEV [CK 821           #)         85. T980.22; 9 ULSJEZO OJNOG[GJY OULO
#* GE[CKILOGCEW 9 LI ECO LNcGEV [CK 82, GE[CKILOGCEW      #* LHH [JYJKLH LVJEFGJN KJFJGSJ 82=4 GE[CKILOGCE> NCW
$+          A2W X30X36B; 3cLRW 8UJ C_fJFOGCEN             $+         4B A/W ,44,2;
$# NOLEYW   BCD  FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW   $# ?W 3[ OUJ [JYJKLH LVJEFGJN OULO YC KJFJGSJ
$$          85. T980.22; 2CKKRW 1LE RCD KJ^JLO GO         $$ 82=4 GE[CKILOGCE> GN OUJKJ LER ND_NJO C[ 82=4
                                                  #")                                                        #%+
# _JFLDNJ 9 HCNO GOd                                      # GE[CKILOGCE OULO LHH C[ OUJI KJFJGSJd
$          A/W ,44,2; 1LE RCD KJLY GO _LFcd 9             $           A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
" YCEZO KJIJI_JK> JGOUJKW                                 " FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
%          `8UJ KJFCKY PLN KJLYWa                         % JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
&          A2W X30X36B; ,EY 9 LI VCGEV OC LNNJKO          &           85. T980.22; ,N L ^KLFOGFLH ILOOJK>
' LHH OUJ NLIJ C_fJFOGCENW BCD FLE LENPJK OC OUJ          ' OUJKJ ^KC_L_HR GNW 9 PCDHYEZO NLR OULO GO GN
( J\OJEO OULO RCD FLEW                                    ( NCIJOUGEV OULO PJ ULSJ EJFJNNLKGHR YJ[GEJY OULO PLRW
)          85. T980.22; 9 PCDHY NLR VJEJKLHHR 9           ) 8UJNJ LKJ cGEY C[ ]90 YGLVKLIN OULO CSJKHL^W 2C LN
* OUGEc OUJR ULSJ GE[CKILOGCEW                            * L ^KLFOGFLH ILOOJK> OUJKJ ^KC_L_HR GNW 9 ^KC_L_HR
#+         4B A/W ,44,2;                                  #+ FCDHYEZO YJ[GEJ [CK RCD J\LFOHR PULO OULO GN>
## ?W 4R kOUJR>k RCD IJLE 821d                            ## _JFLDNJ OUJKJ LKJ NJ^LKLOJ KDHJN OULO VCSJKE JLFU
"$ &' @F&'                                                #$ CEJ C[ OUCNJ PULO PJ PCDHY FLHH LE J\^CKOW
#" ?W 5LN GE[CKILOGCE L_CDO MM 9 IJLE MM                  #"          4B A/W ,44,2;
"; &' &B)D6 II                                            #% ?W ,KJ OUJ KDHJN OULO VCSJKE J\^CKON C[ 82=4
#&         A/W ,44,2; 9ZI NCKKRW 6JOZN YC OUGNW           #& GE[CKILOGCE EJPHR FKJLOJY JSJKR OGIJ OULO OUJKJ GN
#' 1LE RCD KJLY _LFc OUJ LENPJKd                          #' LE J\^CKO C[ 82=4 GE[CKILOGCEd
#(         `8UJ KJFCKY PLN KJLYWa                         #(          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
#)         4B A/W ,44,2;                                  #) FLHHN [CK HLP JE[CKFJIJEO GE[CKILOGCEW BCD FLE
#* ?W TUC GN kOUJRk GE OUJ LENPJKd                        #* LENPJK G[ RCD FLEW
$? &' @A76 =)D8* B1 @F& .- ,12K)-21 6) 9)D,               $+          85. T980.22; 0CW <JEJKLHHR> OUCNJ KDHJN
$" YD126.)-'                                              $# LKJ MM OUJR ILR _J LYfDNOJY [KCI OGIJ OC OGIJW 4DO
$$ ?W ,EY PULO GN OUJ GE[CKILOGCE OULO RCD LKJ            $$ ILER C[ OUJNJ J\^CKON UL^^JE LDOCILOGFLHHR LEY
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  +- #"&" $% "&&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #%#                                                      #%"
# FCEOGEDCDNHRW                                          # N^JFG[GF FCEOJ\Od
$           4B A/W ,44,2;                                $      &' R9 1YD.6.12 II =1 678T1* 7B)D6 17,8.1,
"      ?W 3cLRW 2C 9 NOGHH YCEZO ULSJ L NJENJ C[         # /1-1,7889 6A1 -)+.-76),3 6A1 ),/7-.a76.)- 6A76 A7*
% PULO 821 YCJN OC JNOL_HGNU L FCIICE C^JKLOGEV          ; 6A1 .-C),+76.)- ),./.-7889 =)D8* 61-* 6) A7M1' 4
& ^GFODKJ LICEV [JYJKLH LVJEFGJN OC YJOJFO LEY NOC^      < =)D8* *1C.-1 6A76 72 7- 1YD.69' &- ),/7-.a76.)- .C
' OJKKCKGNIW 9 LI NCKKRW 9YJEOG[R LHH LFOGCEN 821        J .6 .2 2)+16A.-/ =.6A.- 6A1., +.22.)-' F) .C 6A19
( OLcJN OC LFFCI^HGNU L FCIICE C^JKLOGEV ^GFODKJ LICEV   U 7,1 ,12K)-2.B81 C), 7M.76.)- 21>D,.69 7-* .6
) KJFG^GJEON C[ 82=4 GE[CKILOGCE CK 822 GE[CKILOGCEW     N .-M)8M12 7 C8./A63 6A19 =)D8* A7M1 7- 1YD.69' 4C .6
*           A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO       % .-M)8M12 7 B),*1, 1->)D-61,3 6A1- )BM.)D289 B),*1,
#+ PCDHY GI^HGFLOJ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP      "? 2>,11-.-/ ),/7-.a76.)-2 A7M1 1YD.6.12' 4C .6 .2 7
## JE[CKFJIJEO ^KGSGHJVJ CK 229W ,HNC> SLVDJW ,HNC       "" *)+126.> 1->)D-61,3 /1-1,7889 6A1 QR4 =)D8* A7M1 7-
#$ FCI^CDEYW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD       "$ 1YD.69' @A1,1 7,1 )6A1,23 BD6 6A76X2 /1-1,7889 =A76
#" FLEW                                                  "# 4 +17-'
#%          85. T980.22; TJHH> NGEFJ OULOZN              #% ?W ,NGYJ [KCI JNOL_HGNUGEV L FCIICE
#& JSJKROUGEV OULO 821 ICKJ CK HJNN YCJN> PJ OLcJ        #& C^JKLOGEV ^GFODKJ LICEV KJFG^GJEON C[ 82=4
#' GEOJHHGVJEFJ LEY HLP JE[CKFJIJEOMKJHLOJY              #' GE[CKILOGCE> PULO JHNJ YCJN 821 DOGHGhJ OUJ 82=4
#( GE[CKILOGCEW TJ _DGHY L KJHGL_HJ OUCKCDVU LEY         #( [CKd
#) FDKKJEO HGNO [KCI OULO GE[CKILOGCEW TJ YGNNJIGELOJ    #)         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#* OULO GE[CKILOGCE OC NFKJJEGEV ^LKOEJKN FCIIJENDKLOJ   #* 3_fJFOGCE GENC[LK LN GO FLHHN [CK GE[CKILOGCE
$+ PGOU OUJ HLP> PGOU ^CHGFR> PGOU OJFUEGFLH LEY         $+ ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
$# ^KLFOGFLH FCENGYJKLOGCEN OC NFKJJEGEV ^LKOEJKNW       $# LENPJKW
$$          TJ KJFCKY GE[CKILOGCE L_CDO JEFCDEOJKNW      $$         85. T980.22; TJHH> GELNIDFU LN GO GN ECO
                                                  #%$                                                      #%%
# ,EY _JOPJJE OULO> OUJ COUJK ^GJFJ 9 HJ[O CDO C[ OULO   # FCSJKJY _R OUJ FCIICE C^JKLOGEV ^GFODKJ YGNFDNNGCE>
$ PLN PJ FCEYDFO GYJEOGOR KJNCHDOGCE PGOU OUJ ^LKOEJK    $ 9 OUGEc OC JEL_HJ LHH C[ CDK ^LKOEJK LVJEFGJN OC
" OC ILcJ NDKJ OULO OUJ ^JKNCE JEFCDEOJKJY GN GEYJJY     " LFFCI^HGNU OUJGK IGNNGCE LEY DHOGILOJHR ^KJSJEO
% NCIJ_CYR OULO PJ LKJ HCCcGEV [CK> OC J\FHDYJ ^JC^HJ    % OJKKCKGNI JSJE L_CSJ OULOW
& OULO LKJ ECO CE OUJ 82=4 LEY OULO PJ LKJ ECO OKRGEV    &          4B A/W ,44,2;
' OC NFKJJE LVLGENOW TJ OUJE YGNNJIGELOJ OULO            '      ?W =CJN OUJ MM YCJN JLFU ^JKNCE GEFHDYJY GE
( GE[CKILOGCE GE L PLR OULO GO FCI^HJOJN OUJ             (  OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ GE 821ZN SGJP ^CNJ L
) GEOJHHGVJEFJ FRFHJ LEY COUJK ^JC^HJ ULSJ C^JKLOGCELH   ) OUKJLO OC FCIIJKFGLH LSGLOGCEd
* CK GEOJHHGVJEFJ CK HLP JE[CKFJIJEO JgDGOGJN MM         *          A2W X30X36B; 3_fJFOGCEW ]LVDJW 1LHHN
#+ NFKJJEGEV JgDGOGJN OULO FLE J[[JFOGSJHR FCI^HJOJ      #+ [CK N^JFDHLOGCEW 3_fJFOGCE GENC[LK LN GO FLHHN [CK
## OUJGK IGNNGCEW                                        ## GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
#$          4B A/W ,44,2;                                #$ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
#" ?W TUC YJFGYJN PUGFU LVJEFGJN ULSJ JgDGOGJN           #" FLEW
#% GE L NGODLOGCE OULO KJVLKYN 82=4 HGNOJJd              #%         85. T980.22; .LFU ^JKNCE GE OUJ YLOL_LNJ
#&          A2W X30X36B; 3_fJFOGCEW ]LVDJW               #& ULN GE[CKILOGCE L_CDO OUJI OULO KJHLOJN OC OJKKCKGNI
#'          85. T980.22; =C RCD IJLE ^CNOMJEFCDEOJKd     #' N^JFG[GFLHHR LEY GELNIDFU LN OJKKCKGNON VJEJKLHHR
#(          4B A/W ,44,2;                                #( ^CNJ L OUKJLO OC LSGLOGCE> 9 OUGEc> ^COJEOGLHHRW
#) ?W -KC_L_HR ICKJ VJEJKLHHRW 9 YCEZO cECP              #) 4DO 9 YC OUGEc OUJKJ> RCD cECP> PGOUGE OUJ 8JKKCK
#* PULO RCD IJLE _R JgDGOGJNW TULO YC RCD IJLE PUJE      #* 2FKJJEGEV 1JEOJK C[ FCDKNJ PJ ULSJ YG[[JKJEO
$+ RCD NLR MM RCD DNJY OUJ PCKY JgDGOGJNd                $+ ND_FCI^CEJEON> PUGFU ICKJ EJFc LO OUKJLON OC
$" &' SAIADA'                                            $# LSGLOGCEW
$$ ?W TULO YC RCD IJLE _R OULO OJKI GE OUGN              $$         4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  +. #"&) $% "&*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #%&                                                      #%(
#      ?W , ^JKNCE FLE _J GEFHDYJY MM 9 LI NCKKRW        # AGNFULKLFOJKGhJY ^KGCK OJNOGICERW 3_fJFOGCEW ,NcJY
$ 821 GEFHDYJN ^JKNCEN GE OUJ 82=4 [CK PUCI GO           $ LEY LENPJKJYW 3_fJFOGCE GENC[LK LN GO GI^HGFLOJN
" ^CNNJNNJN EC GE[CKILOGCE OULO OUJR ^CNJ LER OUKJLO     " HLP JE[CKFJIJEO CK 229W 4DO RCD FLE LENPJKW
% OC FCIIJKFGLH LSGLOGCE> FCKKJFOd                       %           85. T980.22; 9 OUGEc OUJ VGNO C[ RCDK
&          A2W X30X36B; 3_fJFOGCEW                       & gDJNOGCE> OUJ LENPJK GN PULO 9 fDNO ^KJSGCDNHR
'  AGNFULKLFOJKGhJY    UGN ^KGCK OJNOGICERW 3_fJFOGCE    ' NOLOJY> OULO JSJKR KJFCKY YCJN ECO ULSJ
( SLVDJW 3_fJFOGCE GENC[LK LN OULO FLHHN [CK             ( ^LKOGFDHLKGhJY GE[CKILOGCE PGOU KJN^JFO OC LSGLOGCE
) GE[CKILOGCE _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD      ) OJKKCKGNIW ,EY 9 PCDHY NLR OULO OULO PLN EJSJK OUJ
* FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW                 * GEOJEOW
#+         85. T980.22; 9 _JHGJSJ 9 LHKJLYR              #+          4B A/W ,44,2;
## OJNOG[GJY 9 FLEZO LVKJJ PGOU OULO NOLOJIJEOW          ## ?W ,EY 9 fDNO PLEO OC ILcJ NDKJW BCD NLGY
#$         4B A/W ,44,2;                                 #$ KJFCKYW 9 fDNO PLEO OC ILcJ NDKJ 9 VCO J\LFOHR PULO
#" ?W .\^HLGE RCDK YGNLVKJJIJEO PGOU OULO                #" KJFCKY RCD LKJ KJ[JKKGEV OCW 82=4 KJFCKYN YC ECO>
#% NOLOJIJEOW                                            #% LN L KDHJ> LHPLRN FCEOLGE GE[CKILOGCE OULOZN
#&         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #& ^LKOGFDHLK OC MM 9 LI NCKKRW 6JO IJ NOLKO LHH CSJKW
#' FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ HLP        #' 0CO LHH 82=4 KJFCKYN FCEOLGE GE[CKILOGCE KJVLKYGEV
#( JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO   #( LE LSGLOGCE NJFDKGOR OUKJLO> FCKKJFOd
#) OULO RCD FLEW                                         "N &' F) 816 +1 ^D26 >87,.C9 A1,1' @FHR *)12
#*         85. T980.22; BCD NLGY MM PJHH MM              "% -)6 >)-67.- 6A1 7>6D78 *1,)/76),9 .-C),+76.)-' P)=3
$+         A/W ,44,2; =C RCD PLEO UJK OC KJLY GO         $? .6 .2 8.-T1* 6) )6A1, 29261+23 =A.>A *) >)-67.- 6A76
$# _LFcd                                                 $" *1,)/76),9 .-C),+76.)-' F) .- -) @F II =.6A.- 6A1
$$         85. T980.22; BJLU> KJLY GO _LFcW 9            $$ @FHR3 6A1,1 .2 -) K7,6.>D87,.a1* *1,)/76),9
                                                  #%'                                                      #%)
# OUGEc GO PLN MM                                        " .-C),+76.)- )C 7-9)-1' RD6 =1 *) A7M1 7 ,1>),* )C
$           `8UJ KJFCKY PLN KJLYWa                       $ =A1,1 6) II =1883 =1 >7- C.-* 6A76 .-C),+76.)- .-
"           A2W X30X36B; 2LIJ C_fJFOGCENW ,EY 9          # A)8*.-/2 )C 6A1 P76.)-78 5)D-61,I@1,,),.2+ 51-61, ),
% PCDHY LHNC LYY OC OUJ J\OJEO OULO GO FLHHN [CK 229W    ; 6A1 QR4'
& 4DO RCD FLE LENPJKW                                    <          @A76 27.*3 6) /16 .- @FHR3 =1 A7M1 6)
'           85. T980.22; AR ^KJSGCDN LENPJK> OUJ CEJ     J A7M1 7>>122 6) *1,)/76),9 .-C),+76.)-' &-* =A1- 9)D
( _J[CKJ OULO> N^CcJ OC OUJ [LFO OULO 9 OUGEc            U 7>>122 6A76 *1,)/76),9 .-C),+76.)-3 =A.>A 2DKK),62
) OJKKCKGNI GE VJEJKLH ^CNJN L OUKJLO LN UGNOCKR ULN     N 6A1 @FHR ,1>),*3 6A1- 6A19 *) -)6 788 A7M1
* NUCPE OC LSGLOGCEW 8UJKJ GN ECO ^LKOGFDHLKGhJY         % K7,6.>D87,.a1* 7M.76.)- 6A,176 .-C),+76.)-3 786A)D/A
#+ LSGLOGCE OUKJLO GE[CKILOGCE GE JSJKR KJFCKY> _DO      "? 6A19 *) A7M1 .-C),+76.)- ,18761* 6) 61,,),.2+'
## OUJKJ GN L KJHLOGCENUG^ OC OJKKCKGNIW                 ## ?W 2C ^LKOGFDHLKGhJY LSGLOGCE OUKJLO
#$          4B A/W ,44,2;                                #$ GE[CKILOGCE GN ECO L KJgDGKJIJEO [CK _JGEV GEFHDYJY
#" ?W 2C OUJKJ LKJ 82=4 HGNOJJN [CK PUCI 821             #" GE OUJ 82=4> FCKKJFOd
#% ^CNNJNNJN EC GE[CKILOGCE OULO OUJR ^CNJ L OUKJLO OC   "; &' 5),,1>6'
#& FCIIJKFGLH LSGLOGCEd                                  #& ?W 3cLRW 2C PJ ULSJ OLHcJY L_CDO OUJ 82=4>
#'          A2W X30X36B; 3_fJFOGCEW                      #' OUJ 822> LEY OUJE OUJKJ GN L YLOL_LNJ OULO FCEOLGEN
#(          4B A/W ,44,2;                                #( LHH OUJ YJKCVLOCKR GE[CKILOGCE OULOZN OUJ _LNGN C[
#) ?W 9ZI NCKKRW 6JO IJ PGOUYKLP OULO                    #) OUJ 82=4> FCKKJFOd
#* gDJNOGCEW 821 GEFHDYJN ^JKNCEN GE OUJ 82=4 [CK PUCI   "% &' @A1,1 7,1 7>6D7889 6=) *767B7212'
$+ OUJR ULSJ EC GE[CKILOGCE OULO OULO ^JKNCE ^CNJN L     $+ ?W 8UJKJZN OPC YLOL_LNJN> CcLRW TULO OPC
$# ^LKOGFDHLKGhJY OUKJLO OC FCIIJKFGLH LSGLOGCEd         $# YLOL_LNJN FCEOLGE OUJ YJKCVLOCKR GE[CKILOGCE OULO GN
$$          A2W X30X36B; 3_fJFOGCEW                      $$ OUJ _LNGN [CK OUJ 82=4d
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14285
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   +* #"&, $% ")('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #%*                                                       #&#
#          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         #          4B A/W ,44,2;
$ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP       $      ?W =CJN 821 ULSJ LFFJNN OC LHH YJKCVLOCKR
" JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO     " GE[CKILOGCE FCEOLGEJY GE OUJ 749ZN 2JEOGEJH
% RCD FLEW                                                % YLOL_LNJd
&          85. T980.22; 2C OUJ 0LOGCELH                   &          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
' 1CDEOJKM8JKKCKGNI 1JEOJK ILGEOLGEN PULOZN cECPE LN      ' FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
( 89=.> OUJ 8JKKCKGNO 9YJEOGOGJN =LOLILKO .ESGKCEIJEOW    ( JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
) ,EY OUJ 749 ILGEOLGEN 2JEOGEJHW ,EY L YGNOGEFOGCE       ) OULO RCD FLEW
* GN ILYJ _JOPJJE KJFCKYN OULO KJHLOJ OC PULO PJ PCDHY    *          85. T980.22; BJNW
#+ YJ[GEJ LN YCIJNOGF OJKKCKGNI LEY PULO PJ PCDHY         #+         4B A/W ,44,2;
## YJ[GEJ LN GEOJKELOGCELH OJKKCKGNIW                     ##     ?W    =CJN 821 MM CcLRW 2C YCJN 821 OJHH
#$         4B A/W ,44,2;                                  #$ COUJK MM 9ZI NCKKRW =CJN 821 YGKJFO KJFG^GJEON C[
#" ?W =CJN 821 ^CNNJNN FCI^HJOJ LFFJNN OC                 #" 82=4 GE[CKILOGCE L_CDO UCP OUJ KJFG^GJEON C[ 82=4
#% 0181ZN 89=. YLOL_LNJd                                  #% GE[CKILOGCE NUCDHY DOGHGhJ 82=4 GE[CKILOGCEd
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #&         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#' 3_fJFOGCE   GENC[LK LN GO FLHHN [CK HLP JE[CKFJIJEO    #' 3_fJFOGCE   GENC[LK LN GO FLHHN [CK GE[CKILOGCE
#( NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK G[ RCD FLEW      #( ^KCOJFOJY _R HLP JE[CKFJIJEOW BCD FLE LENPJK OC OUJ
#)         85. T980.22; TUJE RCD NLR MM 9 ULSJ OC         #) J\OJEO OULO RCD FLEW
#* gDLHG[R FCI^HJOJW 8UJKJ ILR _J NCIJ LYIGEGNOKLOGSJ     #*         85. T980.22; 0CW TJ ^KCSGYJ OUJ
$+ [DEFOGCEN CK COUJK ^GJFJN OULO PJ YCEZO ULSJ LFFJNN    $+ GE[CKILOGCE> LEY OUJE OUJR J\JKFGNJ OUJGK IGNNGCE
$# OCW 4DO 9 PCDHY NLR VJEJKLHHR OUJ ^LKON OULO PCDHY     $# ^DKNDLEO OC OUJGK CPE LDOUCKGOGJNW 8UJR ILcJ OUJGK
$$ FCEOLGE YJKCVLOCKR GE[CKILOGCE ND^^CKOGEV 82=4> RJN>   $$ CPE YJFGNGCEN PGOU PULO OC YC PGOU GOW
                                                  #&+                                                       #&$
# PJ ULSJ LFFJNNW                                         #           A/W ,44,2; 2C GO GN #$;#+ ECPW 9 LI
$          4B A/W ,44,2;                                  $  UL^^R   OC cJJ^ CE VCGEV> _DO HDEFU GN PUJEJSJK RCD
"      ?W ,EY NC OULEcN [CK OULO FHLKG[GFLOGCEW           " PLEO GO OC _JW 2C PUJE MM
% 6JO IJ fDNO KJ^UKLNJW 821 ULN FCI^HJOJ LFFJNN OC        %           85. T980.22; 9 DNDLHHR YCEZO JLO HDEFUW
& OUJ ND_NOLEOGSJ YJKCVLOCKR GE[CKILOGCEW 9ZI NCKKRW      & 4DO 9 LNNDIJ OULO IJI_JKN C[ OUJ OJLI UJKJ ^KC_L_HR
' 6JO IJ NOLKO LHH CSJKW 821 ULN FCI^HJOJ LFFJNN OC       ' YCW
( OUJ YJKCVLOCKR GE[CKILOGCE FCEOLGEJY GE 0181ZN 89=.     (           A2W X30X36B; TJ ULSJ CEHR _JJE VCGEV
) YLOL_LNJ> FCKKJFOd                                      ) L_CDO %+ IGEDOJN NGEFJ PJ FLIJ _LFcW 9 PCDHY HGcJ
%      &' 012'                                            * OC cJJ^ VCGEVW
#+         A2W X30X36B; 3_fJFOGCE GENC[LK LN GO           #+          A/W ,44,2; 4DO 9 PCDHY HGcJ OC NJO L
## FLHHN [CK L HLP JE[CKFJIJEO ^KGSGHJVJW ,EY LNcJY       ## OGIJ [CK HDEFUW 6GcJ YC RCD PLEO OC NJO GO [CK #>
#$ LEY LENPJKJY> _DOW                                     #$ #;#&d 9 LI UL^^R OC NJO GO LN RCD PLEO OC NJO GOW
#"         4B A/W ,44,2;                                  #" 4DO 9 PCDHY HGcJ OC NJO L OGIJ [CK HDEFUW
#% ?W =CJN MM NC 2JEOGEJH GN OUJ 749ZN                    #%          A2W X30X36B; #;"+ PCDHY VJO DN ULH[PLRW
#& YLOL_LNJd                                              #& ALR_J PJ FCDHY OLcJ L NUCKO _KJLc GE _JOPJJEW
"J &' 012'                                                #'          A/W ,44,2; #;"+ [JJHN L HGOOHJ [LK LPLRW
#( ?W 821 MM LEY OULO YLOL_LNJ FCEOLGEN                   #( 9 OUGEc 9 FCDHY ^KC_L_HR MM 9 PGHH EJJY L _KJLc _R
#) YJKCVLOCKR GE[CKILOGCE OULO [CKIN OUJ _LNGN C[ OUJ     #) CEJW
#* 82=4d                                                  #*          A2W X30X36B; 3cLRW TJ FLE NLR CEJW
$+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $+          4B A/W ,44,2;
$#         85. T980.22; 7CK YCIJNOGF OJKKCKGNI            $# ?W 4JRCEY JNOL_HGNUGEV L FCIICE C^JKLOGEV
$$ FLNJNW                                                 $$ ^GFODKJ> YCJN 821 ILGEOLGE 82=4 [CK LER COUJK
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14286
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    +, #")+ $% ")-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    #&"                                                       #&&
# ^DK^CNJNd                                               # LGK^CKONd
$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $           A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
" 3_fJFOGCEW 9ENC[LK LN GO FLHHN [CK GE[CKILOGCE          " FLHHN [CK HLP JE[CKFJIJEO CK 229 GE[CKILOGCEW 4DO
% ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE     % RCD FLE LENPJKW
& LENPJK OC OUJ J\OJEO OULO RCD FLEW                      &           85. T980.22; 9[ RCD IJLE UCP OUJR LKJ
'          85. T980.22; 9 OUGEc 9 YGY LHKJLYRW 9          ' NFKJJEJY LO OUJ LGK^CKO> 9 IJLE> C_SGCDNHR OUJR MM
( OUGEc> RCD cECP> OUJ VJEJKLH MM GO GN L FCIICE          ( ^DOOGEV ^JC^HJ CE OUJ HGNO> OULO ILR L[[JFO
) C^JKLOGEV ^GFODKJW 4DO GELNIDFU LN OULOZN ECO           ) NCIJ_CYRZN ^COJEOGLH NFKJJEGEVW 4DO MM _DO> RCD
* GYJEOGFLH OC [LFGHGOLOGEV OUJ IGNNGCEN C[ CDK           * cECP> PJ YC ECO OJHH 82, UCP OC NFKJJE> G[ OULOZN
#+ ^LKOEJK LVJEFGJN LEY> GE VJEJKLH> ^KJSJEOGEV           #+ PULO RCD IJLEW
## OJKKCKGNI> 9 PCDHY fDNO LYY OUCNJ OPC OUGEVNW          ##          4B A/W ,44,2;
#$         4B A/W ,44,2;                                  #$ ?W 1LE MM PUJE 821 YGNNJIGELOJN MM 9 LI
#" ?W 5CP YCJN 821ZN 82=4 YJOJFO LEY NOC^                 #" NCKKRW TUJE 821 YGNNJIGELOJN 82=4 GE[CKILOGCE OC
#% OJKKCKGNId                                             #% 82,> YCJN OULO GE[CKILOGCE FCI^JH 82, OC NFKJJE OUJ
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #& HGNOJJ GE L ^LKOGFDHLK ILEEJKd
#' 3_fJFOGCEW   1LHHN [CK N^JFDHLOGCEW 3_fJFOGCE          #'          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#( GENC[LK LN GO FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ   #( FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R 229 CK HLP
#) HLP JE[CKFJIJEO CK ^COJEOGLHHR OUJ NOLOJ NJFKJON CK    #) JE[CKFJIJEOW ,HNC OC OUJ J\OJEO OULO GO FLHHN [CK
#* 229 ^KGSGHJVJNW BCD FLE LENPJK OC OUJ J\OJEO RCD       #* GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ OUJ 8KLEN^CKOLOGCE
$+ FLEW                                                   $+ 2JFDKGOR ,YIGEGNOKLOGCEW 9O VCJN OC 821W 4DO RCD
$#         85. T980.22; 9O ^KCSGYJN L IJFULEGNI [CK       $# FLE LENPJK OC OUJ J\OJEO OULO RCD FLE LEY SLVDJW
$$ LVJEFGJN J[[JFOGSJHR OUKCDVU LE JNOL_HGNUJY NJO C[     $$          85. T980.22; BJLU> GELNIDFU LN MM 9
                                                    #&%                                                       #&'
# ^KLFOGFJN LEY ^KCFJYDKJN OC NULKJ GE[CKILOGCE GE L      # IJLE> PJ FJKOLGEHR YC ECO NJO NOLEYLKYN [CK 82, CE
$ PLR OULO PLN ECO LSLGHL_HJ MM GE ILER PLRN OULO PJKJ    $ UCP OUJR MM CE UCP OUJR NFKJJEW
" ECO LSLGHL_HJ _J[CKJ NC OUJR FLE JLFU J\JKFGNJ OUJGK    "           4B A/W ,44,2;
% LDOUCKGOGJN OC LFFCI^HGNU OUJGK IGNNGCEN> _DO LHNC      %      ?W 9O GN D^ OC OUJId
& cGEY C[ OUKCDVU OUJ LVVKJVLOGCE C[ OUCNJ                <      &' 012'
' KJN^CENG_GHGOGJN OC J[[JFOGSJHR DNJ J\GNOGEV            '      ?W 9N OUJKJ LEROUGEV LE LVJEFR FLE YC PGOU
( LDOUCKGOGJN OC YJOJFO LEY NOC^ OJKKCKGNIW 2CIJOGIJN     (  82=4     GE[CKILOGCE OULO PCDHY FLDNJ 821 OC NOC^ VGSGEV
) GO GN OUJ YJOJFOGCEW ,EY NCIJOGIJN GO GN OUJ LFODLH     ) OUJ LVJEFR 82=4 GE[CKILOGCEd
* GEOJKYGFOGCE CK> RCD cECP> OUJ LFODLH ^KJSJEOGCE C[     *           A2W X30X36B; 3_fJFOGCEW ]LVDJW 1LHHN
#+ OJKKCKGNO LFOGSGOGJN CK LO HJLNO ND^^CKON              #+ [CK N^JFDHLOGCEW
## GESJNOGVLOGCEN OULO PGHH LFFCI^HGNU OUCNJ VCLHNW       ##          85. T980.22; 9[ MM G[ OUJ 821 _JHGJSJY
#$         4B A/W ,44,2;                                  #$ LE  LVJEFR   PLN SGCHLOGEV OUJ HLP CK OUJ 1CENOGODOGCE>
#" ?W 4DO 821 YCJNEZO YJOJKIGEJ UCP                       #" OUJE PJ PCDHY FJKOLGEHR KLGNJ OULO> RCD cECP>
#% GESJNOGVLOGCEN LKJ KDE> FCKKJFOd                       #% OUKCDVU OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW 3K G[
"< &' 5),,1>6'                                            #& GO PLN J\GVJEO OUKCDVU OUJ FULGE C[ FCIILEY C[ OUJ
#' ?W 821 YCJN ECO FCEYDFO GON CPE                        #' 749> 9 FLE J\^JFO OULO OULO PCDHY _J KLGNJY OC
#( GESJNOGVLOGCEN> FCKKJFOd                               #( FCI^JOJEO LDOUCKGOR OC LYYKJNN OULOW
"N &' 5),,1>6'                                            #)          4B A/W ,44,2;
#* ?W ,EY 821 YCJN ECO YJFGYJ PUC GN LKKJNOJY             #* ?W =CJN OUJ 821 FCENGYJK GO OC _J ^LKO C[
$+ CK FULKVJY PGOU L FKGIJd                               $+ GON KCHJ GE OUJ PLOFU HGNOGEV ^KCFJNN OC YJFGYJ PUC
$" &' &B2)8D6189 -)6'                                     $# KJFJGSJN 82=4 GE[CKILOGCEd
$$ ?W 821 YCJN ECO YJFGYJ PUC NFKJJEN LO OUJ              $$          A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14287
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  &/ #"). $% "-/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 #&(                                                       #&*
#          85. T980.22; ,VLGE> OUKCDVU OUJ TLOFU         # ^COJEOGLHHR NOLOJ NJFKJONW
$ 6GNOGEV ,YSGNCKR 1CDEFGH> 9 OUGEc JSJKR_CYR OULO       $          4B A/W ,44,2;
" NGON CE OUJ FCDEFGH ^HLRN L KCHJ GE YJFGYGEV PULO GN   "      ?W =CJN MM FLE 821 KJ[DNJ OC YGNNJIGELOJ
% MM PULO PCDHY _J J[[JFOGSJ> L^^KC^KGLOJ> J[[GFGJEO>    % 82=4 GE[CKILOGCE OC [CKJGVE VCSJKEIJEON OULO JEVLVJ
& HJVLH> LHH C[ OUCNJ OUGEVNW 2C 9 OUGEc LHH C[ OUCNJ    & GE L ^LOOJKE C[ UDILE KGVUON L_DNJNd
' DNJN C[ GE[CKILOGCE PCDHY _J OUJ cGEYN C[ OUGEVN PJ    '          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
( PCDHY YGNFDNN GE OULO [CKDIW                           ( N^JFDHLOGCEW 3_fJFOGCEW ]LVDJW 3_fJFOGCE GENC[LK
)          4B A/W ,44,2;                                 ) LN OULO FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
*      ?W =CJN OUJ 821 GI^CNJ LER HGIGON CE GON MM       * JE[CKFJIJEO CK OUJ NOLOJ NJFKJON ^KGSGHJVJW BCD FLE
#+ HJO IJ NOLKO CSJKW =CJN OUJ 821 GI^CNJ LER HGIGON     #+ LENPJK OC OUJ J\OJEO RCD FLEW
## CE LVJEFGJN OULO KJFJGSJ MM HJO IJ NOLKO LHH CSJK     ##         85. T980.22; 9 OUGEc OUJ CEHR OUGEV 9
#$ CEJ ICKJ OGIJW =CJN 821 GI^CNJ LER HGIGON CE          #$ FLE NLR L_CDO OULO GN OUJ ^COJEOGLH [CK OULO GN
#" KJFG^GJEON C[ 82=4 GE[CKILOGCE OULO HGIGO OUCNJ       #" L_NCHDOJHR L FCENGYJKLOGCE GE OULO L[CKJIJEOGCEJY
#% KJFG^GJEON [KCI [DKOUJK NULKGEV 82=4 GE[CKILOGCEd     #% YJFGNGCEW
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJ> FCI^CDEY       #&         4B A/W ,44,2;
#' GENC[LK LN GO GI^HGFLOJN HLP JE[CKFJIJEO ^KGSGHJVJ>   #'     ?W   =CJN 821 YGNNJIGELOJ 82=4 GE[CKILOGCE OC
#( _DO RCD FLE LENPJKW                                   #( [CKJGVE VCSJKEIJEON OULO JEVLVJ GE ^LOOJKEN C[
#)         85. T980.22; 9 OUGEc GO VCJN _LFc OC OUJ      #) OCKODKJd
#* L[CKJIJEOGCEJYW 9 IJLE> PJ ULSJ LE DEYJKNOLEYGEV C[   #*         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$+ OUJ NCKO C[ DNJ C[ OULO GE[CKILOGCE OUKCDVU OUJ       $+ 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCE> HJVLH FCEFHDNGCE>
$# TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHW 8UJKJ LHNC ILR _J     $# LHNC GENC[LK LN GO GI^HGFLOJN GE[CKILOGCE ^KCOJFOJY
$$ GE NCIJ C[ OUCNJ OJFUEGFLH A3@ZN 9 YJNFKG_JY          $$ _R OUJ HLP JE[CKFJIJEO CK ^COJEOGLHHR NOLOJ NJFKJONW
                                                 #&)                                                       #'+
# JLKHGJK> OUJKJ ILR _J ICKJ N^JFG[GF ^LKLIJOJKN OULO    # BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
$ PJ LVKJJW 4DO OULOZN L _GHLOJKLH LVKJJIJEO _JOPJJE     $         85. T980.22; 4CR> OULOZN L HCLYJY PCKY
" OUJ LVJEFGJNW                                          " OULO 9 UJNGOLOJ OC DEYJKNOLEY PULO RCDK YJ[GEGOGCE
%         ,EY> LVLGE> G[ PJ OUCDVUO OULO NCIJ_CYR        % C[ OULO GNW ,EY NC 9 OUGEc OULOZN ^KC_L_HR NC SLVDJ
& PLN ECO HGSGEV D^ OC OULO LVKJJIJEO> PJ PCDHY JGOUJK   & OULO 9 FLEZO LENPJK GOW
' LYYKJNN GO YGKJFOHR PGOU OULO CKVLEGhLOGCE CK          '         4B A/W ,44,2;
( OUKCDVU OUJ L[CKJIJEOGCEJY ^KCFJNNJNW                  (      ?W TJ PGHH VC PGOU L ICKJ VJEJKLH OJKIW
)         A/W ,44,2; ,KGhCELW                            ) 5DILE KGVUON L_DNJNW
*         4B A/W ,44,2;                                  *         A/W ,44,2; 1LE RCD KJLY MM 9 [CKVJO OUJ
#+ ?W TUC YJFGYJN PUGFU [CKJGVE VCSJKEIJEON              #+ gDJNOGCEW 1LE RCD KJLY GO _LFc fDNO OC IJ NC OULO 9
## KJFJGSJ 82=4 GE[CKILOGCEd                             ## PGHH NJJ GO LVLGEd
#$        A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #$        `8UJ KJFCKY PLN KJLYWa
#" 3_fJFOGCE GENC[LK LN OULO FLHHN [CK OUJ HLP           #"        A/W ,44,2; 2C 9 PGHH KJ^UKLNJ OUJ
#% JE[CKFJIJEO MM GE[CKILOGCE ^KCOJFOJY _R OUJ HLP       #% gDJNOGCEW
#& JE[CKFJIJEO CK ^COJEOGLH NOLOJ NJFKJONW 4DO RCD FLE   #&        4B A/W ,44,2;
#' LENPJK OC OUJ J\OJEO OULO RCD FLEW                    #' ?W =CJN 821 YGNNJIGELOJ 82=4 GE[CKILOGCE OC
#(        85. T980.22; 9 YCEZO _JHGJSJ 9 FLE             #( [CKJGVE VCSJKEIJEON OULO JEVLVJ GE L ^LOOJKE C[
#) LENPJK OULO PGOUCDO SGCHLOGEV L ^KGSGHJVJW            #) UDILE KGVUON L_DNJNd
#*        A/W ,44,2; TULOZN OUJ ^KGSGHJVJd TULOZN        #*        A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
$+ OUJ ^KGSGHJVJ CSJK PUC YJFGYJN PULO [CKJGVE           $+ LENPJKJYW    3_fJFOGCEW ]LVDJW 3_fJFOGCEW 1LHHN [CK
$# VCSJKEIJEON KJFJGSJ 82=4 GE[CKILOGCEd                 $# L HJVLH FCEFHDNGCEW 3_fJFOGCE GENC[LK LN OULO
$$        A2W X30X36B; 8UJ HLP JE[CKFJIJEO CK            $$ GE[CKILOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14288
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 &" #"-" $% "-&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 #'#                                                     #'"
# JGOUJK OUJ HLP JE[CKFJIJEO CK OUJ NOLOJ NJFKJON        # VCSJKEIJEONd
$ ^KGSGHJVJW                                             $          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUGN
"          85. T980.22; 9 ULSJ LHKJLYR OJNOG[GJY         " FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
% OULO OUJKJ LKJ ICKJ OULE '+ FCDEOKGJN OULO PJ ULSJ     % JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ
& LVKJJIJEON PGOUW ,EY 9 PCDHY UJNGOLOJ OC ELIJ LER      & NJFKJON ^KGSGHJVJW 9 LI GENOKDFOGEV OUJ PGOEJNN ECO
' '+ FCDEOKGJN OULO NCIJCEJ PCDHY ECO ULSJ LE            ' OC LENPJKW
( LHHJVLOGCE C[ L UDILE KGVUON L_DNJ LICEVNO CEJ C[ OU   (          A/W ,44,2; BCD LKJ ECO VCGEV OC MM PLGO
) '+W 2C> LVLGE> 9 [JJH HGcJ OUGN GN NC SLVDJ 9 FLEZO    ) MM PUR MM FLE RCD KJLY _LFc OUJ gDJNOGCEd
* LENPJK GOW                                             *          `8UJ KJFCKY PLN KJLYWa
#+         4B A/W ,44,2;                                 #+         A2W X30X36B; ,EY 9 PGHH fDNO FHLKG[R
## ?W =CJN 821 cECP ELIJN C[ OUJ [CKJGVE                 ## OULO 9 NUCDHY ULSJ NLGY ECO GENC[LK> _DO C_fJFOGCE
#$ VCSJKEIJEON OULO GO YGNNJIGELOJN 82=4 GE[CKILOGCE     #$ OULO OUGN GE[CKILOGCE YCJN FLHH [CK GE[CKILOGCE
#" OCd                                                   #" ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY
"; &' 012'                                               #% ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW ,EY 9 LI
#& ?W =CJN 821 YGNNJIGELOGCE 822 GE[CKILOGCE OC          #& GENOKDFOGEV OUJ PGOEJNN ECO OC LENPJKW
#' [CKJGVE VCSJKEIJEONd                                  #'         4B A/W ,44,2;
#(         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #( ?W BCD OJNOG[GJY OULO 821 NCIJOGIJN
#) FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP            #) YGNNJIGELOJN JEFCDEOJK GE[CKILOGCE OC [CKJGVE
#* JE[CKFJIJEO CK ^COJEOGLHHR OUJ NOLOJ NJFKJON          #* VCSJKEIJEON> FCKKJFOd
$+ ^KGSGHJVJNW BCD FLE LENPJK G[ RCD FLEW                $? &' 4 *.*'
$#         85. T980.22; 9ZI NCKKRW /J^JLO OULO           $# ?W =CJN MM UCP ILER [CKJGVE VCSJKEIJEON YCJN
$$ CEJW                                                  $$ 821 YGNNJIGELOJ JEFCDEOJK GE[CKILOGCE OCd
                                                 #'$                                                     #'%
#         4B A/W ,44,2;                                  #          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$     ?W =CJN 821 YGNNJIGELOJ 822 GE[CKILOGCE OC         $ GE[CKILOGCE GN ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
" [CKJGVE VCSJKEIJEONd                                   " ^KGSGHJVJ CK ^COJEOGLHHR OUJ NOLOJ NJFKJON
%         A2W X30X36B; 2LIJ C_fJFOGCENW                  % ^KGSGHJVJW ,HNC> LNcJY LEY LENPJKJYW ,HNC> 9 LI
&         85. T980.22; =GNNJIGELOJ 822                   & VCGEV OC ECOJ OULO OUGN HGEJ C[ gDJNOGCEGEV GN ECO
' GE[CKILOGCEd 2C> GE COUJK PCKYN> JEFCDEOJK             ' FHJLKHR PGOUGE OUJ NFC^J C[ OUJ OC^GFN CKYJKJY _R
( GE[CKILOGCEW                                           ( OUJ FCDKOW 2C 9 PGHH LHHCP GO [CK ECPW TJ PGHH NJJ
)         4B A/W ,44,2;                                  ) PUJKJ GO VCJNW TJ ILR EJJY OC [CKFJ OULO LO NCIJ
*     ?W BJNW                                            * ^CGEOW
#+        A2W X30X36B; 2LIJ C_fJFOGCENW                  #+         85. T980.22; 9 YCEZO OUGEc 9 FLE MM 9
##        85. T980.22; 2CIJOGIJNW                        ## YCEZO OUGEc 9 FLE LENPJK OULOW
#$        4B A/W ,44,2;                                  #$         4B A/W ,44,2;
#" ?W 9E PULO FGKFDINOLEFJN YCJN 821                     #" ?W ,KJ OUJKJ LVKJJIJEON _JOPJJE MM HJO IJ
#% YGNNJIGELOJ JEFCDEOJK MM JEFCDEOJK GE[CKILOGCE GN     #% NOLKO LHH CSJKW ,KJ OUJKJ YCFDIJEON OULO VCSJKE UCP
#& OUJ ^KJ[JKKJY OJKId                                   #& 821 YGNNJIGELOJN OUJ JEFCDEOJK GE[CKILOGCE OC
"J &' 46 .2 7 8.6681 2.+K81,3 912'                       #' [CKJGVE VCSJKEIJEONd
#( ?W 2DKJW 9 PGHH NLR JEFCDEOJK GE[CKILOGCEW            #(         A2W X30X36B; 3_fJFOGCEW 9ENC[LK LN OULO
#) ,EY _R JEFCDEOJK GE[CKILOGCE> PJ LKJ MM OULOZN OUJ    #) FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#* GE[CKILOGCE OULOZN FCEOLGEJY GE 822> FCKKJFOd         #* JE[CKFJIJEO CK ^COJEOGLHHR OUJ NOLOJ NJFKJON
$? &' 5),,1>6'                                           $+ ^KGSGHJVJN CK 229> LHNC LN OC NFC^JW BCD FLE LENPJK
$# ?W 9E PULO FGKFDINOLEFJN YCJN 821                     $# OC OUJ J\OJEO OULO RCD FLEW
$$ YGNNJIGELOJ JEFCDEOJK GE[CKILOGCE OC [CKJGVE          $$         A/W ,44,2; 9 IJLE> OUGN GN NOD[[ GE OUJ
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    &( #"-) $% "-*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #'&                                                        #'(
# CSJKSGJP YCFDIJEOW .EFCDEOJK GE[CKILOGCE GN L           # FCIICE C^JKLOGEV ^GFODKJ PGOU KJN^JFO OC
$ NJFOGCE C[ OUJ CSJKSGJP YCFDIJEOW 9 LI LNcGEV L_CDO     $ FCDEOJKOJKKCKGNIW 4DO _JRCEY OULO> 9 YCEZO OUGEc
" JEFCDEOJK GE[CKILOGCE> PUGFU GN L NJFOGCE C[ OUJ        " OUJKJ GN LEROUGEV JHNJ 9 FLE NLRW
% CSJKSGJP YCFDIJEOW 8C^GF , GN OUJ FCEOJEO C[ OUJ        %          4B A/W ,44,2;
& CSJKSGJP YCFDIJEOW 9 LI LNcGEV L_CDO HGcJ HGOJKLHHR     &      ?W 2C 821 YGNNJIGELOJN JEFCDEOJK GE[CKILOGCE
' GOZN L NJFOGCE UJLYGEV C[ OUJ CSJKSGJP YCFDIJEOW        ' OC [CKJGVE VCSJKEIJEON OC JNOL_HGNU PGOU OUCNJ
(          A2W X30X36B; 3cLRW AR C_fJFOGCEN LKJ CE        ( [CKJGVE VCSJKEIJEON L FCIICE C^JKLOGEV ^GFODKJd
) OUJ KJFCKY LEY OUJR NOLEYW 9 OCHY OUJ PGOEJNN UJ        )          A2W X30X36B; 3_fJFOGCEW
* FLE LENPJK OC OUJ J\OJEO OULO UJ FLEW                   * AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCE
#+         85. T980.22; ,KJ OUJKJ YCFDIJEON OULO          #+ GENC[LK LN OUJ LENPJK PCDHY FLHH [CK HLP JE[CKFJIJEO
## YCFDIJEO    PULO MM 9 LI NCKKRW 1LE RCD fDNO KJLY GO   ## ^KGSGHJVJ CK NOLOJ NJFKJON ^COJEOGLHHRW BCD FLE
#$ _LFc LVLGEd                                            #$ LENPJK G[ RCD FLEW
#"         4B A/W ,44,2;                                  #"         85. T980.22; BJN> 9 PCDHY NLR GOZN L
#% ?W 9 PGHH fDNO NLR GO LVLGEW ,KJ OUJKJ                 #% ICKJ HGIGOJY ^GFODKJW 4DO _JRCEY OULO> 9 FLEZO NLR
#& YCFDIJEON OULO IJICKGLHGhJ UCP 821 YGNNJIGELOJN        #& LERICKJW
#' JEFCDEOJK GE[CKILOGCE OC [CKJGVE VCSJKEIJEONd          #'         4B A/W ,44,2;
#(         A2W X30X36B; ,VLGE> GENC[LK LN OUJ             #( ?W TULO YCJN 821 J\^JFO [CKJGVE VCSJKEIJEON
#) LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP      #) OC YC PGOU GE[CKILOGCE OULO 821 YGNNJIGELOJN OC
#* JE[CKFJIJEO CK OUJ NOLOJ NJFKJON ^KGSGHJVJW            #* OUJId
$+ 3_fJFOGCE LN OC NFC^JW BCD FLE LENPJK G[ RCD FLEW      $+         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$#         85. T980.22; BJNW                              $# 3_fJFOGCEW   9ENC[LK LN OULO FLHHN [CK GE[CKILOGCE
$$         A/W ,44,2; ,KGhCELW                            $$ ^KCOJFOJY _R HLP JE[CKFJIJEO CK ^COJEOGLH NOLOJ
                                                  #''                                                        #')
#          4B A/W ,44,2;                                  # NJFKJONW BCD FLE LENPJK G[ RCD FLEW
$     ?W =CJN 821 cECP OUJ EDI_JK C[ FCDEOKGJN MM         $          85. T980.22; -DKNDLEO OC 52-=M'> GO GN
" 9 LI NCKKRW =CJN 821 cECP OUJ EDI_JK C[ [CKJGVE         " OC ^KJSJEO OJKKCKGNIW
% VCSJKEIJEON OULO KJFJGSJ JEFCDEOJK GE[CKILOGCE [KCI     %          A/W ,44,2; 1LE RCD KJLY _LFc OUJ
& 821d                                                    & gDJNOGCEd 9 YCEZO OUGEc RCD LENPJKJYW
'          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ          '          `8UJ KJFCKY PLN KJLYWa
( LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP       (          4B A/W ,44,2;
) JE[CKFJIJEO CK ^COJEOGLHHR OUJ NOLOJ NJFKJON            )      ?W TULO YCJN 821 J\^JFO [CKJGVE VCSJKEIJEON
* ^KGSGHJVJW 3_fJFOGCEW ,NcJY LEY LENPJKJYW               * OC YC PGOU OUJ GE[CKILOGCE OULO 821 YGNNJIGELOJN OC
#+ 3_fJFOGCE LN OC NFC^JW BCD FLE LENPJK G[ RCD FLEW      #+ OUJId
##         85. T980.22; BJNW                              ##         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
#$         A/W ,44,2; 9EYGLELW                            #$ LENPJKJYW    2LIJ C_fJFOGCEN LN NOLOJY ^KJSGCDNHRW
#"         A/W ,44,2;                                     #"         85. T980.22; 8C ^KJSJEO OJKKCKGNIW
#% ?W TUR YCJN 821 YGNNJIGELOJ JEFCDEOJK                  #%         4B A/W ,44,2;
#& GE[CKILOGCE OC [CKJGVE VCSJKEIJEONd                    #& ?W 5CP YCJN 821 J\^JFO [CKJGVE VCSJKEIJEON
#'         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              #' OC DNJ GE[CKILOGCE OULO 821 ^KCSGYJN OUJI OC ^KJSJEO
#( N^JFDHLOGCEW 3_fJFOGCE GENC[LK LN OULO LENPJK FLHHN    #( OJKKCKGNId
#) [CK GE[CKILOGCE _R OUJ HLP JE[CKFJIJEO CK NOLOJ        #)         A2W X30X36B; 3_fJFOGCEW 8UGN
#* NJFKJON ^KGSGHJVJ CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP    #* GE[CKILOGCE PCDHY FLHH [CK MM OUGN LENPJK PCDHY FLHH
$+ C[ LECOUJK LVJEFRW BCD FLE LENPJK G[ RCD FLEW          $+ [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO LEY
$#         85. T980.22; 9 PCDHY fDNO NLR VJEJKLHHR        $# ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 9 PGHH
$$ GELNIDFU GO VCJN OC CDK IGNNGCE OC JNOL_HGNU L         $$ GENOKDFO RCD ECO OC LENPJKW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 &+ #"-, $% ".('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #'*                                                    #(#
#          4B A/W ,44,2;                                 # OULO OULO [CKJGVE VCSJKEIJEO JEVLVJN GE UDILE KGVUON
$      ?W =CJN 821 J\^JFO [CKJGVE VCSJKEIJEON OC         $ L_DNJNd
" DOGHGhJ GE[CKILOGCE OULO 821 YGNNJIGELOJN OC OUJI GE   "          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
% OUJGK SGNL ^KCFJNNJNd                                  % GE[CKILOGCE MM OULO gDJNOGCE FLHHN [CK GE[CKILOGCE
&          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUGN        & ^KCOJFOJY _R HLP JE[CKFJIJEO CK ^COJEOGLHHR OUJ
' gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP    ' NOLOJ NJFKJONW BCD FLE LENPJK G[ RCD FLE PGOUCDO
( JE[CKFJIJEO CK OUJ NOLOJ NJFKJON ^KGSGHJVJW 9 PGHH     ( PLGSGEV L ^KGSGHJVJW
) MM RCD FLE LENPJK G[ RCD FLE PGOUCDO PLGSGEV L         )          85. T980.22; 0CO OULO 9 LI LPLKJ C[W
* ^KGSGHJVJW                                             *          4B A/W ,44,2;
#+         85. T980.22; 9 YCEZO OUGEc 9 FLEW             #+ ?W =CJN 821 ECOG[R GEYGSGYDLHN OULO OUJR
##         4B A/W ,44,2;                                 ## ULSJ _JJE ECIGELOJY OC _J GEFHDYJY GE OUJ 82=4d
#$ ?W TULO GE[CKILOGCE YCJN 821 ULSJ L_CDO PULO          "$ &' P)'
#" [CKJGVE VCSJKEIJEON YC PGOU GE[CKILOGCE OUCNJ         #" ?W =CJN 821 ECOG[R GEYGSGYDLHN OULO OUJGK
#% [CKJGVE VCSJKEIJEON KJFJGSJ [KCI 821d                 #% ECIGELOGCEN OC OUJ 82=4 ULSJ _JJE LFFJ^OJY _R 821d
#&         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             "< &' P)'
#' LENPJKJYW   3_fJFOGCE CE OUJ _LNGN C[ OUJ HLP         #' ?W TURd TUR YCJNEZO 821 ECOG[R GEYGSGYDLHN
#( JE[CKFJIJEO LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON         #( OULO OUJR ULSJ _JJE ECIGELOJY EC OUJ 82=4d
#) ^KGSGHJVJW 9 LI GENOKDFOGEV OUJ PGOEJNN ECO OC        #)         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#* LENPJKW                                               #* FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
$+         A/W ,44,2; BCD LKJ ECO VCGEV OC LHHCP         $+ JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
$# OUJ YJ^CEJEO  OC NLR LEROUGEVd 2C OUJR LKJ fDNO       $#         85. T980.22; 4JFLDNJ YCGEV NC PCDHY _J
$$ YGNNJIGELOGEV GE[CKILOGCE> LEY OUJR ULSJ EC           $$ UGVUHR HGcJHR OC KDE FCDEOJK OC OUJ JEOGKJ ^DK^CNJ
                                                   #(+                                                    #($
# cECPHJYVJ> LPLKJEJNN L_CDO PULOW 9 IJLE> OUGN GN LE    # C[ ULSGEV OUJ 82=4W
$ CSJKSGJP YCFDIJEO LN PJHHW 8UJKJ GN LE J\^JFOLOGCE     $           4B A/W ,44,2;
" OULO OUJ [CKJGVE VCSJKEIJEON LKJ VCGEV OC DNJ OUJI     "      ?W TURd
% [CK HLP[DH NFKJJEGEV ^DK^CNJNW                         %           A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
&           A2W X30X36B; 8ULOZN _JJE LNcJY LEY           & gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
' LENPJKJYW 9ENC[LK LN RCD LKJ LNcGEV LEROUGEV           ' JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
( [DKOUJK _JRCEY OULO> IR C_fJFOGCEN LKJ CE OUJ KJFCKY   (           85. T980.22; 4JFLDNJ _JFCIGEV LPLKJ C[
) LEY OUJR NOLEYW                                        ) OUJ GESJNOGVLOGSJ GEOJKJNO GE LE GEYGSGYDLH PCDHY _J
*           4B A/W ,44,2;                                * SJKR HGcJHR OC FULEVJ OUJGK _JULSGCK OC FLDNJ OUJI
#+ ?W =CJN 821 J\^JFO [CKJGVE VCSJKEIJEON OC             #+ OC LYC^O FCDEOJKIJLNDKJN OULO PCDHY COUJKPGNJ ILcJ
## DOGHGhJ OUJ GE[CKILOGCE OULO 821 YGNNJIGELOJN OC      ## FCDEOJKOJKKCKGNI J[[CKON GE J[[JFOGSJW
#$ OUCNJ [CKJGVE VCSJKEIJEONd                            #$          4B A/W ,44,2;
#"          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY            #" ?W =C ^JC^HJ MM ^JC^HJ CE OUJ 0CM7HR 6GNO
#% LENPJKJYW 3_fJFOGCE GENC[LK LN OULO gDJNOGCE FLHHN    #% HJLKE OULO OUJR LKJ CE OUJ 0CM7HR 6GNO _JFLDNJ OUJR
#& [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK   #& FLEZO [HR> FCKKJFOd
#' ^COJEOGLHHR NOLOJ NJFKJONW BCD FLE LENPJK G[ RCD      #'          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#( FLEW                                                  #( N^JFDHLOGCEW
#)          85. T980.22; BJN> PJ J\^JFO OUJI OC DNJ      #)          85. T980.22; 9 PCDHY NLR ECO
#* OULO GE[CKILOGCEW                                     #* EJFJNNLKGHRW 8UJKJ LKJ ^COJEOGLHHR ILER KJLNCEN PUR
$+          4B A/W ,44,2;                                $+ NCIJ_CYR FCDHYEZO [HR _JNGYJN _JGEV CE OUJ 0CM7HR
$# ?W 5LN 821 JSJK NOC^^JY YGNNJIGELOGEV                 $# 6GNOW
$$ GE[CKILOGCE OC [CKJGVE VCSJKEIJEON L[OJK HJLKEGEV     $$          4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 && #".+ $% ".-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    #("                                                    #(&
#     ?W TULO LKJ OUJ COUJK KJLNCEN PUR L ^JKNCE          # HGNOJJ ILR GE[JK [KCI OUJ C^JKLOGCE C[ OUJ 82=4 OULO
$ FCDHY `NGFa [HR COUJK OULE G[ OUJR LKJ CE OUJ 0CM7HR    $ OUJKJ GN LE GESJNOGVLOGSJ GEOJKJNO OULO KJVLKYN
" 6GNOd                                                   " OUJId
%          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         %          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
& gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R 229W        & LENPJKJYW 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCE LEY
' BCD FLE LENPJK G[ RCD FLEW                              ' SLVDJW
(          85. T980.22; 3EJ J\LI^HJ GN LE LGKHGEJ         (          85. T980.22; 9O FLE UL^^JEW
) FLE YJER L ^JKNCE _CLKYGEV [CK LER UCNO C[ LER          )          4B A/W ,44,2;
* EDI_JK C[ KJLNCENW                                      *      ?W =CJN OUJ YGNFHCNDKJ C[ MM VJEJKLHHR
#+         4B A/W ,44,2;                                  #+ N^JLcGEV> GN GO 821ZN SGJP OULO OUJ YGNFHCNDKJ C[
## ?W 9N _JGEV CE OUJ 0CM7HR 6GNO L KJLNCE OC             ## OUJ VCSJKEIJEOZN GESJNOGVLOGSJ GEOJKJNO GE L ^JKNCE
#$ _J YJEGJY _CLKYGEVd                                    #$ GN YJOKGIJEOLH OC ELOGCELH NJFDKGORd
"# &' G)61-6.7889 .6 .2' 46 .2 )-1 )C +7-9'               "# &' 46 .2 II .6 A72 6) B1 B787->1* =.6A 6A1
#% ?W 5LN OUJ 8JKKCK 2FKJJEGEV 1JEOJK JSJK                "; +.6./76.)- 6) =A761M1, )6A1, ,.2T2 6A76 6A76
#& LNNJNNJY PUJOUJK GEYGSGYDLHN GE OUJ 82=4 _JFCIJ        "< .-*.M.*D78 +79 K)21 7-* =A761M1, .-6188./1->1
#' LPLKJ C[ OUJGK HGNOGEV SGL OUJ YGNNJIGELOGCE LEY       "J B1-1C.6 +79 >)+1 C,)+ 6A76' F) 4 6A.-T 6A1,1 7,1
#( NFKJJEGEV OULOZN ^KJYGFLOJY CE OUJ YGNNJIGELOGCE C[    "U 6=) 2.*12 )C 6A76 2>781' 4- /1-1,783 4 =)D8* K,1C1,
#) 82=4 GE[CKILOGCEd                                      "N 6A76 K1)K81 )- 6A1 8.26 -)6 T-)= 6A19 7,1 )- 6A1
#*         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         "% 8.263 BD6 6A1,1 7,1 )6A1, >)-2.*1,76.)-2'
$+ FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP             $+ ?W 2DKJW ,EY 9 DEYJKNOLEY OULO GO GN
$# JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO    $# _LHLEFGEVW 4DO 9 fDNO PLEO OC UCEJ GE CE OUJ
$$ RCD FLEW ,HNC> SLVDJW                                  $$ YGNFHCNDKJ C[ GESJNOGVLOGSJ GEOJKJNOW ,HH OUGEVN
                                                    #(%                                                    #('
#           85. T980.22; TJ MM GOZN FJKOLGEHR             # _JGEV JgDLH> OUJ 821ZN OJNOGICER OCYLR GN OULO LE
$  NCIJOUGEV   PJ ^LR LOOJEOGCE OCW 9O GN ULKY OC MM GO   $ YGNFHCNDKJ C[ GESJNOGVLOGSJ GEOJKJNO KJVLKYGEV L
" GN ECO HGcJ OUJKJ GN L [HLV GE 82=4 OULO VCJN D^        " ^JKNCE GN YJOKGIJEOLH OC ELOGCELH NJFDKGORd
% PUJE OULO UL^^JENW 4DO [KCI LE LELHROGFLH               %         A2W X30X36B; 3_fJFOGCEW
& ^JKN^JFOGSJ LEY LEJFYCOLH NCIJOGIJN> OULO GN L OC^GF    & AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCEW
' OULO PGHH FLDNJ YGNFDNNGCEN LO OUJ TLOFU 6GNOGEV        ' ]LVDJW
( ,YSGNCKR 1CDEFGHW 8ULOZN PUJE 9 NLR OUJR YGNFDNN        (         85. T980.22; 9 VC _LFc OC J\LFOHR IR
) PULOZN HJVLH> _DO LHNC PULOZN J[[JFOGSJ LEY PULOZN      ) ^KJSGCDN LENPJK> PUGFU GN GO GN YJOKGIJEOLH LN
* ^KLFOGFLHW ,EY PJ ULSJ OC _LHLEFJ OUCNJ OUGEVNW         * _LHLEFJY _R OUCNJ COUJK FCENGYJKLOGCENW
#+ ?W 2C OUJKJ GN LE LPLKJEJNN LICEV OUJ PLOFU            #+        4B A/W ,44,2;
## HGNOGEV LVJEFGJN OULO PUJE L ^JKNCE GN ^HLFJY GE OUJ   ## ?W =CJN L ^JKNCE PUC NLOGN[GJN OUJ 82=4 MM 9
#$ 82=4> OUJR ILR HJLKE OUKCDVU OUJ C^JKLOGCE LEY         #$ LI NCKKRW =CJN 821 ULSJ GE[CKILOGCE KJVLKYGEV
#" YGNNJIGELOGCE C[ OUJ 82=4 OULO OUJKJ GN LE             #" PUJOUJK ^JKNCEN cECPE OC ECIGELOGEV LVJEFGJN PUC
#% GESJNOGVLOGSJ GEOJKJNO KJVLKYGEV OUJId                 #% OUCNJ ECIGELOGEV LVJEFGJN _JHGJSJ NLOGN[R OUJ 82=4
#&          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             #& GEFHDNGCE NOLEYLKYN LKJ ECO DHOGILOJHR ECIGELOJY OC
#' N^JFDHLOGCE> SLVDJW BCD FLE LENPJKW                    #' _J GEFHDYJY GE OUJ 749 _JFLDNJ C[ OUGN _LHLEFGEV
#(          85. T980.22; BJLU> OUJKJ GN LE LPLKJEJNN      #( GNNDJd
#) OULO> RJLU> LFOGCEN ULSJ J[[JFON> RJNW                 #)        A2W X30X36B; 3_fJFOGCEW ]LVDJW
#*          4B A/W ,44,2;                                 #* 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK
$+ ?W 2C 9 fDNO PLEO OC VJO L HGOOHJ ICKJ                 $+ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
$# N^JFG[GF CE OUJ LFOGCEN LEY J[[JFONW 2C 821 GN         $# ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
$$ LPLKJ OULO _R GEFHDYGEV NCIJCEJ GE OUJ 82=4> OUJ       $$        85. T980.22; 9 LI OKRGEV OC OUGEcW 9
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14292
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   &) #".. $% "*/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #((                                                       #(*
# ILR ULSJ OC FCE[JK CE OUJ LENPJK OC OULO C[ PUJOUJK    # ^COJEOGLHHR NOLOJ NJFKJONW BCD FLE LENPJK OC OUJ
$ CK ECO GO GN FCSJKJY _R OUJ ^KGSGHJVJW                 $ J\OJEO OULO RCD FLEW
"          A/W ,44,2; =C RCD PLEO OC YC OULOd TJ         "           85. T980.22; 0CW
% FLE NOJ^ CDO [CK L [JP IGEDOJNW ,EY fDNO HJO DN        %           4B A/W ,44,2;
& cECP PUJE RCD LKJ YCEJW                                &       ?W TUC YJFGYJY OULO 821 PCDHY ECO ^KCSGYJ
'          A2W X30X36B; TJ FCDHYW 9 PCDHY HGcJ OC        ' ECOGFJ OC GEYGSGYDLHN PUC ULSJ _JJE ECIGELOJY OC OUJ
( PLGO DEOGH CEJ [CK OUJ HDEFU _KJLcW                    ( 82=4d
)          A/W ,44,2; 3E OUGN 9 OUGEc 9 FLE [GEGNU       )           A2W X30X36B; 3_fJFOGCEW 9 LI ^KJOOR
* LO CEJ PGOU OUGN cGEY C[ HGEJW                         * NDKJ OULOZN _JJE LNcJY LEY LENPJKJYW 3_fJFOGCE
#+         A2W X30X36B; 3cLRW 9[ RCD VDRN PCDHYEZO       #+ GENC[LK LN GO PCDHY GI^HGFLOJ HLP JE[CKFJIJEO CK
## IGEY  NOLRGEV ^DO LEY HJOOGEV DN NOJ^ CDOW TJZHH      ## NOLOJ NJFKJONM^KGSGHJVJY GE[CKILOGCEW BCD FLE
#$ NOJ^ CDOW                                             #$ LENPJK G[ RCD FLEW
#"         A/W ,44,2; ,KJ RCD NDKJd                      #"          85. T980.22; 9 OUGEc JSJE _J[CKJ OUJ 821
#%         A2W X30X36B; BJLUW                            #% NOCCY D^> 9 OUGEc OUJKJ PLN L VJEJKLH DEYJKNOLEYGEV
#&         A/W ,44,2; 9OZN D^ OC RCDW TJ PGHH _J         #& OULO OULO PCDHY _J FCDEOJK^KCYDFOGSJW 9 YCEZO cECP
#' KJLYR  PUJEJSJK  RCD LKJW                             #' G[ GO PLN JSJK MM GO ULNEZO _JJE FCENGYJKJY NGEFJ 9
#(         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ        #( ULSJ _JJE OUJKJW ,EY> FJKOLGEHR> PUJE OUJ 821 PLN
#) KJFCKYW 8UJ OGIJ GN #$;%+ ^WIW                        #) NOCCY D^> OUJ YJFGNGCE LO OULO ^CGEO PCDHY ULSJ _JJE
#*         `, _KGJ[ KJFJNN PLN UJHYWa                    #* ILYJ ECO OC YC GO _JFLDNJ 9 YCEZO OUGEc PJ JSJK
$+         85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ          $+ ULSJW
$# KJFCKYW  8UJ OGIJ GN #$;%& ^WIW ,EY PJ ULSJ _JJE CE   $#          4JRCEY OULO> 9 YCEZO cECPW 9O GN CEJ C[
$$ OUJ KJFCKY [CK " UCDKN> % IGEDOJN> LEY #+ NJFCEYNW    $$ OUCNJ OUGEVN OULOZN NC _LNGF OULO 9 YCEZO OUGEc ULN
                                                  #()                                                       #)+
#          A2W X30X36B; TJ ULY L ^JEYGEV gDJNOGCEW       # KJFJGSJY L HCO C[ YJ_LOJW
$  1CDHY   PJ KJLY GO _LFc> ^HJLNJd                      $            A/W ,44,2; 9 LI ^KJOOR NDKJ OULO PJ LKJ
"          `8UJ KJFCKY PLN KJLYWa                        " LO HGcJ L VCCY NOC^^GEV ^CGEO KGVUO ECPW 1LE RCD
%          A2W X30X36B; ,EY 9 LI C_fJFOGEV CE OUJ        % VGSJ DN HGcJ OPC IGEDOJN OC NOJ^ CDO> LEY 9 OUGEc PJ
& _LNGN C[ SLVDJEJNN GENC[LK LN OUJ LENPJK PCDHY FLHH    & PGHH fDNO FCIJ _LFc LEY LYfCDKE [CK HDEFUW 9 cECP
' [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK    ' GOZN L HGOOHJ _GO JLKHRW 4DO 9 LI YCEJ PGOU OUGN
( ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 4DO RCD       ( NJFOGCEW ,EY PJ YCEZO ULSJ OGIJ OC KJLHHR ILcJ L
) FLE LENPJK OC OUJ J\OJEO OULO RCD FLE PGOUCDO          ) IJLEGEV[DH YJEO GEOC OUJ EJ\O NJFOGCEW =CJN OULO
* SGCHLOGEV OUJ ^KGSGHJVJW                               * PCKcd
#+         85. T980.22; 9 ULSJ L MM OUJKJ GN LE          #+           85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ
## J\^JFOLOGCE GE OUJ GEOJKLVJEFR FCIIDEGOR OULO         ## KJFCKYW 8UJ OGIJ GN #$;%* ^WIW
#$ LVJEFGJN OULO UCHY NDFU GE[CKILOGCE PGHH ECIGELOJ     #$           `, HDEFU KJFJNN PLN UJHYWa
#" OUCNJ GEYGSGYDLHNW                                    #"           85. ]9=.3</,-5./; 5JKJ _JVGEN YGNc
#%         4B A/W ,44,2;                                 #% EDI_JK OUKJJ GE OUJ SGYJCOL^JY YJ^CNGOGCE C[ 8GICOUR
#& ?W =CJN 821 ULSJ GE[CKILOGCE OULO ECIGELOGEV          #& -LDH <KCUW 8UJ OGIJ CE OUJ SGYJC ICEGOCK GN #;&%
#' LVJEFGJN CE CFFLNGCE YC ECO ECIGELOJ ^JKNCEN OUJR     #' ^WIW TJ ULSJ _JJE CE OUJ KJFCKY [CK OUKJJ UCDKN LEY
#( _JHGJSJ PCDHY NLOGN[R OUJ 82=4 GEFHDNGCE NOLEYLKYN    #( JGVUO IGEDOJNW ,EY PJ LKJ _LFc CE OUJ KJFCKYW
#) _JFLDNJ GO ILR YGNFHCNJ OC OUJ ^COJEOGLH HGNOJJ LE    #)           4B A/W ,44,2;
#* GESJNOGVLOGSJ GEOJKJNO GE OUJId                       #* ?W =CJN 821 ^KCSGYJ GEYGSGYDLHN ECIGELOJY OC
$+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $+ OUJ 82=4 OUJ C^^CKODEGOR OC KJ_DO OUJ YJKCVLOCKR
$# 3_fJFOGCE GENC[LK LN L FCI^HJOJ LENPJK PCDHY FLHH     $# GE[CKILOGCE OULO [CKIN OUJ _LNGN C[ OUJGK ECIGELOGCE
$$ [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK   $$ OC OUJ 82=4d
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14293
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   &- #"*" $% "*&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #)#                                                       #)"
#           A2W X30X36B; 3_fJFOGCEW ]LVDJW                # D^W ,EY 9 LI VCGEV OC FCSJK L HGOOHJ ICKJ VKCDEY
$           85. T980.22; 9EYGSGYDLHN PUC [JJH OULO        $ LEY 9 OUGEc L HGOOHJ VKCDEY PJ IGVUO ULSJ LHKJLYR
" OUJGK OKLSJH ULN _JJE NCIJUCP GEUG_GOJY FLE L^^HR       " FCSJKJY fDNO OC JNOL_HGNU L [CDEYLOGCEW =CJN 821
% OUKCDVU =52 8/9- [CK KJYKJNNW ,EY OUJ FCI^HLGEON        % ECOG[R GEYGSGYDLHN PUC ULSJ _JJE ECIGELOJY OC OUJ
& OULO LKJ [CDEY OUKCDVU OULO OC ULSJ L EJ\DN OC OUJ      & 82=4d
' 82=4 LKJ OUJE [CKPLKYJY OC OUJ 82=4W ,EY OULO FLE       J      &' 4 6A.-T =1 >)M1,1* 6A76 17,8.1,' @A1
( GEFHDYJ L KJ_DOOLH C[ YJKCVLOCKR GE[CKILOGCE LEY LER    U 7-2=1, .2 -)'
) GE[CKILOGCE OUJ MM 9 VDJNN> GE OULO FLNJ> OUJ           )      ?W =CJN 821 ^KCSGYJ GEYGSGYDLHN PUC ULSJ
* FCI^HLGELEO PCDHY HGcJ OC ^KCSGYJW                      * _JJE ECIGELOJY OC OUJ 82=4 PGOU OUJ C^^CKODEGOR OC
#+          4B A/W ,44,2;                                 #+ ^KCSGYJ 821 GE[CKILOGCE OULO KJ_DON OUJ ECIGELOGEV
## ?W 2C IR gDJNOGCE GN> GN GO OGIJ N^JFG[GFd             ## LVJEFRZN YJKCVLOCKR GE[CKILOGCE OULO ULN _JJE
#$ 2C GO GN _J[CKJ OUJ ECIGELOGCE UL^^JEN MM _J[CKJ 821   #$ GEFHDYJY GE OUJ 82=4 ECIGELOGCEd
#" LFFJ^ON OUJ ECIGELOGCEW 2C 9 LI VCGEV OC LNc OUJ       #"         A2W X30X36B; 3_fJFOGCEW ]LVDJW ,NcJY
#% gDJNOGCE LVLGEW ,EY 9 LI GEgDGKGEV L_CDO OUJ           #% LEY LENPJKJYW
#& ^KJMECIGELOGCE ^KCFJNN OULO 821 ^KCSGYJN OC ECIGEJJN   #&         85. T980.22; 82=4 YCJN ECO CK OUJ 821
#' OC OUJ 82=4W                                           #' YCJN  ECOW
#(          =CJN 82= MM 9ZI NCKKRW =CJN 821 ^KCSGYJ       #(         4B A/W ,44,2;
#) OUJ C^^CKODEGOR OC MM 9 LI NCKKRW 6JO IJ NOLKO         #) ?W 8UJ 821 YCJN ECO PULOd 8ULOZN [GEJW 0C>
#* LVLGEW TGOU KJVLKYN OC ^JKNCEN ECIGELOJY OC OUJ        #* EJSJK IGEYW 8ULOZN FHJLKW 3cLRW ,HH KGVUOW 2C PJ
$+ 82=4> YCJN 821 ^KCSGYJ NDFU ^JKNCEN OUJ C^^CKODEGOR    $+ LKJ VCGEV OC OLHc L_CDO YGNNJIGELOGCE ^KC_L_HR [CK L
$# OC ^KCSGYJ GE[CKILOGCE OULO KJ_DON OUJ YJKCVLOCKR      $# PUGHJW =CJN 821 cECP OUJ ELIJ C[ JSJKR GEYGSGYDLH
$$ GE[CKILOGCE OULO OUJ ECIGELOGEV LVJEFR KJHGJN D^CE     $$ OULO ULN LFFJNN OC 82=4 GE[CKILOGCEd
                                                   #)$                                                       #)%
# [CK OULO ^JKNCEZN ECIGELOGCEd                           #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $  3_fJFOGCEW   -COJEOGLHHR FLHHN [CK HLP JE[CKFJIJEO
"          85. T980.22; 9[ NCIJ_CYR PLEOJY OC KJ_DO       " NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO
% OUJ YJKCVLOCKR GE[CKILOGCE> OUJR FCDHY ^KCSGYJ OULO     % OULO RCD FLEW
& GE[CKILOGCE OC OUJ ECIGELOCKW ,EY OUJ ECIGELOCK         &          85. T980.22; 2C 9 LNNDIJ [KCI RCDK
' PCDHY _J J\^JFOJY OC VGSJ J\FDH^LOCKR GE[CKILOGCE LN    ' gDJNOGCE RCD YCEZO IJLE LFFJNN OC OUJ 82=4 GONJH[
( PJHH LN YJKCVLOCKR GE[CKILOGCE LN ^LKO C[ OULO          ( _JFLDNJ RCD NLGY 82=4 GE[CKILOGCEW
) ECIGELOGCE ^KCFJNNW ,EY GO PCDHY _J NCIJOUGEV OULO      )          4B A/W ,44,2;
* PJ PCDHY FCENGYJKW                                      *      ?W 2C> RCD cECP> 9 LI _JGEV UCEJNOW 9 YCEZO
#+         4B A/W ,44,2;                                  #+ KJLHHR cECP> RCD cECPW 4DO RCD cECP> 9 YCEZO cECP
## ?W =CJN 821 ^KCSGYJ OUJ ^KCN^JFOGSJ ECIGEJJ            ## UCP RCD YGNNJIGELOJ GOW 2C 9 LI LNcGEV cGEY C[ OUJ
#$ PGOU OUJ C^^CKODEGOR OC KJ_DO OUJ YJKCVLOCKR           #$ MM
#" GE[CKILOGCE OULO L ECIGELOGEV LVJEFR GN KJHRGEV D^CE   "# &' @AD23 4 7+ 6,9.-/ 6) >87,.C9'
#% LN OUJ _LNGN C[ OUJGK ECIGELOGCE C[ OULO ^JKNCEd       #% ?W BJLUW 2C 82=4 GE[CKILOGCE GN LER cGEY C[
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #& ^LKO C[ OUJ 82=4W ,ER GE[CKILOGCE KJVLKYGEV 82=4W
#'         85. T980.22; 9NEZO OULO OUJ J\LFO NLIJ         #' 8ULOZN PULO 9 IJLE _R 82=4 GE[CKILOGCEW 2C HJO IJ
#( gDJNOGCE  RCD fDNO LNcJY IJd                           #( OKR PGOU OULO cGEY C[ FLSJLO GE IGEYW =CJN 821 cECP
#)         4B A/W ,44,2;                                  #) OUJ ELIJ C[ LHH ^JKNCEN PUC ULSJ LER OR^J C[ LFFJNN
#* ?W 0CW                                                 #* OC 82=4 GE[CKILOGCEd
$? &' E)= .2 .6 *.CC1,1-6_                                $+         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$# ?W 2C GO GN ECO L FHJLK gDJNOGCEW TJ LVKJJ             $# 3_fJFOGCE GENC[LK LN GO FLHHN [CK HLP
$$ PGOU OULOW 6JO IJ OKR LVLGEW 2C 9 OUGEc HJOZN _LFc     $$ JE[CKFJIJEOM^KCOJFOJY GE[CKILOGCEW BCD FLE LENPJK
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14294
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   &. #"*) $% "**'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #)&                                                       #)(
# G[ RCD FLEW                                             # ^LKOGFDHLK J[[CKO OC NGO YCPE LEY YC OULO> ECW
$          85. T980.22; 2C LNNDIGEV> LN 9 OLcJ RCDK       $           4B A/W ,44,2;
" gDJNOGCE> OULO RCD IJLE LER GE[CKILOGCE OULO GN         "      ?W ,KJ OUJKJ MM YCJN 821 ^CNNJNN LER
% J\^CKOJY [KCI 82=4 OC ^LKOEJK NRNOJIN> ECW 8UJ 821      % YCFDIJEON OULO KJVLKY UCP ILER ^JKNCEN ULSJ LFFJNN
& YCJN ECO cECP OUJ ELIJ C[ JSJKR GEYGSGYDLH OULO         & C[ LER cGEY OC 82=4 GE[CKILOGCEd
' PCDHY OUJE ULSJ LFFJNN OC GE[CKILOGCE GE OUCNJ          '           A2W X30X36B; 3_fJFOGCEW ]LVDJW
( YCPENOKJLI NRNOJINW                                     ( 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK HLP
)          4B A/W ,44,2;                                  ) JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK
*      ?W =CJN 821 cECP OUJ EDI_JK C[ ^JKNCEN PUC         * G[ RCD FLEW
#+ ULSJ LFFJNN C[ LER cGEY OC 82=4 GE[CKILOGCEd           #+          85. T980.22; 2C PJ cECP PUC PJ J\^CKO
##         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 ## CDK  GE[CKILOGCE  OCW ,EY PJ cECP [CK PULO ^DK^CNJW
#$ 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK HLP     #$ 4DO 9 YCEZO> [CK GENOLEFJ> cECP UCP ILER JI^HCRJJN
#" JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK     #" LO OUJ =J^LKOIJEO C[ 5CIJHLEY 2JFDKGOR ULSJ LFFJNN
#% G[ RCD FLEW                                            #% OC CEJ C[ OUJGK NRNOJIN OULO ILR ULSJ CDK
#&         85. T980.22; 1JKOLGEHR ECO L ^KJFGNJ           #& GE[CKILOGCE CK OUJ OCOLH EDI_JK C[ ^CHGFJ C[[GFJKN
#' EDI_JKW                                                #' GE OUJ @EGOJY 2OLOJN ULSJ LFFJNN OC 0191> JO FJOJKL>
#(         4B A/W ,44,2;                                  #( JO FJOJKLW
#) ?W =CJN 821 ULSJ LE JNOGILOJ C[ UCP ILER               #)          4B A/W ,44,2;
#* ^JKNCEN ULSJ LFFJNN OC 82=4 MM LFFJNN MM 9 LI NCKKRW   #* ?W =C OJEN C[ OUCDNLEYN C[ GEYGSGYDLHN ULSJ
$+ 6JO IJ NOLKO LVLGEW =CJN 821 ULSJ LE JNOGILOJ C[       $+ LFFJNN OC 82=4 GE[CKILOGCEd
$# UCP ILER ^JKNCEN ULSJ LFFJNN C[ LER cGEY OC 82=4       $#          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$$ GE[CKILOGCEd                                           $$ 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK HLP
                                                  #)'                                                       #))
#          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 # JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK
$  3_fJFOGCE  GENC[LK LN OUJ LENPJK FLHHN [CK HLP         $ G[ RCD FLEW
" JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK      "          85. T980.22; 9 OUGEc OULOZN HGcJHRW
% G[ RCD FLEW                                             %          4B A/W ,44,2;
&          85. T980.22; 9 LI ECO LPLKJ C[ L               &      ?W =C UDEYKJYN C[ OUCDNLEYN C[ GEYGSGYDLHN
' N^JFG[GF JNOGILOJW 3EJ ILR ULSJ _JJE YCEJ GE OUJ        ' ULSJ LFFJNN OC 82=4 GE[CKILOGCEd
( ^LNOW 9 YCEZO cECPW                                     (          A2W X30X36B; 3_fJFOGCEW ]LVDJW
)          4B A/W ,44,2;                                  ) 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK HLP
*      ?W 5LN 821 JNOGILOJY OUJ EDI_JK C[                 * JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK
#+ GEYGSGYDLHN PUC ULSJ LFFJNN C[ LER cGEY OC 82=4        #+ G[ RCD FLEW
## GE[CKILOGCEd                                           ##         85. T980.22; 9 _JHGJSJ OULO OUJ OCOLH
#$         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #$ EDI_JK   C[ ^CHGFJ C[[GFJKN GE OUJ @EGOJY 2OLOJN
#"         85. T980.22; BJLU> 9 OUGEc GO PLN OUJ          #" J\FJJYN #++>+++W
#% NLIJ gDJNOGCEW 0CW                                     #%         4B A/W ,44,2;
#&         4B A/W ,44,2;                                  #& ?W ,EY JLFU ^CHGFJ C[[GFJK OUKCDVU 0191
#' ?W 821 ULN EJSJK YCEJ LE JNOGILOJ C[ MM ULN            #' PCDHY ULSJ LFFJNN OC 82=4 GE[CKILOGCE> FCKKJFOd
#( EJSJK SJEODKJY L VDJNN LN OC UCP ILER ^JKNCEN ULSJ     #(         A2W X30X36B; 3_fJFOGCEW
#) LFFJNN C[ LER cGEY OC 82=4 GE[CKILOGCEd                #) AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW
#*         A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY              #*         A/W ,44,2; 9 ULSJEZO LNcJY UGI LER
$+ C_fJFOGCE LN OC NFC^JW -KCOJFOGSJ CKYJKW BCD FLE       $+ gDJNOGCEN L_CDO 0191 RJOW
$# LENPJK G[ RCD FLEW                                     $#         85. T980.22; 9E ILER CK ICNO FLNJN OUJR
$$         85. T980.22; 9 LI ECO LPLKJ C[ L               $$ PGHHW 9 FLEZO N^JLc OC JSJKR YJ^LKOIJEOZN ^CHGFGJN
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14295
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   &* #"*, $% ",('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #)*                                                       #*#
# LN OC PUC ULN LFFJNN OC PULOW                           #      ?W -URNGFLHHR HCFLOJY CDONGYJ OUJ @EGOJY
$          4B A/W ,44,2;                                  $ 2OLOJNd
"      ?W 9N GO 821ZN OJNOGICER OCYLR OULO UDEYKJYN       "          A2W X30X36B; 2LIJ C_fJFOGCENW
% C[ OUCDNLEYN C[ GEYGSGYDLHN ULSJ LFFJNN OC 82=4         %          4B A/W ,44,2;
& GE[CKILOGCEd                                            &      ?W 2C GEFHDYGEV [CKJGVEJKN LEY 9 LI NDKJ
'          A2W X30X36B; 3_fJFOGCEW                        '  JI_LNNGJN  LEY FCENDHLOJNW
( AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCEW        U      &' 017A3 4 *)-X6 6A.-T 4 >7- 7-2=1, 6A76'
) ]LVDJW                                                  )          A2W X30X36B; 2LIJ C_fJFOGCENW
*          85. T980.22; AR OJNOGICER GN OUJKJ LKJ         *          4B A/W ,44,2;
#+ UDEYKJYN C[ OUCDNLEYN C[ HLP JE[CKFJIJEO C[[GFJKN GE   #+ ?W 5CP ILER ^JKNCEN MM HJOZN NOLKO LHH CSJKW
## OUJ @EGOJY 2OLOJNW ,EY ICNO C[ OUJI HGcJHR ULSJ        ## =CJN 821 cECP UCP ILER ^JKNCEN LNNCFGLOJY PGOU
#$ LFFJNN OC 82=4 GE[CKILOGCE OUKCDVU 0191W               #$ [CKJGVE VCSJKEIJEON ULSJ LFFJNN OC 82=4 GE[CKILOGCEd
#"         4B A/W ,44,2;                                  #"         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#% ?W 2C> 9 IJLE> G[ RCD YCEZO OUGEc OULO                 #% N^JFDHLOGCEW 3_fJFOGCEW ]LVDJW 3_fJFOGCE GENC[LK
#& UDEYKJYN C[ OUCDNLEYN C[ GEYGSGYDLHN ULSJ LFFJNN OC    #& LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY
#' 82=4 GE[CKILOGCE> RCD FLE fDNO NLR OULO OUJR YCEZO     #' _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[
#( ULSJ LFFJNN> OULO GO GN ECO UDEYKJYN C[ OUCDNLEYNW     #( RCD FLEW
#) 9[ RCD YC _JHGJSJ OULO UDEYKJYN C[ OUCDNLEYN C[        #)         85. T980.22; 8UJ PLR OUJ NRNOJIN MM
#* GEYGSGYDLHN ULSJ LFFJNN OC 82=4 GE[CKILOGCE> OUJE      #* RJLU> 9 YCEZO cECP MM 9 YC ECO cECP OULO EDI_JKW
$+ RCD LKJ ECO LENPJKGEV OUJ gDJNOGCEW                    $+         4B A/W ,44,2;
$#         2C YC UDEYKJYN C[ MM LKJ MM GN GO 821ZN        $# ?W =CJN 821 cECP OULO EDI_JKd
$$ OJNOGICER OULO ICKJ OULE #++>+++ GEYGSGYDLHN GENGYJ    $$ &' 4 *)-X6 B18.1M1 2)'
                                                   #*+                                                       #*$
# OUJ @EGOJY 2OLOJN ULSJ LFFJNN OC 82=4 GE[CKILOGCEd      #      ?W =CJN 821 ULSJ LE JNOGILOJ C[ OUJ EDI_JK
$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $  C[ ^JKNCEN  LNNCFGLOJY PGOU [CKJGVE VCSJKEIJEON OULO
" 3_fJFOGCEW ,NcJY LEY LENPJKJYW 3_fJFOGCEW               " ULSJ LFFJNN OC 82=4 GE[CKILOGCEd
% 1LHHN MM                                                %          A2W X30X36B; 3_fJFOGCEW ]LVDJW
&          85. T980.22; 2C 9 LI OKRGEV OC J\^KJNN         & 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW 3_fJFOGCE
' UCP 9 FCIJ OC OULO FCEFHDNGCEW 2C _LNJY CE OUJ          ' GENC[LK LN OUJ LENPJK PCDHY GI^HGFLOJ GE[CKILOGCE
( EDI_JK C[ ^CHGFJ C[[GFJKN> 9 OUGEc GO GN HGcJHR OULO    ( ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
) ICKJ OULE L #++>+++ ^JC^HJ GE OUJ @EGOJY 2OLOJN ULSJ    ) LENPJK OC OUJ J\OJEO RCD FLEW
* LFFJNN OC 82=4 GE[CKILOGCEW                             *          85. T980.22; 9 LI NCKKRW 1LE RCD KJ^JLO
#+         4B A/W ,44,2;                                  #+ OULO CEJd
## ?W 5CP ILER ^JC^HJ CDONGYJ OUJ @EGOJY 2OLOJN           ##         `8UJ KJFCKY PLN KJLYWa
#$ ULSJ LFFJNN OC 82=4 GE[CKILOGCEd                       #$         A2W X30X36B; 2LIJ C_fJFOGCENW
#"         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #"         85. T980.22; 0CO OULO 9 LI LPLKJ C[W
#% 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW ,EY C_fJFOGCE        #%         4B A/W ,44,2;
#& GENC[LK LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE       #& ?W =CJN 821 J\JKFGNJ LER FCEOKCH CSJK OUJ
#' ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE    #' EDI_JK C[ ^JKNCEN OULO ULSJ LFFJNN OC 82=4
#( LENPJK G[ RCD FLEW                                     #( GE[CKILOGCEd
#)         85. T980.22; 7GKNO C[ LHH> HJO IJ              #)         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#* FHLKG[RW TUJE RCD NLR ^JC^HJ CDONGYJ OUJ @EGOJY        #* 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW 3_fJFOGCE
$+ 2OLOJN> YC RCD IJLE ^URNGFLHHR HCFLOJY CDONGYJ OUJ     $+ GENC[LK LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE
$# @EGOJY 2OLOJN CK YC RCD IJLE [CKJGVEJKNd               $# ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
$$         4B A/W ,44,2;                                  $$ LENPJK G[ RCD FLEW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14296
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   &, #",+ $% ",-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  #*"                                                       #*&
#          85. T980.22; TULO YC RCD IJLE _R               #           4B A/W ,44,2;
$ FCEOKCHd                                                $      ?W 6JOZN MM NC 9 PGHH VJO _LFc OC OUJ
"          4B A/W ,44,2;                                  " [CKJGVE VCSJKEIJEONW 9 cECP OUJKJ GN NCIJ ^KGSGHJVJ
%     ?W 6JO IJ fDNO YC OUJ gDJNOGCE LVLGEW =CJN          % GNNDJN PGOU OUJ [CKJGVE VCSJKEIJEONW 4DO PGOU
& 821 YJOJKIGEJ GE LER PLR OUJ EDI_JK C[ GEYGSGYDLHN      & KJVLKYN OC MM HJOZN fDNO OLHc L_CDO PGOU KJVLKYN OC
' PUC ULSJ LFFJNN OC 82=4 GE[CKILOGCEd                    ' YCIJNOGF> ECEM7JYJKLH <CSJKEIJEO JEOGOGJNW 3cLRW
(          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 ( 2C PGOU KJVLKYN OC YCIJNOGF> ECEM7JYJKLH <CSJKEIJEO
) 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK          ) JEOGOGJN PUC KJFJGSJ [KCI 821 82=4 GE[CKILOGCE> YCJN
* GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW     * 821 KJgDGKJ NDFU YCIJNOGF> ECEM7JYJKLH <CSJKEIJEO
#+ BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW             #+ JEOGOGJN OC LYUJKJ OC LER NOLEYLKYN KJVLKYGEV PUC
##         85. T980.22; 9 LI NCKKRW 3EJ ICKJ OGIJ         ## OUCNJ ECEM7JYJKLH <CSJKEIJEO YCIJNOGF JEOGOGJN VKLEO
#$ CE OULO ^LKOGFDHLK gDJNOGCEW                           #$ LFFJNN OCd
#"         A/W ,44,2; 1LE RCD KJLY GO _LFcd               #"          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#%         `8UJ KJFCKY PLN KJLYWa                         #% 3_fJFOGCEW AGNHJLYGEV LEY FCI^CDEYW 3_fJFOGCE
#&         A2W X30X36B; 2LIJ C_fJFOGCENW                  #& GENC[LK LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE
#'         85. T980.22; 0C> 821 YCJN ECO FCEOKCH          #' ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
#( OUJ EDI_JK C[ GEYGSGYDLHN PGOU [CKJGVE VCSJKEIJEONi    #( LENPJK OC OUJ J\OJEO OULO RCD FLEW
#) OUJ NLIJ LN PJ YCEZO FCEOKCH OUJ EDI_JK C[             #)          85. T980.22; 2C OUJ 821 YCJNEZO J\^CKO
#* GEYGSGYDLHN YCIJNOGFLHHRW                              #* LER ECEM7JYJKLH <CSJKEIJEO JEOGOGJN LER 82=4
$+         4B A/W ,44,2;                                  $+ GE[CKILOGCE PGOU OUJ J\FJ^OGCE C[ OUJ L[CKJIJEOGCEJY
$# ?W =CJN 821 JNOL_HGNU OUJ ^KCFJNN _R PUGFU             $# [CKJGVE ^LKOEJKNW
$$ KJFG^GJEON C[ 82=4 GE[CKILOGCE ILcJ LSLGHL_HJ OUJ      $$          4B A/W ,44,2;
                                                  #*%                                                       #*'
# GE[CKILOGCE OUJR KJFJGSJ [KCI 821 OC ^JKNCENd           #      ?W =CJNEZO 821 ILcJ 82=4 GE[CKILOGCE
$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $  LFFJNNG_HJ  OC NOLOJ LEY HCFLH LDOUCKGOGJN> FCHHJVJN>
" 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK          " DEGSJKNGOGJN> OKLSJH LDOUCKGOGJNd
% GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO            %          A2W X30X36B; 3_fJFOGCEW ]LVDJW
& ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW                   & 3_fJFOGCEW 1CI^CDEYW 3_fJFOGCE GENC[LK LN OUJ
'          85. T980.22; 9 LI ECO NDKJ PULO RCD IJLE       ' LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
(  _R ILcJ   LSLGHL_HJ OC MM                              ( HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
)          4B A/W ,44,2;                                  ) J\OJEO RCD FLEW
*      ?W 6JO IJ OKR LVLGEW =CJN 821 MM YCJN 821          *          85. T980.22; 0CW 8UJ 821 J\^CKON OC OUJ
#+ JNOL_HGNU MM 9 LI NCKKRW =CJN 821 KJgDGKJ              #+ 749 OUKCDVU OC OUJ 0LOGCELH 1KGIJ 9E[CKILOGCE
## KJFG^GJEON C[ 82=4 GE[CKILOGCE OC LYUJKJ OC            ## 1JEOJKW
#$ NOLEYLKYN KJVLKYGEV PUC KJFG^GJEON C[ 82=4             #$         4B A/W ,44,2;
#" GE[CKILOGCE LHHCP LFFJNN GE LER PLR OC 82=4 OUJ        #" ?W ,EY NC OUJ 0LOGCELH 1KGIJ GE[CKILOGCE
#% GE[CKILOGCEd                                           #% 1JEOJK GN OUJ 749d
#&         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 "< &' 46 .2 K7,6 )C 6A1 QR4'
#' 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK         #' ?W 8UJ 749 FCEOKCHN OUJ 0LOGCELH 1KGIJ
#( GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #( 9E[CKILOGCE 1JEOJKd
#) ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW       "N &' @A76X2 >),,1>6'
#*         85. T980.22; 8UJ GEYGSGYDLH LVKJJIJEON         #* ?W ,EY PUC OCHY 821 OC J\^CKO 82=4
$+ PGOU GEYGSGYDLH FCDEOKGJN PCDHY VCSJKE VJEJKLHHR UCP   $+ GE[CKILOGCE OC OUJ 0LOGCELH 1KGIJ 9E[CKILOGCE
$# OUJR MM PULO OUJ DEYJKNOLEYGEV GN _JOPJJE OUJ OPC      $# 1JEOJKd
$$ VCSJKEIJEON LN OC OUJ DNJ C[ OULO GE[CKILOGCEW         $$         A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14297
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 )/ #",. $% (//'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   #*(                                                    #**
# 3_fJFOGCEW 1LHHN [CK L HJVLH FCEFHDNGCE GENC[LK LN      " =.6A.- 7 26761 ), 61,,.6),9 ,1>1.M1 P545 6A,)D/A
$ MM LHNC> C_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH     $ 6A76 26761 ), 61,,.6),.78 II 4 C),/16 =A76 6A1 61,+
" [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO        # .2 II P545 BD,17D ), 2)+16A.-/ 78)-/ 6A)21 8.-12'
% ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD        %          4B A/W ,44,2;
& FLEW                                                    &      ?W 2C OUJKJ GN HGcJ L NGEVHJ ^CGEO C[
'          85. T980.22; 9O PCDHY _J VCSJKEJY _R OUJ       ' FCEOLFO [CK 0191 GE[CKILOGCE ^JK NOLOJd
( TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH LN PJ YGNFDNNJY MM LN    U      &' 012'
) PJ YGNFDNNJY JLKHGJKW                                   )      ?W 3cLRW ,EY OJKKGOCKGJNd
*          4B A/W ,44,2;                                  %      &' 012'
#+ ?W =CJN 821 cECP PUGFU JEOGOGJN ULSJ LFFJNN            #+ ?W 3cLRW TUGFU 7JYJKLH <CSJKEIJEO JEOGOGJN
## OC OUJ 0191d                                           ## MM 9 LI NCKKRW 821 ^KCSGYJN MM 9 LI NCKKRW 6JO IJ
#$         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ          #$ NOLKO CSJKW 821 J\^CKON 82=4 GE[CKILOGCE GE L
#" GE[CKILOGCE MM OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE   #" SLKGJOR C[ YG[[JKJEO PLRN OC KJFG^GJEON C[ 82=4
#% ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE    #% GE[CKILOGCE> FCKKJFOd
#& LENPJK OC OUJ J\OJEO OULO RCD FLEW                     "< &' 012'
#'         85. T980.22; 1JKOLGEHR> 0191 cECPN PUC         #' ?W ,KJ OUJKJ L [G\JY EDI_JK C[ PLRN OULO 821
#( OUJR OUJE J\^CKO OCW 4DO OUJ 821 YCJN ECO ULSJ         #( ^KCSGYJN 82=4 GE[CKILOGCE OC JEOGOGJN OULO KJFJGSJ
#) YGKJFO cECPHJYVJ C[ OULOW                              #) 82=4 GE[CKILOGCEd
#*         4B A/W ,44,2;                                  #*         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$+ ?W =CJN 821 ULSJ LFFJNN OC 0191d                       $+ 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK
$" &' @F5 A72 7>>122 6) P545 M.7 6A1 F6761 )C             $# GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
$$ b.,/.-.73 =A) 6A1- ,1>1.M12 .6 C,)+ 6A1 5,.+.-78       $$ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW
                                                   #*)                                                    $++
" cD26.>1 4-C),+76.)- F9261+X2 *.M.2.)-3 5c4F3 =A.>A      #         85. T980.22; 9 OUGEc JLFU GEYGSGYDLH
$ ,D-2 P545'                                              $ J\^CKO GN MM JLFU NRNOJI GN DEGgDJ GE NCIJ PLRW 2C
"      ?W 2C OUJ 8JKKCK 2FKJJEGEV 1JEOJK ULN LFFJNN       " 9 OUGEc OUJR LKJ LHH YG[[JKJEOW
% OC OUJ 0191 _JFLDNJ ]GKVGEGL ULN LFFJNN OC OUJ 0191d    %         4B A/W ,44,2;
<      &' 012'                                            &     ?W TUGFU 7JYJKLH <CSJKEIJEO JEOGOGJN ULSJ
'      ?W TUR GN OULO OUJ LKKLEVJIJEOd                    ' KJLHMOGIJ LFFJNN OC 82=4 GE[CKILOGCEd
(          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ          (         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
) LENPJK PCDHY FLHH [CK MM                                ) LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
*          4B A/W ,44,2;                                  * HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
#+ ?W 6JO IJ PGOUYKLP GOW TUR YCJNEZO OUJ                 #+ J\OJEO RCD FLEW
## 8JKKCK 2FKJJEGEV 1JEOJK VJO LFFJNN OC OUJ 0191         ##        85. T980.22; 2C> VJEJKLHHR> OUJ
#$ YGKJFOHR [KCI OUJ 749d                                 #$ =J^LKOIJEO C[ 5CIJHLEY 2JFDKGOR> OUJ 2OLOJ
#"         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #" =J^LKOIJEO PJ ULSJ LHKJLYR OLHcJY L_CDOi OUJ 749>
#% 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK         #% GEFHDYGEV 0191W 9 OUGEc OULO FCSJKN MM 9 OUGEc OULO
#& GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #& FCSJKN ICNO C[ OUJIW 3[ FCDKNJ> OUJKJ LKJ
#' ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW       #' ND_FCI^CEJEON OC NCIJ C[ OUCNJW
#(         85. T980.22; 9 UCEJNOHR YCEZO cECP PUR         #(        4B A/W ,44,2;
#) OUJ NRNOJI PLN NJO D^ OULO ^LKOGFDHLK PLRW 9O GN       #) ?W 8C =52d
#* OKDJ ELOGCEPGYJW                                       "% &' 4->8D*.-/ HEF'
$+         4B A/W ,44,2;                                  $+ ?W =CJN @2192 ULSJ KJLHMOGIJ LFFJNN OC 82=4
$# ?W TULOZN OKDJ ELOGCEPGYJd                             $# GE[CKILOGCEd
$$ &' @A1 1-6.6.12 /1)/,7KA.>7889 8)>761*                 $$        A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14298
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 )" #(/" $% (/&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $+#                                                     $+"
# LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ     # GENOLEOLEJCDNHR ULSJ LFFJNN OC OUJ FULEVJN OULO 821
$ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ       $ ILcJN OC 82=4 GE[CKILOGCEd
" J\OJEO OULO RCD FLEW                                   "          A2W X30X36B; 3_fJFOGCEW 8ULOZN ECO L
%          85. T980.22; 9 _JHGJSJ NCW                    % gDJNOGCEW
&          4B A/W ,44,2;                                 &          4B A/W ,44,2;
'      ?W =CJN 14- ULSJ KJLHMOGIJ LFFJNN OC 82=4         '      ?W 9N OULO FCKKJFOW 8ULOZN OUJ gDJNOGCEW
( GE[CKILOGCEd                                           (          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
)          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         ) LENPJK OC OULO gDJNOGCE PCDHY FLHH [CK GE[CKILOGCE
* LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ     * ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
#+ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ      #+ LENPJK OC OUJ J\OJEO OULO RCD FLEW
## J\OJEO BCD FLEW                                       ##         85. T980.22; BJN> OULOZN FCKKJFOW 2CIJ
#$         85. T980.22; BJNW                             #$ @W2W <CSJKEIJEO LVJEFGJN ULSJ PULO PJ PCDHY FLHH
#"         4B A/W ,44,2;                                 #" OKLENLFOGCELH MM GO GN D^YLOJY OKLENLFOGCELHHRW TJ
#% ?W =CJN 821 MM 9 LI NCKKRW =CJN 82, ULSJ              #% ILcJ L FULEVJ GE OUJ 82=4W ,EY GO GN KJ[HJFOJY GE
#& KJLHMOGIJ LFFJNN OC 82=4 GE[CKILOGCEd                 #& OUJGK NRNOJI GE L ILOOJK C[ NJFCEYN CK ILR_J
#'         A2W X30X36B; 3_fJFOGCE MM                     #' IGEDOJNW
#(         85. T980.22; BJNW                             #(         4B A/W ,44,2;
#)         A2W X30X36B; MM GENC[LK LN OUJ LENPJK         #) ?W <CO GOW TULO YC RCD FLHH OULO OR^J C[
#* PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R JGOUJK OUJ    #* LFFJNNd
$+ HLP JE[CKFJIJEO ^KGSGHJVJ CK 229W BCD FLE LENPJK OC   $? &' 4 279 6A76 29261+2 7,1 DK*761*
$# OUJ J\OJEO OULO RCD FLEW                              $" 6,7-27>6.)-78893 BD6 4 *)-X6 II 4 *)-X6 A7M1 7 =),*
$$         85. T980.22; BJNW                             $$ 722)>.761* =.6A 6A1 7>>122 C), 6A76' 46 .2 7
                                                   $+$                                                     $+%
#          4B A/W ,44,2;                                 " 6,7-27>6.)-78 DK*761'
$      ?W    =C LER [CKJGVE VCSJKEIJEO ULSJ KJLHMOGIJ    $      ?W 2C NCIJ LVJEFGJN ULSJ HGcJ CEVCGEV
" LFFJNN OC 82=4 GE[CKILOGCEd                            " FCEOGEDCDNHR D^YLOJY LFFJNN OC 82=4 GE[CKILOGCE>
%          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         % FCKKJFOd
& LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R         <      &' @A76X2 >),,1>6'
' JGOUJK OUJ HLP JE[CKFJIJEO ^KGSGHJVJ CK OUJ NOLOJ      '      ?W =CJN OUJ =J^LKOIJEO C[ 2OLOJ ULSJ CEVCGEV
( NJFKJON ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO        (  LFFJNN  OC OUJ D^YLOJN OULO VJO ILYJ OC 82=4
) OULO RCD FLEW                                          ) GE[CKILOGCEd
*          85. T980.22; =J[GEJ [CK IJ GE OUJ FLNJ        *          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
#+ PULO RCD IJLE _R KJLHMOGIJ LFFJNNW                    #+ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
##         4B A/W ,44,2;                                 ## JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
#$     ?W    ALR_J GO GN OGIJ OC cGEY C[ OLHc L_CDO      #$ RCD FLEW
#" OULOW 2CIJ 7JYJKLH <CSJKEIJEO LVJEFGJN ULSJ LFFJNN    #"         85. T980.22; 9 _JHGJSJ OUJ =J^LKOIJEO C[
#% OC MM OUJ 82=4 GN LHPLRN FULEVGEV> FCKKJFOd           #% 2OLOJZN NRNOJI D^YLOJN OKLENLFOGCELHHRW
"< &' @A76X2 >),,1>6'                                    #&         4B A/W ,44,2;
#' ?W TUGHJ PJ ULSJ _JJE YCGEV OUGN YJ^CNGOGCE>          #' ?W ,EY _R OKLENLFOGCELHHR RCD IJLE OULO OUJ
#( GO ULN FULEVJYd                                       #( =J^LKOIJEO C[ 2OLOJ KJFJGSJN D^YLOJN L_CDO FULEVJN
"N &' 46 .2 8.T189 6,D1'                                 #) OC OUJ 82=4 GE FHCNJ OC KJLH OGIJd
#* ?W ,EY GO PGHH FULEVJ OCICKKCP LEY OUJ YLR            "% &' 012'
$+ L[OJK LEY GO FULEVJN JSJKRYLR> FCKKJFOd               $+ ?W =C @W2W FCENDHLOJN LEY JI_LNNGJN KJFJGSJ
$" &' @A76X2 >),,1>6'                                    $# LFFJNN MM 9 LI NCKKRW =C MM YCJN OUJ 821 ^KCSGYJ
$$ ?W AR DEYJKNOLEYGEV GN OULO NCIJ LVJEFGJN             $$ FCENDHLOJN LEY JI_LNNGJN PGOU KJLHMOGIJ LFFJNN OC
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14299
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    )( #(/) $% (/*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                     $+&                                                     $+(
# FULEVJN ILYJ OC OUJ 82=4d                                 # PLEOW
$         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ             $          85. T980.22; 0C> 9 OUGEc GO GN ECO MM PJ
" LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP         " YCEZO J\^CKO GE[CKILOGCE OC OUJ @EGOJY 0LOGCENW
% JE[CKFJIJEOW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW        %          4B A/W ,44,2;
&         85. T980.22; 9 UCEJNOHR YCEZO cECPW 9             &      ?W =CJN 821 J\^CKO LER 82=4 GE[CKILOGCE OC
'  cECP   PULO PJ VGSJ OC _GV 2OLOJ =J^LKOIJEOW TULO        ' LER @EGOJY 0LOGCENML[[GHGLOJY LVJEFGJNd
( OUJR YC YCPENOKJLI PGOU OULO> 9 YCEZO cECPW               (          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
)         4B A/W ,44,2;                                     ) LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
*     ?W 9N GO D^ OC OUJI PULO OUJR YC PGOU OUJ             * HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
#+ KJLHMOGIJ LFFJNN OULO RCD ^KCSGYJ OC OUJ =J^LKOIJEO      #+ J\OJEO OULO RCD FLEW ,HNC> SLVDJW
## C[ 2OLOJd                                                ##         85. T980.22; BJLUW 5CP YC RCD YJ[GEJ
#$        A2W X30X36B; 3_fJFOGCEW ]LVDJW                    #$ OUJ @EGOJY 0LOGCENMLNNCFGLOJY LVJEFRW
#"        4B A/W ,44,2;                                     #"         4B A/W ,44,2;
#% ?W 9 LI NCKKRW 6JO IJ _J L HGOOHJ ICKJ                   #% ?W TJ PGHH ^DO L HGOOHJ MM PJ PGHH FCIJ _LFc
#& FHJLKJKW =CJN MM GN GO D^ OC OUJ =J^LKOIJEO C[           #& OC GOW =CJN 821 YGNNJIGELOJ 82=4 GE[CKILOGCE OC OUJ
#' 2OLOJ PULO LFFJNN OUJR ^KCSGYJ OC OUJ EJLK KJLHMOGIJ     #' @0 /J[DVJJ LVJEFRd
#( D^YLOJN OULO 821 ILcJN LSLGHL_HJ OC OUJ =J^LKOIJEO       #(         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
#) C[ 2OLOJd                                                #) GE[CKILOGCE PCDHY FLHH [CK MM 9ZI NCKKR MM GENC[LK
#*        A2W X30X36B; 3_fJFOGCEW ]LVDJW                    #* LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY
$+ 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK                $+ _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC
$# GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO             $# OUJ J\OJEO OULO RCD FLEW
$$ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW         $$         85. T980.22; 0CW
                                                     $+'                                                     $+)
#          85. T980.22; BJNW 8UJ 2OLOJ =J^LKOIJEO           #         4B A/W ,44,2;
$  PCDHY   YGNFJKE  PULO OUJGK GEOJKELH LFFJNN KDHJN HCCc   $      ?W   =CJN 821 ULSJ LER GE[CKILOGCE L_CDO
" HGcJ LEY UCP C[OJE KJICOJ [CKJGVE ^CNO NRNOJIN LKJ        " PUJOUJK CK ECO OUJ @0 KJ[DVJJ LVJEFR ULN LER OR^J C[
% D^YLOJY> NC RJNW                                          % LFFJNN OC 82=4 GE[CKILOGCEd
&          4B A/W ,44,2;                                    &         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
'      ?W =CJN 821 cECP MM PJHH> [GKNO> YCJN 821            ' LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
(  ^KCSGYJ   EJLK KJLHMOGIJ LFFJNN OC 82=4 D^YLOJN OC OUJ   ( HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
) @EGOJY 0LOGCENd                                           ) J\OJEO OULO RCD FLEW
*          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ MM         *         85. T980.22; 0CW
#+ C_fJFOGCE OULO OULO gDJNOGCE FLHHN [CK GE[CKILOGCE       #+        4B A/W ,44,2;
## ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW ,EY 9        ## ?W 9N 821 L_HJ OC OJNOG[R OCYLR OULO OUJ @0
#$ LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO OC LENPJKW 9        #$ KJ[DVJJ LVJEFR ULN EC LFFJNN LO LHH OC 82=4
#" PGHH KJSGNJ OULOW 9 PGHH NLR G[ RCD [JJH RCD FLE         #" GE[CKILOGCEd
#% LENPJK PGOUCDO PLGSGEV L ^KGSGHJVJ> RCD FLE LENPJK       #%        A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
#& OULOW                                                    #& LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
#'         4B A/W ,44,2;                                    #' HLP JE[CKFJIJEO ^KGSGHJVJW 3_fJFOGCEW ]LVDJW
#(     ?W    6JO IJ OKR ILcGEV GO MM                        #( 3_fJFOGCEW AGNFULKLFOJKGhJN ^KGCK OJNOGICERW BCD
"N &' F) 4 6A.-T 4 >7- II =188 II                           #) FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
#*         A/W ,44,2; =C RCD PLEO OC FCE[JKd TJ             #*        85. T980.22; 0CO OULO 9 LI LPLKJ C[W
$+ FLE HJLSJW                                               $+        4B A/W ,44,2;
$#         A2W X30X36B; =C RCD PLEO OC FCE[JK CK MM         $# ?W 2C GN GO ^CNNG_HJ OULO OUJ @0 KJ[DVJJ
$$         A/W ,44,2; TJ FLE fDNO NOJ^ CDO G[ RCD           $$ LVJEFR ULN NCIJ OR^J C[ LFFJNN OC OUJ 82=4d
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14300
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ               )+ #(/, $% ("('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $+*                                                   $##
#         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ          #         4B A/W ,44,2;
$ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY OUJ HLP         $     ?W 9 LI VCGEV OC PGOUYKLP OUJ gDJNOGCEW
" JE[CKFJIJEO ^KGSGHJVJW 3_fJFOGCEW 1LHHN [CK            " =CJN 821 cECP OUJ ELIJN C[ LHH C[ OUJ JEOGOGJN OULO
% N^JFDHLOGCEW 3_fJFOGCEW ]LVDJW                         % KJFJGSJ 82=4 GE[CKILOGCE VHC_LHHRd
&         85. T980.22; 9 FLEZO OJNOG[R OC PULO 9         &         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
'  YCEZO ULSJ LER GENGVUO CK LPLKJEJNN GEOCW TJ J\^CKO   '  LENPJKJYW   3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY
( CDK GE[CKILOGCEW ,EY> RCD cECP> 9 ULSJ EC KJLNCE OC    ( FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
) _JHGJSJ OULO OUJR ULSJ LFFJNN OC OULO GE[CKILOGCEW     ) JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
*         4B A/W ,44,2;                                  * RCD FLEW
#+ ?W 4DO RCD YCEZO cECP PULO COUJK ^JC^HJ MM            #+        85. T980.22; TJ cECP PUC PJ NULKJ OUJ
## _DO 821 YCJN ECO cECP UCP KJFG^GJEON C[ 82=4          ## GE[CKILOGCE PGOUW ,EY PJ cECP PULO OUJ LVKJJIJEO
#$ GE[CKILOGCE [DKOUJK YGNNJIGELOJ 82=4 GE[CKILOGCE>     #$ VCSJKEGEV [DKOUJK YGNNJIGELOGCE C[ OULO GE[CKILOGCE
#" FCKKJFOd                                              #" PGOU OULO JEOGOR GNW
#%        A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW            #%        4B A/W ,44,2;
#& 3_fJFOGCEW AGNFULKLFOJKGhJN ^KGCK OJNOGICERW          #& ?W =CJN 821 MM ULN GO JSJK UL^^JEJY PUJKJ L
#'        4B A/W ,44,2;                                  #' KJFG^GJEO C[ 82=4 GE[CKILOGCE ULN ECO [CHHCPJY GON
#( ?W ,HH KGVUOW 7GEJW 9 PGHH PGOUYKLPW =CJN             #( LVKJJIJEO PGOU 821 L_CDO OUJ DNJ C[ 82=4
#) 821 cECP UCP KJFG^GJEON C[ 82=4 GE[CKILOGCE           #) GE[CKILOGCEd
#* YGNNJIGELOJ OUJ 82=4 GE[CKILOGCE OUCNJ JEOGOGJN       #*        A2W X30X36B; 3_fJFOGCE LN OC NFC^JW
$+ KJFJGSJd                                              $+ 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK
$#        A2W X30X36B; 3_fJFOGCEW ]LVDJ>                 $# GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
$$ FCI^CDEYW 3_fJFOGCE GENC[LK LN GO FLHHN [CK           $$ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD cECP
                                                   $#+                                                   $#$
# GE[CKILOGCE ^KCOJFOJY _R JE[CKFJIJEO ^KGSGHJVJW BCD    # LEY FLE YC NC PGOUCDO PLGSGEV OUJ ^KGSGHJVJW
$ FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW                 $         85. T980.22; 9 cECP C[ GE IR OJEDKJ CEJ
"           85. T980.22; 8UJ 821 cECPN PULO PLN          " GENOLEFJ PUJKJ PJ _JFLIJ LPLKJ C[ LE GI^KC^JK
% LVKJJY D^CE PGOU LER ^LKOEJK> PUJOUJK GO GN [CKJGVE    % YGNFHCNDKJW TJ KJ[JKKJY OULO OC OUJ ^LKOEJK LVJEFRW
& CK YCIJNOGFW ,EY FJKOLGEHR _LNJY CE CDK                & ,EY 9 _JHGJSJ OULO OUJR ULSJ C^JEJY LE GESJNOGVLOGCE
' KJHLOGCENUG^ PGOU OUJ GEOJHHGVJEFJ FCIIDEGOR> 9        ' GEOC UCP OULO UL^^JEJYW
( OUGEc OUJKJZN L VCCY FULEFJ OULO G[ NCIJ_CYR PJKJ      (         4B A/W ,44,2;
) YCGEV NC OULO PJ PCDHY cECPW                           )     ?W 8UJ GEFGYJEO OULO RCD LKJ KJ[JKKGEV OC>
*           4B A/W ,44,2;                                * PLN GO OUJ GI^KC^JK YGNFHCNDKJ C[ HGcJ L NGEVHJ
#+ ?W TULO YC RCD IJLE _R OUJKJ GN L VCCY                #+ ^JKNCEZN GYJEOGOR GE OUJ 82=4d
## FULEFJd .HL_CKLOJ CE PULO RCD IJLE OUJKJW             "" &' 012'
#$          A2W X30X36B; 9 LI VCGEV OC C_fJFO OULO       #$ ?W TUGFU LVJEFR PLN OULO GEFGYJEO MM PUGFU
#" OULO LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ    #" LVJEFR YGY OULO GEFGYJEO KJVLKYd
#% HLP JE[CKFJIJEO ^KGSGHJVJ LEY GENOKDFO OUJ PGOEJNN    #%        A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#& ECO OC LENPJK OULO CEJW                               #& PCDHY  FLHH [CK OUJ HLP JE[CKFJIJEO GE[CKILOGCE
#'          4B A/W ,44,2;                                #' ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
#(     ?W    1LE 821 YJ[GEGOGSJHR NOLOJ PUGFU JEOGOGJN   #( LENPJK OC OUJ J\OJEO OULO RCD FLEW
#) KJFJGSJ 82=4 GE[CKILOGCEd                             #)        85. T980.22; 9 YCEZO _JHGJSJ 9 FLE NLR
#*          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY            #* PGOUCDO MM OUJKJ GN LE CEVCGEV GESJNOGVLOGCEW
$+ LENPJKJYW 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY       $+        4B A/W ,44,2;
$# FLHH [CK GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO     $# ?W TUJE PLN OUJ MM NC OUJ GEFGYJEO OULO RCD
$$ ^KGSGHJVJW BCD FLE LENPJKW                            $$ LKJ YJNFKG_GEV PLN L IGNDNJ C[ 82=4 GE[CKILOGCE GE
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14301
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  )& #("+ $% ("-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $#"                                                      $#&
# 82=4ZN SGJP> FCKKJFOd                                  # FLHH [CK HLP JE[CKFJIJEOM^KCOJFOJY GE[CKILOGCEW BCD
$      &' 012' 46 =72 7- .+K,)K1, *.2>8)2D,1'            $ FLE LENPJK G[ RCD FLEW
"      ?W TUC ILYJ OUJ GI^KC^JK YGNFHCNDKJ C[ 82=4       "          85. T980.22; 0CO OULO 9 LI LPLKJ C[W
% GE[CKILOGCEd                                           %          4B A/W ,44,2;
&          A2W X30X36B; 3_fJFOGCEW                       &     ?W TULO IJLNDKJN YCJN OUJ 821 OLcJ OC JENDKJ
'          A/W ,44,2; 9 YCEZO EJJY OUJGK ELIJW           ' OULO KJFG^GJEO MM HJO IJ NOLKO CSJKW TULO IJLNDKJN
( 8UJGK OGOHJ> OUJGK LVJEFR L[[GHGLOGCE PCDHY _J fDNO    ( YCJN 821 OLcJ OC JENDKJ OULO JEOGOGJN PUC KJFJGSJ
) [GEJW                                                  ) 82=4 GE[CKILOGCE FCI^HR PGOU OUJ OJKIN C[ OUJGK
*          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         * LVKJJIJEON KJVLKYGEV [DKOUJK YGNNJIGELOGCE C[ OULO
#+ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP     #+ 82=4 GE[CKILOGCEd
## ^KGSGHJVJ> PUGFU _LNJY CE OUJ PGOEJNNZ ^KGCK LENPJK   ##         A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY
#$ L^^JLKN OC _J OUJ FLNJW 5CPJSJK> 9 PGHH LHHCP LE      #$ FCI^CDEYW 7DKOUJK C_fJFOGCE GENC[LK LN OUJ LENPJK
#" LENPJK G[ OUJKJZN MM                                  #" PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#%         85. T980.22; 8ULOZN OUDN OUJ                  #% JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
#& GESJNOGVLOGCE NC 9 YCEZO cECPW 8ULOZN PUR OUJKJ GN    #&         85. T980.22; 2C OUKCDVU OUJ ECIGELOGCEN
#' LE CEVCGEV GESJNOGVLOGCEW                             #' LEY JEFCDEOJK   ^KCFJNN G[ PJ _JFCIJ LPLKJ LN PJ ULSJ
#(         4B A/W ,44,2;                                 #( FCEOLFO PGOU OUJNJ LVJEFGJN C[ NCIJOUGEV OULO YCJN
#) ?W TUJE YGY OUGN GEFGYJEO CFFDKd                      #) ECO NJJI OC _J LFFCKYGEV OC CDK LVKJJIJEO> OUJE OULO
#*         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         #* PCDHY FLDNJ DN OC ILcJ GEgDGKR PGOU OULO
$+ LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ    $+ CKVLEGhLOGCEW
$# HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD      $#         2C PJ ULSJ GE NCIJ FLNJN YLGHR MM
$$ FLEW                                                  $$ IDHOG^HJ OGIJN YLGHR FCEOLFO PGOU ILER> LHOUCDVU 9
                                                  $#%                                                      $#'
"      &' V.6A.- 6A1 8726 21M1,78 +)-6A2' 4 *)-X6        # PCDHYEZO NLR LHH> C[ OUJ YCPENOKJLI CK OUJ PLOFU
$ T-)= K,1>.2189'                                        $ HGNOGEV ECIGELOCKNW 2C OULO ^KCSGYJN MM OULO
"      ?W 5LN OUJKJ MM GE OUJ UGNOCKR C[ OUJ 82=4        " ^KCSGYJN NCIJ HJSJH C[ DEYJKNOLEYGEVW 8UJKJ GN LHNC
% COUJK OULE OUGN GEFGYJEO OULO CFFDKKJY GE OUJ HLNO     % MM JHJFOKCEGFLHHR _JOPJJE NRNOJIN> OUJKJ GN L
& NJSJKLH ICEOUN> GN 821 LPLKJ C[ LER COUJK DNJ C[       & KJFCEFGHGLOGCE OULO GN L OJFUEGFLH OUGEV OC ILcJ
' 82=4 GE[CKILOGCE OULO GN GEFCENGNOJEO PGOU LER         ' NDKJ OULO CDK YLOL_LNJN LKJ NREFUJY> OULO OUJ
( LVKJJIJEON KJVLKYGEV OUJ DNJ C[ 82=4 GE[CKILOGCEd      ( GE[CKILOGCE GE OUJGK YLOL_LNJ KJ[HJFON PULO GO
)          A2W X30X36B; 3_fJFOGCE LN OC OUJ NFC^J        ) NUCDHY [KCI PULO GN GE CDKNW
* C[ OULO gDJNOGCE ECO _JGEV PGOUGE OUJ L^^KCSJY         *          ,EY _JRCEY OULO> OUJKJ GN CSJKNGVUO CSJK
#+ OC^GFN [CK OUGN YJ^CNGOGCEW 3_fJFOGCE [DKOUJK OC      #+ OUGN JEOGKJ ^KCFJNN CE OUJ ^LKO C[ GEN^JFOCKN
## OUJ J\OJEO OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE      ## VJEJKLH> OUJ <JEJKLH ,FFCDEOGEV 3[[GFJ> OUJ -KGSLFR
#$ PGOUGE OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE         #$ LEY 1GSGH 6G_JKOGJN 3SJKNGVUO 4CLKYW 8UJKJ LKJ
#" LENPJK G[ RCD FLEW                                    #" C[OJE LDYGON OULO LKJ FCEYDFOJY LFKCNN OUJ PLOFU
#%         85. T980.22; 9 LI ECO LPLKJ C[                #% HGNOGEV JEOJK^KGNJ ECO KJNOKGFOJY OC LER CEJ
#& LYYGOGCELH J\LI^HJNW                                  #& CKVLEGhLOGCEW ,EY OUJR ULSJ LE CSJKNGVUO [DEFOGCE
#'         4B A/W ,44,2;                                 #' OC JENDKJ OULO OUJ JEOGKJ NRNOJI [KCI _JVGEEGEV OC
#(     ?W   2C OUJKJ ULN CEHR _JJE CEJ GENOLEFJ GE       #( JEY GN [DEFOGCEGEV LN LVKJJY LEY LN GN L^^KC^KGLOJW
#) OUJ UGNOCKR C[ OUJ 82=4 OULO 821 GN LPLKJ C[ PUJKJ    #) ?W 5LN 821 JSJK OLcJE LER LFOGCEN OC JE[CKFJ
#* OUJKJ ULN _JJE LE GI^KC^JK DNJ C[ 82=4 GE[CKILOGCEd   #* OUJ OJKIN C[ GON LVKJJIJEON PGOU JEOGOGJN OULO
$+         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             $+ KJFJGSJ 82=4 GE[CKILOGCE PUC LKJ SGCHLOGEV OUJGK
$# LENPJKJYW 3_fJFOGCE LVLGE LN OC NFC^J LEY C_fJFOGCE   $# LVKJJIJEON PGOU 821d
$$ LN OC PUJOUJK MM OC OUJ J\OJEO OULO LENPJK PCDHY      $$         A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
Case 1:16-cv-00375-AJT-JFA Document 306-28 Filed 03/12/19 Page 57 of 100 PageID#
                                     14302
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                )) #(". $% ((/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $#(                                                    $#*
# FCI^CDEYW 3_fJFOGCE GENC[LK LN OUJ GE[CKILOGCE        # 6GNOGEV ,YSGNCKR 1CDEFGH LEY VC OUKCDVU OUJ
$ FLHHN MM 9ZI NCKKR MM LN OUJ LENPJK FLHHN [CK         $ L[CKJIJEOGCEJY ^KCFJNN OC KJFCEFGHJ OULOW
" GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO          "         4B A/W ,44,2;
% ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD      %     ?W ,EY> DHOGILOJHR> G[ OUJKJ GN L YGN^DOJ>
& FLEW                                                  & OUJ 0LOGCELH 2JFDKGOR 1CDEFGH KJNCHSJN OULOd
'          85. T980.22; 9 OUGEc SGCHLOGCEN GN L         J     &' @A76X2 >),,1>6'
( SJKR NOKCEV PCKYW 9 OUGEc OULO OUGN GN L FCI^HJ\      (     ?W ,EY OUJ 0LOGCELH 2JFDKGOR 1CDEFGH ULN
) ^KCFJNNW ,EY LN PJ NJJ UJKJ GE OUGN YJ^CNGOGCE>       ) EJSJK KJNCHSJY L YGN^DOJ KJVLKYGEV MM 9 LI NCKKR>
* OJKIN LKJ GI^CKOLEO LEY C[OJE IGNDEYJKNOCCY LEY       * HJO IJ LNc OULO gDJNOGCEW 5LN OUJ 0LOGCELH 2JFDKGOR
#+ FHLKG[GFLOGCE GN KJgDGKJYW 2C 9 OUGEc OUJKJ GN       #+ 1CDEFGH JSJK KJNCHSJY L YGN^DOJ KJVLKYGEV OUJ DNJ C[
## FCENOLEO CEVCGEV FHLKG[GFLOGCE> YGNFDNNGCE>          ## 82=4 GE[CKILOGCEd
#$ LYfDNOGEV OC FULEVGEV FGKFDINOLEFJN OULO VCJN CE     #$        A2W X30X36B; 3_fJFOGCEW ]LVDJW
#" LFKCNN OUJ JEOGKJ JEOJK^KGNJW 9 LI ECO LPLKJ C[      #" 3_fJFOGCE LN OC NFC^JW 3_fJFOGCE GENC[LK LN OUJ
#% NCIJOUGEV PUJKJ 9 _JHGJSJ GO PCDHY FCENOGODOJ L      #% LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
#& SGCHLOGCE C[ LE GEOJEOGCELH IGNDNJ C[ 82=4 YLOLW     #& HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
#'         4B A/W ,44,2;                                #' J\OJEO RCD cECP LEY FLE YC NC PGOUCDO PLGSGEV LER
#( ?W 2C OUJ 8JKKCK 2FKJJEGEV 1JEOJK GN ECO             #( ^KGSGHJVJW
#) LPLKJ C[ L NGEVHJ GENOLEFJ GE PUGFU LE LVJEFR ULN    #)        85. T980.22; 0CO OC MM ECO OC IR
#* IGNDNJY 82=4 GE[CKILOGCEd                            #* cECPHJYVJ LEY FJKOLGEHR ECO KJFJEOHR G[ GO JSJK YGY
$+         A2W X30X36B; 3_fJFOGCEW                      $+ UL^^JEW
$# AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW 3_fJFOGCE      $#        A/W ,44,2; 9EYGLELW
$$ GENC[LK LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE     $$        4B A/W ,44,2;
                                                  $#)                                                    $$+
# ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE   #       ?W 5LN OUJ TLOFU 6GNO ,YSGNCKR 1CDEFGH MM GN
$ LENPJK G[ RCD FLEW                                    $  GO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH CK TLOFU 6GNO
"           85. T980.22; ,VLGE> 9 ULSJ L ULKY OGIJ      " ,YSGNCKR 1CDEFGHd
% PGOU OUJ PCKY IGNDNJYW 9 OUGEc OUJKJ GN C[OJE         ;       &' V76>A W.26.-/'
& FHLKG[GFLOGCE EJJYJY CE PULO PJ CK CEJ C[ CDK         &       ?W 3U> TLOFUGEV 6GNOGEV> CcLRW 5LN OUJ
' ^LKOEJKN GN YCGEV> UCP PJ GEOJKLFOW 4DO RCD LKJ       ' TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH JSJK ILYJ L YJFGNGCE
( GI^HRGEV FJKOLGE EJ[LKGCDN LFOGSGOR GE OUJKJW ,EY     ( KJVLKYGEV OUJ MM 9 LI NCKKRW
) LN [LK LN NCIJOUGEV 9 PCDHY YJNFKG_J LN EJ[LKGCDN>    )          A/W ,44,2; 1LE RCD KJLY _LFc IR HLNO
* ECO HGcGEV OUJ PCKY IGNDNJY> 9 PCDHY NLR ECW          * gDJNOGCEd
#+          4B A/W ,44,2;                               #+         `8UJ KJFCKY PLN KJLYWa
## ?W 5LN 821 JSJK PGOUUJHY 82=4 GE[CKILOGCE            ##         4B A/W ,44,2;
#$ [KCI LE JEOGOR OULO PCDHY COUJKPGNJ KJFJGSJ 82=4     #$      ?W  5LN OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#" GE[CKILOGCE LN L KJNDHO C[ UCP OULO JEOGOR PLN       #" JSJK KJNCHSJY L YGN^DOJ KJVLKYGEV OUJ DNJ C[ 82=4
#% DOGHGhGEV 82=4 GE[CKILOGCEd                          #% GE[CKILOGCEd
#&          A2W X30X36B; 3_fJFOGCEW ]LVDJW              #&         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
#' 3_fJFOGCE LN OC NFC^JW 3_fJFOGCE GENC[LK LN OUJ      #' LENPJKJYW 3_fJFOGCE LN OC NFC^J> _COU OJI^CKLKGHR
#( LENPJK PCDHY FLHH [CK LER GE[CKILOGCE ^KCOJFOJY _R   #( LEY ECP GENC[LK LN OUJ OC^GFN [CK OUGN YJ^CNGOGCE
#) OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC     #) LKJ YJ[GEJYW ,HNC C_fJFOGCE LN OC OUJ GE[CKILOGCE
#* OUJ J\OJEO OULO RCD cECP LEY FLE YC NCW              #* FLHHGEV CK OUJ gDJNOGCE FLHHGEV [CK GE[CKILOGCE
$+          85. T980.22; 9 OUGEc OUCNJ cGEY C[          $+ PGOUGE OUJ ^DKSGJP C[ LECOUJK LVJEFRW 3_fJFOGCE
$# YGNLVKJJIJEON OC OLcJ L NLEFOGCE LVLGENO L ^LKOEJK   $# GENC[LK LN OUJ LENPJK FLHHN [CK GE[CKILOGCE
$$ HGcJ OULO PCDHY KJgDGKJ DN OC VC OC OUJ TLOFU        $$ ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14303
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 )- #((" $% ((&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                $$#                                                       $$"
# LENPJK OC OUJ J\OJEO RCD FLEW                          # VCGEV OC cJJ^ GO PGOU JSJK> OUJEW
$          85. T980.22; ,VLGE> OUJ PCKY YGN^DOJ GN       $          A2W X30X36B; 3cLRW
" NOKCEVW 9 OUGEc FCENOLEOHR OUJ TLOFU 6GNOGEV           "          A/W ,44,2; 9 YCEZO KJIJI_JK OUJ
% ,YSGNCKR 1CDEFGH GN OUJ SJEDJ [CK YGNFDNNGCE LKCDEY    % gDJNOGCEW 1LE RCD KJLY _LFc OUJ gDJNOGCEd
& LER EDI_JK C[ GNNDJNW TUJOUJK CK ECO MM 9 YCEZO        &          `8UJ KJFCKY PLN KJLYWa
' cECP G[ RCD PCDHY YJNFKG_J OUJI LN YGN^DOJN CK ECOW    '          A2W X30X36B; 2LIJ C_fJFOGCENW ,EY 9
( 4DO OUJKJ LKJ FJKOLGEHR OUGEVN OULO EJJY OC _J         ( PGHH LHNC LYY C_fJFOGCE GENC[LK LN GO FLHHN [CK
) NJOOHJY FCENOLEOHRW ,EY NC OUJ TLOFU 6GNOGEV           ) GE[CKILOGCE ^KCOJFOJY _R OUJ YJHG_JKLOGSJ ^KCFJNN
* ,YSGNCKR 1CDEFGH [KJgDJEOHR GN OUJ _CYR MM GN OUJ      * ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
#+ SJEDJ OC KJNCHSJ OUCNJ YGN^DOJN CK YGNFDNNGCENW       #+         85. T980.22; 8UJ TLOFU 6GNOGEV ,YSGNCKR
## =GN^DOJ IGVUO _J OCC NOKCEV L PCKYW                   ## 1CDEFGH  MM 9 IJLE> 9 YCEZO cECP J\LFOHR UCP RCD
#$         4B A/W ,44,2;                                 #$ YJ[GEJ L YGN^DOJW 4DO OULOZN OUJ fC_ C[ OUJ TLOFU
#" ?W 5LN OUJKJ JSJK _JJE L YGN^DOJ KJVLKYGEV            #" 6GNOGEV ,YSGNCKR 1CDEFGHW ,EY GO YCJN GO JSJKR OGIJ
#% OUJ DNJ C[ 82=4 GE[CKILOGCE OULO OUJ TLOFU 6GNOGEV    #% MM JSJKR OGIJ GO IJJON OC FCIJ OC FCENJENDN CE MM
#& ,YSGNCKR 1CDEFGH ULN KJNCHSJYd                        #& RCD FCDHY FLHH GO L YGN^DOJ> L NDVVJNOGCE> L
#'         A2W X30X36B; 3_fJFOGCE LN OC NFC^JW           #' ^KC^CNLH> YG[[JKJEO ^CGEON C[ SGJPW 9O YCJN LHH C[
#( 8JI^CKLHHR OULO GN ECO PGOUGE OUJ OC^GFN OULO ULSJ    #( OUCNJ OUGEVN gDGOJ FCENGNOJEOHR LEY LFOGSJHRW
#) _JJE L^^KCSJY _R OUJ FCDKO [CK L YGNFDNNGCE GE        #)         4B A/W ,44,2;
#* OCYLRZN YJ^CNGOGCEW 3_fJFOGCE GENC[LK LN OUJ          #* ?W 5CP YCJN OUJ MM OUJ TLOFU 6GNOGEV
$+ GE[CKILOGCE PCDHY FLHH [CK MM LN OULO LENPJK PCDHY    $+ ,YSGNCKR 1CDEFGH ILcJN YJFGNGCEN> FCKKJFOd
$# FLHH [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ HLP         $#         A2W X30X36B; 3_fJFOGCEW ]LVDJW
$$ JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW     $$         85. T980.22; 9OZN MM J[[JFOGSJHR> RJNW
                                                $$$                                                       $$%
#         A/W ,44,2; ,EY fDNO [CK OUJ KJFCKY>            # BJNW
$ FLOJVCKR [CDK GN IJLNDKJN 821 DEYJKOLcJN OC JENDKJ     $          4B A/W ,44,2;
" LFFDKLFR LEY KJHGL_GHGOR C[ OUJ 82=4W 1JKOLGEHR>       "       ?W 5CP YCJN OUJ TLOFU 6GNOGEV ,YSGNCKR
% FCEOKCHN OULO 82=4 ^HLFJN CE OUJ DNLVJ C[ 82=4         % 1CDEFGH IJICKGLHGhJ GON YJFGNGCENd
& GE[CKILOGCE _JLK CE OUJ LFFDKLFR LEY KJHGL_GHGOR C[    &          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
' OUJ 82=4 GONJH[W                                       ' LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R
(         A2W X30X36B; TJHH> OC FHLKG[R> OULO            ( JGOUJK OUJ YJHG_JKLOGSJ ^KCFJNN CK OUJ HLP
) C_fJFOGCE VCJN OC RCDK DNJ C[ OUJ PCKY JSJKW AR        ) JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
* C_fJFOGCEN ULSJ _JJE NOLOJY [CK OUJ KJFCKY LEY OUJR    * RCD FLEW
#+ NOLEYW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW          #+         4B A/W ,44,2;
##        A/W ,44,2; 9N RCDK C_fJFOGCE MM HGcJ GN        ## ?W 9 LI LNcGEV [CK fDNO OUJ YJFGNGCENW 6GcJ
#$ RCDK OJI^CKLH C_fJFOGCE _JFLDNJ 9 LI LNcGEV [CK OCC   #$ LKJ OUJR PKGOOJE CE L FULHc_CLKYd =C RCD ULSJ L
#" HCEV L OGIJ [KLIJd                                    #" <FULOd 9 IJLE> PULO GN GOd 9N OUJKJ L _DHHJOGE
#%        A2W X30X36B; BJN> JSJKW                        #% _CLKYd 5CP YCJN OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#&        A/W ,44,2; 7LGK JECDVUW TULO OGIJ              #& IJICKGLHGhJ OUJ YJFGNGCEN OULO GO ILcJNd 8ULOZN
#' [KLIJ PCKcN [CK RCDd                                  #' LHHW
#(        A2W X30X36B; 9 IGVUO EJJY MM                   #(         A2W X30X36B; 2LIJ C_fJFOGCENW ,EY RCD
#)        A/W ,44,2; 8JE RJLKNW BCD VDRN YC #+           #) FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
#* RJLKNd 1LE 9 VGSJ RCD #+ RJLKNd                       #*         85. T980.22; 2C L[OJK JLFU IJJOGEV>
$+        A2W X30X36B; 9 LI ECO NDKJ PJ FLE YC #+        $+ OUJKJ GN L NOLOJIJEO C[ FCEFHDNGCEN ^KJ^LKJYW
$# RJLKNW 9 LI ECO NDKJ 9 FLE VGSJ RCD LE LENPJKW        $#         A/W ,44,2; ,KGhCELW
$$        A/W ,44,2; 9 LI VCGEV OC YC MM NC 9 LI         $$         85. T980.22; 9 LHICNO NLGY ,KGhCEL [CK
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14304
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 ). #(() $% ((*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    $$&                                                    $$(
# RCDW 4DO 9 OUCDVUO FCDENJH PCDHY NHL^ IJ LKCDEYW        #          A/W ,44,2; ,KGhCELW
$           4B A/W ,44,2;                                 $          4B A/W ,44,2;
"      ?W TULO GN GO FLHHJYd TULO GN GOd                  "      ?W TULO cGEYN C[ OUGEVN LKJ GE OUJNJ
% 2OLOJIJEON C[ FCEFHDNGCEd                               % NOLOJIJEO C[ FCEFHDNGCENd
<      &' F6761+1-6 )C >)->8D2.)-'                        &          A2W X30X36B; 3_fJFOGCEW ]LVDJW
'      ?W 2OLOJIJEO C[ FCEFHDNGCEW                        ' 3_fJFOGCE GENC[LK LN GO FLHHN [CK GE[CKILOGCE
U      &' &-* K1,.)*.>7889 6A1 V76>A W.26.-/              ( ^KCOJFOJY _R JGOUJK OUJ YJHG_JKLOGSJ ^KCFJNN
N (D.*7->1 .2 DK*761*' &-* =1 A7M1 K,1M.)D289 II          ) ^KGSGHJVJ CK OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
*      ?W TJ ULSJ FCSJKJY OULOW                           * LENPJK OC OUJ J\OJEO OULO RCD FLEW
"? &' @A1,1 9)D /)'                                       #+         85. T980.22; 8C^GFN YGNFDNNJY> FCENJENDN
## ?W 5CP ILER NOLOJIJEON C[ FCEFHDNGCE ULN MM            ## KJLFUJY>  YCMCDON> KJ^CKOM_LFcN [KCI SLKGCDN
#$ PJHH> UCP ILER OGIJN L RJLK YCJN MM HJOZN OLcJ $+#(W   #$ ^LKOGFG^LEONW
#" 5CP ILER OGIJN GE $+#( YGY OUJ TLOFU 6GNOGEV           #"         4B A/W ,44,2;
#% ,YSGNCKR 1CDEFGH IJJOd                                 #% ?W ,KJ RCD MM GN OUJ 8JKKCK 2FKJJEGEV 1JEOJK
#&          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #& LPLKJ C[ LER TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#' FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP              #' NOLOJIJEO C[ FCEFHDNGCEN OULO KJVLKYN OUJ MM 9 LI
#( JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW      #( NCKKRW 9 LI VCGEV OC NOLKO OULO gDJNOGCE CSJK
#)          85. T980.22; 9 PCDHY NLR VJEJKLHHR            #) LVLGEW TUJE OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH
#* gDLKOJKHRW 9 YCEZO KJIJI_JK N^JFG[GFLHHRW              #* GNNDJN L NOLOJIJEO C[ FCEFHDNGCE> LKJ OUJ IJI_JK
$+ ?DLKOJKHR> NCIJOGIJN ICKJ [KJgDJEOHRW                  $+ LVJEFGJN C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH _CDEY
$#          4B A/W ,44,2;                                 $# OC [CHHCP OUJ ND_NOLEFJ C[ OUCNJ FCEFHDNGCENd
$$ ?W 2C LO HJLNO MM LO HJLNO IDHOG^HJ OGIJN L            $$         A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                                    $$'                                                    $$)
# RJLKd                                                   # 3_fJFOGCE GENC[LK LN OUJ GE[CKILOGCE MM OUJ LENPJK
$      &' 012'                                            $ FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
"      ?W ,EY 9 ULSJ LNcJY OUGN> _DO 9 fDNO FLEZO         " JE[CKFJIJEO ^KGSGHJVJ CK L HJVLH FCEFHDNGCEW ,EY 9
% KJIJI_JK OUJ LENPJKW 8UJ TLOFU 6GNOGEV ,YSGNCKR         % PGHH LHNC ECOJ LE C_fJFOGCE OC NFC^JW BCD FLE
& 1CDEFGH ULN J\GNOJY NGEFJ LO HJLNO $++*d                & LENPJK G[ RCD FLEW
'           A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             '          85. T980.22; 9 OUGEc _JFLDNJ OUCNJ
(  LENPJKJYW                                              ( YJFGNGCEN LKJ KJLFUJY _R FCENJENDN> GO GN DEYJKNOCCY
)           4B A/W ,44,2;                                 ) OULO OULO GN OUJ LVKJJIJEOW ,EY G[ NCIJ_CYR PLEON
*      ?W ,EY 9 FCDHY _J PKCEVW                           * OC KJSGNGO OULO LVKJJIJEO> OUJKJZN OUJ
"? &' 4 B18.1M1 2)' 4 B18.1M1 2)'                         #+ L[CKJIJEOGCEJY ^KCFJNNJN OC YC NCW
## ?W 3cLRW 9O ULN J\GNOJY [CK LO HJLNO OUJ               ##         4B A/W ,44,2;
#$ HLNO [GSJ RJLKNd                                       #$ ?W 2C GN OUJ 8JKKCK 2FKJJEGEV 1JEOJKZN
"# &' 012'                                                #" OJNOGICER OULO OUJ IJI_JK LVJEFGJN OULO FCI^KGNJ OUJ
#% ?W 3cLRW ,EY YDKGEV OUCNJ [GSJ RJLKN OUJ               #% TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH LYUJKJ OC OUJ
#& TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH MM JLFU C[ OUCNJ [GSJ   #& ND_NOLEFJ C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGHZN
#' RJLKN GO ULN IJO IDHOG^HJ OGIJNd                       #' NOLOJIJEON C[ FCEFHDNGCENd
"U &' 012'                                                #(         A2W X30X36B; 3_fJFOGCE LN OC OUJ J\OJEO
#) ?W ,EY JLFU OGIJ OUJ TLOFU 6GNOGEV ,YSGNCKR            #) OULO GE[CKILOGCE FLHHN [CK GE[CKILOGCE PGOUGE OUJ
#* 1CDEFGH IJJON> GO GNNDJN L NOLOJIJEO C[ FCEFHDNGCEd    #* ^DKSGJP C[ COUJK LVJEFGJN AKW <KCU FLEECO _GEYW
$? &' 46 >1,67.-89 A72 2.->1 4 A7M1 B11- 6A1,1'           $+ 3_fJFOGCEW ]LVDJW 3_fJFOGCE GENC[LK LN OUJ
$" &-* 4 A7M1 ,172)- II 72 C7, 72 4 T-)=3 .6 *.* K,.),    $# GE[CKILOGCE FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R
$$ 6) 6A76'                                               $$ OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14305
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    )* #((, $% (+('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $$*                                                        $"#
# OUJ J\OJEO OULO RCD FLEW                                # ^JKIGNNGSJd
$          85. T980.22; BJNW 9[ GO ULN _JJE               $          A2W X30X36B; 3_fJFOGCEW ]LVDJW
" FCEFHDYJY _R OUJ FCDEFGH> OULO IJLEN GO PLN LO OULO     " 3_fJFOGCE GENC[LK LN OUJ LENPJK MM
% ^CGEO PGOUCDO YGNNJEOW ,EY NC IR J\^JFOLOGCE PCDHY      %          85. T980.22; BJLU> GO PLN SLVDJW
& _J OULO OULOZN PULO PJ PCDHY [CHHCP DEOGH MM DEHJNN     & =JNFKG_J PUGFU PLR RCD IJLE ^JKIGNNGSJ OC _JW
' LEY DEOGH PJ JSJK KJSGNGOJY OUJ GNNDJW                  '          4B A/W ,44,2;
(          4B A/W ,44,2;                                  (      ?W 2C OUJ EDI_JK C[ ECIGELOGCEN OC OUJ 82=4
)      ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK ILGEOLGE       ) SLKGJN _R RJLK> FCKKJFOd
* L KJFCKY C[ LHH C[ OUJ NOLOJIJEON C[ FCEFHDNGCEN        %      &' 012'
#+ OULO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH ULN GNNDJYd    #+ ?W ,EY OUJ EDI_JK C[ ECIGELOGCEN LFFJ^OJY _R
"" &' 4 B18.1M1 2)'                                       ## 821 SLKGJN _R RJLK> FCKKJFOd
#$ ?W 5LSJ LER C[ OUCNJ NOLOJIJEO C[                      "$ &' 012' 46 M7,.12 788 6A1 6.+13 BD6 .6 >7-
#" FCEFHDNGCEN OULO OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH    "# B1 ,1C81>61* B9 6A1 917,'
#% ULN GNNDJY KJVLKY OGVUOJEGEV CK HCCNJEGEV OUJ 82=4ZN   #% ?W 5LN 821 JSJK ILYJ GO MM ULN 821 JSJK
#& GEFHDNGCE NOLEYLKYd                                    #& OLcJE LFOGCEN OULO PCDHY ^KCYDFJ L UGVUJK ECIGELOGCE
#'         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         #' LFFJ^OLEFJ KLOJ _R ILcGEV OUJ 82=4 GEFHDNGCE
#( GE[CKILOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R         #( NOLEYLKYN ICKJ ^JKIGNNGSJd
#) JGOUJK OUJ HLP JE[CKFJIJEO ^KGSGHJVJ CK OUJ NOLOJ      #)         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#* NJFKJON ^KGSGHJVJ ^COJEOGLHHR 229W 3_fJFOGCE           #* 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK
$+ GENC[LK LN OUJ GE[CKILOGCE GN PGOUGE OUJ ^DKSGJP C[    $+ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
$# COUJK LVJEFGJNW BCD FLE LENPJK OC OUJ J\OJEO OULO      $# ^KGSGHJVJ LEY NOLOJ NJFKJON ^KGSGHJVJW BCD FLE
$$ RCD FLEW                                               $$ LENPJK G[ RCD FLEW
                                                  $"+                                                        $"$
#         85. T980.22; 9 _JHGJSJ OULO GO GN HGcJHR        #           85. T980.22; 2C RCD IJLE MM RCD IJLE OC
$ OULO OUJR YCW                                           $  MM 9 OLcJ GO RCD IJLE OC KLGNJ CK HCPJK OUJ _LKW
"         4B A/W ,44,2;                                   " BCD IJLE OC HCPJK OUJ _LK [CK ECIGELOGCENW 9N OULO
%      ?W 2C OUJKJ ULSJ _JJE TLOFU 6GNOGEV ,YSGNCKR       % PULO RCD LKJ NLRGEVd
& 1CDEFGH NOLOJIJEO C[ FCEFHDNGCEN OULO KJVLKY            &           4B A/W ,44,2;
' HCCNJEGEV CK OGVUOJEGEV OUJ 82=4ZN GEFHDNGCE            '       ?W 8C ILcJ ICKJ ^JKIGNNGSJ PCDHY _J HCPJKGEV
( NOLEYLKYNd                                              (  OUJ  _LKW 8C ILcJ HJNN ^JKIGNNGSJ PCDHY _J KLGNGEV
)         A2W X30X36B; 3_fJFOGCEW                         ) OUJ _LKW
* AGNFULKLFOJKGhJN ^KGCK OJNOGICERW 3_fJFOGCEW 2LIJ       *           A2W X30X36B; 2LIJ C_fJFOGCENW
#+ C_fJFOGCEN GENC[LK LN OUJ LENPJK PCDHY GI^HGFLOJ       #+          4B A/W ,44,2;
## GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO>          ## ?W 2C HJO IJ MM PGOU OULO DEYJKNOLEYGEV> HJO
#$ ^COJEOGLHHR OUJ NOLOJ NJFKJON CK 229 ^KGSGHJVJNW       #$ IJ LNc OUJ gDJNOGCE LVLGEW 9 OUGEc ECP MM 9 OUGEc
#" BCD FLE LENPJK G[ RCD FLEW                             #" ECP PJ LKJ CE OUJ NLIJ ^LVJW 5LN 821 OLcJE LER
#%        85. T980.22; 9 _JHGJSJ GO PCDHY _J              #% LFOGCEN OULO PCDHY ILcJ OUJ GEFHDNGCE ^KCFJNN ICKJ
#& KJ[HJFOJY OUJKJ CK GE LE D^YLOJ OC OUJ TLOFU 6GNOGEV   #& ^JKIGNNGSJd
#' <DGYLEFJ CK _COUW                                      #'          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#( ?W 5LN OUJ 82=4 GEFHDNGCE NOLEYLKY JSJK _JJE           #( 3_fJFOGCE    GENC[LK LN OUJ LENPJK PCDHY FLHH [CK LER
#) OGVUOJEJYd                                             #) GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK
#*        A2W X30X36B; 3_fJFOGCEW                         #* ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJNW BCD FLE
$+        4B A/W ,44,2;                                   $+ LENPJK OC OUJ J\OJEO RCD FLEW
$# ?W 9ZI NCKKRW 6JO IJ KJ^UKLNJW 5LN OUJ                 $#          85. T980.22; 2C 9 OUGEc PJ LHKJLYR
$$ 82=4 GEFHDNGCE NOLEYLKY JSJK _JJE ILYJ ICKJ            $$ YJNFKG_JY    FULEVJN OULO PJKJ ILYJ FGKFL $++* PGOU
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14306
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   ), #(++ $% (+-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 $""                                                        $"&
# KJVLKY OC J\FJ^OGCEN OC OUJ KJLNCEL_HJ NDN^GFGCE       # PULO PJ NLGY JLKHGJK> 9 YCEZO OUGEc 9 FLE LENPJK
$ NOLEYLKYW ,EY OC IJ OULO PCDHY [LHH GEOC OUJ           $ OULOW
" FLOJVCKR OULO RCD fDNO YJNFKG_JYW 2C 9 OUGEc OUJ       "           A/W ,44,2; 3cLRW 2C OUJ EDI_JK C[ OGIJN
% LENPJK GN RJNW                                         % GN LHNC FCSJKJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY
&          4B A/W ,44,2;                                 & OUJ NOLOJ NJFKJON ^KGSGHJVJd
'      ?W   5LN 821 JSJK ILYJ OUJ GEFHDNGCE ^KCFJNN      '           A2W X30X36B; 8ULOZN OUJ C_fJFOGCE CE OUJ
( HJNN ^JKIGNNGSJd                                       ( KJFCKYW
)          A2W X30X36B; 3_fJFOGCEW ]LVDJW                )           A/W ,44,2; 3cLRW 9 LI fDNO ILcGEV NDKJW
* 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK         *           4B A/W ,44,2;
#+ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO LEY      #+ ?W =CJN 821 J\^CKO 82=4 GE[CKILOGCE OC
## ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW BCD FLE LENPJK   ## JEOGOGJN OULO YC ECO ILGEOLGE EJLK KJLHMOGIJ LFFJNN
#$ G[ RCD FLEW                                           #$ OC 82=4 GE[CKILOGCE D^YLOJN LEY FULEVJNd
#"         85. T980.22; 9E COUJK PCKYN> ILYJ MM          #"          A2W X30X36B; 9 LI NCKKRW 3_fJFOGCEW
#% KLGNJY OUJ _LK OC VC _LFc OC CDK ^KJSGCDNW 9 YCEZO    #% ]LVDJW 3_fJFOGCEW 1CI^CDEYW 3_fJFOGCE GENC[LK LN
#& OUGEc 9 FLE VJO GEOC L VKJLO YJLH C[ N^JFG[GFGOR>     #& OUJ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
#' _DO 9 _JHGJSJ OUJ LENPJK OC OULO GN LHNC RJNW         #' JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
#(         4B A/W ,44,2;                                 #(          85. T980.22; BJN> OUJKJ LKJ JEOGOGJN
#) ?W TUJE ULN OUJ 8JKKCK 2FKJJEGEV 1JEOJK ILYJ          #) OULO YC ECO KJFJGSJ L OKLENLFOGCELH D^YLOJW
#* OUJ GEFHDNGCE ^KCFJNN HJNN ^JKIGNNGSJd                #*          4B A/W ,44,2;
$+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $+ ?W 2C PULO UL^^JEN PUJE 821 J\^CKON 82=4
$# 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK             $# GE[CKILOGCE OC LE JEOGOR OULO YCJN ECO KJFJGSJ
$$ GE[CKILOGCE ^KCOJFOJY _R JGOUJK OUJ HLP JE[CKFJIJEO   $$ OKLENLFOGCELH D^YLOJN OC OUJ 82=4 LEY OUJE OUJKJ LKJ
                                                 $"%                                                        $"'
# CK OUJ NOLOJ NJFKJON ^KGSGHJVJ ^COJEOGLHHRW BCD FLE    # OKLENLFOGCELH D^YLOJN OC OUJ 82=4d
$ LENPJK G[ RCD FLEW                                     $          A2W X30X36B; 3_fJFOGCEW ]LVDJW
"         85. T980.22; 9 YCEZO _JHGJSJ 9 FLE             " 3_fJFOGCEW 1CI^CDEYW 3_fJFOGCE GENC[LK LN OUJ
% LENPJK OULOW                                           % LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
&         A2W X30X36B; 3cLRW                             & JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
'         A/W ,44,2; BCD FLEZO ^KCSGYJ GOW TULOZN        '          85. T980.22; 2C OUCNJ FDIDHLOGSJ FULEVJN
( OUJ _LNGN C[ OUJ ^KGSGHJVJ LNNJKOGCE KJVLKYGEV OUJ     (  OULO RCD LKJ KJ[JKKGEV OC PCDHY _J D^YLOJY OUJ EJ\O
) YLOJ LN OC PUJE OUJ GEFHDNGCE ^KCFJNN PLN ILYJ HJNN    ) OGIJ OULO OULO J\^CKO GN ^JKGCYGFLHHR D^YLOJYW 8ULO
* ^JKIGNNGSJd TULO ^KGSGHJVJ LKJ _JGEV LNNJKOJYd         * LFODLHHR DNJY OC _J OKDJ C[ ILER ICKJ> G[ ECO LHH C[
#+        A2W X30X36B; 6LP JE[CKFJIJEO> NOLOJ            #+ CDK J\^CKONW ,EY CSJK OGIJ> ICKJ LEY ICKJ C[ OUJI
## NJFKJON ^COJEOGLHHRW 8UJR LKJ _COU CE OUJ KJFCKY      ## ULSJ _JFCIJ OKLENLFOGCELH LO NCIJ C[ OUJ
#$ LEY OUJR NOLEYW                                       #$ GI^KCSJIJEON PJ ULSJ ILYJ OC OUJ NRNOJI LHCEV OUJ
#"        4B A/W ,44,2;                                  #" PLRW
#% ?W 7GEJW TULO GN MM UCP ILER OGIJN ULN OUJ            #% ?W 2C 821ZN VCLH MM GN GO MM GN GO 821ZN
#& 8JKKCK 2FKJJEGEV 1JEOJK ILYJ OUJ GEFHDNGCE ^KCFJNN    #& VCLH OC ^KCSGYJ 82=4 KJFG^GJEON PGOU EJLK KJLHMOGIJ
#' HJNN ^JKIGNNGSJd                                      #' LFFJNN OC FULEVJN OULO VJO ILYJ OC OUJ 82=4d
#(        A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #(         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#) 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK        #)         85. T980.22; 9 LVKJJ OULO PCDHY _J
#* GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK       #* GYJLHW
$+ ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW ,ENPJK G[    $+         4B A/W ,44,2;
$# RCD FLEW                                              $# ?W 4DO OUJKJ LKJ JEOGOGJN PUC YC ECO KJFJGSJ
$$        85. T980.22; 9 OUGEc GE cJJ^GEV PGOU           $$ EJLK KJLHMOGIJ GE[CKILOGCE KJVLKYGEV D^YLOJN OC OUJ
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14307
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  -/ #(+. $% (&/'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $"(                                                     $"*
# 82=4> FCKKJFOd                                          # GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK
$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $ ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW BCD FLE
" 3_fJFOGCEW ,NcJY LEY LENPJKJYW                          " LENPJK G[ RCD FLEW
%          85. T980.22; BJNW                              %           85. T980.22; 0CW
&          4B A/W ,44,2;                                  &           4B A/W ,44,2;
'      ?W ,KJ OUJKJ YCIJNOGF JEOGOGJN OULO YC ECO         '      ?W    2C JSJKR [CKJGVE VCSJKEIJEO OULO KJFJGSJN
( KJFJGSJ EJLK KJLHMOGIJ D^YLOJN OC FULEVJN OULO VJO      ( 82=4 GE[CKILOGCE ULN LE LVKJJIJEO PGOU 821 KJVLKYGEV
) ILYJ GE OUJ 82=4d                                       ) OUJ YGNNJIGELOGCE C[ 82=4 GE[CKILOGCEd
*          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 %      &' [M1,9 ,1>.K.1-6 )C .-C),+76.)- A72 7-
#+ 3_fJFOGCEW ,NcJY LEY LENPJKJYW 3_fJFOGCE GENC[LK       "? 7/,11+1-6 =.6A 6A1 S-.61* F67612 ()M1,-+1-6'
## LN OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY     ## ?W 3cLRW 2C GO IGVUO ECO _J PGOU OUJ 8JKKCK
#$ _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[    #$ 2FKJJEGEV 1JEOJKW 9O FCDHY _J PGOU OUJ @W2W
#" RCD FLEW                                               #" <CSJKEIJEOd
#%         85. T980.22; 9 YCEZO _JHGJSJ OUJKJ LKJ         "; &' 5),,1>6'
#& YCIJNOGF JEOGOGJN OULO YCEZO ULSJ OKLENLFOGCELH        #& ?W TUC PCDHY MM PUC GE OUJ @W2W <CSJKEIJEO
#' D^YLOJN LERICKJW                                       #' GN NGVEGEV OUJNJ LVKJJIJEON> G[ ECO> 821d
#(         A/W ,44,2; 9EYGLELW                            #(          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#)         4B A/W ,44,2;                                  #) 3_fJFOGCE GENC[LK LN OULO gDJNOGCE FLHHN [CK
#* ?W 2C 821ZN OJNOGICER OCYLR GN OULO LHH                #* GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ COUJK LVJEFGJNW
$+ YCIJNOGF JEOGOGJN OULO KJFJGSJ 82=4 GE[CKILOGCE LKJ    $+ BCD FLE OJNOG[R LN OC RCDK DEYJKNOLEYGEV> _DO OULO
$# KJFJGSGEV OULO GE[CKILOGCE GE EJLK KJLH OGIJ OC        $# LENPJK PGHH ECO _GEY OUJ LVJEFRW ,EY C_fJFOGCE
$$ KJ[HJFO FULEVJN OC OUJ 82=4d                           $$ GENC[LK LN OUJ gDJNOGCE FLHHN [CK GE[CKILOGCE
                                                   $")                                                     $%+
#          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 # ^KCOJFOJY _R LER HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE
$  3_fJFOGCEW   ,NcJY LEY LENPJKJYW 3_fJFOGCE GENC[LK     $ LENPJK G[ RCD FLEW
" LN LER LYYGOGCELH LENPJK PCDHY FLHH [CK GE[CKILOGCE     "          85. T980.22; 9 YCEZO cECP G[ PJ EJJY OC
% ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE     % FCE[JK CE OULOW 9 LI ECO NDKJW
& LENPJK G[ RCD FLEW                                      &          A2W X30X36B; 3cLRW
'          85. T980.22; BJNW                              '          A/W ,44,2; =C RCD PLEO DN OC HJLSJd 9
(          4B A/W ,44,2;                                  (  FCDHY  DNJ HGcJ L [GSJMIGEDOJ _KJLcW
)      ?W =C LHH [CKJGVE VCSJKEIJEON KJFJGSJ EJLK         )          A2W X30X36B; 3cLRW TJ PGHH OLcJ L
* KJLHMOGIJ LFFJNN OC OUJ D^YLOJN LEY FULEVJN OC 82=4d    * [GSJMIGEDOJ _KJLcW
#+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #+         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ
## 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK              ## KJFCKYW 8UJ OGIJ GN ";+# ^WIW
#$ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK        #$         `, KJFJNN PLN UJHYWa
#" ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW BCD FLE LENPJK    #"         85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ
#% G[ RCD FLEW                                            #% KJFCKYW 8UJ OGIJ GN ";#$ ^WIW ,EY PJ ULSJ _JJE CE
#&         85. T980.22; 0CW                               #& OUJ KJFCKY [CK % UCDKN LEY #& IGEDOJNW
#'         4B A/W ,44,2;                                  #'         4B A/W ,44,2;
#(     ?W   =CJN MM 9 LI NCKKRW =CJN 821 YGNNJIGELOJ      #(     ?W   =CJN 821 ULSJ LER GE[CKILOGCE OULO LER
#) GE[CKILOGCE OC [CKJGVE VCSJKEIJEON GE OUJ L_NJEFJ C[   #) ECEMVCSJKEIJEOLH JEOGOGJN KJFJGSJN GE LER PLR LFFJNN
#* LE LVKJJIJEO PGOU OULO [CKJGVE VCSJKEIJEO KJVLKYGEV    #* OC 82=4 GE[CKILOGCEd
$+ OUJ YGNNJIGELOGCE LEY DNJ C[ 82=4 GE[CKILOGCEd         $+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$#         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         $# MM C_fJFOGCEW ]LVDJW 3_fJFOGCE GENC[LK LN OUJ
$$ GE[CKILOGCE  FLHHN [CK MM OULO LENPJK FLHHN [CK        $$ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14308
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 -" #(&" $% (&&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $%#                                                     $%"
# JE[CKFJIJEO CK 229 ^KGSGHJVJNW BCD FLE LENPJK OC        #         85. T980.22; ,VLGE> ND_fJFO OC fDNO MM 9
$ OUJ J\OJEO RCD FLEW 9 PGHH LHNC GEOJK^CNJ OULO 9        $ OUGEc GO GN OUJ NLIJ LN OUJ ^KJSGCDN LENPJKW 0CO
" _JHGJSJ OULO gDJNOGCE ULN _JJE LNcJY LEY LENPJKJYW      " OULO 9 LI LPLKJ C[> J\FHDYGEV NCIJ GEOJKLFOGCE PGOU
%           85. T980.22; 9 LI NCKKRW /J^JLO OULO          % LGKHGEJNW ,EY JSJE GE OULO FLNJ> 9 PCDHY NLR OULO
& CEJ ICKJ OGIJ [CK IJW                                   & OUJ J\LI^HJ RCD YJNFKG_JY PGOU L _CLKYGEV ^LNN CK
'           A/W ,44,2; 1LE RCD KJLY GO _LFcW              ' NDFU OULO OUJKJ LKJ COUJK PLRN OULO NCIJ_CYR FLE
(           `8UJ KJFCKY PLN KJLYWa                        ( KJFJGSJ LYYGOGCELH NFKJJEGEV CK _J YJEGJY _CLKYGEVW
)           85. T980.22; 9 LI OKRGEV OC YJOJKIGEJ         ) 2C> RCD cECP> OULO GE[CKILOGCE GN DNJY GE OULO FLNJW
* PULO OUJ PCKY LFFJNN IJLEN GE OUGN gDJNOGCEW 7CK        * ,EY 9 OUGEc C[OJE ^JC^HJ LNNDIJ OUJR cECP PULOZN
#+ GENOLEFJ> PUJE RCD YJNFKG_J 82,> RCD cECP> LEY         #+ VCGEV CEW 4DO GO GN NCIJOGIJN ICKJ FCI^HGFLOJY OULE
## YJEGLHN C[ _CLKYGEVN CE LGKFKL[O> C_SGCDNHR LE         ## OULOW 4DO ND_fJFO OC OULO J\FHDNGCE> ECEJ OULO 9 LI
#$ LGKHGEJ GN LPLKJ OULO CEJ C[ OUJGK ^LNNJEVJKN ULN OC   #$ LPLKJ C[W
#" NCIJ YJVKJJ _JJE YJEGJY _CLKYGEVW 2C 9 YCEZO cECP      #"        4B A/W ,44,2;
#% PULO RCD IJLEW BCD IJLE OUJ L_GHGOR OC NJLKFU 82=4     #% ?W 7JYJKLH <CSJKEIJEO JI^HCRJJN ULSJ LFFJNN
#& GE[CKILOGCE CK OULO FCDHY _J GE NCIJ YCPENOKJLI        #& OC 82=4 GE[CKILOGCE> FCKKJFOd
#' ^KCFJNN NCIJUCPd                                       #'        A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW
#( ?W 4COUW 2C> RJLU> 9 PCDHY LVKJJ PGOU RCD              #( 3_fJFOGCEW ]LVDJW
#) OULO OUJ LGKHGEJN ULSJ NCIJ cGEY C[ LFFJNN OC 82=4     #)        4B A/W ,44,2;
#* GE[CKILOGCE> _JFLDNJ FJKOLGEHR PUJE L _CLKYGEV ^KJNN   #* ?W 6JO IJ MM GOZN ECO L OKGFc gDJNOGCEW
$+ ^KGEOGEV KJNDHO YCJNEZO GNNDJ _JFLDNJ C[ L ^JKNCEZN    $+ 8UJKJ LKJ NCIJ 7JYJKLH <CSJKEIJEO JI^HCRJJN OULO
$# NOLODN CE OUJ 0CM7HR 6GNO> OUJ LGKHGEJ VJON OULO       $# ULSJ LFFJNN OC 82=4 GE[CKILOGCE> FCKKJFOd
$$ GEYGFLOGCE PUJOUJK CK ECO OUJ ^LNNJEVJK YCJNW 4DO      $$ &' 012'
                                                   $%$                                                     $%%
# _JRCEY LGKHGEJN> PULO COUJK ECEMVCSJKEIJEOLH            #      ?W ,KJ OUJKJ FCEOKLFOCKN OC OUJ 7JYJKLH
$ JEOGOGJN KJFJGSJ LFFJNN OC GE[CKILOGCE MM 9 LI          $ <CSJKEIJEO PUC LKJ ECO 7JYJKLH <CSJKEIJEO JI^HCRJJN
" NCKKRW TULO COUJK ECEMLGKHGEJ MM 9 LI NCKKRW ,NGYJ      " PUC LHNC ULSJ LFFJNN OC 82=4 GE[CKILOGCEd
% [KCI LGKHGEJN> PULO COUJK ECEMVCSJKEIJEOLH JEOGOGJN     ;      &' 012'
& KJFJGSJ LFFJNN C[ LER cGEY OC 82=4 GE[CKILOGCEd         &      ?W ,KJ OUJKJ FCEOKLFOCKN LO 821 PUC LKJ ECO
'          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 ' JI^HCRJJN C[ 821 PUC ULSJ LFFJNN OC 82=4
(  3_fJFOGCEW   1CI^CDEYW 3_fJFOGCE GENC[LK LN OULO       ( GE[CKILOGCEd
) GE[CKILOGCE FLHHN MM OULO LENPJK FLHHN [CK              N      &' 4 =)D8* >788 6A1+ >)-6,7>6 1+K8)9112 )C
* GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO            % @FHR' RD6 9123 6A19 7,1 >)-6,7>6),23 -)6 Q1*1,78
#+ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW       "? ()M1,-+1-6 1+K8)9112'
##         85. T980.22; 3DONGYJ OUJ J\LI^HJ PJ ULSJ       ## ?W 8UJR LKJ ECO MM NC OUJKJ LKJ
#$ J\FHDYJY>  9 LI ECO LPLKJ C[ LERW                      #$ ECEMJI^HCRJJN OULO 821 MM 9 LI NCKKRW 8UJKJ LKJ
#"         4B A/W ,44,2;                                  #" ^JKNCEN PUC LKJ ECO 821 MM 9 LI NCKKRW 6JO IJ NOLKO
#% ?W =C MM LKJ OUJKJ COUJK ECEMVCSJKEIJEOLH MM           #% CSJK LVLGEW 8UJKJ LKJ ^JKNCEN PUC PCKc [CK
#& LKJ OUJKJ COUJK ECEMVCSJKEIJEOLH JEOGOGJN PUC HJLKE    #& FCI^LEGJN OULO FCEOKLFO PGOU OUJ 7JYJKLH <CSJKEIJEO
#' C[ 82=4 GE[CKILOGCE SGL OUJ DOGHGhLOGCE C[ 82=4        #' PUC ULSJ LFFJNN SGL OUJGK JI^HCRJK OC 82=4
#( GE[CKILOGCEd                                           #( GE[CKILOGCEd
#)         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #)         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#* 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY FLHH [CK         #* 3_fJFOGCEW ,NcJY LEY LENPJKJYW
$+ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           $+         85. T980.22; 8UJR PCKc MM 9 PCDHYEZO NLR
$# ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD       $# OUJR ULSJ MM OUJR ULSJ LFFJNN _JFLDNJ OUJGK JI^HCRJK
$$ FLEW                                                   $$ ULN L FCEOKLFOW 4DO OUJR YCEZO ULSJ LFFJNN SGL
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14309
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 -( #(&) $% (&*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $%&                                                     $%(
# OUJGK CPE JI^HCRJKW 8UJR ULSJ LFFJNN _JFLDNJ OUJR     #         4B A/W ,44,2;
$ PCKc LO OUJ 821W                                      $      ?W 5CP HCEV ULN 821 ULY LE LVKJJIJEO PGOU
"         4B A/W ,44,2;                                 " 283-23d
%     ?W TUGFU FCI^LEGJN YCJN MM PUGFU FCEOKLFOGEV      ;      &' @A1 >D,,1-6 >)-6,7>6 .23 4 B18.1M13 .-
& FCI^LEGJN YCJN 821 ULSJ LVKJJIJEON PGOUd              < .62 C)D,6A 917,' @A1,1 +79 II 4 B18.1M1 6A76 F@OGFO
'         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        J A72 C), 2)+1 6.+1 B1C),1 6A76' RD6 4 *)-X6 T-)=
( gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP   U )CCA7-* 1L7>689 =A1- 6A1., C.,26 .-61,7>6.)- =.6A
) JE[CKFJIJEO ^KGSGHJVJW 4DO RCD FLE LENPJK G[ RCD      N @F5 =72' 4 B18.1M1 6A1,1 =72 7 K1,.)* B1C),1 6A1
* FLEW                                                  % >D,,1-6 >)-6,7>6' RD6 6A1 >D,,1-6 )-1 .2 .- 6A1
#+        85. T980.22; 9O GN PULO GO GNW                "? C)D,6A 917,'
##        4B A/W ,44,2;                                 ## ?W 9E OUJ [CDKOU RJLKd
#$ ?W 9O GN PULO GO GNW                                 "$ &' 012'
"# &' F) 917A3 4 6A.-T 6A76X2 6A1 K,.+1 II 6A1          #" ?W <CO GOW 5CP IDFU YCJN 821 ^LR 283-23d
"; 6=) K,.+7,9 >)+K7-.12' O-1 >7881* F@OGFO'            #%        A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#& ?W 1LE RCD N^JHH OULOd                               #& gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
"J &' @A76X2 6A1., 7>,)-9+ FI@IOIGIFIO' @A1             #' JE[CKFJIJEO ^KGSGHJVJ CK ^KC^KGJOLKR GE[CKILOGCEW
"U 21>)-* =)D8* B1 F)61,7 H1C1-21'                      #( 4DO RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
#) ?W 1LE RCD N^JHH OULOd                               #)        A/W ,44,2; 2C UCHY CEW 9 PLEO OC
"% &' FIOI@I[I]I&'                                      #* DEYJKNOLEY OUJ C_fJFOGCENW 2C OUJ LICDEO C[ ICEJR
$+ ?W 2M3d                                              $+ OULO 821 N^JEYN CE 283-23 GN ^KC^KGJOLKR
$" &' @I[I]I&3 4 B18.1M1'                               $# GE[CKILOGCEd
$$ ?W 283-23 LEY 2COJKLd                                $$        A2W X30X36B; 9 YCEZO cECP G[ GO GNW 9
                                                  $%'                                                     $%)
"     &' 012'                                           # LI KLGNGEV OUJ ^COJEOGLH C_fJFOGCE LEY LHHCPGEV OUJ
$     ?W 9ZI NCKKRW <C LUJLYW                           $ PGOEJNN OC GENOKDFO G[ UJ FLE CK OC LENPJK G[ UJ
#     &' P)3 /) 7A17*'                                  " FLEW
%     ?W 0C> EC> ECW -HJLNJW                            %          A/W ,44,2; ,KJ RCD GENOKDFOGEV UGI ECO
<     &' P)3 -)' 4 7+ /))*'                             & MM
'     ?W 9N 283-23 LE LFKCERI CK GN OULO fDNO HGcJ      '          A2W X30X36B; 0CW
(  L FDOJ ELIJd                                         (          A/W ,44,2; MM OC ^KCSGYJ ^KC^KGJOLKR
N     &' 4 7+ 6,9.-/ 6) ,1+1+B1, 1L7>689' 46X2          ) GE[CKILOGCEd
% 26,761/.> II                                          *          A2W X30X36B; 9 YGY ECO ILcJ LE
#+ ?W 3U> RCD OUGEc GO GN LE LFKCERId                   #+ GENOKDFOGCE ECO OC LENPJKW 9 NLGY RCD FLE LENPJK OC
"" &' 4 6A.-T .6 .2 7- 7>,)-9+3 912'                    ## OUJ J\OJEO OULO RCD FLEW
#$ ?W <CO GOW 2OKLOJVGF 3^JKLOGCE 2CHDOGCENd            #$         A/W ,44,2; ,EY 9 PLEO OC DEYJKNOLEY OUJ
"# &' @A76 2)D-*2 ,./A6'                                #" HLP JE[CKFJIJEO ^KGSGHJVJ LNNJKOGCEW TUR PLN MM
#% ?W 9N 283-23 L @W2W FCI^LERd                         #%         A2W X30X36B; 9O PLN OC OUJ J\OJEO OULOW
"< &' 012'                                              #& ,EY 9 LI OJHHGEV OUJ PGOEJNN OULO UJ FLE LENPJK OC
#' ?W 9N 2COJKL L @W2W FCI^LERd                         #' OUJ J\OJEO OULO UJ FLEW
"U &' 012'                                              #(         4B A/W ,44,2;
#) ?W 5CP HCEV ULN 821 ULY L FCEOKLFO PGOU              #) ?W 2DKJW 3cLRW
#* 283-23d TJHH> 9 LI NCKKRW 6JO IJ _LFc D^W =CJN       "% &' 4 *)-X6 II 4 *)-X6 ,1>788 1L7>689 =A76 II
$+ 821 ULSJ LE LVKJJIJEO PGOU 283-23d                   $? 4 *)-X6 +7-7/1 6A1 >)-6,7>63 K1, 21' &-* 4 *)-X6
$" &' 012'                                              $" ,1>788 1L7>689 =A76 II =A76 =1 7,1 K79.-/ 6A1+ .-
$$         A/W ,44,2; ,KGhCELW                          $$ 7-9 /.M1- K1,.)* )C 6.+1'
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14310
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  -+ #(&, $% ()('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $%*                                                     $&#
#      ?W 9N GO IGHHGCEN C[ YCHHLKNd                      # 1JEOJK 5JLYgDLKOJKNd
$      &' 012'                                            $     &' &-* )-1 )6A1, 2+788 2.61'
"          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              "     ?W TUJKJ GN OULO COUJK NILHH NGOJd
% N^JFDHLOGCEW                                            ;     &' 4 *)-X6 6A.-T 4 >7- 279'
&          4B A/W ,44,2;                                  &         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
'      ?W   9N GO CSJK l#+ IGHHGCEd                       '  LENPJK  FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
(          A2W X30X36B; 9 LI VCGEV OC C_fJFO LVLGE        ( JE[CKFJIJEO ^KGSGHJVJW
) OULO OUGN FLHHN [CK N^JFDHLOGCEW 9 LI LHNC VCGEV OC     )         4B A/W ,44,2;
* ECOJ OULO OUJNJ gDJNOGCEN LKJ CDONGYJ OUJ NFC^J C[      *     ?W 9N OULO COUJK NGOJ L 8JKKCK 2FKJJEGEV
#+ OUJ ^KCOJFOGSJ CKYJK JEOJKJY _R OUJ FCDKOW 9 PGHH      #+ 1JEOJK C[[GFJd
## LHHCP OUJ PGOEJNN OC LENPJK OUGN gDJNOGCEW 4DO G[      ##        A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
#$ OUGN ^KCFJJYN OCC IDFU [DKOUJK> 9 ULSJ OC MM           #$ LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
#"         A/W ,44,2; 8UJNJ LKJ YGNNJIGELOGCE             #" HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD
#% gDJNOGCENW 8UJ NGhJ C[ OUJ FCEOKLFO _JLKN CE UCP       #% FLEW
#& ILER ^JC^HJ 283-23 ULN PCKcGEV MM 283-23W              #&        85. T980.22; BJNW
#'         A2W X30X36B; 3_fJFOGCE NOLEYNW BCD FLE         #'        4B A/W ,44,2;
#( LENPJK OC OUJ J\OJEO OULO RCD FLEW                     #( ?W TULO GN RCDK _JNO JNOGILOJ C[ UCP ILER
#)         85. T980.22; 9 _JHGJSJ GO GN HGcJHR ICKJ       #) FCEOKLFOCKN PCKc CDO C[ OUJ 821 5JLYgDLKOJKN GE
#* OULE l#+ IGHHGCEW 4JRCEY OULO> 9 PCDHY _J PGHYHR       #* ]GJEEL> ]GKVGEGL PUJOUJK OUJR PCKc DHOGILOJHR [CK
$+ N^JFDHLOGEVW                                           $+ 283-23 CK CEJ C[ OUJ ND_FCEOKLFOCKN C[ 283-23d
$#         4B A/W ,44,2;                                  $#        A2W X30X36B; 3_fJFOGCEW 1CI^CDEYW
$$ ?W ,KJ LHH OUJNJ 283-23 FCEOKLFOCKN HCFLOJY            $$ 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW
                                                  $&+                                                     $&$
# LO OUJ 8JKKCK 2FKJJEGEV 1JEOJKZN UJLYgDLKOJKN GE        #          85. T980.22; ,^^KC\GILOJHR "++W
$ ]GJEEL> ]GKVGEGLd                                       $          4B A/W ,44,2;
#      &' 012' [M1,9 )-1 6A76 =1 1+K8)9 C,)+              "      ?W 8UJKJZN "++ 283-23 FCEOKLFOCKN CK 283-23
; F@OGFO =)D8* =),T 76 @F5'                               % ND_FCEOKLFOCKN OULO PCKc LO OUJ 8JKKCK 2FKJJEGEV
&      ?W 5CP ILER FCEOKLFOCKN [KCI MM UCP ILER           & 1JEOJKd
' FCEOKLFOCKN [KCI 283-23 LKJ PCKcGEV LO OUJ 8JKKCK       J      &' #?? F@OGFO >)-6,7>6),2 ), F)61,7'
( 2FKJJEGEV 1JEOJKZN UJLYgDLKOJKN GE ]GJEEL> ]GKVGEGLd    (      ?W 2C RCD LKJ ECO NDKJ UCP ILER MM GN GO
)           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             ) L_CDO ULH[ LEY ULH[ _JOPJJE 283-23 LEY 2COJKLd
* N^JFDHLOGCEW                                            *          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#+          85. T980.22; 7GKNO> HJO IJ FHLKG[RW           #+ N^JFDHLOGCEW
## 8UJKJ GN CEJ COUJK MM OUJKJ GN MM OUJ FCEOKLFO FLHHN   ##         85. T980.22; BJLU> 9 FCDHYEZO OJHH RCDW
#$ [CK OUJI OC LHNC PCKc LO CEJ COUJK NGOJ _JRCEY OUJ     #$         4B A/W ,44,2;
#" 821 GE ]GJEELW 2C OUJKJ GN CEJ LYYGOGCELHW 4JRCEY      #" ?W 9 IJLE> GN GO MM HGcJ GN GO KJLHHR
#% OULO> 9 FLEZO OJHH RCD MM 9 YCEZO cECP J\LFOHR UCP     #% HC^NGYJY PUJKJ 283-23 ULN OUKJJ ^JC^HJ LEY 2COJKL
#& ILER C[ OUJ FCEOKLFOCKN PCKc [CK 283-23W 8UJR LHNC     #& ULN $*( ^JC^HJd 9N GO N^HGO NCIJPUJKJ YCPE MM 9
#' ULSJ LKKLEVJIJEON PGOU NCIJ ND_FCEOKLFOCKN OUKCDVU     #' IJLE> VGSJ IJ PULO RCDK NJENJ GNW
#( OULO LKKLEVJIJEO OULO 9 KJLHHR YCEZO cECP L HCO C[     #(         A2W X30X36B; 1LHHN [CK N^JFDHLOGCEW
#) ^LKOGFDHLKN L_CDOW 8UJR LHH PCKc LO OUJ 821W           #)         85. T980.22; AR NJENJ> PUGFU GN LE
#*          4B A/W ,44,2;                                 #* JNOGILOJ> GN GO GN ILR_J OPC OUGKYN 283-23 CK
$+ ?W 2C 821 FCEOKLFON PGOU 283-23> LEY OUJE              $+ ND_FCEOKLFOCKN LEY L_CDO CEJ OUGKY 2COJKLW 2COJKL
$# 283-23 FCEOKLFON PGOU COUJK ^JC^HJW ,EY OUJR LHH       $# ULEYHJN 98 YJSJHC^IJEOW 283-23 ULEYHJN ICNO COUJK
$$ LKJ GE ]GJEEL> ]GKVGEGL LO OUJ 8JKKCK 2FKJJEGEV        $$ OUGEVNW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14311
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 -& #()+ $% ()-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                   $&"                                                    $&&
#          4B A/W ,44,2;                                 # ECIGELOGCEN C[ @W2W ^JKNCEN OC OUJ 82=4d
$      ?W TULOZN MM PULO LKJ OUCNJ COUJK OUGEVN          $          A2W X30X36B; 3_fJFOGCEW
" OULO 283-23 ULEYHJNd                                   " AGNFULKLFOJKGhJN UGN ^KGCK OJNOGICERW 3_fJFOGCE LN
;      &' @A19 =),T 6)/16A1, =.6A 6A1 /)M1,-+1-6         % OC NFC^J C[ OUJ L^^KCSJY OC^GFN [CK OUGN YJ^CNGOGCEW
< 1+K8)9112 C), 788 6A1 6A.-/2 =1 A7M1 B11- 678T.-/      & BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW
J 7B)D6'                                                 '          85. T980.22; 9 OUGEc 9 fDNO LENPJKJYW 9
(      ?W 9N L 283-23 MM LKJ OUJKJ 283-23                ( YCEZO cECP OULO OULO KCHJ ULN LHPLRN _JJE OUJ FLNJW
) FCEOKLFOCKN OULO FLE LFFJ^O ECIGELOGCEN CE _JULH[ C[   ) 9 cECP PULO GO GN ECPW
* 821 OC OUJ 82=4d                                       *          A/W ,44,2; 9EYGLELW
#+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #+         4B A/W ,44,2;
## gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP   ##     ?W   TUC ILYJ OUJ KDHJ OULO 283-23 FCEOKLFOCKN
#$ JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW     #$ FLEECO LFFJ^O OUJ ECIGELOGCEN C[ @W2W ^JKNCEN OC OUJ
#"         85. T980.22; 0CO [CK @W2W ^JKNCENW            #" 82=4d
#%         4B A/W ,44,2;                                 #%         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#& ?W 2C PGOU KJVLKYN OC @W2W ^JKNCEN> OUJ CEHR          #& GE[CKILOGCE MM LN OULO gDJNOGCE FLHHN [CK
#' GEYGSGYDLHN PUC FLE LFFJ^O OUJ ECIGELOGCE C[ L @W2W   #' GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
#( ^JKNCE OC OUJ 82=4 LKJ 821 JI^HCRJJN> FCKKJFOd        #( ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
"N &' 012' 4 =)D8* 279 /)M1,-+1-6 1+K8)9112              #) FLEW
"% ^D26 6) 7** 6A76 YD78.C.>76.)-' F)+1 )C )D,           #*         85. T980.22; 9 ^KJNDIJ 821 ILELVJIJEOW
$? K1,2)--18 7>6D7889 =),T C), )6A1, /)M1,-+1-6          $+         4B A/W ,44,2;
$" 7/1->.12 6A76 7,1 *167.81* 6) 6A1 @F5'                $#     ?W   ,EY RCD YCEZO cECP PUJE 821 ILELVJIJEO
$$ ?W <CO GOW TULO JHNJ YCJN MM PULO JHNJ YC             $$ ILYJ OUJ YJFGNGCE OC [CK_GY 283-23 FCEOKLFOCKN [KCI
                                                   $&%                                                    $&'
# 283-23 FCEOKLFOCKN YCd 9 LI NCKKRW 6JO IJ LNc RCD      # LFFJ^OGEV @W2WM^JKNCE 82=4 ECIGELOGCENd
$ OUGNW TURd TUR GN GO OULO 283-23 FCEOKLFOCKN FLE       $     &' 46 +79 A7M1 78=792 B11- 6A1 >7213 2) 4
" LFFJ^O OUJ ECIGELOGCEN C[ ECEM@W2W ^JKNCEN OC OUJ      # *)-X6 T-)= 6A76 .6 =72 *1>.2.)-'
% 82=4> PUJKJLN @W2WM^JKNCE ECIGELOGCEN FLE CEHR _J      %          A/W ,44,2; 2DKJW 9EYGLELW
& LFFJ^OJY _R 7JYJKLH <CSJKEIJEO JI^HCRJJNd              &          4B A/W ,44,2;
'          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        '     ?W =C OUJ 283-23 MM 9 cECP MM NC KGVUO ECP
(  LENPJK  PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ   (  OCYLR> 283-23 FCEOKLFOCKN YC ECO ULSJ OUJ LDOUCKGOR
) HLP JE[CKFJIJEO ^KGSGHJVJW 4DO RCD FLE LENPJK G[       ) OC LFFJ^O 82=4 ECIGELOGCEN C[ @W2W ^JKNCEN> FCKKJFOd
* RCD FLEW                                               %     &' P)6 6A1 C.-78 7D6A),.69'
#+         85. T980.22; TJHH> 9 OUGEc GO PCDHY           #+ ?W 8UJR FLE ILcJ L KJFCIIJEYLOGCE L_CDO
## KJgDGKJ IJ OC YKLP L HJVLH FCEFHDNGCEW                ## PUJOUJK L ECIGELOGCE C[ L @W2W ^JKNCE OC OUJ 82=4
#$         4B A/W ,44,2;                                 #$ NUCDHY _J LFFJ^OJYd
#" ?W 5LN OULO LHPLRN _JJE MM ULN GO LHPLRN              "# &' [CC1>6.M1893 912'
#% _JJE OUJ FLNJ OULO 283-23 FCEOKLFOCKN FLEECO LFFJ^O   #% ?W 5LN MM PULO YCJN 2COJKL YC [CK OUJ 8JKKCK
#& OUJ ECIGELOGCEN C[ @W2W ^JKNCEN OC OUJ 82=4d          #& 2FKJJEGEV 1JEOJKd
#'         A2W X30X36B; 3_fJFOGCE LN OC NFC^JW           #'         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#(         85. T980.22; 9 YCEZO cECP G[ MM 9 YCEZO       #(         4B A/W ,44,2;
#) cECP G[ GO ULN LHPLRN MM G[ GO EJSJK FULEVJY LHCEV    #) ?W TJHH> UCHY CEW 6JO IJ PGOUYKLP OULO
#* OUJ PLRW                                              #* gDJNOGCEW 2COJKL GN L @W2W FCI^LER OULO FCEOKLFON
$+         4B A/W ,44,2;                                 $+ PGOU OUJ 8JKKCK 2FKJJEGEV 1JEOJK> FCKKJFOd
$# ?W 9N GO 821ZN OJNOGICER OCYLR OULO 283-23            $" &' 012'
$$ FCEOKLFOCKN ULSJ EJSJK _JJE L_HJ OC LFFJ^O OUJ        $$ ?W 8UJKJ GN LE LVKJJIJEO _JOPJJE 2COJKL LEY
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14312
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  -) #(). $% (-/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $&(                                                      $&*
# OUJ 8JKKCK 2FKJJEGEV 1JEOJK OULO VCSJKEN OUJ            # HCCc LO OUCNJ FCEOKLFONW 9 FLEZO OJHH RCD G[ UJ ULY
$ NJKSGFJN OULO 2COJKL ^KCSGYJ 821> FCKKJFOd              $ NCIJ KCHJ GE NCIJ [GELH KJSGJP C[ OULOW ,HNC> PUC
#     &' 0123 6A1 >)-6,7>6'                               " PCDHY ULSJ _JJE GESCHSJY PCDHY ULSJ _JJE CDK MM
%     ?W TUJE YGY 2COJKL LEY 821 JEOJK GEOC L             % PCDHY ULSJ _JJE OUJ 749ZN 98 MM 98 _KLEFU [KCI L
& FCEOKLFOd                                               & OJFUEGFLH ^JKN^JFOGSJW 2C GO GN ECO JEOGKJHR 821W
'         A2W X30X36B; 3_fJFOGCEW 2FC^JW BCD FLE          '          4B A/W ,44,2;
( LENPJK G[ RCD cECPW                                     (      ?W TUC MM NC HJOZN _LFc D^ OC 283-23W =GY
)         85. T980.22; ACNO KJFJEOHR GO PLN               ) 821 YJFGYJ OC UGKJ 283-23d
* NCIJOGIJ HLNO RJLKW ,EY 9 _JHGJSJ OUJR PJKJ OUJ         *          A2W X30X36B; 3_fJFOGCEW 2FC^JW BCD FLE
#+ GEFDI_JEOW 2C GO PLN LPLKYJY OC OUJI L[OJK L           #+ LENPJK G[ RCD cECPW
## FCI^JOGOGCEW 2C OUJR ULY MM OUJR ULY L ^KJSGCDN        ##         A/W ,44,2; 8UJNJ LKJ LHH YGNNJIGELOGCE
#$ FCEOKLFOW ,EY 9 LI ECO NDKJ _J[CKJ OULO FCEOKLFOW      #$ gDJNOGCENd
#"        4B A/W ,44,2;                                   #"         A2W X30X36B; ,EY OUJ C_fJFOGCE NOLEYNW
#% ?W TUJE PLN OUJ MM NC LN [LK LN RCD cECP>              #% 5J FLE LENPJK G[ UJ cECPNW
#& UCP HCEV ULN 2COJKL LEY 821 _JJE GE L FCEOKLFO         #&         85. T980.22; 9 LI ECO LE J\^JKO CE
#' OCVJOUJKd                                              #' ^KCFDKJIJEOW    9O PCDHY ULSJ VCEJ OUKCDVU> 9 OUGEc>
"U &' 4 =)D8* A7M1 6) 279 76 81726 8.T189 2.L             #( OUJ YJ^LKOIJEOLHW 2C [CK =J^LKOIJEO C[ QDNOGFJ> GO
"N 917,2' 46 =72 K,)B7B89 7 C.M1I917, K1,.)* )C           #) PCDHY ULSJ VCEJ OUKCDVU =J^LKOIJEO C[ QDNOGFJ
"% K1,C),+7->1 B1C),1' &-* .6 =72 ,1I>)+K161* 8726        #* ^KCFDKJIJEO LEY OUJE DHOGILOJHR OUJ 749 ^KCFDKJIJEO
$? 917, 78+)26 1L7>689 7 917,3 +79B1 7 8.6681 B.6 +),1'   $+ ^KCFJNNW 4JRCEY OULO> 9 LI ECO L_HJ OC OJHH RCDW 9
$# ?W TULO COUJK FCI^LEGJN FCI^JOJY [CK OUJ               $# YGYEZO ^LKOGFG^LOJ GE GOW
$$ FCEOKLFO OULO 2COJKL FCI^JOJY [CKd                     $$         A/W ,44,2; 9EYGLELW
                                                  $&)                                                      $'+
#         A2W X30X36B; 3_fJFOGCEW 2FC^JW BCD FLE          #         4B A/W ,44,2;
$  LENPJK  G[ RCD cECPW                                   $     ?W TUC YJFGYJY OULO 821 PLN PCKOU L FCEOKLFO
"         85. T980.22; 9 YCEZO KJIJI_JKW 9 PLNEZO         " PGOU 2COJKLd
% CE OUJ NJHJFOGCEW                                       %         A2W X30X36B; ,VLGE> C_fJFOGCE LN OC OUGN
&         4B A/W ,44,2;                                   & _JGEV CDONGYJ C[ OUJ NFC^J C[ OUJ YJNGVELOJY OC^GFNW
'      ?W TUC PLN CE OUJ 2JHJFOGCE 1CIIGOOJJd             ' BCD FLE LENPJK G[ RCD cECPW
(         A2W X30X36B; 3_fJFOGCEW 2FC^JW                  (         85. T980.22; 9O PCDHY DHOGILOJHR _J
) 3_fJFOGCEW -KGSLFR ,FOW                                 ) LPLKYJY _R OUJ FCEOKLFOGEV C[[GFJK [CK OULO
*         85. T980.22; 9 YCEZO KJFLHHW                    * ^LKOGFDHLK FCEOKLFOW
#+        4B A/W ,44,2;                                   #+        4B A/W ,44,2;
## ?W BJLUW ,EY 9 YCEZO PLEO ELIJNW 9 KJLHHR              ## ?W TUC GN OUJ FCEOKLFOGEV C[[GFJK [CK OUJ
#$ YCEZOW TLN OUJ MM PUC GN OUJ UJLY C[ OUJ 8JKKCK        #$ 2COJKL FCEOKLFOd
#" 2FKJJEGEV 1JEOJKd                                      #"        A2W X30X36B; 3_fJFOGCEW -KGSLFR ,FOW
"; &' 5A7,812 Z7B81'                                      #%        4B A/W ,44,2;
#& ?W TLN 1ULKHJN XL_HJ GESCHSJY PGOU YJFGYGEV            #&    ?W    9 LI ECO LNcGEV [CK L ELIJW QDNO HGcJ MM
#' PUGFU FCI^LER PLN VCGEV OC ^KCSGYJ OUJ NJKSGFJN OULO   #' 9ZI NCKKRW TULO LVJEFR PLN MM GN OUJ FCEOKLFOGEV
#( 2COJKL DHOGILOJHR ^KCSGYJY OC 821d                     #( C[[GFJK [CK OUJ 2COJKL LVKJJIJEO JI^HCRJY _Rd
#)        A2W X30X36B; 9 LI VCGEV OC C_fJFOW 8UGN         #)        A2W X30X36B; 3_fJFOGCEW 2FC^JW 8UGN GN
#* gDJNOGCE GN CDONGYJ C[ OUJ NFC^J C[ OUJ LVKJJYMD^CE    #* ECO PGOUGE OUJ YJNGVELOJY OC^GFN [CK OUGN
$+ OC^GFNW BCD FLE LENPJK G[ RCD cECPW                    $+ YJ^CNGOGCEW BCD FLE LENPJK G[ RCD UL^^JE OC cECPW
$#        85. T980.22; 9 YCEZO _JHGJSJ UJ PLN CE          $#        85. T980.22; 9 _JHGJSJ OUJ 749W
$$ OUJ 8JFUEGFLH  /JSGJP 1CIIGOOJJW 8UJ [CHcN LFODLHHR    $$        4B A/W ,44,2;
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    -- #(-" $% (-&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    $'#                                                       $'"
#       ?W ,EY OUJ FCEOKLFOGEV C[[GFJK> OULOZN PULO        "      &' &KK,)L.+76189 $?? 6)678 .-*.M.*D782
$ RCD FLHHJY UGI CK UJKd                                   $ )D62.*1 )C >)-6,7>6),2'
#       &' 46 .2 7 61,+ )C 7,6' 46 .2 7 *12./-761*         "      ?W ,EY COUJK LVJEFGJN LNNGVE OUJGK JI^HCRJJN
; K)2.6.)-3 912'                                           % OC OUJ 8JKKCK 2FKJJEGEV 1JEOJK HGcJ CE YJOLGHW 9N
&       ?W ,EY HGcJHR YCJN OUJ OJKI C[ LKO IJLE OULO       & OULO PULO OUJ HLEVDLVJ GNd
' OULOZN OUJ ^JKNCE PUC ULN OUJ cGEY C[ [GELH              J      &' Q7., 1-)D/A3 912'
( LDOUCKGOR OC JEOJK OUJ LVJEFR GEOC OUJ FCEOKLFOd         (          A2W X30X36B; 3_fJFOGCEW ]LVDJW
N       &' 4 B18.1M1 6A76X2 /1-1,7889 6A1 >721'            )          85. T980.22; ,EY 9 GEFHDYJY OULO GE OUJ
*       ?W ,EY NC PGOU KJVLKYN OC OUJ 2COJKL               * $++W
#+ FCEOKLFON> OUJKJ PLN LE 749 FCEOKLFOGEV C[[GFJK OULO    #+         4B A/W ,44,2;
## ULY OUJ LDOUCKGOR OC JEOJK 821 GEOC OULO FCEOKLFOd      ##     ?W   3U> CcLR> CcLRW ,EY 9 fDNO PLEO OC MM 9
#$          A2W X30X36B; 3_fJFOGCE LN OC NFC^JW BCD        #$ LI CEHR OLHcGEV L_CDO OUJ ^JC^HJ OULO MM PUJE L
#" FLE LENPJK G[ RCD UL^^JE OC cECPW                       #" 8JKKCK 2FKJJEGEV 1JEOJK JI^HCRJJ VJON L FUJFc> HGcJ
#%          85. T980.22; 9 _JHGJSJ OULOZN UCP GO           #% OUJGK ^LRFUJFc> YCJN GO NLR OUJ 8JKKCK 2FKJJEGEV
#& PCKcNW                                                  #& 1JEOJKd =CJN GO NLR 1ULKHJN XL_HJ CE GOd
#'          4B A/W ,44,2;                                  "J &' P)' P)B)*9 .2 K7.* B9 6A1 @1,,),
#( ?W TGOU KJVLKY OC OUJ 283-23 FCEOKLFO> PLN              "U F>,11-.-/ 51-61,'
#) GO LHNC LE 749 FCEOKLFOGEV C[[GFJK PUC JEOJKJY 821      #) ?W TUC ^LRN 8JKKCK 2FKJJEGEV 1JEOJK
#* GEOC OUJ FCEOKLFO PGOU 283-23d                          #* JI^HCRJJNd
$+          A2W X30X36B; 3_fJFOGCE LN OC NFC^JW BCD        $+         A2W X30X36B; 3_fJFOGCEW 3DONGYJ C[
$# FLE   LENPJK G[ RCD cECPW                               $# NFC^JW   BCD FLE LENPJK G[ RCD UL^^JE OC cECPW
$$          85. T980.22; 8ULO PCDHY _J OUJ ECKILH          $$         85. T980.22; 9[ MM PJHH> OUJGK UCIJ
                                                    $'$                                                       $'%
# FCDKNJ C[ OUGEVNW 9 ULSJ EC KJLNCE OC _JHGJSJ OULO       # LVJEFR GEYGFLOJNW 9[ OUJR LKJ LE 749 JI^HCRJJ> OUJ
$ PCDHYEZO ULSJ PULO UL^^JEJYW                             $ 749W 9[ OUJR PJKJ L =52 JI^HCRJJ> GO PCDHY FCIJ
"           4B A/W ,44,2;                                  " [KCI PULOJSJK =52 FCI^CEJEO OULO OUJR PCKcJY [CKW
%      ?W TUR GN OUJ 749 YJFGYGEV PUC 821 FCEOKLFON        %          4B A/W ,44,2;
& PGOUd                                                    &      ?W /GVUOW 4DO 1ULKHJN XL_HJ GN ECO CE
'           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              ' LNNGVEIJEOW BCD LKJ ECO CE LNNGVEIJEOd
(  N^JFDHLOGCEW  3_fJFOGCE LN OC OUGN _JGEV CDONGYJ C[     U      &' SAIADA'
) OUJ NFC^J C[ OUJ YJNGVELOJY OC^GFN [CK OUGN              )      ?W BCD cECP> RCD LKJ L 8JKKCK 2FKJJEGEV
* YJ^CNGOGCEW 3_fJFOGCEW 1LHHN [CK L HJVLH                 * 1JEOJK JI^HCRJJ> FCKKJFOd
#+ FCEFHDNGCEW BCD FLE LENPJK G[ RCD cECPW                 "? &' \9 >A1>T 2792 QR4'
##          85. T980.22; 8UJ 821 GN LYIGEGNOJKJY _R        ## ?W 2C [CK 8JKKCK 2FKJJEGEV 1JEOJK JI^HCRJJN>
#$ OUJ  749W  ,EY OUJ 821 GN ECO HLKVJ JECDVU OC ^KCSGYJ   #$ OUJGK FUJFcN NLR 749d
#" LHH C[ OUCNJ YG[[JKJEO NJKSGFJNW                        "# &' 012'
#%          4B A/W ,44,2;                                  #% ?W 1ULKHJN XL_HJZN FUJFc NLRNd
#& ?W 5CP ILER JI^HCRJJN YCJN 821 ULSJd                    "< &' V)D8* 279 QR4'
"J &' H) 9)D +17- /)M1,-+1-63 >)-6,7>63 B)6A_              #' ?W TCDHY NLR 749W 8UJ ^JKNCEN LO OUJ 8JKKCK
#( ?W 2C RCD NLGY OULO OUJKJ GN L_CDO "++                  #( 2FKJJEGEV 1JEOJK OULO LFFJ^O ECIGELOGCEN C[ @W2W
#) FCEOKLFOCKN OULO ^KCSGYJ NJKSGFJN OC OUJ 8JKKCK         #) ^JKNCEN OC OUJ 82=4> YC OUJGK FUJFcN LN PJHH NLR 749
#* 2FKJJEGEV 1JEOJK> FCKKJFOd                              #* CE OUJId
$? &' 012'                                                 $? &' 4C 6A19 7,1 QR4 1+K8)9112'
$# ?W 2C HJOZN ^DO OUJI OC OUJ NGYJW 5CP ILER              $# ?W 2C OUJKJ LKJ NCIJ ^JKNCEN PUC LFFJ^O
$$ GEYGSGYDLHN YCJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK JI^HCRd    $$ ECIGELOGCEN C[ @W2W MM 9 LI VCGEV OC NOLKO LVLGEW 9
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14314
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  -. #(-) $% (-*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    $'&                                                     $'(
# LI ECO VCGEV OCW 9 LI LFODLHHR VCGEV OC FULEVJ          #          A2W X30X36B; ,EY HJO fDNO ^DO LE
$ YGKJFOGCENW =C 283-23 FCEOKLFOCKN ULSJ LFFJNN OC        $ C_fJFOGCE OULO OULOZN SLVDJ LEY FLHHN [CK
" 82=4 GE[CKILOGCE OULO KJVLKYN @W2W ^JKNCEN GE OUJ       " N^JFDHLOGCEW 9O GN ECO PGOUGE OUJ NFC^J C[ OUJ
% 82=4d                                                   % OC^GFN UJKJW BCD FLE LENPJK OC OUJ J\OJEO RCD [JJH
&          A2W X30X36B; 3_fJFOGCEW ]LVDJW                 & RCD FLEW
'  3_fJFOGCE   GENC[LK LN OUJ LENPJK PCDHY FLHH [CK       '          85. T980.22; 9E OUJ [GKNO GENOLEFJ> 9
( GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO            ( OUGEc NCIJCEJ OULO GN GESCHSJY GE OJKKCKGNI PUC GN
) ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW                   ) OKRGEV OC [DKOUJK PULOJSJK OUJGK DHOGILOJ LGI GN
*          85. T980.22; BJNW                              * PCDHY _J YGNUJLKOJEJY OC cECP OULO OUJGK MM OULO
#+         4B A/W ,44,2;                                  #+ OUJR ULY _JJE YJOJFOJY LEY OULO OUJR IGVUO EJJY MM
## ?W =C 2COJKL JI^HCRJJN M YC 2COJKL                     ## RCD cECP> OULO OUJGK GEOJEOGCEN IGVUO _J OUPLKOJY _R
#$ FCEOKLFOCKN ULSJ LFFJNN OC 82=4 GE[CKILOGCE            #$ SGKODJ C[ OUJ LYYGOGCELH NFKDOGER OULO OUJR ILR
#" KJVLKYGEV @W2W ^JKNCEN CE OUJ 82=4 OUJKJd              #" KJFJGSJW
#%         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 #%         4B A/W ,44,2;
#& 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK              #& ?W ,KJ OUJKJ LER COUJK KJLNCEN PUR 821
#' GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #' _JHGJSJN L ^JKNCE CE OUJ 82=4 PCDHY ECO HGcJ _JGEV
#( ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW                  #( GE OUJ 82=4d
#)         85. T980.22; 2CIJ PCDHY> RJNW                  #)         A2W X30X36B; 3_fJFOGCEW ]LVDJW 1LHHN
#*         4B A/W ,44,2;                                  #* [CK N^JFDHLOGCEW 3DONGYJ OUJ NFC^JW BCD FLE
$+ ?W =CJN 821 ULSJ L SGJP LN OC PUJOUJK 82=4             $+ LENPJKW
$# HGNOJJN HGcJ _JGEV GE OUJ 8JKKCK 2FKJJEGEV 1JEOJK      $#         85. T980.22; TJHH> GO GN ULKY [CK IJ OC
$$ YLOL_LNJd                                              $$ cECP PULO GN GE COUJK ^JC^HJZN IGEYN LN OC PULO OUJ
                                                    $''                                                     $')
#           A2W X30X36B; 3_fJFOGCEW ]LVDJW                # ^COJEOGLH FCENJgDJEFJN C[ PULO OUJR _JHGJSJ IGVUO CK
$  3_fJFOGCEW    1LHHN [CK N^JFDHLOGCEW                   $ IGVUO ECO UL^^JE _R SGKODJ C[ _JGEV PLOFU HGNOJYW
"           85. T980.22; 9 LHICNO YCEZO cECP UCP OC       " 8UJR IGVUO _JHGJSJ OULO GO ND_fJFON OUJI OC LHH
% LENPJK OULOW =C OUJR HGcJ _JGEV GE OUJ 82=4d 3EJ>       % cGEYN C[ ^COJEOGLH NDKSJGHHLEFJW 8UJR IGVUO _JHGJSJ
& 9 YCEZO MM G[ OUJR cECPW                                & OULO> RCD cECP> OUJR FCDHY LFODLHHR _J [CHHCPJY>
'           4B A/W ,44,2;                                 ' IGVUO _J LKKJNOJYW QDNO LER EDI_JK C[ MM _CR> OUJ
(      ?W    2DKJW                                        ( UR^COUJOGFLHN LKJ JEYHJNN C[ PULO ^JC^HJ IGVUO
N      &' @A1-3 2D,13 4 >)D8* 2K1>D8761 6A76 K1)K81       ) _JHGJSJ [KCI OULOW
% +./A6 -)6 8.T1 6A76 .*17'                               *           4B A/W ,44,2;
#+ ?W TURd TUR YCJN 821 _JHGJSJ OULO ^JKNCEN              #+ ?W 9N MM OUJ GEFHDNGCE NOLEYLKY [CK OUJ 82=4
## GE OUJ 82=4 PCDHY ECO HGcJ _JGEV GE OUJ 82=4d          ## GN OULO OUJKJ GN KJLNCEL_HJ NDN^GFGCE OULO RCD LKJ L
#$          A2W X30X36B; 3_fJFOGCEW ]LVDJW                #$ cECPE CK NDN^JFOJY OJKKCKGNOi GN OULO FCKKJFOd
#" 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW                      #"          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#%          85. T980.22; 9 FLE OUGEc C[ L SLKGJOR C[      #% 3_fJFOGCE GENC[LK LN L FCI^HJOJ LENPJK PCDHY FLHH
#& YG[[JKJEO KJLNCEN OULO ^JC^HJ MM                       #& [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
#'          4B A/W ,44,2;                                 #' ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW
#(     ?W    9 PCDHY HGcJ LHH C[ OUJ KJLNCENW 9 PCDHY     #(          85. T980.22; 8UJ NOLEYLKY OC _J L cECPE
#) HGcJ LHH C[ OUJ SLKGJOR C[ KJLNCEN RCD FLE OUGEc C[d   #) CK NDN^JFOJY OJKKCKGNO GN KJLNCEL_HJ NDN^GFGCE>
"% &' OT79' @A1- A)= +D>A 6.+1 A7M1 =1 /)6                #* PUGFU PCDHY GEFHDYJ _JGEV CE OUJ 82=4W
$? 81C6_                                                  $+          4B A/W ,44,2;
$# ?W TJ PGHH N^JEY $+ IGEDOJNW                           $# ?W 9N OULO L MM GN OULO L ^CNGOGSJ
$$ &' F) 4 =)D8* 279 II                                   $$ YJNFKG^OGCE C[ L ^JKNCE OULO OUJR LKJ KJLNCEL_HR
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14315
                         8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                     -* #(-, $% (.('

                                        1CEYDFOJY CE ALKFU #> $+#)
                                                      $'*                                                       $(#
# NDN^JFOJY C[ _JGEV L cECPE CK NDN^JFOJY [CK                # OUJ 82=4W 2C PJ DEYJKNOLEY NJHJFOJJ> KGVUOd 4DO>
$ OJKKCKGNOd                                                 $ RCD cECP> ^JC^HJ _JHGJSJ OUJ FCENJgDJEFJN C[ OULO
"         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK                  " LKJW 0C [HR PULO OUJR _JHGJSJ OUJ FCENJgDJEFJN C[
% N^JFDHLOGCEW                                               % OULO LKJW 8UCNJ LKJ ND_FCI^CEJEON C[ OUJ 82=4W 4DO
&         85. T980.22; 9 OUGEc GO HJLSJN C^JE OUJ            & RCDK gDJNOGCE PLN [CK _JGEV ^LKO C[ 82=4 GE VJEJKLHW
' ^CNNG_GHGOR OULO OUJ GE[CKILOGCE MM 9 OLcJ GO> GOZN        ' ,EY NC 9 PCDHY NLR OULO OUJKJ LKJ EC LDOCILOGF
( J\LFOHR PULO GO IJLENW 9O IJLEN OUJ ^JKNCE GN              ( FCENJgDJEFJN [CK _JGEV ^LKO C[ OUJ 82=4 GE VJEJKLHW
) NDN^JFOJYW 9O GN FJKOLGEHR ECO ^KCC[ _JRCEY L              )           4B A/W ,44,2;
* KJLNCEL_HJ YCD_OW 9O GN ECO FCEFHDNGSJW                    *      ?W =CJN 821 ULSJ GE[CKILOGCE L_CDO UCP
#+        4B A/W ,44,2;                                      #+ JEOGOGJN OULO KJFJGSJ 82=4 GE[CKILOGCE DOGHGhJ OUJ
##    ?W    4DO RCD YGNNJIGELOJ GO OC '+ [CKJGVE             ## YGNNJIGELOJY 82=4 GE[CKILOGCE OC OUJ YJOKGIJEO C[
#$ ^LKOEJKN LEY ICKJ OULE #++>+++ ^JC^HJ GENGYJ OUJ          #$ 82=4 HGNOJJNd
#" @EGOJY 2OLOJNd                                            #"          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#%        A2W X30X36B; 3_fJFOGCEW ,KVDIJEOLOGSJW             #% 3_fJFOGCE GENC[LK LN OULO gDJNOGCE FLHHN [CK
#&        A/W ,44,2; 8ULOZN [LGKW 9 PGOUYKLP OUJ             #& GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[ COUJK LVJEFGJN CK
#' gDJNOGCEW                                                 #' PCDHY OUJE MM OULO PCDHY _J ^KCOJFOJY _R OUJ HLP
#(        4B A/W ,44,2;                                      #( JE[CKFJIJEO ^KGSGHJVJ CK 229W BCD FLE LENPJK OC OUJ
#) ?W 9YJEOG[R LHH OUJ FCENJgDJEFJN OULO 821 GN              #) J\OJEO OULO RCD FLEW
#* LPLKJ C[ OULO LKJ J\^JKGJEFJY _R 82=4 HGNOJJNd            #*          85. T980.22; TJHH> 9 OUGEc GO FCIJN YCPE
$+        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK                  $+ OC PULO RCD IJLE _R YJOKGIJEOW 9[ RCD LKJ L
$# N^JFDHLOGCEW  3_fJFOGCE GENC[LK LN OUJ LENPJK             $# OJKKCKGNO> OUJKJ LKJ L HCO C[ YJOKGIJEON OC
$$ GI^HGFLOJN GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO       $$ GEOJHHGVJEFJ _JGEV FCHHJFOJY LEY KJ^CKOJY _LFc OC
                                                      $(+                                                       $($
# ^KGSGHJVJ CK 229 CK LER GE[CKILOGCE PGOUGE OUJ             # GESJNOGVLOGSJ LVJEFGJN LEY GEOJHHGVJEFJ LVJEFGJNW 9
$ ^DKSGJP C[ LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ           $ OUGEc GE MM [CK ILER GEYGSGYDLHN> OUJR LKJ HGcJHR
" J\OJEO OULO RCD FLEW                                       " DELPLKJ C[ LER 82=4 NOLODNW
%          85. T980.22; 8UJ FCENJgDJEFJN C[ _JGEV            %          4B A/W ,44,2;
& GE 82=4> 9 YCEZO cECP OULO LER C[ OUJI LKJ                 &      ?W 9N 821 LPLKJ C[ LER FCENJgDJEFJN OC
' LDOCILOGFW TJ ^LNN GO YCPENOKJLI OC OUJ ^LKOEJKN>          ' HGNOJJN PUJE OUJGK NOLODN LN 82=4 HGNOJJN GN
( LEY OUJE OUJR ILcJ OULO YJFGNGCE OUJKJL[OJKW 2C 9          ( YGNNJIGELOJY OC COUJK JEOGOGJNd
) FLEZO NLR OULO LN L FCENJgDJEFJ C[ _JGEV GE 82=4           )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
* OUJKJ GN EJFJNNLKGHR LER FCENJgDJEFJ COUJK OULE            * 3_fJFOGCE GENC[LK LN OULO FLHHN [CK GE[CKILOGCE
#+ KJ^CKOGEVW ,EY GE ILER FLNJN> GEYGSGYDLHN HGNOJY GE       #+ PGOUGE OUJ ^DKSGJP C[ COUJK JEOGOGJN LEYjCK GENC[LK
## 82=4 PCDHY _J DELPLKJ C[ OULOW                            ## LN OUJ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ
#$         4B A/W ,44,2;                                     #$ HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ
#" ?W 9 IJLE> RCD cECP> OUJ NFKJJEGEV LVJEFGJN               #" J\OJEO RCD FLEW ,EY G[ 9 YGYEZO NLR SLVDJ> 9 PLEO
#% FHJLKHR GI^CNJ NCIJ OR^J C[ FCENJgDJEFJ CE ^JKNCEN        #% OC ILcJ NDKJ 9 VCO OULOW
#& GE OUJ 82=4W ,EY 821 ULN LPLKJEJNN C[ UCP NCIJ            #&         85. T980.22; 1JKOLGEHR PJ LKJ LPLKJ OULO
#' LVJEFGJN DOGHGhJ 82=4 GE[CKILOGCE> FCKKJFOd               #' 82,> [CK GENOLEFJ> ND_fJFON ^JC^HJ OC LYYGOGCELH
#(         A2W X30X36B; 3_fJFOGCEW                           #( NFKJJEGEV [CK L SLKGJOR C[ KJLNCEN> CEJ C[ PUGFU
#)         85. T980.22; 2DKJW 4DO [CK MM                     #) IGVUO _J OULO OUJR LKJ HGNOJY CE OUJ NJHJFOJJ HGNOW
#*         A2W X30X36B; ,KVDIJEOLOGSJ> ECO L                 #* ,EY _CLKYGEV GN YJEGJY LN L FCENJgDJEFJ NCIJOGIJN
$+ gDJNOGCEW BCD FLE LENPJK G[ RCD FLEW                      $+ PUJE GO UL^^JEN LN L FCENJgDJEFJ C[ _JGEV CE OUJ
$#         85. T980.22; 4DO [CK YG[[JKJEO                    $# 0CM7HR 6GNOW 2C PGOU KJN^JFO OC OUCNJ OPC
$$ FCI^CEJEONW     4DO RCD LKJ NLRGEV fDNO _JGEV HGNOJY GE   $$ FCI^CEJEON> RJN> FHJLKHR 2OLOJ =J^LKOIJEO 1DNOCIN
                                             -6,0.8 =.-32
                                )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14316
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   -, #(.+ $% (.-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $("                                                       $(&
# LEY 4CKYJK -KCOJFOGCE LN OUJR LKJ YCGEV OUJGK _CKYJK    #          85. T980.22; 9O GN GYJEOG[RGEV
$ LDOUCKGOGJN PCDHY C_SGCDNHR DNJ OUJ [LFO OULO           $ GE[CKILOGCE MM _GCVKL^UGF LEY _GCIJOKGF GE[CKILOGCEW
" NCIJ_CYR GN HGNOJY GE 82=4 OC ILcJ [DKOUJK GEgDGKRW     "          4B A/W ,44,2;
% ,EY OUJR IGVUO ILcJ L YJFGNGCE _LNJY CE OULO> OULOZN    %      ?W ,EY GO YCJN ECO FCEOLGE LER C[ OUJ
& OKGVVJKJY KJLHHR _R OUJ ^CGEOJK OULO NCIJ_CYR GN        & YJKCVLOCKR GE[CKILOGCE OULO 821 KJHGJY D^CE OC
' GEFHDYJY GE 82=4W                                       ' LFFJ^O OUJ ECIGELOGCE OC OUJ 82=4> FCKKJFOd
(     ?W -CGEOJKW TULO YC RCD IJLE ^CGEOJKd               U      &' 5),,1>6'
N     &' @A76 +1,1 K,121->1 .- 6A1 @FHR .2 -)6            )      ?W 2C PUJE 14- MM YCJN 14- MM NC L NJFDKJ
% /).-/ 6) II 6A19 =.88 +7T1 6A1., )=- *161,+.-76.)-      * [HGVUO GN 82,ZN PLR C[ ILOFUGEV 82=4 GE[CKILOGCE OC
"? B721* )- .-C),+76.)-' @FHR =.88 A18K 6A1+ C.-*         #+ ^LNNJEVJK GE[CKILOGCE> FCKKJFOd
"" .-C),+76.)-' RD6 +1,1 K,121->1 .- 6A1 @FHR *)12 -)6    ##         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
"$ A7M1 7D6)+76.> >)-21YD1->12 )D62.*1 )C 6A1 7M.76.)-    #$ FLHHN [CK GE[CKILOGCE [KCI OUJ ^DKSGJP C[ 82,W BCD
"# 21>D,.69 >)-61L6 C), 7-9)-1 =.6A 7 K)22.B81            #" FLE LENPJK OC OUJ J\OJEO RCD DEYJKNOLEYW
"; 1L>1K6.)- )C .C 6A19 A7M1 7- 7>6.M1 =7,,7-6'           #%         85. T980.22; 9 YCEZO _JHGJSJ 9 FLE
#& ?W =CJN MM YCJN 821 _JHGJSJ OULO @2192> [CK            #& LENPJK OULO CEJW
#' GENOLEFJ> LYfDYGFLOJN GIIGVKLOGCE L^^HGFLOGCEN         #'         A2W X30X36B; 3cLRW
#( YG[[JKJEOHR PGOU KJVLKYN OC 82=4 HGNOJJN OULE GO       #(         4B A/W ,44,2;
#) YCJN PGOU ^JKNCEN PUC LKJ ECO 82=4 HGNOJJNd            #) ?W =CJN 821 DEYJKNOLEY MM GN GO 821ZN
#*        A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO          #* DEYJKNOLEYGEV OULO 14- DOGHGhJN 82=4 GE[CKILOGCE OC
$+ LENPJK FLHHN [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[     $+ NFKJJE ^JKNCEN OULO FKCNN @W2W _CKYJKNd
$# 192W BCD FLE LENPJK OC OUJ J\OJEO OULO RCD cECPW       $#         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$$ 4DO RCDK LENPJK YCJN ECO _GEY LER COUJK LVJEFRW        $$ gDJNOGCE FLHHN [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[
                                                   $(%                                                       $('
# ,EY> LHNC> GENC[LK LN GO PCDHY FLHH [CK LER HLP         # 82,W BCD FLE LENPJK LN OC RCDK DEYJKNOLEYGEVW 8UJ
$ JE[CKFJIJEOM^KCOJFOJY GE[CKILOGCE> RCD FLE LENPJK OC    $ LENPJK GNEZO _GEYGEVW
" OUJ J\OJEO RCD FLEW                                     "          85. T980.22; BJN> 9 _JHGJSJ OULO 14-
%            85. T980.22; 7DEYLIJEOLHHR OUJ LENPJK GN     % DNJN 82=4 GE[CKILOGCE LICEVNO HCON C[ COUJK
& ECW 4DO 9 PCDHY VC _LFc OC CDK J[[CKO OC ^KCSGYJ        & GE[CKILOGCE LN OUJR YC _CKYJK NFKJJEGEVW
' OULO FCIICE C^JKLOGEV ^GFODKJ OC ILcJ GO JLNGJK [CK     '          4B A/W ,44,2;
( OUJI OC YGNFCSJK GE[CKILOGCE OULO OUJR EJJY OC ULSJ     (      ?W    9 LI NCKKRW =CJN 14- ULSJ LER LFFJNN OC
) GE CKYJK OC ILcJ OUJGK MM OC ILcJ OUJGK YJFGNGCEN       ) OUJ YJKCVLOCKR GE[CKILOGCE OULO PLN MM OULO 821
* ^JK OUJGK LDOUCKGOGJNW 9 fDNO PLEO OC FHLKG[RW          * KJHGJY D^CE OC LFFJ^O L ECIGELOGCE OC OUJ 82=4d
#+ =JKCVLOCKR GE[CKILOGCE GNEZO FCEOLGEJY GE 82=4W        #+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
##           4B A/W ,44,2;                                ## LENPJK FLHHN [CK GE[CKILOGCE PGOUGE ^KCOJFOGCEN C[
#$ ?W /GVUOW BJLU> OULOZN IR EJ\O gDJNOGCEW               #$ OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY OC OUJ J\OJEO GO
#" 2C PUJE 821 YGNNJIGELOJN 82=4 GE[CKILOGCE OC 14-> GO   #" FLHHN [CK GE[CKILOGCE PGOUGE LECOUJK LVJEFRZN
#% GN HGOJKLHHR MM GO GN fDNO L HGNO C[ ELIJN> FCKKJFOd   #% ^DKSGJPW BCD FLE LENPJK OC OUJ J\OJEO RCD FLEW
#&           A2W X30X36B; 3_fJFOGCEW                      #&         85. T980.22; 9 _JHGJSJ OUJR ULSJ LFFJNN
#'           4B A/W ,44,2;                                #' OC OUJ YJKCVLOCKR GE[CKILOGCEW
#( ?W 9 LI NCKKRW 6JO IJ PGOUYKLPW 9O GN L                #(         4B A/W ,44,2;
#) FCI^GHLOGCE C[ GYJEOG[RGEV GE[CKILOGCEd                #) ?W 5CPd 5CP YCJN 14- ULSJ LFFJNN OC OUJ
#*           A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ        #* YJKCVLOCKR GE[CKILOGCE OULO 821 KJHGJN D^CE OC
$+ LENPJK    FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP   $+ LFFJ^O ECIGELOGCEN OC OUJ 82=4d
$# JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO    $#         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$$ OULO RCD FLEW                                          $$ LENPJK  FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14317
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  ./ #(.. $% (*/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 $((                                                       $(*
# JE[CKFJIJEO ^KGSGHJVJW ,HNC> C_fJFOGCE GENC[LK LN      # GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
$ OULO LENPJK FLHHN [CK GE[CKILOGCE PGOUGE LECOUJK       $ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
" LVJEFRZN ^DKSGJPW BCD FLE LENPJK OC OUJ J\OJEO OULO    " FLEW
% RCD FLEW                                               %          85. T980.22; 9 IJLE> 2JEOGEJH MM LN OUJ
&          85. T980.22; 9 YCEZO OUGEc 9 FLE LENPJK       & 749 ILELVJN GON GESJNOGVLOGCEN OUJKJ PUJE OUJ 749
'  OULO CE OUJGK _JULH[W                                 ' YCJN L ECIGELOGCE> GO _JVGEN GE 2JEOGEJHW 9O VCJN
(          4B A/W ,44,2;                                 ( OUKCDVU OUJ SLKGCDN ^KCFJNNJNW 9O JEYN D^ GE
)     ?W 9 IJLE> 821 ULN OUJ YLOL_LNJ OULO UCHYN         ) 82=4 MM RCD cECP> OUJ _GCVKL^UGF GE[CKILOGCEW 2C GE
* OUJ YJKCVLOCKR GE[CKILOGCE OULO 821 KJHGJN D^CE OC     * LN IDFU LN 2JEOGEJH [JJYN ECIGELOGCEN GEOC 82=4> 9
#+ LFFJ^O 82=4 ECIGELOGCEN> FCKKJFOd                     #+ ND^^CNJ OULO PCDHY _J OKDJW 4DO _JRCEY OULO> 9
##         A2W X30X36B; 3_fJFOGCEW                       ## YCEZO cECP G[ RCD ULSJ L gDJNOGCE _JRCEY OULOW
#$ AGNFULKLFOJKGhJN ^KGCK OJNOGICERW 3_fJFOGCE GENC[LK   #$         4B A/W ,44,2;
#" LN MM                                                 #" ?W 0C> 9 OUGEc OULO YCJN OULOW =CJN 821
#%         4B A/W ,44,2;                                 #% _JHGJSJ OULO OUJ 8JKKCK 2FKJJEGEV 1JEOJK YLOL_LNJ GN
#& ?W 9 LI VCGEV OC PGOUYKLP GOW TUJKJ YCJN              #& LE J[[JFOGSJ FCDEOJKOJKKCKGNI ^KCVKLId
#' OUJ YJKCVLOCKR GE[CKILOGCE OULO DEYJKHGJN 82=4        #'         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#( ECIGELOGCEN HGSJd                                     #( 3_fJFOGCE LN OC NFC^JW 3_fJFOGCE GENC[LK LN OUJ
#)         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         #) LENPJK FLHHN [CK HLP JE[CKFJIJEOM^KCOJFOJY
#* LENPJK OC OULO gDJNOGCE FLHHN [CK GE[CKILOGCE         #* GE[CKILOGCE CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[
$+ ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW BCD FLE       $+ LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ J\OJEO OULO
$# LENPJK OC OUJ J\OJEO OULO RCD FLEW ,HNC> SLVDJW       $# RCD FLEW
$$         85. T980.22; 2C PJ ULSJ OLHcJY L_CDO GO       $$         85. T980.22; BJNW
                                                 $()                                                       $)+
# ^KJSGCDNHRW 9E OUJ FLNJ C[ GEOJKELOGCELH OJKKCKGNI>    #         4B A/W ,44,2;
$ GO ^KGILKGHR CK [DHHR KJNGYJN GE 89=.W ,EY GE OUJ      $     ?W TULO GN OUJ _LNGN C[ 821ZN _JHGJ[ OULO
" FCEOJ\O C[ YCIJNOGF OJKKCKGNI GE[CKILOGCE> GO PCDHY    " OUJ 82=4 GN LE J[[JFOGSJ FCDEOJKOJKKCKGNI ^KCVKLId
% KJNGYJ GE 2JEOGEJHW                                    %         A2W X30X36B; 3_fJFOGCEW ]LVDJW
&          4B A/W ,44,2;                                 & 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK
'     ?W /GVUO> 2JEOGEJHW ,EY OUJ 749 FCEOKCHN           ' GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
( 2JEOGEJH> FCKKJFOd                                     ( ^KGSGHJVJ CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[
N     &' F1-6.-18 .2 6A1 QR4X2 >721 +7-7/1+1-6           ) LECOUJK LVJEFRW BCD FLE LENPJK OC OUJ J\OJEO OULO
% 29261+3 912'                                           * RCD FLEW
#+ ?W =CJN 821 LHPLRN ULSJ LFFJNN OC OUJ                 #+        85. T980.22; 2C 9 OUGEc OUJKJ LKJ ILER
## DEYJKHRGEV YJKCVLOCKR GE[CKILOGCE OULO KJVLKYN        ## HLRJKN OC OULOW ,EY OULO GN> RCD cECP> L FJEOKLH
#$ ECIGELOGCEN OC OUJ 82=4d                              #$ gDJNOGCE C[ IR ^CNGOGCEW 9 OUGEc OULO RCD _JVGE _R
#"         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #" HCCcGEV LO PULO YCJNEZO UL^^JE> PUGFU GN CEJ PLR C[
#% LENPJK FLHHN [CK HLP JE[CKFJIJEO ^KGSGHJVJY           #% JSLHDLOGEVW 9 OUGEc RCD LHNC HCCc LO PULO YCJN
#& GE[CKILOGCEW 3_fJFOGCEW BCD FLE LENPJK OC OUJ         #& UL^^JEW ,EY LER OGIJ OUJKJ GN L OJKKCKGNO JSJEO C[
#' J\OJEO OULO RCD FLEW                                  #' LER cGEY> OUJE OULO PGHH FLDNJ DN OC YC LE L[OJK
#(         85. T980.22; BJNW                             #( LFOGCE OC YJOJKIGEJ G[ OUJ GEYGSGYDLH CK GEYGSGYDLHN
#)         4B A/W ,44,2;                                 #) GESCHSJY GE OULO PJKJ cECPE OC DN> G[ OUJR PJKJ
#* ?W =CJN 821 [LFGHGOLOJ OUJ YGNNJIGELOGCE C[           #* PLOFUMHGNOJYW 9[ OUJR PJKJ ECO> PUR ECOi PULO
$+ 2JEOGEJH GE[CKILOGCE OC COUJK LVJEFGJNd               $+ NFKJJEGEV C^^CKODEGOGJN JGOUJK PLR IGVUO PJ ULSJ
$#         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $# ULYi PULO NFKJJEGEV C^^CKODEGOGJN YGY PJ ULSJ> UCP
$$ 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK             $$ PJKJ OUCNJ ULEYHJYW TLN LEROUGEV IGNNJYd TJKJ
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14318
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 ." #(*" $% (*&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $)#                                                     $)"
# OUGEVN ^KC^JKHR YGNNJIGELOJYd 2C OUJKJ GN OULO         # RCD FLEW
$ FCENOLEO L[OJK LFOGCE VCGEV CEW                        $          85. T980.22; 8UJR LKJ NCIJOGIJN
"          4JRCEY OULO> PJ HCCc OC ILcJ NDKJ OULO        " IJICKGLHGhJY> ECO LHPLRNW 2CIJOGIJN SGL JILGH LEY
% CDK YLOL GN FDKKJEO> LFFDKLOJ> OUCKCDVUW 2C OUJKJ      % NCIJOGIJN GE NGVEG[GFLEO FLNJN OUJKJ ILR _J L
& LKJ FCENGNOJEO LDYGONW 8UJKJ LKJ GEOJKELH KJSGJPNW     & PKGOOJE ^KCYDFO OULO IGVUO _J NCIJOUGEV PJ ULSJ YCEJ
' 8UJKJ GN J\OJENGSJ CSJKNGVUO CE OUJ ^LKO C[ OUJ        ' CK NCIJOUGEV OUJ 749 ULN YCEJ CK NCIJOUGEV LE 9< CK
( GEN^JFOCK VJEJKLH [KCI =3Q> OUJ GEN^JFOCK VJEJKLH      ( GEN^JFOCK VJEJKLH ULN YCEJW ,EY OUJKJ ULSJ _JJE
) [KCI 5CIJHLEY 2JFDKGOR> LEY COUJK GEN^JFOCKN           ) KJ^CKON ^D_HGNUJY _R OUJ GEN^JFOCK VJEJKLH CE NDFU
* VJEJKLHW                                               * ILfCK JSJEON LERPLRW
#+         8UJKJ GN CSJKNGVUO _R OUJ -KGSLFR             #+         4B A/W ,44,2;
## 6G_JKOGJN 3SJKNGVUO 4CLKYW 2C OUJKJ LKJ FCENOLEO      ##     ?W   4DO> FJKOLGEHR> OUJ 8JKKCK 2FKJJEGEV
#$ LDYGON OULO NCIJOGIJN LKJ OUJ KJNDHO C[ LE JSJEO>     #$ 1JEOJK ULN LN GON VCLH OUJ GEFHDNGCE C[ ^JKNCEN PUC
#" NCIJOGIJN LKJ OUJ KJNDHO C[ L ^JKGCYGF KJSGJPW        #" GEOJEY OC FCIIGO LFON C[ OJKKCKGNI> FCKKJFOd
#% 8UJKJ GN OUJ LEJFYCOLH [JJY_LFc PJ VJO LN PJ          "; &' &B2)8D6189'
#& YGNNJIGELOJ LN OC PUJOUJK CK ECO OULO GE[CKILOGCE     #& ?W ,EY GE ^DKNDGO C[ OULO VCLH> 821 KJ[HJFON
#' PLN DNJ[DH OC CDK NFKJJEGEV ^LKOEJKN LEY OC           #' CE GENOLEFJN PUJE ^JK^JOKLOCKN C[ OJKKCKGNI LKJ ECO
#( GESJNOGVLOGSJ LEY GEOJHHGVJEFJ LVJEFGJNW              #( GE OUJ 82=4> FCKKJFOd
#)         A/W ,44,2; 5CP IDFU OGIJ YC PJ ULSJ HJ[O      "N &' 0123 6)/16A1, =.6A )D, )6A1, K7,6-1,2'
#* _J[CKJ OUJ OL^J JEYNd                                 #* ?W 5CP ILER ^JK^JOKLOCKN C[ OJKKCKGNI GENGYJ
$+         85. ]9=.3</,-5./; 8UKJJ IGEDOJNW              $+ OUJ @EGOJY 2OLOJN PJKJ ECO GE OUJ 82=4 LO OUJ OGIJ
$#         4B A/W ,44,2;                                 $# OUJR FCIIGOOJY OUJGK LFO C[ OJKKCKGNId
$$ ?W BCD NLGY OULO 821 FKJLOJN OUJNJ                    $$         A2W X30X36B; 3_fJFOGCEW 8ULO gDJNOGCE
                                                  $)$                                                     $)%
# L[OJKMLFOGCE KJ^CKONd                                  # FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
$      &' V1 >)-*D>6 7- 7C61, 7>6.)-' V1 ,1M.1= .6       $ JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ
# 7C61, 17>A .->.*1-6' 46 *)12-X6 -1>1227,.89 ,12D86     " NJFKJONW 9 LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO OC
; .- 7 =,.661- ,1K),6'                                   % LENPJK OULO gDJNOGCEW
&      ?W .SJKR OGIJ OUJKJ GN LE LFOGSJ OJKKCKGNI        &          4B A/W ,44,2;
' GENGYJ OUJ @EGOJY 2OLOJNd                              '      ?W =CJN 821 cECP UCP ILER ^JKNCEN PUC ULSJ
U      &' &-* )C61- .-61,-76.)-7889'                     (  FCIIGOOJY   LE LFO C[ OJKKCKGNI GENGYJ OUJ @EGOJY
)      ?W ,EY C[OJE GEOJKELOGCELHHRW 2C HJOZN YC         ) 2OLOJN ULSJ ECO _JJE GE OUJ 82=4 LO OUJ OGIJ OUJR
* YCIJNOGF [GKNO LEY OUJE PJ PGHH YC GEOJKELOGCELHW      * FCIIGOOJY OUJGK LFO C[ OJKKCKGNId
#+ .SJKR OGIJ OUJKJ GN L YCIJNOGF OJKKCKGNI JSJEO> 821   #+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
## KJSGJPN OULO GEFGYJEO OC YJOJKIGEJ PUJOUJK OUJ        ## LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#$ ^JK^JOKLOCK PLN GE OUJ 82=4 CK ECO> FCKKJFOd          #$ JE[CKFJIJEO CK OUJ NOLOJ NJFKJO ^KGSGHJVJ> _DO RCD
"# &' @A76X2 6A1 B1/.--.-/ )C 6A1 7-7892.23              #" FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
"; 912'                                                  #%         85. T980.22; 9 YCEZO cECP OUJ LENPJK C[[
#&         A/W ,44,2; 9EYGLEL> ,KGhCELW                  #& OUJ OC^ C[ IR UJLY> _DO OUJ 821 FCDHY YJOJKIGEJ
#'         4B A/W ,44,2;                                 #' OULOW
#(     ?W   =C OUCNJ L[OJKMLFOGCE KJ^CKON MM 9 LI        #(         A/W ,44,2; 6JOZN NOC^ OUJKJW 1LE PJ
#) NCKKRW =C OUCNJ L[OJKMLFOGCE KJSGJPN VJO              #) OLcJ L #+MIGEDOJ _KJLcd 9 LI [JJHGEV PGEYJYW
#* IJICKGLHGhJY GE YCFDIJEONd                            #*         A2W X30X36B; 9 PCDHY HGcJ OC cJJ^ GO LN
$+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ         $+ NUCKO LN ^CNNG_HJ OC VJO CDO C[ UJKJ LN NCCE LN
$# LENPJK FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ     $# ^CNNG_HJW
$$ HLP ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO      $$         A/W ,44,2; 8JE IGEDOJN GN SJKR
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14319
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   .( #(*) $% (**'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $)&                                                        $)(
# KJLNCEL_HJW 5CP IDFU OGIJ GN MM UCP IDFU CE OUJ        #          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
$ KJFCKY YC PJ ULSJd                                     $ N^JFDHLOGCEW 3_fJFOGCE GENC[LK LN OULO GE[CKILOGCE
"          A2W X30X36B; 1LE PJ NLR NJSJE> NC PJ          " MM OUJ LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP
% LFODLHHR IJLE #+d                                      % JE[CKFJIJEO CK ^COJEOGLHHR OUJ NOLOJ NJFKJON
&          85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ        & ^KGSGHJVJW 9[ RCD OUGEc RCD FLE LENPJK> RCD FLEW
' KJFCKYW 8UJ OGIJ GN %;+" ^WIW                          '          85. T980.22; 9 OUGEc ICKJ OULE [GSJW
(          `, KJFJNN PLN UJHYWa                          (          4B A/W ,44,2;
)          85. ]9=.3</,-5./; 5JKJ _JVGEN OL^J            )      ?W ACKJ OULE OJEd
* EDI_JK CEJ [CK OUJ SGYJCOL^JY YJ^CNGOGCE C[ 8GICOUR    *          A2W X30X36B; 2LIJ NJO C[ C_fJFOGCENW
#+ -LDH <KCUW TJ ULSJ _JJE CE OUJ KJFCKY [CK [GSJ        #+ ]LVDJW 1LHHN [CK N^JFDHLOGCE GENC[LK LN GO FLHHN
## UCDKN LEY NG\ IGEDOJNW 8UJ OGIJ CE OUJ SGYJC          ## [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK
#$ ICEGOCK GN %;#' ^WIW ,EY PJ LKJ _LFc CE OUJ KJFCKYW   #$ ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 4DO RCD
#"         4B A/W ,44,2;                                 #" FLE LENPJK G[ RCD FLEW
#% ?W 5LN OUJ 82=4 JSJK NOC^^JY LE LFO C[                #%         85. T980.22; BJLU> 9 YCEZO OUGEc 9 FLE
#& OJKKCKGNI GENGYJ OUJ @EGOJY 2OLOJNd                   #& [DKOUJK LENPJK OULOW
#'         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             #'         4B A/W ,44,2;
#( N^JFDHLOGCEW 3_fJFOGCE GENC[LK LN OULO GE[CKILOGCE    #( ?W ACKJ OULE $+W
#) MM LENPJK FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP      #)         A2W X30X36B; 2LIJ C_fJFOGCENW ]LVDJ>
#* JE[CKFJIJEO CK OUJ NOLOJ NJFKJO ^KGSGHJVJW            #* FLHHN [CK N^JFDHLOGCEW 1LHHN [CK GE[CKILOGCE
$+ 3_fJFOGCEW ]LVDJW BCD FLE LENPJK G[ RCD OUGEc RCD     $+ ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO> ^COJEOGLHHR NOLOJ
$# FLEW                                                  $# NJFKJON ^KGSGHJVJNW 9[ RCD OUGEc RCD FLE LENPJK>
$$         85. T980.22; 2C 9 OUGEc GO GN GI^CNNG_HJ      $$ RCD FLEW
                                                  $)'                                                        $))
# [CK OUJ 82=4 LHCEJ OC JSJK NOC^ LEROUGEVW 8ULO         #          85. T980.22; 2LIJW
$ NLGY> 9 YC _JHGJSJ OUJKJ LKJ FLNJN PUJKJ OUJ 82=4      $          4B A/W ,44,2;
" ULN HJY OC GE[CKILOGCE OULO PCDHYEZO ULSJ _JJE         "      ?W TUJE RCD NLR OULO OUJ 82=4 ULN ^KJSJEOJY
% YGNFCSJKJY _DO [CK OUJ 82=4 OULO ULN OUJE NOC^^JY      % IDHOG^HJ LFON C[ OJKKCKGNI GENGYJ OUJ @EGOJY 2OLOJN>
& LFON C[ OJKKCKGNI GE OUJ @EGOJY 2OLOJNW                & GE RCDK UJLY YC RCD ULSJ N^JFG[GF GENOLEFJN C[ OUJ
'          4B A/W ,44,2;                                 ' 82=4 NOC^^GEV LFON C[ OJKKCKGNI GENGYJ OUJ @EGOJY
(      ?W 5CP ILER LFON C[ OJKKCKGNI GENGYJ OUJ          ( 2OLOJNd
) @EGOJY 2OLOJN YCJN 821 _JHGJSJ OULO OUJ 82=4 ULN       )          A2W X30X36B; 3_fJFOGCEW ]LVDJW
* ^KJSJEOJYd                                             * 3_fJFOGCE GENC[LK LN OULO FLHHN [CK GE[CKILOGCE
#+         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #+ ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK ^COJEOGLHHR
## 3_fJFOGCE GENC[LK LN OULO gDJNOGCE FLHHN [CK          ## NOLOJ NJFKJON ^KGSGHJVJNW BCD FLE LENPJK G[ RCD
#$ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO CK       #$ OUGEc RCD FLEW
#" ^COJEOGLHHR NOLOJ NJFKJO ^KGSGHJVJNW BCD FLE LENPJK   #"         85. T980.22; 9 YCW ,EY GE ^LKOGFDHLK
#% G[ RCD FLEW                                           #% FLNJN> RJNW
#&         4B A/W ,44,2;                                 #&         4B A/W ,44,2;
#' ?W ,EY 9 LI LNcGEV [CK L EDI_JKW 8ULOZN LHH           #' ?W 5CP ILER ^LKOGFDHLK FLNJN LKJ RCD
#( 9 LI LNcGEV [CKW                                      #( N^JFG[GFLHHR LPLKJ C[ OULO RCD LKJ FHLGIGEV OUJ 82=4
#)         A2W X30X36B; 2LIJ C_fJFOGCENW                 #) ULN NOC^^JY LFON C[ OJKKCKGNI GENGYJ OUJ @EGOJY
#*         85. T980.22; 8UJ CEHR OUGEV 9 OUGEc 9         #* 2OLOJNd
$+ FLE  NLR GN IDHOG^HJW                                 $+         A2W X30X36B; 3_fJFOGCEW ]LVDJ> FLHHN
$#         4B A/W ,44,2;                                 $# [CK N^JFDHLOGCEW 3_fJFOGCEW ,NcJY LEY LENPJKJYW
$$ ?W ACKJ OULE [GSJd                                    $$ 3_fJFOGCE GENC[LK LN OUGN LENPJK FLHHN [CK
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14320
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  .+ #(*, $% (,('

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  $)*                                                      $*#
# GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO            "      &' 0123 4 D-*1,267-*' &-* 4 7+ 279.-/ 6A76
$ ^KGSGHJVJ CK OUJ NOLOJ NJFKJON ^KGSGHJVJW 9[ RCD        $ 4 *)-X6 B18.1M1 4 >7-'
" OUGEc OUJKJ GN NCIJOUGEV PUJKJ RCD ULSJEZO LHKJLYR      "          A2W X30X36B; ,EY 9 PLEO OC GEOJK^CNJ LE
% NLGY OULO GN ECO ^KGSGHJVJY MM                          % C_fJFOGCEW
&          85. T980.22; 9 YC ECOW                         &          4B A/W ,44,2;
'          4B A/W ,44,2;                                  '      ?W   TJHH> 9 PGHH LNc LE JLNR gDJNOGCEW 6JO
(      ?W ,EY GN GO RCDK OJNOGICER OCYLR OULO OUJ         ( IJ LNc LE JLNR gDJNOGCEW 5LN OUJ 8JKKCK 2FKJJEGEV
) 82=4 ULN NOC^^JY ICKJ OULE $+ LFON C[ OJKKCKGNI         ) 1JEOJK NOC^^JY ICKJ OULE L OUCDNLEY LFON C[
* GENGYJ OUJ @EGOJY 2OLOJNd                               * OJKKCKGNI GENGYJ OUJ @EGOJY 2OLOJNd
#+         A2W X30X36B; 2LIJ NJO C[ C_fJFOGCENW           #+         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
## ,NcJY   LEY  LENPJKJYW 1LHHN [CK N^JFDHLOGCE> SLVDJW   ## N^JFDHLOGCEW 3_fJFOGCEW ]LVDJW 3_fJFOGCEW 1LHHN
#$ 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ      #$ [CK GE[CKILOGCE PGOUGE HLP JE[CKFJIJEO LEY
#" HLP JE[CKFJIJEO LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON      #" ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 9[ RCD
#% ^KGSGHJVJW                                             #% OUGEc RCD FLE LENPJK MM
#&         85. T980.22; 9 YCEZO cECP PUR RCD PCDHY        #&         85. T980.22; 9 YCEZO _JHGJSJ 9 FLE
#' OUGEc OULO 9 NLGY OULOW 9 YGY ECO NLR OULOW            #' LENPJK LEROUGEV ICKJ OULE 9 LHKJLYR ULSJW
#(         A2W X30X36B; AGNFULKLFOJKGhJN ^KGCK            #(         4B A/W ,44,2;
#) OJNOGICERW                                             #) ?W BCD YCEZO cECP PUJOUJK OUJ OJKKCK
#*         4B A/W ,44,2;                                  #* NFKJJEGEV MM NC 821 YCJNEZO ULSJ L ^CNGOGCE LN OC
$+ ?W 9[ RCD YC ECO _JHGJSJ OULO OUJ 8JKKCK               $+ PUJOUJK CK ECO OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ ULN
$# 2FKJJEGEV 1JEOJK MM 9 LI NCKKRW 9 OUGEc RCD IDNO       $# NOC^^JY ICKJ OULE #+++ LFON C[ OJKKCKGNI GENGYJ OUJ
$$ ULSJ IGNDEYJKNOCCY IR gDJNOGCEW 9N GO OUJ MM YCJN      $$ @EGOJY 2OLOJNd
                                                  $*+                                                      $*$
# OUJ 8JKKCK 2FKJJEGEV 1JEOJK _JHGJSJ OULO OUJ 82=4       #           A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
$ ULN NOC^^JY ICKJ OULE $+ LFON C[ OJKKCKGNI GENGYJ       $  LENPJKJYW    3_fJFOGCEW ,KVDIJEOLOGSJW
" OUJ @EGOJY 2OLOJNd                                      "           4B A/W ,44,2;
%          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY              %      ?W 9 LI YCEJW 8ULOZN [GEJW 4DO PULOZN OUJ
& LENPJKJYW 3_fJFOGCEW ]LVDJ> FLHHN [CK N^JFDHLOGCEW      & LENPJKd
' 3_fJFOGCEW 1LHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ       J      &' @A76 4X+ -)6 7-2=1,.-/'
( HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ     (           A2W X30X36B; 3_fJFOGCEW 9 JEOJKJY OUJ
) NJFKJON ^KGSGHJVJW 9[ RCD OUGEc OUJKJZN MM              ) ^KGSGHJVJNW 2LIJ HLP JE[CKFJIJEO LEY ^COJEOGLHHR
*          85. T980.22; 9 YCEZO OUGEc 9 FLE [DKOUJK       * NOLOJ NJFKJONW
#+ LENPJKW                                                #+          4B A/W ,44,2;
##         4B A/W ,44,2;                                  ## ?W 5LN OUJKJ JSJK MM ULN 821 JSJK FCEYDFOJY
#$ ?W 2C RCD ULSJ EC MM RCD LKJ ECO VCGEV OC              #$ LE LNNJNNIJEO C[ OUJ J[[JFOGSJEJNN C[ OUJ 8JKKCK
#" OJHH IJ LEROUGEV L_CDO OUJ EDI_JK C[ OGIJN RCD ULSJ    #" 2FKJJEGEV 1JEOJKd
#% GE RCDK UJLY PUJE MM RCD NLGY IDHOG^HJW 2C OULO        #%          A2W X30X36B; 3_fJFOGCEW ]LVDJW
#& IJLEN LO HJLNO OPC OGIJN RCD _JHGJSJ OULO OUJ 82=4     #& 3_fJFOGCE GENC[LK LN GO FLHHN [CK GE[CKILOGCE
#' ULN NOC^^JY LE LFO C[ OJKKCKGNI GENGYJ OUJ @EGOJY      #' ^KCOJFOJY _R HLP JE[CKFJIJEOW BCD FLE LENPJK OC OUJ
#( 2OLOJN> FCKKJFOd                                       #( J\OJEO OULO RCD FLEW
"N &' 4 7/,11 6A76 4 27.* +D86.K81' &-* 4                 #)          85. T980.22; ,N ^JK IR ^KGCK OJNOGICER>
"% 7/,11 6A76 +D86.K81 +17-2 +),1 6A7- 6=)'               #* 9 OUGEc OULO ^KCFJNN GN CEVCGEVW ,EY OUJKJ ULSJ
$+ ?W 3cLRW 2C 9 PLEO OC NJJ HGcJ LE D^^JK MM             $+ _JJE FJKOLGEHR COUJK HLKVJMNFLHJ FCI^KJUJENGSJ
$# 9 OUGEc RCD NJJW 9 PLEO OC NJJ HGcJ OUJ D^^JK          $# LDYGONW 9 PCDHY fDNO FLDOGCE OULO GO GN EJFJNNLKR
$$ OUKJNUCHYW                                             $$ OC YJOJKIGEJ OUJ J[[JFOGSJEJNN NGEFJ OUJ 82=4 YCJN
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14321
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  .& #(,+ $% (,-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $*"                                                      $*&
# ECO _R GONJH[ YC LEROUGEVW 9O GN CEHR GE                #      ?W 4DO OUJKJ LKJ IDHOG^HJ PLRN LO LKKGSGEV
$ ^LKOEJKNUG^ PGOU COUJK LVJEFGJN OULO OUCNJ NCKO C[      $ LO L KJICSLH LFOGCE> FCKKJFOd
" YJOJKIGELOGCEN KJgDGKJ L HCCc LFKCNN IDHOG^HJ           #      &' 012'
% LVJEFGJNW 8UCNJ cGEYN C[ _KCLY LNNJNNIJEON LKJ          %      ?W 9YJEOG[R LHH OUJ PLRN OULO PJ FLE LKKGSJ
& _JGEV LHICNO FCEOGEDCDNHR FCEYDFOJY _R OUJ              & LO L KJICSLH LFOGCEd
' GEN^JFOCKN VJEJKLH LEY OUJ <,3 LO OUJ KJgDJNO C[        '          A2W X30X36B; 3_fJFOGCEW
( 1CEVKJNNW                                               (          4B A/W ,44,2;
)           4B A/W ,44,2;                                 )      ?W 6JO IJ PGOUYKLPW 9YJEOG[R LHH OUJ PLRN
*       ?W 9 LI VCGEV OC LNc L gDJNOGCEW TJ LKJ ECP       * OULO 821 ^JKNCEEJH GNNDJ L KJICSLH LFOGCEW
#+ VCGEV OC ICSJ OC OUJ =52 8/9- ^KCFJNN LEY 821ZN KCHJ   #+         A2W X30X36B; 3_fJFOGCEW ]LVDJW 9 PCDHY
## GE OUJ =52 8/9- ^KCFJNNW 5CP LKJ ^JKNCEN KJICSJY       ## LHNC fDNO ECOJ OULO OC^GF OPC J\^KJNNHR J\FHDYJY OUJ
#$ [KCI OUJ 82=4d                                         #$ KJSGNJY KJYKJNN ^KCFJNN [CK @W2W ^JKNCEN CE OUJ
#"          A2W X30X36B; 3_fJFOGCEW ]LVDJW                #" 0CM7HR 6GNO> NCW
#%          4B A/W ,44,2;                                 #%         A/W ,44,2; 9 LI LNcGEV L_CDO OUJ 82=4W
#& ?W 9ZI NCKKRW 6JO IJ PGOUYKLP OULO                     #& 9 LI ECO LNcGEV L_CDO OUJ 0CM7HR 6GNOW
#' gDJNOGCEW ,KJ OUJKJ IDHOG^HJ PLRN GE PUGFU L ^JKNCE    #'         A2W X30X36B; TJHH> OUJ 82=4 GEFHDYJN OUJ
#( HGNOJY GE OUJ 82=4 FLE _J KJICSJY [KCI OUJ 82=4d       #( 0CM7HR 6GNOW
"N &' 4 *)-X6 T-)= .C 9)D +17- 6A76 6A1 K,)>122           #)         4R A/W ,44,2; 9 LI LNcGEV L_CDO OUJ
"% >)D8* B1 267,61* ), 6A76 6A1 7>6D78 ,1+)M78 .2         #* 82=4W 8UJ OC^GF GEFHDYJN OUJ 82=4W ,EY 9ZI LNcGEV
$? 7>>)+K8.2A1*'                                          $+ L_CDO OUJ 82=4W
$# ?W ,KJ OUJKJ IDHOG^HJ PLRN GE PUGFU L ^JKNCE           $#         A2W X30X36B; TJHH> 9 LI C_fJFOGEV LN OC
$$ FLE _J DHOGILOJHR KJICSJY [KCI OUJ 82=4d               $$ NFC^J GENC[LK LN OULO GI^HGFLOJN OUJ 0CM7HR 6GNO>
                                                   $*%                                                      $*'
"      &' &-9 ,1+)M78 .2 /).-/ 6) /) 6A,)D/A 6A1          # PUGFU ULN _JJE J\^KJNNHR J\FHDYJY [KCI OUGN OC^GF _R
$ 27+1 61>A-.>78 K,)>122'                                 $ OUJ FCDKOZN CKYJKW ,EY 9 PCDHY GENOKDFO OUJ PGOEJNN
"      ?W TULO GN OUJ OJFUEGFLH ^KCFJNN C[ KJICSLH        " ECO OC LENPJK gDJNOGCEN OULO ULSJ OC YC PGOU OUJ
% C[ L ^JKNCE [KCI OUJ 82=4d                              % KJSGNJY KJYKJNN ^KCFJNN GENC[LK LN RCDK LENPJK
&           A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY             & GI^HGFLOJN CK FCDHY ^COJEOGLHHR GI^HGFLOJ OULO
' C_fJFOGCE GENC[LK LN OUGN LENPJK FLHHN [CK              ' KJSGNJY ^KCFJNN [CK @W2W ^JKNCEN CE OUJ 0CM7HR 6GNOW
( GE[CKILOGCE UJHY _R CK JgDGOGJN ^CNNJNNJY _R COUJK      ( 9 LI GENOKDFOGEV RCD ECO OC LENPJK gDJNOGCEN LN OC
) LVJEFGJNW                                               ) OULO ^GJFJ C[ OUJ ^KCFJNNW
*           85. T980.22; 8UJ 0CIGELOGCEN =LOL             *          85. T980.22; 9 DEYJKNOLEYW
#+ 9EOJVKGOR @EGO OULO ULEYHJN ECIGELOGCEN PCDHY          #+         A2W X30X36B; BCD FLE LENPJK OUJ
## ^KCFJNNW 8UJGK LELHRNON PCDHY VC GE LEY GE OUJGK       ## KJILGEGEV ^CKOGCE C[ OULO gDJNOGCEW
#$ PCKc [HCP PGOU 82=4> OUJR PCDHY JEOJK L KJICSLH        #$         85. T980.22; 2C GO GN MM OUJKJ FCDHY _J>
#" LFOGCEW ,EY EC ILOOJK UCP PJ VCO OC OULO ^CGEO>        #" LN 9 ^KJSGCDNHR NOLOJY> L IDHOGODYJW 9 PCDHY
#% OULOZN OUJ DHOGILOJ ^CGEO LO PUGFU OULO KJICSLH        #% JEYJLSCK OC VGSJ RCD OUJ CEJN OULO 9 FLE OUGEc C[
#& PCDHY CFFDKW                                           #& PGOU OUJ FLSJLO OULO PUJKJSJK GO ILcJN NJENJ OC YC L
#'          4B A/W ,44,2;                                 #' KJICSLH> OUJE OULOZN PUJKJ PJ PCDHY YC GOW 8UJ
#(     ?W    2C OUJ [CHcN GE 0=9@ PCDHY JEOJK PULOZN      #( NGI^HJNO PLR GN OUJ CKGVGELH ECIGELOGEV LVJEFR
#) FLHHJY L KJICSLH LFOGCEd                               #) KJgDJNO KJICSLH _LNJY CE JGOUJK EJP GE[CKILOGCE>
"% &' 5),,1>6'                                            #* J\FDH^LOCKR GE[CKILOGCE> CK L KJOKLFOGCE C[ OUJ
$+ ?W 9N OULO HGcJ L [CKId                                $+ YJKCVLOCKR GE[CKILOGCEW 8UJE PJ PCDHY HCCc LO OULO>
$" &' 46 .2 7- 181>6,)-.> C),+' F) 181>6,)-.>             $# HCCc LO LHH OUJ GE[CKILOGCE CDO OUJKJ LEY ILcJ L
$$ =),T C8)= +./A6 B1 7 B1661, =79 6) KD6 .6'             $$ YJOJKIGELOGCE PUJOUJK CK ECO OUJ ^JKNCE NOGHH IJJON
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14322
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 .) #(,. $% +//'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   $*(                                                    $**
# OUJ L^^KC^KGLOJ NOLEYLKYW 8ULO PCDHY FCIJ [KCI OUJ     # FLE MM _LNGFLHHR> PJ PGHH ICYG[R CDK KJFCKYN CE CDK
$ ECIGELOGEV LVJEFRW 9O GN ^CNNG_HJ LN L KJNDHO C[ LE    $ CPE G[ PJ [GEY GE[CKILOGCE CDO OUJKJ OULO
" JEFCDEOJK OULO PJ PCDHY LFgDGKJ EJP GE[CKILOGCEW       " FCEOKLYGFON> KJ[DOJN> CK COUJKPGNJ PCDHY FLDNJ DN OC
% ,VLGE> GO FCDHY _J J\FDH^LOCKRW 9O FCDHY _J            % ICYG[R L KJFCKYW TJ PLEO GO OC _J OUCKCDVU LEY
& GE[CKILOGCE OULO KJ[DOJNW 9O FCDHY _J NCIJOUGEV        & LFFDKLOJ LEY FDKKJEOW ,EY PJ ULSJ EC GEOJKJNO GE
' OULO VCJN OC OUJ FKJYG_GHGOR C[ L NCDKFJ OULO PCDHY    ' LER_CYR _JGEV GE 82=4 PUC NUCDHYEZO _J OUJKJW
( FLDNJ DN OC KJMJSLHDLOJ OULO LEY FLDNJ DN OC ^JK[CKI   (           4B A/W ,44,2;
) L KJICSLHW                                             )       ?W ,KJ OUJKJ GEECFJEO ^JC^HJ GE OUJ 82=4d
*      ?W ,KJ ECIGELOGEV LVJEFGJN C_HGVLOJY GE NCIJ      *           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#+ ILEEJK OC ^KCSGYJ 821 PGOU J\FDH^LOCKR GE[CKILOGCE    #+ N^JFDHLOGCEW ]LVDJW
## KJVLKYGEV 82=4 HGNOJJNd                               ##          85. T980.22; 8UJKJ LKJ EC GEECFJEO
#$         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO        #$ ^JC^HJ OULO 9 LI N^JFG[GFLHHR LPLKJ C[ OULO LKJ GE
#" FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ HLP        #" 82=4W 9ELNIDFU LN PJ [GEY ^JC^HJ OULO> LVLGE> OUCNJ
#% JE[CKFJIJEO ^KGSGHJVJ CK LER GE[CKILOGCE PGOUGE OUJ   #% ^KJSGCDN MM LN NCCE LN PJ [GEY NCIJ_CYR OULO PJ EC
#& ^DKSGJP C[ COUJK JgDGOGJN _JHCEVGEV OC COUJK          #& HCEVJK _JHGJSJ IJJON FKGOJKGL> OUJE PJ GIIJYGLOJHR
#' LVJEFGJNW 4DO RCD FLE LENPJK NC [LK LN RCD FLEW       #' KJICSJ OUJIW
#(         4B A/W ,44,2;                                 #(          4B A/W ,44,2;
#) ?W 6JO IJ KJ^UKLNJ OUJ gDJNOGCEW =CJN 821             #) ?W =CJN 821 cJJ^ OKLFc C[ PUGFU 82=4
#* KJgDGKJ ECIGELOGEV LVJEFGJN OC ^KCSGYJ 821 PGOU       #* HGNOJJNZ JEOKGJN ULSJ _JJE ND^^HJIJEOJY PGOU
$+ J\FDH^LOCKR GE[CKILOGCE KJVLKYGEV 82=4 HGNOJJN OULO   $+ J\FDH^LOCKR GE[CKILOGCE DEFCSJKJY _R LER JEOGOR
$# OUJ ECIGELOGEV LVJEFR HJLKEN C[d                      $# ND_NJgDJEO OC OUJ 82=4ZN ^HLFJIJEO GE OUJ 82=4d
$$         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $$          A2W X30X36B; 3_fJFOGCEW ]LVDJW
                                                   $*)                                                    "++
#          85. T980.22; BJNW                             # 3_fJFOGCE GENC[LK LN OUJ LENPJK FLHHN [CK
$          4B A/W ,44,2;                                 $ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
"      ?W BCD KJgDGKJ MM UCP YC RCD JE[CKFJ OUJ          " ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
% KJgDGKJIJEO LVLGENO ECIGELOGEV LVJEFGJN OULO           %          85. T980.22; 2C G[ NCIJ_CYR GN KJICSJY>
& KJgDGKJN OUJI OC ^KCSGYJ 821 PGOU J\FDH^LOCKR          & OUJR LKJ KJICSJYW 2C OUJR YCEZO NUCP D^ G[ RCD YC L
' GE[CKILOGCE OULO OUJ ECIGELOGEV LVJEFR [GEYN L_CDO     ' NJLKFU LN NCIJ_CYR OULOZN _JJE KJICSJY PGOU OUJ
( 82=4 HGNOJJNd                                          ( FLSJLO OULO OUJKJ GN LE LDYGO UGNOCKR OULO CEHR L
)          A2W X30X36B; 3_fJFOGCEW ]LVDJW BCD FLE        ) SJKR> SJKR [JP GEYGSGYDLHN LO 821 ULSJ LFFJNN OCW
* LENPJKW                                                *          4B A/W ,44,2;
#+         85. T980.22; 2C RCD NLR KJgDGKJW 9            #+ ?W 2C 821 cJJ^N L KJFCKY C[ ^JKNCEN OULO
## PCDHY VC _LFc OC IR ^KJSGCDN OJNOGICER L_CDO MM GO    ## ULSJ CEFJ _JJE GE OUJ 82=4 _DO LKJ EC HCEVJK GE OUJ
#$ GN OUJ NLIJ LN CDK J\^JFOLOGCE OULO OUJR PGHH         #$ 82=4> FCKKJFOd
#" ^KCSGYJ ECIGELOGCEN OC DN PUJE OUJR ULSJ              "# &' 46 .2 -1>1227,9 6) *) 2)3 912'
#% GE[CKILOGCEW 9 LHNC ULSJ OUJ J\^JFOLOGCE LEY          #% ?W TUR GN GO EJFJNNLKR OC YC NCd
#& LVKJJIJEO OULO OUJR PGHH ^KCSGYJ J\FDH^LOCKRW         #&         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#'         8C VC OC RCDK gDJNOGCE PUJE> PJ FCEYDFO       #' 3_fJFOGCE GENC[LK LN OULO LENPJK FLHHN [CK MM
#( ^JKGCYGF  KJSGJPN _LNJY CE L EDI_JK C[ [LFOCKNW       #(         A/W ,44,2; 5J NLGY EJFJNNLKRW 9 LI fDNO
#) -JKGCYGF KJSGJPN LKJ YG[[JKJEO cGEYN C[ KJSGJPN [CK   #) LNcGEV MM
#* YG[[JKJEO FLOJVCKGJN C[ KJFCKYNW 2CIJ LKJ KLEYCI      #*         A2W X30X36B; ,EY OUJ KLOGCELHJ ILR
$+ KJSGJPN PUJKJ PJ KJSGJP YJKCVLOCKRW TJ KJSGJP         $+ GI^HGFLOJ ^KGSGHJVJY GE[CKILOGCE ^KCOJFOJY _R OUJ
$# YJKCVLOCKR GE[CKILOGCE GE @W2W <CSJKEIJEO UCHYGEVN>   $# HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR NOLOJ
$$ ECO fDNO EJFJNNLKGHR OULOZN KJ^CKOJY OC DNW ,EY PJ    $$ NJFKJON GE LE GEYGSGYDLH FLNJW BCD FLE LENPJK OC
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14323
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   .- #+/" $% +/&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "+#                                                       "+"
# OUJ J\OJEO OULO RCD FLEW                                # HGOGVLOGCEW
$          85. T980.22; 7CK GENOLEFJ> G[ NCIJ_CYR         $          4B A/W ,44,2;
" PLN OUJE KJECIGELOJY> RCD PCDHY PLEO OC _J L_HJ OC      "      ?W 2C HGOGVLOGCE GN L KJLNCE OULO 821 ULN
% ULSJ L [HLV OULO RCD ULY ^KJSGCDNHR KJICSJY OUJIW       % DOGHGhJY GE OUJ ^LNO OC LNNJNN OUJ ND[[GFGJEFR C[
& 7CK GENOLEFJ> RCD FCDHY ULSJ FGKFDHLK KJ^CKOGEV OULO    & OUJ YJKCVLOCKR GE[CKILOGCE KJHGJY D^CE OC LFFJ^O L
' FLIJ D^ OC LECOUJK LVJEFR MM LECOUJK LVJEFR> _LNJY      ' 82=4 ECIGELOGCEd
( CE OUJ NLIJ CKGVGELH YJKCVi ECIGELOJ NCIJ_CYR PJ        (          A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY
) PCDHY PLEO OC _J L_HJ OC YJOJFO OULO NC PJ YCEZO        ) IGNFULKLFOJKGhJN ^KGCK OJNOGICERW
* LFFGYJEOHR KJMPLOFU HGNO NCIJ_CYR OULO ULY              *          85. T980.22; BJLU> L_NCHDOJHR GN ECO L
#+ ^KJSGCDNHR _JJE KJICSJYW                               #+ FKGOJKGL [CK KJICSLHW 7CK GENOLEFJ> GE OUJ NFC^J C[
## ?W -JC^HJ HGNOJY CE OUJ 8JKKCK 2FKJJEGEV               ## LENPJKGEV LE GEOJKKCVLOCKR CK ^KJ^LKGEV GO>
#$ =LOL_LNJ ULSJ [GHJY HLPNDGON LVLGENO OUJ 8JKKCK        #$ FJKOLGEHR G[ PJ FCIJ LFKCNN [CK LER KJLNCE>
#" 2FKJJEGEV 1JEOJK> FCKKJFOd                             #" GEFHDYGEV OULO> L KJLNCE OC _JHGJSJ OULO L KJFCKY GN
"; &' 4 7+ 7=7,1 )C 6A76'                                 #% ECO ^KC^JKHR ILGEOLGEJY CK GN EC HC^^JK ^KC^JKHR
#& ?W 9EFHDYGEV OUJ $& ^HLGEOG[[N GE OUGN FLNJ>           #& ILGEOLGEJY> OUJE PJ LKJ MM KJVLKYHJNN C[ LER NOLODN>
#' FCKKJFOd                                               #' PJ LKJ VCGEV OC ILcJ OUJ L^^KC^KGLOJ YJFGNGCE CE
#(         A2W X30X36B; 3_fJFOGCEW AGNHJLYGEV             #( OULOW
#) GENC[LK LN OULO gDJNOGCE GI^HGJN OULO OUJ $&           #)         4B A/W ,44,2;
#* ^HLGEOG[[N LKJ GE OUJ 82=4W ,EY C_fJFOGCE MM           #* ?W 2C ULN HGOGVLOGCE JSJK ^KCI^OJY 821 OC
$+         4B A/W ,44,2;                                  $+ KJFCENGYJK L HGNOJJZN NOLODN GE OUJ 82=4d
$# ?W 2DKJW 8ULOZN [LGKW ?DJNOGCE PGOUYKLPEW              $#         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
$$ -JC^HJ PUC _JHGJSJ OULO OUJR LKJ GE OUJ 82=4 ULSJ      $$ LENPJKJYW
                                                  "+$                                                       "+%
# [GHJY HLPNDGON LVLGENO OUJ 8JKKCK 2FKJJEGEV 1JEOJK>     #          85. T980.22; 9 FLEZO OUGEc C[
$ FCKKJFOd                                                $  ^LKOGFDHLK MM G[ RCD LKJ OLHcGEV L_CDO 7JYJKLH
#      &' 012'                                            " <CSJKEIJEO HGOGVLOGCE> ECW 9[ RCD LKJ OLHcGEV L_CDO
%      ?W =CJN 821 LEECOLOJ 82=4 JEOKGJN OC KJ[HJFO       % KJYKJNN> 9 PCDHY NLR RJNW
& PUJOUJK OUJ HGNOJJ GN FDKKJEOHR JEVLVJY GE              &          4B A/W ,44,2;
' HGOGVLOGCE LVLGENO OUJ 7JYJKLH <CSJKEIJEOd              '      ?W 2C [JYJKLH HGOGVLOGCE ULN EJSJK ^KCI^OJY
U      &' P)'                                             (  821   OC KJSGNGO OUJ ^KGCKGOR C[ L ^HLFJIJEO GE OUJ
)           A2W X30X36B; 3_fJFOGCEW ]LVDJW                ) 82=4d
*           4B A/W ,44,2;                                 *          A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY
#+ ?W 5LN 821 ILYJ LER KJICSLH YJFGNGCEN GE               #+ IGNFULKLFOJKGhJN ^KGCK OJNOGICERW
## HGVUO C[ CEVCGEV HGOGVLOGCE LVLGENO OUJ 821 _KCDVUO    ##         85. T980.22; 9 fDNO MM 9 fDNO FLEZO
#$ _R ^JKNCEN PUC LHHJVJ OUJR LKJ GEFHDYJY GE OUJ 82=4d   #$ OUGEc C[ L ^LKOGFDHLK CEJW 8UJKJ GN EC KJLNCE PUR
#"          A2W X30X36B; 3_fJFOGCE SLVDJW 3_fJFOGCE       #" GO PCDHY _J YG[[JKJEO [KCI KJYKJNNW 9 fDNO FLEZO
#% GENC[LK LN OUJ LENPJK PCDHY GEYGFLOJ LER GE[CKILOGCE   #% OUGEc C[ CEJW
#& ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJW 4DO RCD FLE    #&         4B A/W ,44,2;
#' LENPJK G[ RCD FLEW                                     #' ?W 9 YCEZO DEYJKNOLEYW BCD FLEZO OUGEc C[
#(          85. T980.22; 0CO _JFLDNJ OUJR [GHJY MM        #( CEJ PULOd
#) ECO _JFLDNJ OUJR [GHJY HGOGVLOGCE CK 9 PCDHY NLR       "N &' OC 7 2.6D76.)- =A1,1 K1-*.-/ C),+78
#* KJYKJNNW ,ER KJLNCE OULO FLDNJN DN OC HCCc LO L        "% 8.6./76.)- A72 >7D21* D2 6) ,1M.1= 7 K7,6.>D87,
$+ KJFCKY PUJKJ PJ OUJE [GEY OULO GO JGOUJK MM OULO GO    $? ,1>),* 7-* .- 6A76 ,1M.1=3 =1 A7M1 *1>.*1* 6A76 .6
$# YCJN EC HCEVJK IJJO FKGOJKGL> PJ PCDHY KJICSJ LO       $" *.*-X6 +116 6A1 7KK,)K,.761 267-*7,*2' 4 >7- 6A.-T
$$ OULO ^CGEO KJVLKYHJNN C[ NOLODN C[ HGOGVLOGCE CK ECO   $$ )C ,1*,122 >7212 =A1,1 .- 6A1 >)D,21 )C ,1M.1=.-/ II
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14324
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  .. #+/) $% +/*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "+&                                                      "+(
" ,1M.1=.-/ 2)+16A.-/3 =1 B1>7+1 7=7,1 )C .-C),+76.)-     " .-C),+76.)-' @A19 =.88 >)+K7,1 6A76 7/7.-26 6A1
$ 6A76 >7D21* D2 6) ,1+)M1 ), +)*.C9 7 ,1>),*' RD6        $ 267-*7,*2 7-* D86.+76189 +7T1 1.6A1, II 1.6A1,
# 6A1,1 .2 -) ,172)- =A9 6A)21 =)D8* B1 CD-*7+1-67889     # *1>.*1 .C .6X2 7 @FHR 2676D2 ), ,1>)++1-* 6) 6A1 @F&
; *.CC1,1-6'                                              ; 7*+.-.26,76), 7-9 7KK,)K,.761 >A7-/12 6) =76>A
&      ?W 2DKJW 1CDHY 821 KJICSJ NCIJCEJ [KCI OUJ         < 8.26.-/ 2676D2 C), 6A76 K1,2)-'
' 82=4 ^KGCK OC OUJ FCEFHDNGCE C[ OUJ =52 8/9- KJYKJNN    '      ?W 5CP YCJN 821 /JYKJNN @EGO ^JKNCEEJH
( ^KCFJNNd                                                ( FCE[GKI OUJ LFFDKLFR C[ GE[CKILOGCE OUJ ECIGELOGEV
N      &' 012' &2 4 ^D26 6126.C.1*3 76 7-9 K).-6          ) LVJEFR KJHGJY D^CE OC ND_IGO OUJ ECIGELOGCEd
% .C =1 B1>)+1 7=7,1 )C 6A763 6A1- =1 7,1 -)6 /).-/ 6)    %      &' F) 6A19 =.88 ,1M.1= 6A1 *1,)/76),9
"? =7.6 C), 6A1 K,)>122 6) 61,+.-761' &/7.-3 =1 =7-6      "? .-C),+76.)- 72 .6 7KK17,2 .- 6A)21 )6A1, 6=) 29261+2
"" .6 6) B1 >D,,1-63 7>>D,7613 7-* 6A),)D/A' &-* .C .6    "" .- F1-6.-18 7-*`), @4H['
"$ -) 8)-/1, +11623 .6 -) 8)-/1, +1162 ,1/7,*8122 )C      #$ ?W 2C NLR OUJR fDNO KJSGJP OUJ [LFJ C[ OUJ
"# 7-9 K,)>122'                                           #" YJKCVLOCKR MM PULOJSJK OUJ YJNFKG^OGCE GN OULO OUJ
#% ?W 2C IR DEYJKNOLEYGEV GN OULO OUJ 82,                 #% ECIGELOGEV LVJEFR ^KCSGYJY GE 2JEOGEJHW
#& LYIGEGNOKLOCK ULN MM 9 VDJNN OULOZN EC [GELH           #&         A2W X30X36B; 3cLRW 9 fDNO ECOJ OULO
#' N^JFG[GF MM PUC ULN [GELH MM PULO GN 821ZN             #' OULO PLN LE GEOJKKD^OGCE OC UGN LENPJKW 5J PLN ECO
#( DEYJKNOLEYGEV C[ PUC ULN OUJ [GELH NLR LN OC PUJOUJK   #( YCEJW BCDK gDJNOGCE IGNFULKLFOJKGhJN UGN OJNOGICER>
#) L ^JKNCE CE OUJ NJHJFOJJ HGNOZN KJYKJNN FCI^HLGEO      #) PUGFU UJ PLN ECO [GEGNUJY VGSGEVW 3_fJFOGCEW ]LVDJ
#* KJNDHON GE L FULEVJ GE PLOFU HGNO NOLODNd              #* LEY LKVDIJEOLOGSJ LEY ^COJEOGLHHR ^KCOJFOJY _R
$+        A2W X30X36B; 1LHHN [CK L HJVLH                  $+ LOOCKEJR MM 9 LI NCKKRW 0CO LOOCKEJRjFHGJEO
$# FCEFHDNGCEW   BCD FLE LENPJKW                          $# ^KGSGHJVJ> _DO L HLP JE[CKFJIJEO ^KGSGHJVJW 6JOZN
$$        85. T980.22; 8UJ 82, LYIGEGNOKLOCKW             $$ KJ^UKLNJW 9 OUGEc PJ FLE FCEOGEDJ PGOU MM
                                                   "+'                                                      "+)
#         4B A/W ,44,2;                                   #          4B A/W ,44,2;
$     ?W 3cLRW 9E OULO KJVLKYN> PUJOUJK GO GN OUJ         $       ?W  2DKJW ,EY 9 L^CHCVGhJ AKW <KCU [CK
" 0CM7HR 6GNO CK OUJ NJHJFOJJ HGNO> OUJ 82,               " GEOJKKD^OGEVW 9 LI fDNO OKRGEV OC DEYJKNOLEYW 8UGN
% LYIGEGNOKLOCK ULN OUJ [GELH NLR> FCKKJFOd               % GN LHH EJP OC IJW 9 IJLE> UCP GN OUJ YJKCVLOCKR
<     &' 012'                                             & GE[CKILOGCE MM UCP YCJN OUJ MM UCP YCJN OUJ
'         A2W X30X36B; 3_fJFOGCEW ]LVDJW                  ' YJKCVLOCKR GE[CKILOGCE L^^JLK OC 821 /JYKJNN @EGO
(         A/W ,44,2; 6DFcGHR PJ VCO OULO LENPJKW          ( JI^HCRJJNd
)         4B A/W ,44,2;                                   )          A2W X30X36B; TLGOW 1LE RCD KJ^JLO OUJ
*     ?W 821 ULN L /JYKJNN @EGO> FCKKJFOd                 * gDJNOGCEd 9 YGYEZO UJLK OULOW
"? &' 012'                                                #+         A/W ,44,2; 2DKJW 1CDHY RCD KJLY GO
## ?W 5CP ILER ^JC^HJ LKJ GE OUJ /JYKJNN @EGOd            ## _LFcd
"$ &' &B)D6 A78C 7 *)a1-'                                 #$         `8UJ KJFCKY PLN KJLYWa
#" ?W TULO YC MM PULO YCJN OUJ 821 /JYKJNN @EGO           #"         85. T980.22; 8UJ NLIJ PLR GO YCJN OC
#% YCd                                                    #% 0=9@ JI^HCRJJNW 8UJR LFFJNN 89=. CK 2JEOGEJH LEY
"< &' @A19 ,1>1.M1 ,1*,122' 4 6A.-T .6 .2                 #& KJSGJP PULOJSJK OUJ CKGVGELH YJKCVLOCKR GE[CKILOGCE
"J >)+K87.-62 C,)+ II C,)+ HEF @]4G 6A76 HEF @]4G         #' PLNW
"U B18.1M12 A7M1 7- -1LD2 6) 6A1 @FHR' @A19 6A1- *) 7     #(         4B A/W ,44,2;
"N *1 -)M) ,1M.1= )C 6A)21 >)+K87.-62' @A19 /) B7>T 6)    #) ?W 9N OUJ YJKCVLOCKR MM YCJN OUJ HGcJ MM NC
"% 6A1 B1/.--.-/ )C 6A1 ,1>),* =A1,1M1, 6A76 267,61*'     #* G[ OUJ 749 ECIGELOJN NCIJCEJ> OUJ YJKCVLOCKR
$? @A19 =.88 >)-67>6 6A1 -)+.-76), 6) C.-* )D6 .C 6A1     $+ GE[CKILOGCE PCDHY _J GE 2JEOGEJH> FCKKJFOd
$" .-C),+76.)- ),./.-7889 K,)M.*1* .2 26.88 >D,,1-63      $" &' 012'
$$ >A1>T =.6A 6A1+ 6) 211 .C 6A1,1 .2 7-9 7**.6.)-78      $$ ?W 2C GOZN HGcJ OUJ 749 LVJEO OULO ECIGELOJN
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14325
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 .* #+/, $% +"('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "+*                                                     "##
# L ^JKNCE OC OUJ 82=4> OUJR PGHH OR^J GE[CKILOGCE        "      &' &B2)8D6189' @A76X2 6A1 QR4X2 K,)>122'
$ GEOC 2JEOGEJH OULOZN SGJPL_HJ _R 0=9@ LEY KJYKJNN MM    $      ?W 552 FLE ECIGELOJ> FCKKJFOW
" 821 /JYKJNN @EGO JI^HCRJJNd                             "          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
%          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         % FLHHN [CK HLP JE[CKFJIJEO ^KGSGHJVJW
& FLHHN [CK GE[CKILOGCE GE OUJ ^DKSGJP C[ OUJ 749W        &          4B A/W ,44,2;
' BCD FLE LENPJK LN OC RCDK DEYJKNOLEYGEVW                '      ?W TUJOUJK 552 MM PUC LKJ OUJ LVJEFGJN OULO
(          85. T980.22; 8UJ MM RJLU> OUJKJ GN L           ( FLE ND_IGO ECIGELOGCEN OC OUJ 8JKKCK 2FKJJEGEV
) ECIGELOGCEN [CKI OULO OUJR PGHH [GHH CDOW 4DO OUJKJ     ) 1JEOJKd
* GN LHNC _LNGFLHHR OUJ FLNJ [GHJ OULO OULO ECIGELOGCE    *          A2W X30X36B; ,EY 9 LI VCGEV OC C_fJFO CE
#+ [CKI GN ^LKO C[W ,EY NC> VJEJKLHHR> OUJR LKJ VCGEV     #+ OUJ VKCDEYN MM
## OC ULSJ LFFJNN OC OULO JEOGKJ FLNJ [GHJW               ##         A/W ,44,2; 9 LI VCGEV OC PGOUYKLP OUJ
#$         4B A/W ,44,2;                                  #$ gDJNOGCEW 9 LFODLHHR ULSJ OUJ LENPJKW
#" ?W =CJN 821 KJgDGKJ 0=9@ JI^HCRJJN OC KJSGJP           #"         4B A/W ,44,2;
#% OUJ JEOGKJ FLNJ [GHJ ^KGCK OC ILcGEV L YJFGNGCE        #% ?W 2C HJO IJ fDNO VC PGOU OUJ 749W 2C LKJ
#& KJVLKYGEV PUJOUJK CK ECO OC KJICSJ L ^JKNCE [KCI OUJ   #& OUJKJ GEYGSGYDLH 749 LVJEON OULO FLE fDNO ND_IGO
#' 82=4d                                                  #' ECIGELOGCEN OC OUJ 8JKKCK 2FKJJEGEV 1JEOJK PGOUCDO
#(         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         #( ND^JKSGNCKR L^^KCSLHd
#) FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R L HLP JE[CKFJIJEO   "N &' P)'
#* ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW                  #* ?W ,KJ OUJKJ SLKGLOGCEN GE UCP 749 [GJHY
$+         85. T980.22; 2C GO GN L IDHOGMNOJ^             $+ C[[GFJN ILELVJ OUJGK LVJEON ND_IGOOGEV ECIGELOGCEN
$# ^KCFJNNW    9[ OUJ LVJEO ECIGELOJN OUJGK ND^JKSGNCK>   $# OC OUJ 8JKKCK 2FKJJEGEV 1JEOJKd
$$ PJ PGHH L^^KCSJW 9O OUJE FCIJN OC L DEGO GE OUJ        $$         A2W X30X36B; 3_fJFOGCE OULO OULO
                                                   "#+                                                     "#$
# 8JKKCK 2FKJJEGEV 1JEOJK 8JKKCKGNO /JSGJP LEY            # GE[CKILOGCE FLHHN [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP
$ .\LIGELOGCE @EGO> COUJKPGNJ cECPE LN 8/.eW 8UJR         $ C[ OUJ 749W BCD FLE OJNOG[R LN OC RCDK
" PGHH OUJE KJSGJP OUJ ECIGELOGCEW 8UJR PGHH              " DEYJKNOLEYGEVW ,HNC C_fJFOGCE GENC[LK LN GO FLHHN
% VJEJKLHHR KJSGJP OUJ [GHJW 9 YCEZO cECP OULO MM 9       % [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
& FLEZO N^JLc [CK YGY OUJR HCCc LO JSJKR CEJ C[           & ^KGSGHJVJW
' ^COJEOGLHHR UDEYKJYN C[ OUCDNLEYN NJKGLHNW BCD          '         85. T980.22; 9O GN L NOLEYLKYGhJY
( cECP> OUJR LKJ VCGEV OC HCCc LO OUJ YJKCVW ,EY OUJR     ( ^KCFJNN LFKCNN OUJ 749W
) LKJ VCGEV OC ILcJ LE LNNJNNIJEO _LNJY CE OULO           )         4B A/W ,44,2;
* GE[CKILOGCEW 8ULO PGHH OUJE> G[ GOZN LE                 *     ?W 2C OUJKJ GN EC VJCVKL^UGF SLKGLOGCE GE
#+ GEOJKELOGCELH OJKKCKGNI ECIGELOGCE> VC OC OUJ          #+ OUJ 749 ECIGELOGEV ^KCFJNNd
## 0LOGCELH 1CDEOJKM8JKKCKGNI 1JEOJKW 8UJR PGHH KJSGJP    ##        A2W X30X36B; ,VLGE> C_fJFOGCEW
#$ OUJ ECIGELOGCEW 8UJE GO PGHH FCIJ _LFc OC 0=9@W        #$        A/W ,44,2; 3cLRW 5J LENPJKJYW
#" ,EY OUJR PGHH LN LHICNO L OUGKY LVJEFR KJSGJP OUJ      #"        A2W X30X36B; 3cLRW 9 LI VCGEV OC NOLOJ
#% ECIGELOGCE _J[CKJ GO GN OUJE LFFJ^OJY GE OUJ 82=4W     #% OUJ C_fJFOGCE OULO OULO FLHHJY [CK GE[CKILOGCE PGOU
#& ?W 3K KJfJFOJYd                                        #& OUJ ^DKSGJP C[ OUJ 749 LEY OULO LENPJK GN ECO
"J &' O, ,1^1>61*' &-* .6 >)D8* A7M1 B11-                 #' _GEYGEV CE OUJ LVJEFRW
"U ,1^1>61* .- 7-9 )C 6A)21 K,1M.)D2 261K23 782)'         #(        4B A/W ,44,2;
#) ?W <CO GOW 2C ECIGELOGCE MM NC HJO IJ fDNO             #) ?W 5LN 821 JSJK gDJNOGCEJY OUJ SCKLFGOR C[
#* ILcJ NDKJ 9 VCO GOW BCD ULSJ L ECIGELOGEV LVJEOd       #* GE[CKILOGCE OULO L ECIGELOGEV LVJEFR ULN ^KCSGYJY OC
$? &' 4- 6A1 QR43 912'                                    $+ OUJ 8JKKCK 2FKJJEGEV 1JEOJKd
$# ?W 9E OUJ 749W 4DO OUJKJ LKJ COUJK                     $#        A2W X30X36B; 3_fJFOGCE LN OC NFC^JW
$$ ECIGELOGEV LVJEFGJN> FCKKJFOd                          $$ 3_fJFOGCE> SLVDJW 1LHHN [CK N^JFDHLOGCEi
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14326
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                ., #+"+ $% +"-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "#"                                                    "#&
# ^COJEOGLHHR GE[CKILOGCE PGOUGE OUJ HLP JE[CKFJIJEO    #          85. T980.22; 9 NDN^JFO OULO OULO LENPJK
$ ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD      $ SLKGJN CSJK OGIJW 9 OUGEc OUJKJ ULSJ _JJE OGIJN GE
" FLEW                                                  " UGNOCKR PUJKJ GO ULN _JJE CEJW ,EY 9 OUGEc OUJKJ
%         85. T980.22; TUJE RCD NLR SCKLFGOR> 9         % ULSJ _JJE OGIJN GE UGNOCKR PUJE GO ULN _JJE OUJ
& IJLE> FHJLKHR [KCI OUJ [LFO OULO PJ KJfJFO            & COUJKW 9 FCDHYEZO OJHH RCD LO OUGN ^LKOGFDHLK
' ECIGELOGCEN> PJ YGNLVKJJ PGOU OUJ NOLEYLKYW TUJOUJK   ' ICIJEO PUGFU CEJ GN ICKJ FCIICEW
( CK ECO OULO GN OUJ NLIJ LN SCKLFGOR> 9 LI ECO NDKJW   (          A/W ,44,2; 9EYGLELW
) 9 YCEZO cECP MM J\LFOHR DEYJKNOLEY PULO RCD IJLE _R   )          4B A/W ,44,2;
* SCKLFGORW                                             *      ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK
#+        4B A/W ,44,2;                                 #+ GEYJ^JEYJEOHR GESJNOGVLOJ YJKCVLOCKR GE[CKILOGCE
##    ?W    TJHH> RCD KJfJFO ECIGELOGCEN [CK OPC        ## ^KCSGYJY OC GO GE ND^^CKO C[ ECIGELOGCEN OC OUJ
#$ KJLNCEN> KGVUOd 9[ GO YCJNEZO IJJO OUJ IGEGIDI       #$ 82=4d
#" ND_NOLEOGSJ YJKCVLOCKR GE[CKILOGCEW 9N OULO PULO     #"         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#% RCD FLHH GOd                                         #% gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
"< &' 017A3 9)D >7-' @A76X2 C.-1' 4                     #& JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
"J D-*1,267-* =A76 6A76 +17-2'                          #'         85. T980.22; 2C GO YJ^JEYN CE PULO RCD
#( ?W 8UJ NJFCEY KJLNCE GN GO YCJNEZO IJJO OUJ          #( IJLE _R OUJ PCKY GESJNOGVLOJW 9[ PULO PJ MM RJLU>
#) IGEGIDI GYJEOG[RGEV GE[CKILOGCEd                     #) NC 9 PGHH HJO RCD OJHH IJW TULO YGY RCD IJLE _R OUJ
"% &' R72.>78893 912'                                   #* PCKY GESJNOGVLOJd
$+ ?W ,EY RCD LHH YCEZO cJJ^ OKLFc C[ UCP ILER          $+         4B A/W ,44,2;
$# ECIGELOGCEN LKJ KJfJFOJY _JFLDNJ C[ L [LGHDKJ OC     $# ?W =C RCD ILcJ LE GEYJ^JEYJEO YJOJKIGELOGCE
$$ IJJO IGEGIDI GYJEOG[RGEV YJKCVLOCKR GE[CKILOGCE      $$ LN OC OUJ OKDOU[DHEJNN C[ OUJ GE[CKILOGCE OULO
                                                  "#%                                                    "#'
# SJKNDN IGEGIDI ND_NOLEOGSJ YJKCVLOCKR GE[CKILOGCE>    # ECIGELOGEV LVJEFGJN ^KCSGYJ OC OUJ 821d
$ FCKKJFOd                                              $          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
#      &' P)3 .6 .2 -)6 172.89 6,7>T1*'                 " FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R HLP
%      ?W ,KJ RCD LPLKJ C[ ECIGELOGCEN OULO ULSJ        % JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
& _JJE KJfJFOJY _JFLDNJ OUCNJ ECIGELOGCEN YC ECO IJJO   &          85. T980.22; 2C FJKOLGEHR OUJ 821
' OUJ IGEGIDI ND_NOLEOGSJ YJKCVLOCKR GE[CKILOGCEd       ' YCJNEZO VC CDO GEOC OUJ [GJHY LEY GEOJKSGJP ^JC^HJW
(          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO         (          4B A/W ,44,2;
) FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R HLP            )      ?W 3cLRW
* JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK GO GENC[LK LN   %      &' @A76 27.*3 =A1- =1 7221223 =1 >A1>T 788
#+ RCD FLEW                                             "? 6A1 .-6188./1->1 6A76X2 7M7.87B81 6) D2' &-* .C 7
##         85. T980.22; BJN> PJ YC KJfJFO [CK OULO      "" -)+.-76), =1,1 6) K,)M.*1 D2 7 K.1>1 )C .-C),+76.)-
#$ KJLNCEW                                              "$ 7-* =1 C.-* 7-)6A1, K.1>1 )C .-C),+76.)- .- )D, )=-
#"         4B A/W ,44,2;                                "# 217,>A12 )C .-6188./1->1 A)8*.-/2 6A76 >)-6,7*.>62
#% ?W TUGFU KJLNCE GN ICKJ FCIICE MM ICKJ               "; 6A763 =1 =)D8* >1,67.-89 67T1 6A76 .-6)
#& FCIICEHR L _LNGN [CK ECIGELOGCE KJfJFOGCE MM L       "< >)-2.*1,76.)- =A1,1 =1 C)D-* 1L>D8K76),9 ),
#' [LGHDKJ OC IJJO IGEGIDI ND_NOLEOGSJ YJKCVLOCKR       "J 2)+16A.-/ 6A76 *.2>,1*.62 6A1 2)D,>1 ), 2)+16A.-/
#( GE[CKILOGCE NOLEYLKYN CK L [LGHDKJ OC IJJO IGEGIDI   "U 78)-/ 6A)21 8.-12' &-* =1 +7T1 7 6)678.69 )C
#) GYJEOG[RGEV GE[CKILOGCEd                             "N >.,>D+267->12 *161,+.-76.)- 72 6) =A16A1, ), -)6 6A1
#*         A2W X30X36B; 3_fJFOGCE GENC[LK LN GO         "% K1,2)- +1162 6A1 267-*7,*'
$+ FLHHN [CK GE[CKILOGCE ^JKOLGEGEV OC OUJ HLP          $+ ?W ,KJ ^JKNCEN CE OUJ NJHJFOJJ HGNO PUC
$# JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK GENC[LK LN     $# L^^HR [CK KJYKJNN SGL =52 8/9- ECOG[GJY _R 821 LN OC
$$ RCD FLEW                                             $$ PULO OUJGK NOLODN CE OUJ 82=4 GNd
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14327
                         8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  */ #+". $% +(/'

                                        1CEYDFOJY CE ALKFU #> $+#)
                                                     "#(                                                    "#*
"      &' P)'                                              # FHJLKW 1LE RCD KJLY _LFc OUJ HLNO gDJNOGCEd
$      ?W =CJN 821 ^KCSGYJ ^JKNCEN CE OUJ NJHJFOJJ         $          `8UJ KJFCKY PLN KJLY _LFcWa
" HGNO PUC ULSJ L^^HGJY [CK KJYKJNN SGL =52 8/9- PGOU      "          4B A/W ,44,2;
% LE C^^CKODEGOR OC FCEOJNO OUJ YJKCVLOCKR GE[CKILOGCE     %      ?W 9N OUJ MM ECP 9 KJIJI_JKW 9N OUJ
& 821 KJHGJY D^CE OC LFFJ^O OUJGK ECIGELOGCE OC OUJ        & NJHJFOJJ HGNO GEFHDNGCE NOLEYLKY ICKJ ^JKIGNNGSJ CK
' 82=4d                                                    ' HJNN ^JKIGNNGSJ OULE OUJ 82=4 GEFHDNGCE NOLEYLKYd
(          A2W X30X36B; 3_fJFOGCEW ]LVDJW                  (          A2W X30X36B; 9 LI VCGEV OC GNNDJ OUJ
)          85. T980.22; 8UJR FLE FJKOLGEHR ND_IGO          ) NLIJ C_fJFOGCEN LEY GENOKDFOGCENW 8ULO IGVUO _J
* LER GE[CKILOGCE OUJR PCDHY HGcJ OC ND_IGO OUKCDVU        * NCIJOUGEV PJ FLE FCE[JK CE LEY VJO _LFc OC RCD CE
#+ OUJ KJYKJNN ^KCFJNN LEY PJ PGHH FCENGYJK GOW            #+ L[OJK L _KJLcW 4DO [CK OUJ ICIJEO> 9 LI VCGEV OC
##         4B A/W ,44,2;                                   ## NOLEY CE OUGNW 9 PCDHY HGcJ OC cJJ^ VCGEVW
#$ ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK GYJEOG[R            #$         A/W ,44,2; 0C> 9 YCEZO PLEO OC cJJ^
#" OUJ GEFHDNGCE NOLEYLKY MM ULN OUJ 8JKKCK 2FKJJEGEV      #" VCGEVW 9[ RCD EJJY OC FCE[JK> 9 PCDHY HGcJ OC VJO
#% 1JEOJK JSJK ^D_HGFHR GYJEOG[GJY OUJ GEFHDNGCE           #% OUGN gDJNOGCE LENPJKJYW
#& NOLEYLKY [CK OUJ NJHJFOJJ HGNOd                         #&         A2W X30X36B; 3cLRW 8UJE HJO IJ fDNO
"J &' 4 *)-X6 B18.1M1 2)'                                  #' NOJ^  CDO LEY FCE[JK [CK L ICIJEOW
#( ?W ,KJ OUJKJ ^JC^HJ CE 8JKKCK 2FKJJEGEV                 #(         A/W ,44,2; 1LE PJ VC C[[ OUJ KJFCKYd
#) =LOL_LNJ PUC LKJ ECO CE OUJ NJHJFOJJ HGNO CK OUJ        #)         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ
#* 0CM7HR 6GNOd                                            #* KJFCKYW 8UJ OGIJ GN %;&& ^WIW
$+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO          $+         `, _KGJ[ KJFJNN PLN UJHYWa
$# gDJNOGCE  FLHHN [CK LER GE[CKILOGCE GI^HGFLOJY _R HLP   $#         85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ
$$ JE[CKFJIJEO ^KGSGHJVJ CK ^COJEOGLHHR NOLOJ NJFKJONW     $$ KJFCKYW ,EY PJ ULSJ _JJE CE OUJ KJFCKY [CK & UCDKN
                                                     "#)                                                    "$+
# 9 _JHGJSJ GO ULN LHKJLYR _JJE LNcJY LEY LENPJKJYW        # LEY %% IGEDOJNW ,EY OUJ OGIJ GN %;&* ^WIW
$ 4DO RCD FLE LENPJK G[ RCD FLEW                           $          A2W X30X36B; 8UJKJ PLN L ^JEYGEV
"         85. T980.22; BJNW                                " gDJNOGCEW 1LE PJ ULSJ OULO KJLY _LFcd
%         4B A/W ,44,2;                                    %          `8UJ KJFCKY PLN KJLY _LFcWa
&     ?W 9N OUJ NJHJFOJJ HGNO GEFHDNGCE NOLEYLKY           &          A2W X30X36B; 9 LI VCGEV OC C_fJFO
' ICKJ ^JKIGNNGSJ CK HJNN ^JKIGNNGSJ OULE OUJ              ' GENC[LK LN L FCI^KJUJENGSJ LENPJK PCDHY FLHH GEOC
( GEFHDNGCE NOLEYLKY [CK OUJ NJHJFOJJ MM HJO IJ NOLKO      ( ^HLR GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
) LVLGEW 9N OUJ NJHJFOJJ HGNO GEFHDNGCE NOLEYLKY ICKJ      ) ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJON> ^COJEOGLHHR
* ^JKIGNNGSJ CK HJNN ^JKIGNNGSJ OULE OUJ 8JKKCK            * 229W 5CPJSJK> RCD FLE LENPJKW
#+ 2FKJJEGEV YLOL_LNJZN GEFHDNGCE NOLEYLKYd                #+         85. T980.22; 2C OUJ NJHJFOJJ FKGOJKGL
##        A2W X30X36B; 9 LI VCGEV OC C_fJFO CE OUJ         ## LKJ GEFHDNGSJ C[ OUJ NOLEYLKY MM OUJ KJLNCEL_HJ
#$ _LNGN C[ 229> LHNC OUJ HLP JE[CKFJIJEO ^KGSGHJVJW       #$ NDN^GFGCE NOLEYLKYW ,EY OUJKJ LKJ LYYGOGCELH
#" ,EY CE OUJ _LNGN C[ JLFU C[ OUCNJ ^KGSGHJVJN> 9 LI      #" FKGOJKGL _JRCEY OULOW 2C GO GN L UGVUJK _LK [CK IR
#% VCGEV OC GENOKDFO OUJ PGOEJNN ECO OC LENPJKW            #% UGVUJK _LK OULE RCDK ICKJ ^JKIGNNGSJ CK HJNN
#&        A/W ,44,2; 5CP GN OUJ 821ZN GEFHDNGCE            #& ^JKIGNNGSJ HLEVDLVJW 2C 9 PCDHY NLR L UGVUJK _LK
#' NOLEYLKY 229> _JFLDNJ GO _JHCEVN OC 821d 9O YCJNEZO     #' OULE OUJ VJEJKLH 82=4 NOLEYLKYW
#( _JHCEV OC 82,W 821 FLEZO FLHH JSJKROUGEV OULO GO        #(         4B A/W ,44,2;
#) PCDHY HGcJ OC FLHH 229W 9O ULN OC ILcJ OULO             #) ?W 2C OUJKJ LKJ ^JKNCEN GE OUJ 82=4 PUC LKJ
#* GE[CKILOGCEW                                            #* ECO GE OUJ NJHJFOJJ HGNO> _DO OUJKJ LKJ ECO ^JKNCEN
$+        A2W X30X36B; 8UJ C_fJFOGCE GN CE OUJ             $+ CE OUJ NJHJFOJJ HGNO PUC LKJ ECO GE OUJ 82=4d
$# KJFCKY LEY GO NOLEYNW                                   $" &' @A76 .2 >),,1>6'
$$        A/W ,44,2; 6JO IJ fDNO ILcJ NDKJ GO GN           $$ ?W 3cLRW ,HH KGVUOW <KJLOW =CJN MM LO LER
                                             -6,0.8 =.-32
                                )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14328
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   *" #+(" $% +(&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "$#                                                       "$"
# OGIJ> YCJN 821 GE[CKI 82=4 HGNOJJN MM LO LER OGIJ>      # _LK OULE L ^KJ^CEYJKLEFJ C[ OUJ JSGYJEFJ NOLEYLKYd
$ YCJN 821 GE[CKI NJHJFOJJ HGNOJJN C[ OUJ YJKCVLOCKR      $          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
" GE[CKILOGCE OULO 821 KJHGJY D^CE OC LFFJ^O OUJ          " HJVLH FCEFHDNGCEW
% HGNOJJNZ ECIGELOGCE OC OUJ NJHJFOJJ HGNOd               %          85. T980.22; 9 _JHGJSJ GO GNW
<     &' P)3 =1 *) -)6'                                   &          4B A/W ,44,2;
'     ?W   =CJN OUJ MM GN OUJ KJLNCEL_HJ NDN^GFGCE        '      ?W =CJN MM OC NLOGN[R OUJ 82=4 GEFHDNGCE
( MM GN PULO RCD FLHH MM CcLRW 2C OUJ 82=4 KJLNCEL_HJ     ( NOLEYLKY> IDNO L ^JKNCE ULSJ JEVLVJY GE FKGIGELH
) MM 9 LI NCKKRW 8UJ GEFHDNGCE NOLEYLKY [CK MM HJO IJ     ) LFOGSGORd
* VJO OULOW 9N OUJ MM YCJN 821 ^KCSGYJ ECOGFJ OC          %      &' P)3 -)6 -1>1227,.89'
#+ ^JKNCEN CE OUJ NJHJFOJJ HGNO OULO OUJR LKJ CE OUJ      #+ ?W 2C HLP[DH LFOGSGOR FLE _J OUJ _LNGN C[ L
## NJHJFOJJ HGNO LO LER OGIJd                             ## ^JKNCEZN GEFHDNGCE GE OUJ 82=4d
"$ &' P)'                                                 #$         A2W X30X36B; 3_fJFOGCEW AGNHJLYGEVW
#" ?W ,EY 9 cECP 9 ULSJ LNcJY OUGN gDJNOGCEW 9            #" 3_fJFOGCEW AGNFULKLFOJKGhJN ^KGCK OJNOGICERW
#% LI fDNO LNcGEV GO [CK [CDEYLOGCE ^DK^CNJNW ,EY 9       #%         A/W ,44,2; 9[ 9 LI PKCEV> OJHH IJW
#& PGHH LNc L [CHHCPMD^ gDJNOGCEW TULO GN OUJ             #&         A2W X30X36B; 1LHHN [CK L HJVLH
#' GEFHDNGCE NOLEYLKY [CK OUJ 82=4d                       #' FCEFHDNGCEW
#(        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK               #(         85. T980.22; 6LP[DH GELNIDFU LN GO GN
#) GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO           #) ECO L FULKVJL_HJ C[[JENJW 9 OUGEc 9 FLEZO VGSJ
#* ^KGSGHJVJ> ^COJEOGLHHR 229> ^COJEOGLHHR 22-> SLVDJW    #* ^DKFULNJ OC OUJ PCKY HLP[DH GE OULO FLNJW 9 cECP
$+        A/W ,44,2; 8UJ GEFHDNGCE NOLEYLKY [CK           $+ OULO OUJ ^JKNCE YCJN ECO EJJY OC _J FULKVJL_HJ OC _J
$# OUJ 82=4d                                              $# GE OUJ 82=4W 5CPJSJK> LFOGSGOGJN OUJR LKJ GESCHSJY
$$        A2W X30X36B; 3U> 9ZI NCKKRW 9 UJLKY RCD         $$ GE FCDHY YJ^JEYGEV CE UCP FGKFDINOLEFJN [GELHHR ODKE
                                                   "$$                                                       "$%
# NLR NJHJFOJJW 9 PGOUYKLPW 9 IGNUJLKY OUJ gDJNOGCEW      # CDO JEY D^ _JGEV ^LKO C[ FCEYDFO OULO FCDHY
$          A/W ,44,2; 3cLRW                               $ JSJEODLHHR _J YJOJKIGEJY OC _J DEHLP[DH OUKCDVU OUJ
"          85. T980.22; 9O GN VJEJKLHHR PULO PJ           " FCDKNJ C[ GESJNOGVLOGCE CK YJ^JEYGEV CE PULO OUJ
% KJ[JK OC LN OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKYW          % ^JKNCE FUCCNJN OC YCW
&          4B A/W ,44,2;                                  &     ?W =CJN MM YCJN OUJKJ EJJY OC _J KJLNCEL_HJ
'      ?W 3cLRW ,EY 9 LI VCGEV OC N^JEY ^KC_L_HR          ' NDN^GFGCE C[ DEHLP[DH LFOGSGOR OC GEFHDYJ L ^JKNCE
( HGcJ "+ IGEDOJN LNcGEV RCD gDJNOGCEN L_CDO OUGN         ( GE OUJ 8JKKCK 2FKJJEGEV 1JEOJKd
) NOLEYLKYW TUR YC RCD LHH FLHH GO L KJLNCEL_HJ           )         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
* NDN^GFGCE NOLEYLKYd                                     * HJVLH FCEFHDNGCEW BCD FLE LENPJKW
"? &' 4 =72-X6 6A1,1 =A1- .6 =72 ),./.-7889 II            #+        85. T980.22; 9 LI NCKKRW 1LE RCD KJ^JLO
"" 9)D T-)= II 2) =A1- .6 =72 ),./.-7889 II =A76 6A1      ## OULOd
"$ ,76.)-781 ),./.-7889 =72 =A1- .6 =72 >)+1 DK =.6A3 4   #$        4B A/W ,44,2;
"# *)-X6 T-)=' 4 =)D8* 279 6A76 72 )C 2.66.-/ A1,1        #" ?W BJLUW 9 PGHH KJ^JLO GOW /JLNCEL_HJ
"; ,./A6 -)=3 .6 .2 7 YD.>T 1LK87-76.)- )C 6A76           #% NDN^GFGCE C[ PULOd
"< K7,6.>D87, 267-*7,*' @A1,1 7,1 +),1 =),*2 B1A.-*       "< &' 4-M)8M1+1-6 .- 61,,),.26 7>6.M.6.12'
"J .6' RD6 .6 .2 2.+K89 6A1 61,+ 6A76 =1 D21 6) ,1C1,     #' ?W 9 LI VCGEV OC GEOKCYDFJ .\UG_GO ,W
"U 6) =A76 .2 7 8)-/1, *1C.-.6.)-'                        #( .\UG_GO , GN OUJ CSJKSGJP YCFDIJEOW
#) ?W 8UJ MM OC _J GEFHDYJY MM NC GN OUJ 82=4             "N &' OT79'
#* GEFHDNGCE NOLEYLKY L HCPJK _LK OULE L ^KC_L_HJ FLDNJ   #* ?W 9 LI ECO VCGEV OC MM RCD LKJ ECO MM PJ
$+ NOLEYLKYd                                              $+ LKJ ECO VCGEV OC LNc LHH L_CDO GOW 9 fDNO KJLHHR
$" &' 012'                                                $# PLEO OC VC OC ^LVJ OUKJJ C[ OUJ NJFOGCE OGOHJY TLOFU
$$ ?W 9N OUJ 82=4 GEFHDNGCE NOLEYLKY L HCPJK              $$ 6GNOGEV LEY 2FKJJEGEVW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14329
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 *( #+() $% +(*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "$&                                                     "$(
"      &' OT79'                                          # ^D_HGFHR YGNNJIGELOJY OUGN YCFDIJEO GE LER PLRd
$          A/W ,44,2; 9 LI NCKKRW 9O GN HGcJ GE          $          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
" ND^^CKO C[ MM 9 LI NCKKRW TJ LKJ VCGEV OC VC           " gDJNOGCE FLHHN [CK GE[CKILOGCE PGOUGE OUJ ^DKSGJP C[
% OUKCDVU NCIJ YCFDIJEON GE L HGOOHJ _GOW TJ EJJY        % COUJK LVJEFGJNW
& [GSJ IGEDOJNW 1LE PJ VC C[[ OUJ KJFCKYd                &          85. T980.22; 9 LI ECO LPLKJ C[ L
'          85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ        '  ^LKOGFDHLK  ^D_HGF KJHJLNJ C[ OUGN YCFDIJEOW
( KJFCKYW 8UJ OGIJ GN &;+( ^WIW                          (          4B A/W ,44,2;
)          `, KJFJNN PLN UJHYWa                          )      ?W ,KJ RCD LPLKJ OULO OUGN YCFDIJEO ULN _JJE
*          85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ          * ^KCSGYJY OC OUJ ^HLGEOG[[N GE KJN^CENJ OC
#+ KJFCKYW 8UJ OGIJ GN &;#( ^WIW ,EY PJ ULSJ _JJE CE     #+ ^HLGEOG[[ZN YGNFCSJKR KJgDJNONd
## OUJ KJFCKY [CK & UCDKN LEY &# IGEDOJNW                "" &' 012'
#$         A/W ,44,2; 7GSJ UCDKN LEY &# IGEDOJNd         #$ ?W TLN OUGN YCFDIJEO ^KJ^LKJY [CK OUJ
#"         85. ]9=.3</,-5./; 1CKKJFOW                    #" ^DK^CNJN C[ HGOGVLOGCEd
#%         `.\UG_GO ,> ILKcJY [CK GYJEOG[GFLOGCEWa       #%         A2W X30X36B; BCD FLE LENPJKW
#&         4B A/W ,44,2;                                 #&         85. T980.22; 9O PLN ^KJ^LKJY [CK ILER
#'     ?W   8UJ YCFDIJEO GE [KCEO C[ RCD ULN _JJE        #' ^DK^CNJN> ECO OC J\FHDYJ HGOGVLOGCEW
#( ILKcJY LN .\UG_GO ,W ,KJ RCD [LIGHGLK PGOU OUGN       #(         4B A/W ,44,2;
#) YCFDIJEOd                                             #) ?W TLN CEJ C[ OUJ ^DK^CNJN> .\UG_GO ,> OUJ
"% &' 46 7KK17,2 6) B1 =A76 =1 >)D8* >788 7              #* CSJKSGJP C[ OUJ @W2W <CSJKEIJEOZN PLOFU HGNOGEV
$? 6,7-2K7,1->9 *)>D+1-6'                                $+ ^KCFJNN LEY ^KCFJYDKJNd 9N CEJ C[ OUJ ^DK^CNJN C[
$# ?W TUC YJFGYJY OC FKJLOJ OUGN YCFDIJEOd               $# OUGN MM GN CEJ C[ OUJ KJLNCEN OUGN YCFDIJEO PLN
$$         A2W X30X36B; 3_fJFOGCEW ]LVDJW                $$ FKJLOJY [CK ^DK^CNJN C[ DNJ GE OUGN HGOGVLOGCEd
                                                  "$'                                                     "$)
#          85. T980.22; 8UJ TLOFU 6GNOGEV ,YSGNCKR       #          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
$  1CDEFGHW                                              $ FLHHN [CK GE[CKILOGCE GE OUJ ^DKSGJP C[ COUJK
"          4B A/W ,44,2;                                 " LVJEFGJNW BCD FLE LENPJKW
%      ?W TULO 9 NDN^JFOJYW TUR YGY OUJ TLOFU            %          85. T980.22; BCD IJLE [CK OUGN
& 6GNOGEV ,YSGNCKR 1CDEFGH YJFGYJ OC FKJLOJ OUGN         & ^LKOGFDHLK HLPNDGOd
' YCFDIJEOd                                              '          4B A/W ,44,2;
(          A2W X30X36B; 3_fJFOGCEW ]LVDJW                (      ?W BJNW
) 3_fJFOGCE GENC[LK LN LE LENPJK PCDHY FLHH [CK HLP      N      &' P)3 -)6 .- K7,6.>D87, C), 6A.2 87=2D.6'
* JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW BCD FLE LENPJK      *      ?W TLN OUGN YCFDIJEO FKJLOJY [CK VJEJKLH
#+ OC OUJ J\OJEO RCD FLEW                                #+ HGOGVLOGCE ^DK^CNJNd
##         85. T980.22; 4JFLDNJ PJ ULY MM GO GN L        ##         A2W X30X36B; 3_fJFOGCE GENC[LK LN GO
#$ MM OUJ PLOFU  HGNOGEV FCIIDEGOR> OUJ PLOFU HGNOGEV    #$ FLHHN [CK GE[CKILOGCE GE OUJ ^DKSGJP C[ COUJK
#" JEOJK^KGNJ GN _KCLYW ,EY PJ PLEOJY OC MM _JFLDNJ      #" LVJEFGJN LEY L HJVLH FCEFHDNGCEW
#% OUJKJ LKJ NC ILER> LN RCD NJJ> ^KGSGHJVJN LEY COUJK   #%         85. T980.22; 9O PLN MM LN 9 NLGY _J[CKJ>
#& GE[CKILOGCEMNULKGEV KJNOKGFOGCEN KJHLOJY OC PULO PJ   #& GO PLN  FKJLOJY OC ^KCSGYJ LVJEFGJN PGOU OUJ
#' YC> PJ OUCDVUO GO PLN GI^CKOLEO OC LVKJJ CE OUGEVN    #' GE[CKILOGCE LN NC IDFU C[ PULO PJ YC GN GEOJKKJHLOJY
#( OULO PJ FCDHY ^KCSGYJ GE LE DEFHLNNG[GJY ^D_HGF       #( LEY GEOJKHCFcJY PGOU COUJK LVJEFGJNW 9O PLN FKJLOJY
#) NJOOGEV L_CDO PULO PJ YCW                             #) MM LEY OUJ ^KCFJNN C[ FKJLOGEV OUGN OCCc NCIJ OGIJW
#*         4B A/W ,44,2;                                 #*         4B A/W ,44,2;
$+ ?W 5LSJ RCD YGNNJIGELOJY MM 9ZI NCKKRW 5LN            $+     ?W   5CP HCEVd 5CP HCEV YGY GO OLcJ OC FKJLOJ
$# OUJ 8JKKCK 2FKJJEGEV 1JEOJK CK LER C[ OUJ IJI_JK      $# OUGN YCFDIJEOd
$$ LVJEFGJN C[ OUJ TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH        $$ &' &6 81726 2.L +)-6A23 +79B1 72 +D>A 72 7
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14330
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                      *+ #+(, $% ++('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    "$*                                                          ""#
" 917,'                                                     # 2C RCD NJJ GE OUJ OUGKY HGEJ PUJKJ GO NLRN
$      ?W TUJE PLN OUGN YCFDIJEO FKJLOJYd                   $ KJLNCEL_HJ NDN^GFGCE OULO OUJ GEYGSGYDLHN JEVLVJY>
#      &' \9 ,1>)881>6.)- .2 .6 =72 K,)B7B89                " ULN _JJE JEVLVJY> CK GEOJEYN OC JEVLVJ GE FCEYDFO
; C.-78.a1* 76 6A1 1-* )C 6A1 8726 >781-*7, 917,'           % FCENOGODOGEV GE ^KJ^LKLOGCE [CK> GE LGY> CK
&      ?W TLN MM PLN OUJ FKJLOGCE C[ OUGN YCFDIJEO          & [DKOUJKLEFJ C[> CK KJHLOJY OC OJKKCKGNI LEYjCK
'  FCIIDEGFLOJY    GE L NOLOJIJEO C[ FCEFHDNGCEN OULO OUJ   ' OJKKCKGNI LFOGSGOGJN> FCKKJFOd
( TLOFU 6GNOGEV ,YSGNCKR 1CDEFGH GNNDJYd                    U      &' 012'
)          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO           )      ?W 2C GO GN KJLNCEL_HJ NDN^GFGCE C[ L
* PCDHY FLHH [CK LER HLP JE[CKFJIJEO NJENGOGSJ              * SLKGJOR C[ YG[[JKJEO OUGEVN> FCKKJFOd
#+ GE[CKILOGCEW BCD FLE LENPJK G[ RCD FLEW                  "? &' 012'
##         85. T980.22; 9 PCDHY J\^JFO OUJ                  ## ?W 3EJ C[ OUCNJ OUGEVN GN ^KJOOR JLNR OC
#$ YGNFDNNGCE L_CDO OUGN YCFDIJEO PCDHY L^^JLK GE OUCNJ     #$ DEYJKNOLEYW /JLNCEL_HJ NDN^GFGCE OULO OUJ
#" NOLOJIJEON C[ FCEFHDNGCEW                                #" GEYGSGYDLH GN ECP JEVLVJY GE OJKKCKGNI CK OJKKCKGNO
#%         4B A/W ,44,2;                                    #% LFOGSGOGJNd
#& ?W <KJLOW 9 PCDHY HGcJ RCD OC ODKE OC ^LVJ               "< &' 012'
#' [CDKW 3U> ,KGhCELW 2C OUJ OC^ ^LKLVKL^U C[ ^LVJ          #' ?W 8ULOZN NOKLGVUO[CKPLKYW .EVLVGEV GE
#( [CDK YJNFKG_JN OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKYW        #( OJKKCKGNO LEY OJKKCKGNI LFOGSGOGJN GN L FKGIJ>
#) 1LE RCD fDNO KJSGJP OULO OC^ ^LKLVKL^UW 9 ULSJ NCIJ      #) FCKKJFOd
#* gDJNOGCEN L_CDO OULOW 6JO IJ cECP PUJE RCD ULSJ          #*          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
$+ [GEGNUJY KJSGJPGEV OULO ^LKLVKL^UW                       $+ HJVLH FCEFHDNGCEW
$" &' dV.6-122 ,17*.-/'e                                    $#          A/W ,44,2; 5J GN OUJ YJ^DOR YGKJFOCK C[
$$ ?W 3U> RCD LKJ YCEJd                                     $$ OUJ 8JKKCK 2FKJJE 1JEOJKW
                                                    ""+                                                          ""$
"      &' 012'                                              #           A2W X30X36B; 3cLRW 5J FLE LENPJKW
$      ?W 2C GO GN IR DEYJKNOLEYGEV OULO OUGN               $           85. T980.22; BCD cECP> 9 YCEZO OUGEc
" ^LKLVKL^U MM OUGN [GKNO ^LKLVKL^U CE ^LVJ [CDK C[         " OUJKJ GN LER [JYJKLH NOLODOJ OULO NLRN OULOW 2C G[
% .\UG_GO , JHL_CKLOJN CE OUJ IJLEGEV C[ OUJ                % RCD LKJ VCGEV OC MM RCD cECP> 9 OUGEc OUJ JHJIJEON
& KJLNCEL_HJ NDN^GFGCE NOLEYLKY OULO RCD ULSJ KJ[JKKJY      & C[ FKGIJ LKJ IDFU ICKJ ^LKOGFDHLKGhJY OULE OULOW
' OC LN OUJ 82=4 GEFHDNGCE NOLEYLKY> FCKKJFOd               ' 0CP> 9 OUGEc OUJR VJEJKLHHR PGHH MM IGVUO> _DO RCD
U      &' 012'                                              ( LKJ ECO GE L FULKVGEV YCFDIJEO [CK ^KC_L_HJ FLDNJW
)      ?W ,EY GO GYJEOG[GJN PULO MM LN OC PULO OUJ          ) BCD LKJ VCGEV OC ULSJ _J ICKJ N^JFG[GFW
* KJLNCEL_HJ NDN^GFGCE GN C[i GN OULO FCKKJFOd              *      ?W 9N GO OUJ 8JKKCK 2FKJJEGEV 1JEOJKZN SGJP
"? &' 012'                                                  #+ OULO GEYGSGYDLHN JEVLVJY GE OJKKCKGNI CK OJKKCKGNO
## ?W ,EY OUJ 82=4 GEFHDNGCE NOLEYLKY GN L                  ## LFOGSGOGJN LKJ JEVLVJY GE FKGIGELH LFOGSGORd
#$ KJLNCEL_HJ NDN^GFGCE C[ MM GN L KJLNCEL_HJ NDN^GFGCE     #$          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#" OULO OUJ GEYGSGYDLH GN JEVLVJY GE FCEYDFO                #" HJVLH FCEFHDNGCEW BCD FLE LENPJKW
#% FCENOGODOGEV OJKKCKGNI CK OJKKCKGNI LFOGSGOGJN>          #%          85. T980.22; 2C OUJKJ GN EC [JYJKLH
#& FCKKJFOd 8ULO PCDHY MM KJLNCEL_HJ NDN^GFGCE C[ OULO      #& FKGIGELH NOLODOJ OULO GN OULO _KGJ[W 8UJ [JYJKLH
#' PCDHY NLOGN[R OUJ 82=4 GEFHDNGCE NOLEYLKY> FCKKJFOd      #' FKGIGELH NOLODOJN ULSJ JHJIJEON OULO RCD ULSJ OC
#(         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L              #( IJJO OUJ JHJIJEONW
#) HJVLH FCEFHDNGCEW 8UJ YCFDIJEO N^JLcN [CK GONJH[W        #)          4B A/W ,44,2;
#* BCD FLE LENPJKW                                          #* ?W 2C PULO YCJN OUGN MM
$+         85. T980.22; 2C 9 LI NCKKRW                      $? &' &-* 9)D, *12>,.K6.)- *)12 -)6 II *)12 -)6
$#         4B A/W ,44,2;                                    $" /.M1 6A1 181+1-62 )C 7-9 K7,6.>D87, C1*1,78 >,.+1
$$     ?W    6JO IJ fDNO OKR GO LVLGEW 8ULO PLN _LYW        $$ 6A76 4 7+ 7=7,1'
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14331
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  *& #+++ $% ++-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   """                                                      ""&
#      ?W 2C PULO YCJN OJKKCKGNI IJLE GE OUGN             " ,172)-7B81 2D2K.>.)- 267-*7,*'
$ ^LKLVKL^UW 9E ^LKLVKL^U MM GE OUJ [GKNO ^LKLVKL^U       $      ?W <CO GOW 3cLRW 2C RCD LVKJJ OULO OUJ
" CE ^LVJ [CDK> PULO YCJN OJKKCKGNI CK OJKKCKGNO          " [GKNO ^LKLVKL^U C[ ^LVJ [CDK C[ .\UG_GO , YJ[GEJN
% LFOGSGOGJN IJLEd                                        % OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKY C[ OUJ 82=4>
<      &' @1,,),.26 7>6.M.6.12 7,1 /).-/ 6) B1 II         & FCKKJFOd
'      ?W   6JO IJ PGOUYKLP OUJ gDJNOGCEW                 J      &' 012'
U      &' OT79'                                           (      ?W 9N OUJKJ MM PGOUGE OUJ KJLNCEL_HJ MM OUJ
)      ?W =CJN OUJ 8JKKCK 2FKJJEGEV 1JEOJK YJ[GEJ         ) YJ[GEGOGCE C[ KJLNCEL_HJ NDN^GFGCE NOLEYLKY C[ OUJ
* OUJ OJKIN OJKKCKGNI LEYjCK OJKKCKGNO LFOGSGOGJN GE      * 82=4> OUJKJ L^^JLKN OUJ ^UKLNJ> gDCOJ> OJKKCKGNI LEY
#+ LER ILOJKGLH OULO GO ^CNNJNNJNd                        #+ CK OJKKCKGNO LFOGSGOGJN> DEgDCOJW =GY RCD NJJ OULO
##         A2W X30X36B; 9 LI VCGEV OC C_fJFO              ## ^LKO C[ OUJ KJLNCEL_HJ NDN^GFGCE NOLEYLKY
#$ GENC[LK LN OULO gDJNOGCE GI^HGFLOJN GE[CKILOGCE        #$ YJ[GEGOGCEd
#" ^KCOJFOJY _R HLP JE[CKFJIJEO CK ^COJEOGLHHR NOLOJ      "# &' 4 *)'
#% NJFKJON ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO        #% ?W 9N OUJ ^UKLNJ OJKKCKGNI LEYjCK OJKKCKGNO
#& OULO RCD FLEW                                          #& LFOGSGOGJN YJ[GEJY _R 821 GE LER YCFDIJEON OULO GO
#'         85. T980.22; 8UGN MM OUGN ^LKLVKL^U            #' ULNd
#( FGOJN OC OUJ NOLEYLKY OULO PJ L^^HRW 8UJ LFODLH        #(          A2W X30X36B; 3_fJFOGCE GENC[LK LN GO ULN
#) L^^HGFLOGCE C[ OUGN GE ^KLFOGFJ GN OUJ ND_fJFO C[      #) MM PJHH> HJO IJ LNNJKO OUJ C_fJFOGCEW 3_fJFOGCE
#* OKLGEGEV ILOJKGLHN C[ COUJK MM C[ COUJK OUGEVN OULO    #* GENC[LK LN OULO gDJNOGCE FLHHN [CK GE[CKILOGCE
$+ LELHRNON DNJ OC PUJKJ PJ OKLGE OUJ LELHRNON GE CKYJK   $+ ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR
$# OC L^^HR OUJ NOLEYLKYW                                 $# NOLOJ NJFKJON ^KGSGHJVJW 9[ RCD OUGEc RCD FLE
$$         4B A/W ,44,2;                                  $$ LENPJK> RCD FLEW 9[ RCD PCDHY HGcJ OC FCENDHO> PJ
                                                   ""%                                                      ""'
#      ?W =CJN 821 YJ[GEJ OUJ ^UKLNJ OJKKCKGNI            # FLE YC OULOW
$  LEYjCK  OJKKCKGNO LFOGSGOGJN LN GO L^^JLKN CE ^LVJ     $          85. T980.22; 9 FLEZO OUGEc C[ L ^HLFJ
" [CDK C[ .\UG_GO , GE LER ILOJKGLHNd                     " PUJKJ OULO GN [DKOUJK YJ[GEJYW 9E CDK ^KJSGCDN
%          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         % FCESJKNLOGCE> OUCDVU> RCD PJKJ OKRGEV OC JgDLOJ OULO
& gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP     & OC L FKGIGELH FULKVJW ,EY 9 C_fJFO OC JgDLOGEV OUJ
' JE[CKFJIJEO LEY ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW    ' HLEVDLVJ UJKJ OC OUJ JHJIJEON C[ NCIJOUGEV OULO PJ
( BCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW              ( [CDEY GE OUJ @EGOJY 2OLOJN FCYJW
)          85. T980.22; 8UJKJ GN EC YJ[GEGOGCE            )          4B A/W ,44,2;
* COUJK OULE OUGN YJ[GEGOGCE OULO YJ[GEJN OUCNJ PCKYNW    *     ?W =DHR ECOJYW =CJN OUJ MM YCJN OUJ 8JKKCK
#+         4B A/W ,44,2;                                  #+ 2FKJJEGEV 1JEOJK MM GE LER ILOJKGLH OULO 821
## ?W TULO YJ[GEGOGCE LKJ RCD KJ[JKKGEV OCd               ## ^CNNJNNJN CK GN LPLKJ C[> GN OUJ ^UKLNJ FCEYDFO
"$ &' @A1 )-1 )- 6A1 K7/1 6A76 9)D ^D26 ,17*'             #$ FCENOGODOGEV YJ[GEJY _R OUJ 8JKKCK 2FKJJEGEV 1JEOJKd
#" ?W 9 YCEZO NJJ L YJ[GEGOGCE C[ OJKKCKGNI LEY           "# &' P)'
#% CK OJKKCKGNO LFOGSGOGJN CE ^LVJ [CDK C[ .\UG_GO ,W     #% ?W 9E LER ILOJKGLH OULO 821 ILGEOLGEN CK GN
#&         A2W X30X36B; 3_fJFOGCEW ,KVDIJEOLOGSJW         #& LPLKJ C[> GN kGE ^KJ^LKLOGCE [CKk LN GO L^^JLKN GE
#' 3_fJFOGCEW 0CO L gDJNOGCEW                             #' OULO KJLNCEL_HJ NDN^GFGCE NOLEYLKY YJ[GEGOGCE
#(         4B A/W ,44,2;                                  #( YJ[GEJY _R 821W
#) ?W BCD LKJ KGVUOW 9 PGOUYKLP GOW 1LE RCD               #)         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
#* GYJEOG[R PULO YJ[GEGOGCE C[ OJKKCKGNI LEYjCK           #* gDJNOGCE FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R HLP
$+ OJKKCKGNO LFOGSGOGJN RCD LKJ OUJ KJ[JKKGEV OC CE       $+ JE[CKFJIJEO COUJK ^KGSGHJVJNW 4DO RCD FLE LENPJK OC
$# ^LVJ [CDK C[ .\UG_GO ,d                                $# OUJ J\OJEO OULO RCD FLEW
$$ &' 4 7+ ,1C1,,.-/ 6) 6A1 *1C.-.6.)- )C 6A1             $$         85. T980.22; ,HCEV OUGN HGEJ C[
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14332
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   *) #++. $% +&/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  ""(                                                       ""*
# gDJNOGCEN> 9 OUGEc 9 PCDHY HGcJ OC FCENDHOW             #           A2W X30X36B; 9 LI VCGEV OC C_fJFO
$           A/W ,44,2; 9 LI VCGEV OC YC GO [CK JSJKR      $ GENC[LK LN OULO LENPJK PCDHY GI^HGFLOJ HLP
" HGOOHJ cGEY C[ ^UKLNJ GE OULOW 2C G[ RCD VDRN PLEO      " JE[CKFJIJEO> ^COJEOGLHHR NOLOJ NJFKJON GE[CKILOGCEW
% OC YC HGcJ L VHC_LH FCENDHOLOGCEW                       % ,HNC FLHHN [CK L HJVLH FCEFHDNGCEW BCD FLE LENPJK
&           A2W X30X36B; 2DKJW                            & OC OUJ J\OJEO OULO RCD FLEW
'           85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ        '           85. T980.22; ,VLGE> 9 YCEZO OUGEc OULO 9
( KJFCKYW 8UJ OGIJ GN &;"# ^WIW                           ( FLE [DKOUJK LENPJK OULO PGOUCDO VJOOGEV GEOC
)           `, KJFJNN PLN UJHYWa                          ) ^KGSGHJVJY ILOJKGLHNW
*           A2W X30X36B; 2C OUJ PGOEJNN ULN L             *           A/W ,44,2; ,EY PULO LKJ OUJ ^KGSGHJVJNd
#+ FCKKJFOGCE OC ILcJ OC NCIJ C[ OUJ HGEJN C[             #+          A2W X30X36B; 9 NLGY HLP JE[CKFJIJEO LEY
## gDJNOGCEGEV OULO PJ ULSJ fDNO _JJE JEVLVJY GEd         ## ^COJEOGLH  NOLOJ NJFKJONW
#$          85. T980.22; 2C GEYJJY OUJ NOLEYLKYN MM       #$          4B A/W ,44,2;
#" OUJ YG[[JKJEO FLDNJN OULO RCD ULSJ GYJEOG[GJY PGOUGE   #" ?W TULO YCJN 8JKKCK 2FKJJEGEV 1JEOJK
#% OUGN> OUJR LKJ [DKOUJK YJ[GEJY GE OUJ TLOFU 6GNOGEV    #% FCENGYJK LN FCEYDFO GE LGY C[ OJKKCKGNI LEYjCK
#& <DGYLEFJW ,EY OUJE GE OUJ GEOJKKCVLOCKGJN> 9 ILYJ      #& OJKKCKGNO LFOGSGOGJNd
#' KJ[JKJEFJ OC OUJ OKLGEGEV ILOJKGLHN> PUGFU 9 NOLKOJY   #'          A2W X30X36B; 9 LI VCGEV OC LVLGE C_fJFOW
#( OC KJSGJP OC L [JP IGEDOJN LVC [CK OUJ 0=9@ LELHRNO    #( 9O FLHHN [CK L HJVLH FCEFHDNGCEW 4DO> LHNC> GENC[LK
#) MM OULO OPCMPJJc FHLNN GE OUJKJW ,EY OULO GN OUJE      #) LN GO FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#* ^LKO C[ OUCNJ OKLGEGEV ILOJKGLHN OULO GN L^^HGJY OC    #* JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ
$+ OUJ LFODLH L^^HGFLOGCE OULO 9 PLN OLHcGEV L_CDO C[     $+ NJFKJON ^KGSGHJVJW BCD FLE LENPJK G[ RCD FLEW
$# OUJ NOLEYLKYNW                                         $#          85. T980.22; 9 [JJH OUJ NLIJW
$$          2C OUGN GN OUJ NOLEYLKYW 8UJKJ GN ECO         $$          4B A/W ,44,2;
                                                  "")                                                       "%+
# LECOUJK NOLEYLKYW 4DO OC [DKOUJK _KJLc YCPE OUJ         #      ?W 5CP YC RCD [JJHd
$ ^KLFOGFLH L^^HGFLOGCE C[ OUJNJ NOLEYLKYN GN [CDEY GE    $      &' @A76 4 >7-X6 7-2=1, CD,6A1, B19)-* =A76X2
" OUJ VDGYLEFJ LEY OUJ OKLGEGEV ILOJKGLHN [CK JLFU CEJ    # )- 6A.2 K7/1 =.6A)D6 /166.-/ .-6) K,.M.81/1*
% C[ OUCNJ FHLDNJNW                                       ; +761,.782' &-*3 YD.61 >7-*.*893 6A76X2 =A9 6A.2 .2
&      ?W TULO GN FCEYDFO FCENOGODOGEV MM PULOZN MM       < =A76X2 )- 6A.2 K7/1'
' PULO YCJN 821 FCENGYJK FCEYDFO FCENOGODOGEV             '      ?W TULO YCJN 821 FCENGYJK LN FCEYDFO GE
( OJKKCKGNI LEYjCK OJKKCKGNO LFOGSGOGJNd                  (  [DKOUJKLEFJ   C[ OJKKCKGNI LEYjCK OJKKCKGNO
)           A2W X30X36B; ,EY 9 LI VCGEV OC C_fJFO CE      ) LFOGSGOGJNd
* OUJ _LNGN C[ OUJ LENPJK GI^HGFLOGEV HLP JE[CKFJIJEO     *          A2W X30X36B; ,VLGE> 9 C_fJFO OULO GO
#+ NJENGOGSJ GE[CKILOGCEW ,HNC FLHHGEV [CK L HJVLH        #+ FLHHN [CK L HJVLH FCEFHDNGCEW 3_fJFO CE OUJ _LNGN
## FCEFHDNGCEW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD      ## OULO LE LENPJK PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY
#$ FLEW                                                   #$ _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR
#"          85. T980.22; 9 OUGEc PGOUCDO VJOOGEV          #" NOLOJ NJFKJON ^KGSGHJVJW 9[ RCD OUGEc RCD FLE
#% GEOC OUJ VDGYLEFJ GONJH[ OULOZN ^KGSGHJVJY> 9 OUGEc    #% LENPJK> RCD FLEW
#& OUJ PCKYN ULSJ OC NOLEY [CK OUJINJHSJN VJEJKLHHRW 9    #&         85. T980.22; 8UJ NLIJW
#' OUGEc GO GN L MM PJHH> EC> 9 PGHH fDNO HJLSJ GO LO     #'         4B A/W ,44,2;
#( OULOW                                                  #(     ?W    9N HJLKEGEV ,KL_GF GE [DKOUJKLEFJ C[
#)          4B A/W ,44,2;                                 #) OJKKCKGNI LEYjCK OJKKCKGNO LFOGSGOGJNd
#* ?W TULO GN FCEYDFO GE ^KJ^LKLOGCE [CK                  #*         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
$+ OJKKCKGNId 9ZI NCKKRW TULO YCJN 821 FCENGYJK           $+ N^JFDHLOGCEW 3_fJFOGCEW 1LHHN [CK L HJVLH
$# FCEYDFO GE ^KJ^LKLOGCE [CK OJKKCKGNI LEYjCK            $# FCEFHDNGCEW 3_fJFOGCE GENC[LK LN OUJ LENPJK PCDHY
$$ OJKKCKGNO LFOGSGOGJNd                                  $$ GI^HGFLOJ HLP JE[CKFJIJEO NJENGOGSJ GE[CKILOGCEW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14333
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  *- #+&" $% +&&'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    "%#                                                     "%"
# BCD FLE LENPJK OULO G[ RCD FLEW                          # [CK HJVLH GE[CKILOGCEW 9 LI LNcGEV UCP OUJ 821
$          85. T980.22; 9 OUGEc OULO PCDHY _J LN           $ L^^HGJN OUJ NOLEYLKY OULO GO ULN LYC^OJY [CK 82=4
" CEJ C[ ILER [LFOCKNW 9E FCEOJ\O> 9 PCDHY NLR OULO        " GEFHDNGCEW
% _R GONJH[> ECW 4DO GE FCEOJ\O C[ LYYGOGCELH              %          A2W X30X36B; ,EY IR C_fJFOGCEN LKJ CE
& [LFOCKN> GO FCDHY _J KJHJSLEOW                           & OUJ KJFCKYW ,EY OUJR NOLEY LN YCJN OUJ GENOKDFOGCEW
'          4B A/W ,44,2;                                   '          4B A/W ,44,2;
(      ?W 2C HJLKEGEV ,KL_GF FCDHY _J FCEYDFO GE           (      ?W 9[ L ^JKNCE ULN L KJHLOGSJ PUC GN GE OUJ
) [DKOUJKLEFJ C[ OJKKCKGNI LEYjCK OJKKCKGNO                ) 82=4> FLE OUJGK LNNCFGLOGCE PGOU OULO ^JKNCE _J L
* LFOGSGOGJNd                                              * _LNGN C[ OUJGK GEFHDNGCE GE OUJ 749d
#+         A2W X30X36B; 3_fJFOGCEW                         #+         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
## AGNFULKLFOJKGhJN ^KGCK OJNOGICERW ,NcJY LEY             ## N^JFDHLOGCEi  ^COJEOGLHHR FLHHN [CK L HJVLH
#$ LENPJKJYW                                               #$ FCEFHDNGCEW 3_fJFOGCE OULO OULO gDJNOGCE FLHHN [CK
#"         85. T980.22; 0CO _R GONJH[W                     #" GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO
#%         4B A/W ,44,2;                                   #% ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJONW ,EY 9 LI
#& ?W 9 cECP ECO _R GONJH[> _DO HJLKEGEV ,KL_GF            #& VCGEV OC LVLGE GENOKDFO OUJ PGOEJNN ECO OC LENPJKW
#' FCDHY _J FCEYDFO GE [DKOUJKLEFJ C[ OJKKCKGNI LEY        #'         A/W ,44,2; 3E PULO VKCDEYN LKJ RCD VCGEV
#( OJKKCKGNO LFOGSGOGJNd                                   #( OC GENOKDFO OUJ PGOEJNN ECO OC LENPJKd
#)         A2W X30X36B; 3_fJFOGCEW                         #)         A2W X30X36B; 6LP JE[CKFJIJEO>
#* AGNFULKLFOJKGhJN MM                                     #* ^COJEOGLHHR NOLOJ NJFKJONW
$+         A/W ,44,2; 9ZI NCKKRW 9 LI VCGEV OC             $+         4B A/W ,44,2;
$# PGOUYKLP GOW BCD LKJ KGVUOW 5J LENPJKJY GOW             $#     ?W   9N GEOJKELOGCELH OKLSJH FCEYDFO GE
$$         4B A/W ,44,2;                                   $$ [DKOUJKLEFJ C[ OJKKCKGNI LEYjCK OJKKCKGNO
                                                    "%$                                                     "%%
#      ?W TULO GN FCEYDFO KJHLOJY OC MM 9 LI NCKKRW        # LFOGSGOGJNd
$  TULO   YCJN 821 FCENGYJK FCEYDFO KJHLOJY OC OJKKCKGNI   $           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
" LEYjCK OJKKCKGNO LFOGSGOGJNd                             " N^JFDHLOGCEW 3_fJFOGCEW 1LHHN [CK HJVLH FCEFHDNGCE
%          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L             % GENC[LK LN GO MM 9 LI LHNC C_fJFOGEV GENC[LK LN GO
& HJVLH FCEFHDNGCEW 3_fJFOGCE GENC[LK LN GO                & GI^HGFLOJN GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
' GI^HGFLOJN GE[CKILOGCE ^KCOJFOJY _R OUJ HLP              ' JE[CKFJIJEO ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJW
( JE[CKFJIJEO ^KGSGHJVJ CK ^COJEOGLHHR OUJ NOLOJ           ( BCD FLE LENPJK G[ RCD OUGEc RCD FLEW
) NJFKJON ^KGSGHJVJW 9[ RCD OUGEc RCD FLE LENPJK> RCD      )           85. T980.22; 9 PCDHY LVLGE NLR OULOZN L
* FLEW                                                     * [LFOCKW ,EY GO GN MM _DO GO PCDHY _J MM NGI^HR
#+         85. T980.22; 9 YCEZO OUGEc 9 FLE LENPJK         #+ NOLEYGEV LHCEJ> OUJ [LFO OULO NCIJ_CYR ULN OKLSJHHJY
## OULO LER [DKOUJK PGOUCDO VJOOGEV GEOC ^KGSGHJVJY        ## GEOJKELOGCELHHR> 9 YCEZO OUGEc VJEJKLHHR PCDHYW 4DO
#$ GE[CKILOGCEW                                            #$ RCD cECP> GO GN YJ^JEYJEO D^CE L FCI_GELOGCE
#"         4B A/W ,44,2;                                   #" OCOLHGOR C[ OUJ FGKFDINOLEFJNW ,EY GO FCDHY
#% ?W 9N MM GN ULSGEV L KJHLOGSJ PUC GN DEYJK              #% FJKOLGEHR _J KJHJSLEOW
#& GESJNOGVLOGCE [CK L OJKKCKGNIMKJHLOJY KJLNCE FCEYDFO    #&          4B A/W ,44,2;
#' KJHLOJY OC OJKKCKGNI LEYjCK OJKKCKGNO LFOGSGOGJNd       #' ?W =CJN OUJ 82=4 GEFHDNGCE NOLEYLKY MM 9 LI
#(         A2W X30X36B; 3_fJFOGCEW 8ULO FLHHN [CK          #( NCKKRW TUJE L ^JKNCE GN ECIGELOJY OC OUJ 82=4> IDNO
#) L HJVLH FCEFHDNGCE LEY [CK N^JFDHLOGCEW 9O LHNC         #) OUJ ECIGELOGCE GEFHDYJ OUJ ^KCN^JFOGSJ HGNOJJZN YLOJ
#* FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP              #* C[ _GKOUd
$+ JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJONW 9     $+          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$# LI VCGEV OC GENOKDFO OUJ PGOEJNN ECO OC LENPJKW         $# FLHHN [CK HLP JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW
$$         A/W ,44,2; ,EY> LVLGE> 9 LI ECO LNcGEV          $$ BCD FLE LENPJK G[ RCD FLEW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14334
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  *. #+&) $% +&*'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    "%&                                                     "%(
#          85. T980.22; 9O YCJN ECO EJFJNNLKGHR           #          85. T980.22; 9 YCEZO OUGEc 9 FLE LENPJKW
$ KJgDGKJ OUJ ^KCSGNGCE C[ L YLOJ C[ _GKOU> LHOUCDVU      $ 9 OUGEc OULOZN ^KGSGHJVJYW
" OULO PGHH L[[JFO L NFKJJEL_GHGOR [CK SLKGCDN            "          4B A/W ,44,2;
% ^LKOEJKNW                                               %      ?W BCD YCEZO cECP PUJOUJK CK ECO OUJKJ GN
&          4B A/W ,44,2;                                  & FUGHYKJE CE OUJ 8JKKCK 2FKJJE =LOL_LNJd
'     ?W ACNO 82=4 JEOKGJN GEFHDYJ YLOJ C[ _GKOU          '          A2W X30X36B; 3_fJFOGCEW
( GE[CKILOGCE MM                                          ( AGNFULKLFOJKGhJN UGN OJNOGICERW 5J NLGY UJ FLEZO
)          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              ) LENPJK PGOUCDO ^KCSGYGEV ^KGSGHJVJY GE[CKILOGCEW
* N^JFDHLOGCEW                                            *          A/W ,44,2; TULOZN ^KGSGHJVJYd TULOZN
#+         4B A/W ,44,2;                                  #+ OUJ MM PULOZN ^KGSGHJVJYd 9ZI DEFHJLKW
## ?W MM FCKKJFOd                                         ##         A2W X30X36B; 9 LNNJKOJY MM 9 LNNJKOJY
"$ &' 4 *)-X6 T-)= .C 4 >7- 7>6D7889 II 4 =)D8*           #$ HLP JE[CKFJIJEO> ^COJEOGLHHR NOLOJ NJFKJOW
"# B1 2K1>D876.-/ 6) 279 6A76 6A76X2 6,D1'                #"         A/W ,44,2; 9O GN L NOLOJ NJFKJO PUJOUJK
#% ?W 7CK @W2W ^JKNCEN> YCJN OUJ 821 KJgDGKJ              #% OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ MM
#& OULO OUJ ECIGELOGEV LVJEFR GYJEOG[R OUJ YLOJ C[        #&         A2W X30X36B; 9E LE GEYGSGYDLH FLNJ>
#' _GKOU [CK OUJ ^JKNCE OULO OUJR LKJ ECIGELOGEV OC _J    #' NOLOJ NJFKJO FCDHY L^^HR OC LE GEYGSGYDLH FLNJW ,EY
#( GEFHDYJY GE OUJ 82=4d                                  #( 9 LI LNNJKOGEV OUCNJ ^KGSGHJVJNW
#)         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         #)         4B A/W ,44,2;
#* FLHHN [CK HLP JE[CKFJIJEO NJENGOGSJ ^KGSGHJVJY         #* ?W 5CP ILER FUGHYKJE LKJ GE OUJ 8JKKCK
$+ GE[CKILOGCEW BCD FLE LENPJK G[ RCD FLEW                $+ 2FKJJEGEV =LOL_LNJd
$#         85. T980.22; 9 OUGEc GO GN ICKJ HGcJHR         $#         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
$$ OULO @W2W ^JKNCEN PGHH ULSJ YLOJ C[ _GKOU> _DO GO GN   $$ GE[CKILOGCE GI^HGFLOGEV OUJ HLP JE[CKFJIJEO
                                                    "%'                                                     "%)
# ECO KJgDGKJYW                                           # ^KGSGHJVJ> ^COJEOGLHHR OUJ NOLOJ NJFKJONW ,EY 9
$          4B A/W ,44,2;                                  $ PGHH fDNO GENOKDFO RCD ECO OC LENPJK OULOW
"      ?W 2C OUJKJ LKJ NCIJ @W2W ^JKNCEN PUC LKJ          "          4B A/W ,44,2;
% GEFHDYJY GE OUJ 82=4 [CK PUGFU 82=4 YCJN ECO ULSJ       %       ?W 9N OUJKJ LEROUGEV L_CDO OUJ 82=4
& LER YLOJ C[ _GKOU GE[CKILOGCE GE OUJ 82=4d              & GEFHDNGCE NOLEYLKYN OULO FCENOKLGEN 821ZN L_GHGOR OC
'          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         ' HGNO FUGHYKJE GE OUJ 82=4d
(  FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO     (          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
) ^KGSGHJVJW 2^JFDHLOGCEW BCD FLE LENPJK G[ RCD FLEW      ) FLHHN [CK GE[CKILOGCE GI^HGFLOGEV OUJ HLP
*          85. T980.22; 9 PCDHY N^JFDHLOJ OULO GO         * JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR NOLOJ NJFKJONW
#+ GN ^CNNG_HJ OULO OUJKJ GNW 9 YCEZO cECP C[ L           #+ BCD FLE LENPJK G[ RCD FLEW
## ^LKOGFDHLK CEJW                                        ##         85. T980.22; 9 OUGEc OUJ LVJ C[ LE
#$         4B A/W ,44,2;                                  #$ GEYGSGYDLH  fDNO HGcJ OUCNJ COUJK [LFOCKN PJ OLHcJY
#" ?W 7CK OUJ GEYGSGYDLHN GE OUJ 82=4 PUC ULSJ            #" L_CDO GN KJHJSLEOW 4DO EC NGEVHJ [LFOCK GN
#% YLOJ C[ _GKOU GE[CKILOGCE> 821 C_SGCDNHR cECPN UCP     #% YGN^CNGOGSJW
#& CHY OUJR LKJ> FCKKJFOd                                 #&         4B A/W ,44,2;
"J &' 012'                                                #' ?W =CJN 821 ^KCSGYJ GON ^JKNCEEJH VDGYLEFJ
#( ?W ,KJ OUJKJ FUGHYKJE CE OUJ 82=4d 9 LI                #( LN OC UCP OC FCENGYJK OUJ LVJ C[ L ^KCN^JFOGSJ 82=4
#) NCKKRW ,KJ OUJKJ FUGHYKJE GE OUJ 82=4d                 #) HGNOJJ PUJE 821 ^JKNCEEJH FCENGYJK LFFJ^OGEV CK
#*         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO         #* KJfJFOGEV L ECIGELOGCEd
$+ FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP             $+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
$# JE[CKFJIJEO ^KGSGHJVJ> ^COJEOGLHHR NOLOJ NJFKJONW      $# FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO
$$ BCD FLE LENPJK G[ RCD OUGEc RCD FLEW                   $$ ^KGSGHJVJ CK ^COJEOGLHHR NOLOJ NJFKJONW 9[ RCD
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
Case 1:16-cv-00375-AJT-JFA Document 306-28 Filed 03/12/19 Page 90 of 100 PageID#
                                     14335
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   ** #+&, $% +)('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    "%*                                                      "&#
# OUGEc RCD FLE LENPJK> RCD FLE PGOUCDO PLGSGEV OUJ       # LHICNO OUJ SJKR _LFc> OUJ NJFCEY OC HLNO ^LVJW 9O
$ ^KGSGHJVJW                                              $ GN ^LVJ '"W =C RCD NJJ RCDK NGVELODKJ CE ^LVJ '"d
"         85. T980.22; 9 YCEZO OUGEc 9 FLE LENPJK         #      &' 4 7KK17, II 4 211 =A76 7KK17,2 6) B1 +9
% OULO GE ^LKOGFDHLKW                                     ; 2./-76D,1'
&         A/W ,44,2; 4JFLDNJ C[ OUJ HLP                   &      ?W 8ULOZN RCDK NGVELODKJd
' JE[CKFJIJEO ^KGSGHJVJd                                  J      &' 0123 .6 .2'
(         A2W X30X36B; 9 ULSJ LNNJKOJY OUJ                (      ?W ,EY PUR GN RCDK NGVELODKJ CE OUGN
) ^KGSGHJVJNW 8UJR LKJ CE OUJ KJFCKYW                     ) YCFDIJEOd
*         4B A/W ,44,2;                                   *           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L
#+ ?W =CJN 821 ULSJ LER GE[CKILOGCE OULO L                #+ HJVLH FCEFHDNGCEW BCD FLE LENPJK LN OC RCDK
## FUGHY ULN JSJK _JJE ^HLFJY GE OUJ 82=4d                ## DEYJKNOLEYGEVW
#$        A2W X30X36B; 3_fJFOGCEW 1LHHN [CK               #$          85. T980.22; ,N OUJ NLIJ KJLNCE OULO 9
#" GE[CKILOGCE GI^HGFLOJY _R OUJ HLP JE[CKFJIJEO          #" LI UJKJW 9 LI KJ^KJNJEOGEV OUJ 821W ,EY PULO GN GE
#% ^KGSGHJVJ LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON            #% OUGN MM GE OUJ KJN^CENJ OC OUJ GEOJKKCVLOCKGJN GN
#& ^KGSGHJVJW 9 PGHH GENOKDFO UGI ECO OC LENPJKW          #& OKDJW
#'        4B A/W ,44,2;                                   #'          4B A/W ,44,2;
#( ?W 5CP L_CDO OUGNd =CJN 821 ULSJ LER                   #( ?W 2C RCD ^LKOGFG^LOJY GE OUJ MM RCD ULSJ
#) GE[CKILOGCE OULO LE LYDHO ULN JSJK _JJE ^HLFJY GE      #) KJLY OUJNJ LENPJKN ^KJSGCDNHR> FCKKJFOd
#* OUJ 8JKKCK 2FKJJEGEV =LOL_LNJd                         "% &' 4 A7M1'
$? &' 012'                                                $+ ?W ,EY OUJR LKJ LFFDKLOJ LN [LK LN RCD cECPd
$# ?W 5LN 821 ^HLFJY LE LYDHO GE OUJ 8JKKCK               $" &' 012'
$$ 2FKJJEGEV =LOL_LNJd                                    $$ ?W 9 PCDHY HGcJ RCD OC ODKE OC ^LVJ #%W =C
                                                    "&+                                                      "&$
"      &' 012'                                            # RCD NJJ LO OUJ _COOCI ULH[ C[ #%> GEOJKKCVLOCKR
$      ?W 5LN OUJ 821 ^HLFJY L FUGHY GE OUJ 8JKKCK        $ EDI_JK NG\d
" 2FKJJEGEV =LOL_LNJd                                     #     &' 4 *)'
%           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             %     ?W 2C 9 LI VCGEV OC LNc RCD OC KJSGJP
& GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO ^KGSGHJVJ      & GEOJKKCVLOCKR EDI_JK NG\W 8ULOZN OUJ GEOJKKCVLOCKR
' LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON ^KGSGHJVJW 9 PGHH     ' GE _CHY GOLHGFNW ,EY OUJKJ GN L NJFOGCE C[
( GENOKDFO RCD ECO OC LENPJKW                             ( C_fJFOGCENW 9 PCDHY NLR OULOZN HJVLH VC__HJYJVCCcW
)           A/W ,44,2; 9 IJLE> PJ PGHH [GEY CDO OULO      ) BCD LKJ PJHFCIJ OC KJSGJP GOW 8UJ ^LKO OULO 9 LI
* HLOJKW                                                  * VCGEV OC LNc RCD L_CDO GN CE ^LVJ #'W 9O GN OUJ
#+          A2W X30X36B; 3cLRW                            #+ KJN^CENJW 4DO RCD FLE VC LUJLY LEY KJSGJP OULO
##          `.\UG_GO 4> ILKcJY [CK GYJEOG[GFLOGCEWa       ## LFODLH GEOJKKCVLOCKR> C_fJFOGCEN> LEY KJN^CENJW 6JO
#$          4B A/W ,44,2;                                 #$ IJ cECP PUJE RCD LKJ YCEJ> LEY OUJE 9 LI VCGEV OC
#" ?W 9 LI VCGEV OC GEOKCYDFJ .\UG_GO 4W                  #" LNc RCD L [JP gDJNOGCENW
#% .\UG_GO 4 GN OUJ YJ[JEYLEOZN LENPJKN OC -HLGEOG[[ZN    "; &' dV.6-122 ,17*.-/'e
#& [GKNO NJO C[ GEOJKKCVLOCKGJN OC 821W AKW <KCU> PJ      #& ?W BCD LKJ YCEJW 3cLRW 2C 9 LI HCCcGEV LO
#' LKJ ECO VCGEV OC VC OUKCDVU OUJ PUCHJ YCFDIJEOW 9O     #' ^LVJ #'> OUJ KJN^CENJ ^LKLVKL^UW 9E RCDK KJN^CENJ>
#( GN L SJKR> SJKR HCEVW ,EY OUJKJ GN L HCO C[            #( RCD NLR OULO RCD J\^CKO ND_NJON C[ 82=4 YLOL OC
#) VC__HJYRVCCc LO OUJ _JVGEEGEV JN^JFGLHHRW 9 PLEO OC    #) ^LKOEJK LVJEFGJN LEY [CKJGVEJK ^LKOEJKN [CK DNJ _R
#* MM                                                     #* OUCNJ ^LKOEJKN GE L SLKGJOR C[ HLP[DH OJKKCKGNO
$? &' 4 )B^1>6 6) 6A1 *12>,.K6.)- )C 6A.2                 $+ NFKJJEGEV [DEFOGCENW =C RCD NJJ PUJKJ 9 LId
$" /)BB81*9/))T'                                          $" &' 012'
$$ ?W TJHH> 9 PLEO OC OLcJ RCDK LOOJEOGCE OC              $$ ?W TULO YC RCD IJLE _R HLP[DH OJKKCKGNO
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14336
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  *, #+)+ $% +)-'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "&"                                                      "&&
# NFKJJEGEV [DEFOGCENd                                    # HLP JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR NOLOJ
$          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK L            $ NJFKJONW ,HNC FLHHN [CK L HJVLH FCEFHDNGCEW 4DO
" HJVLH FCEFHDNGCEW                                       " RCD FLE LENPJK OC OUJ J\OJEO OULO RCD FLEW
%          A/W ,44,2; 9O GN UGN LENPJKW 9 LI              %           85. T980.22; 9 YCEZO LNNJKO OULO _R
& LNcGEV UGI OC J\^HLGE UGN LENPJKW                       & NGVEGEV LE LVKJJIJEO PGOU DN NDYYJEHR ,IJKGFLE HLP
'          A2W X30X36B; BCD FLE LENPJKW                   ' _JFCIJN L^^HGFL_HJ OC L [CKJGVE ^LKOEJK G[ OULOZN
(          85. T980.22; 9 IJLE OULO OUJNJ LKJ             ( PULO RCD IJLEW
) [DEFOGCEN OULO OUJ KJN^JFOGSJ LVJEFGJN LKJ              )           4B A/W ,44,2;
* LDOUCKGhJY OC YC _R HLP LN ^LKO C[ OUJGK IGNNGCE        *       ?W 2C 821 YCJN ECO KJgDGKJ [CKJGVE ^LKOEJKN
#+ OULO KJHLOJ OC MM ULSJ NCIJ EJ\DN OC OJKKCKGNI LEY     #+ OC L_GYJ _R @W2W HLP GE UCP OUCNJ [CKJGVE ^LKOEJKN
## DHOGILOJHR ULN _JJE LVKJJY OC _R OUJ TLOFU 6GNOGEV     ## DOGHGhJ 82=4 GE[CKILOGCEd
#$ ,YSGNCKR 1CDEFGHW                                      #$          A2W X30X36B; 3_fJFOGCEW
#"         4B A/W ,44,2;                                  #" AGNFULKLFOJKGhJN ^KGCK OJNOGICER LEY C_fJFOGCE NC
#% ?W TJHH> 9 NJJ UCP OULO FCDHY _J L^^HGFL_HJ            #% [LK LN OUJ LENPJK FLHHN [CK LEROUGEV ^KCOJFOJY _R
#& OC ^LKOEJK LVJEFGJNW -LKOEJK LVJEFGJN RCD LKJ          #& HLP JE[CKFJIJEO NOLOJ NJFKJONW BCD FLE LENPJK OC
#' KJ[JKKGEV OC HGcJ YCIJNOGF JEOGOGJN> FCKKJFOd          #' OUJ J\OJEO OULO RCD FLEW ,HNC FLHHN [CK HJVLH
"U &' 012'                                                #( FCEFHDNGCEW
#) ?W ,EY OUJE RCD ULSJ HGcJ OUJ FCEfDEFOGCE              #)          85. T980.22; 9 YCEZO OUGEc GO PCDHY _J
#* kLEYk LEY OUJ [CKJGVE ^LKOEJKNW 2C 9 LI GILVGEGEV      #* KJLHHR ^CNNG_HJ [CK ,IJKGFLE HLP OC L^^HR OC L
$+ OULOZN cGEY C[ YGSGYGEVW BCD ULSJ ^LKOEJK LVJEFGJN     $+ [CKJGVE NCSJKJGVEW
$# OULO LKJ YCIJNOGFW 9N OULO PULO RCD IJLEO _R           $#          4B A/W ,44,2;
$$ ^LKOEJK LVJEFGJNd                                      $$ ?W 2C 821 YCJN ECO KJgDGKJ [CKJGVE ^LKOEJKN
                                                   "&%                                                      "&'
"       &' 012'                                           # OC DOGHGhJ 82=4 GE[CKILOGCE GE LFFCKYLEFJ PGOU @W2W
$       ?W ,EY OUJE [CKJGVE ^LKOEJKN LKJ MM               $ HLP> FCKKJFOd
#       &' 012'                                           "         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
%       ?W MM OUJ [CKJGVE VCSJKEIJEONd                    % LENPJKJYW
<       &' 012'                                           &         A/W ,44,2; 0CO LNcJY LEY LENPJKJYW
'       ?W 5CP MM PUC MM OUJ [CKJGVE ^LKOEJKN             '         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUGN
( DOGHGhGEV 82=4 YLOL [CK HLP[DH OJKKCK NFKJJEGEV         ( GEYGFLOJN LER GE[CKILOGCE GI^HGFLOGEV OUJ HLP
) [DEFOGCENW 9N GO 821ZN OJNOGICER OCYLR OULO [CKJGVE     ) JE[CKFJIJEO LEY ^COJEOGLHHR OUJ NOLOJ NJFKJON
* ^LKOEJKN LKJ DOGHGhGEV 82=4 YLOL GE FCI^HGLEFJ PGOU     * ^KGSGHJVJW 3_fJFOGCEW 1LHHN [CK L HJVLH FCEFHDNGCE
#+ @W2W HLPd                                              #+ LEY SLVDJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
"" &' P)' V1883 6A1,1 +79 B1 7KK8.>7B81 S'F'              ## FLEW
"$ 87=2' RD6 4 =)D8* 279 /1-1,7889 6A1,1 7,1 S'F' 87=2    #$        85. T980.22; 9 OUGEc OUJKJZN L
"# 6A76 /)M1,- .-61,7>6.)-2 =.6A C),1./- /)M1,-+1-62'     #" YG[[JKJEFJ MM OUJKJZN L YGNOGEFOGCE OULO 9 LI OKRGEV
"; F) .6 >1,67.-89 >)+K8.1* =.6A 6A)21' 4 6A.-T B19)-*    #% OC JI^ULNGhJ GE IR LENPJK _JOPJJE PULO _GEYN DN OC
"< 6A763 6A76 .6 =)D8* 782)3 6A1 >)-^D->6.M13 B)6A -11*   #& @W2W HLP LEY PULO _GEYN L ^LKOEJK OC @W2W HLPW 2C 9
"J 6) II =1883 -)3 4 6A.-T .6 A72 6) *) =.6A3 917A3 )D,   #' LI _CDEY _R @EGOJY 2OLOJN HLPW , [CKJGVE NCSJKJGVE
"U 87=2 6A76 *178 =.6A *178.-/ =.6A C),1./- K7,6-1,2'     #( PCDHY ECO _JW 8UJR ILR _R LVKJJIJEO FUCCNJ OC
#) ?W =CJN 821 KJgDGKJ [CKJGVE ^LKOEJKN OC                #) GESCcJ FJKOLGE MM FJKOLGE OUGEVN FCI^LKL_HJ OC @W2W
#* DOGHGhJ 82=4 GE[CKILOGCE GE LFFCKYLEFJ PGOU @W2W       #* HLPW 4DO> LVLGE> PJ FLEECO _GEY L [CKJGVE ^LKOEJK
$+ HLPd                                                   $+ OC @W2W HLPW 8ULOZN NGI^HR OUJ _LNGN C[
$#          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUGN        $# GEOJKELOGCELH HLPW
$$ LENPJK FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ      $$        4B A/W ,44,2;
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14337
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  ,/ #+). $% +-/'

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "&(                                                      "&*
#      ?W 9 YCEZO cECP PULO RCD IJLE PUJE RCD NLR         # OUGEc RCD FLE LENPJKW
$ HLP[DH OJKKCK NFKJJEGEV [DEFOGCENW 9 DEYJKNOLEY         $          85. T980.22; 9 OUGEc OUJ LVKJJIJEON
" PULO RCD IJLE PUJE OULO KJVLKYN OUJ YCIJNOGF ^LKOEJK    " NOLEY [CK OUJINJHSJNW 9 OUGEc OUJ LVKJJIJEO GN OUJ
% CK LVJEFGJNW 9O GN @W2W HLPd                            % LVKJJIJEOW 8UJ LVKJJIJEO GN L OJ\O C[ PULO GN GE
<      &' SAIADA'                                         & OULO LVKJJIJEOW
'      ?W 4DO HGcJ RCD NLGY> OUJ 8JKKCK 2FKJJEGEV         '          4B A/W ,44,2;
( 1JEOJK YCJN ECO MM GN ECO GE L ^CNGOGCE OC KJgDGKJ      (      ?W ,KJ OUJKJ MM LKJ OUJKJ LVKJJIJEON PGOU
) [CKJGVE ^LKOEJKN OC L_GYJ _R @W2W HLP> FCKKJFOd         ) [CKJGVE ^LKOEJKN OULO YC ECO KJgDGKJ OUJ [CKJGVE
%      &' V1 +79 .- 7 K7,6.>D87, 7/,11+1-6 A7M1 7-        * ^LKOEJK OC DOGHGhJ 82=4 GE[CKILOGCE GE L PLR OULO GN
"? 7/,11+1-6 =.6A 6A1 C),1./- K7,6-1, 6) *) 6A.-/2 6A76   #+ GE FCI^HGLEFJ PGOU @W2W HLPd
"" 7,1 >)-2.261-6' RD6 4 *) -)6 6A.-T 6A76 6A76 B.-*2     ##         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUGN
"$ 6A1 K7,6-1, =.6A 6A1 C),>1 )C 87='                     #$ FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
#" ?W 1CDHY L [CKJGVE ^LKOEJK DNJ 82=4                    #" JE[CKFJIJEO ^KGSGHJVJ CK OUJ ^COJEOGLH NOLOJ NJFKJON
#% GE[CKILOGCE GE L PLR OULO G[ GO PJKJ DNJY GE OULO      #% ^KGSGHJVJW 9[ RCD OUGEc OUJKJ GN L PLR RCD FLE
#& ILEEJK GE OUJ @W2W PCDHY _J GHHJVLHd                   #& LENPJK PGOUCDO GI^HGFLOGEV OUCNJ ^KGSGHJVJN> RCD
#'          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             #' FLEW
#( N^JFDHLOGCEW 3_fJFOGCE> SLVDJW 3_fJFOGCE GENC[LK       #(         85. T980.22; 9 IJLE> OUJ [CKI C[ OUJ
#) LN OULO HJVLH FCEFHDNGCEW ,EY LHNC C_fJFO GENC[LK      #) gDJNOGCE ILcJN GO SJKR> SJKR YG[[GFDHO OC LENPJKW
#* LN GO FLHHN [CK LER GE[CKILOGCE GI^HGFLOGEV OUJ HLP    #* TJ ULSJ C_HGVLOGCEN DEYJK @W2W HLP OULO PJ IJJOW 9[
$+ JE[CKFJIJEO> ^COJEOGLHHR OUJ NOLOJ NJFKJON             $+ PJ KJLFU LE LVKJJIJEO PGOU L [CKJGVE ^LKOEJK MM LEY
$# ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD       $# 9 YCEZO OUGEc JSJKR LVKJJIJEO OUJ @EGOJY 2OLOJN
$$ FLEW                                                   $$ ILcJN PGOU L [CKJGVE ^LKOEJK C_HGVLOJN OULO [CKJGVE
                                                   "&)                                                      "'+
#           85. T980.22; 9 VDJNN 9 YCEZO cECP UCP OC      # ^LKOEJK OC [CHHCP ,IJKGFLE MM ,IJKGFLE HLP COUJKPGNJ
$  LENPJK   OULO MM OULO gDJNOGCEW 9 FCDHY GILVGEJ NC     $ JSJKR ^HLFJ PCDHY _J HGcJ ,IJKGFLW 2C VGSJE LHH C[
" ILER YG[[JKJEO NGODLOGCEN PGOU ^LKOGFDHLK ,IJKGFLE      " OULO MM
% HJVLH FCENOKLGEON OULO ILR CK ILR ECO L^^HR GE L        %      ?W 9 MM
& [CKJGVE FCDEOKRW BCD FCDHY MM G[ RCD OKGJY OC           &          A2W X30X36B; 3cLRW 6JO UGI [GEGNUW
' CSJKHL^ OUCNJ OPC HJVLH NRNOJIN> 9 IJLE> RCD IGVUO      '          4B A/W ,44,2;
( ECOW 9O PCDHY _J OCOLHHR GEJ[[JFODLH> NCW               (      ?W   9ZI NCKKRW 9[ 9 FDO RCD C[[> NCKKR> _DO
)       ?W 2C GO NCDEYN HGcJ [CKJGVE ^LKOEJKN YC ECO      ) 9 OUGEc PJ VCO PULO 9 PLN HCCcGEV [CKW
* MM LKJ ECO C_HGVLOJY OC DOGHGhJ 82=4 GE[CKILOGCE GE     %      &' OT79' @A1- 4 7+ *)-1'
#+ L ILEEJK OULO FCI^HGJN PGOU @W2W HLPNd                 #+ ?W 3cLRW 6JOZN MM YC RCD NJJ LHNC CE ^LVJ
##          A2W X30X36B; 3_fJFOGCEW ,KVDIJEOLOGSJW        ## #'> YC RCD NJJ GEOJKKCVLOCKR EDI_JK NJSJEd
#$ 3_fJFOGSJW   1LHHN MM IGNFULKLFOJKGhJN UGN ^KGCK       "$ &' 012'
#" OJNOGICERW                                             #" ?W 9O GN L HCEV CEJW ,EY GO FDHIGELOJN GE
#%          4B A/W ,44,2;                                 #% LE LENPJK CE ^LVJ $$ OULO ULN OULO FULKOW =C RCD
#& ?W 9 PGHH PGOUYKLP OUJ gDJNOGCEW 9N GO OKDJ            #& KJFLHH ILcGEV CK KJSGJPGEV L FULKO LN ^LKO C[ OUJNJ
#' OULO 821 YCJN ECO KJgDGKJ [CKJGVE ^LKOEJKN OC          #' GEOJKKCVLOCKR KJN^CENJNd
#( DOGHGhJ 82=4 GE[CKILOGCE GE L ILEEJK OULO GN           "U &' 4 *)'
#) FCENGNOJEO PGOU @W2W HLPd                              #) ?W ,KJ RCD [LIGHGLK PGOU OUJ FCEOJEON C[
#*          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY             #* OUGN FULKOd
$+ LENPJKJYW 3_fJFOGCE GENC[LK LN OUGN LENPJK FLHHN       $? &' (1-1,78893 912'
$# [CK GE[CKILOGCE GI^HGFLOGEV OUJ HLP JE[CKFJIJEO        $# ?W 8UGN FULKO GYJEOG[GJN OUJ EDI_JK C[ OCOLH
$$ ^KGSGHJVJ CK OUJ NOLOJ NJFKJON ^KGSGHJVJW 9[ RCD       $$ ECIGELOGCEN OULO 821 KJFJGSJY GE MM [KCI $++) OC
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14338
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    ," #+-" $% +-&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "'#                                                         "'"
# $+#( CE L RJLKHR _LNGN> FCKKJFOd                       #      ?W 0GEJOR [GSJ ^JKFJEO GN L SJKR UGVU
$      &' 012'                                           $ EDI_JKW 9O GN FHCNJ OC L UDEYKJY> KGVUOd
"      ?W 8UJ OCOLH ECIGELOGCEN KJ[JK OC OCOLH           "          A2W X30X36B; 3_fJFOGCEW ,KVDIJEOLOGSJW
% ECIGELOGCEN OC OUJ 8JKKCK 2FKJJEGEV =LOL_LNJ>          %          4B A/W ,44,2;
& FCKKJFOd                                               &      ?W 8ULO IGVUO _J L HGOOHJ _GO LKVDIJEOLOGSJW
J      &' 012'                                           ' BCD cECP> *& ^JKFJEO GN L UGVU EDI_JKW 8ULO IJLEN
(      ?W ,EY OCOLH LYYN KJ[JKN OC OUJ EDI_JK C[         ( OULO MM YCJN 821 _JHGJSJ OULO GO GN KJFJGSGEV
) EJP ^JKNCEN OULO PJKJ LYYJY OC OUJ 8JKKCK 2FKJJEGEV    ) ECIGELOGCEN OULO LKJ FKJYG_HJ LEY fDNOG[GJY
* =LOL_LNJ> FCKKJFOd                                     * VJEJKLHHRd
"? &' 012'                                               "? &' &B2)8D61893 7-* 12K1>.7889 /.M1- 6A1 C7>6
## ?W ,EY PGOU KJVLKYN OC OUJ KJfJFOGCEN> RCD            "" 6A76 6A19 A7M1 B11- ,1M.1=1* 76 +D86.K81 81M182
#$ KJfJFO GE JSJKR RJLK HJNN OULE & ^JKFJEO C[ OUJ       "$ B1C),1 6A19 /16 6) D2'
#" OCOLH ECIGELOGCENd                                    #" ?W 5CP ILER C[ OUJ ^JKNCEN OULO ULSJ _JJE GE
#%          A2W X30X36B; 3_fJFOGCEW                      #% OUJ 82=4 ULSJ FCIIGOOJY LFON C[ OJKKCKGNI GENGYJ OUJ
#&          4B A/W ,44,2;                                #& @EGOJY 2OLOJNd
#'     ?W    2C *& ^JKFJEO C[ OCOLH ECIGELOGCEN OULO     #'         A2W X30X36B; 3_fJFOGCEW 8ULO gDJNOGCE
#( PJKJ ND_IGOOJY OC OUJ 8JKKCK 2FKJJEGEV 1JEOJK [KCI    #( FLHHN [CK GE[CKILOGCE GI^HGFLOGEV OUJ HLP
#) $++) OC $+#( PJKJ LFFJ^OJY _R OUJ 8JKKCK 2FKJJEGEV    #) JE[CKFJIJEO ^KGSGHJVJ LEY ^COJEOGLHHR NOLOJ NJFKJON
#* 1JEOJK> FCKKJFOd                                      #* GE OPC GENOLEFJNW 9 LI GENOKDFOGEV OUJ PGOEJNN ECO
$+          A2W X30X36B; 3_fJFOGCEW ]LVDJW               $+ OC LENPJKW
$#          85. T980.22; 9O PCDHY L^^JLK GO GN HJNN      $#         4B A/W ,44,2;
$$ OULE & ^JKFJEO> RJNW                                  $$ ?W =CJN 821 cECP UCP ILER ^JKNCEN OULO ULSJ
                                                  "'$                                                         "'%
#          4B A/W ,44,2;                                 # LO LER OGIJ _JJE GE OUJ 82=4 MM HJO IJ NOLKO LHH
$     ?W 6JNN OULE & ^JKFJEO C[ OUJ ECIGELOGCEN          $ CSJKW =CJN 821 cECP UCP ILER ^JKNCEN PUC ULSJ _JJE
" [KCI $++) OC $+#( PJKJ KJfJFOJY _R OUJ 8JKKCK          " ^HLFJY LO LER OGIJ GE OUJ 82=4 ULSJ _JJE FULKVJY
% 2FKJJEGEV 1JEOJK> FCKKJFOd                             % PGOU L OJKKCKGNIMKJHLOJY C[[JENJd
<     &' 012'                                            &         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
'     ?W 2C OUJ 8JKKCK 2FKJJEGEV 1JEOJK LFFJ^ON          ' PCDHY GI^HGFLOJ LER HLP JE[CKFJIJEOM^KGSGHJVJY
( ICKJ OULE *& ^JKFJEO C[ LHH ECIGELOGCEN GO KJFJGSJN    ( GE[CKILOGCEW BCD FLE LENPJK PGOUCDO MM G[ RCD FLE
) MM GO ULN KJFJGSJY [KCI $++) OC $+#(> FCKKJFOd         ) LENPJK> RCD FLEW
*          A2W X30X36B; 3_fJFOGCEW ]LVDJ LEY             *         85. T980.22; 9O GN ECO L YLOL [GJHY OULO
#+ IGNHJLYGEVW                                           #+ PJ FCHHJFOW ,EY 9 YCEZO cECP G[ RCD LKJ KJNOKGFOGEV
##         4B A/W ,44,2;                                 ## GO OC YCIJNOGFLHHR CK LKJ RCD LHNC GEFHDYGEV
#$ ?W 9 LI VCGEV OC PGOUYKLP OULO gDJNOGCE LEY           #$ [CKJGVEd
#" fDNO NC 9 VJO GO CDO FHJLEHRW 8UJ 8JKKCK 2FKJJEGEV    #"        4B A/W ,44,2;
#% 1JEOJK LFFJ^OJY ICKJ OULE *& ^JKFJEO C[ LHH           #% ?W 9 LI ECO KJNOKGFOGEV GOW
#& ECIGELOGCEN GO KJFJGSJY [KCI $++) OC $+#(> FCKKJFOd   "< &' @A1- .6 .2 C7., 6) 279 -)3 =1 *)-X6 T-)='
#'         A2W X30X36B; 9 LI fDNO VCGEV OC C_fJFOW       #' ?W =CJN MM PGOU KJVLKYN OC OUJ ^JKNCEN PUC
#( ]LVDJ LEY IGNHJLYGEVW ,EY ILcJ NDKJ OULO PJ LKJ       #( ULSJ ^JK^JOKLOJY LFON C[ OJKKCKGNI GENGYJ OUJ @EGOJY
#) KJ[JKJEFGEV OUJ YJ[GEGOGCE C[ ECIGELOGCEN OULO PLN    #) 2OLOJN> YCJN 821 cECP UCP ILER C[ OUCNJ ^JKNCEN ULSJ
#* ^KCSGYJY GE UGN LENPJK GE OUJ FCEOJ\O OC OUGN         #* _JJE GE OUJ 82=4 LO LER OGIJd
$+ gDJNOGCEW                                             $+        A2W X30X36B; 3_fJFOGCEW ]LVDJW
$#         85. T980.22; BJNW                             $# 3_fJFOGCE GENC[LK LN GO FLHHN [CK HLP
$$         4B A/W ,44,2;                                 $$ JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW 9[ RCD FLE
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14339
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  ,( #+-) $% +-*'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "'&                                                      "'(
# LENPJK> RCD FLE LENPJK G[ RCD FLEW                      " -)+.-76.-/ 7/1->.12_
$          85. T980.22; 8ULO GE[CKILOGCE GN ECO MM        $      ?W BJNW
" LVLGE> GO GN ECO GE[CKILOGCE PJ cJJ^ GE OUJ 82=4W 9     "          A2W X30X36B; 3_fJFOGCEW 8ULO FLHHN [CK
% ND^^CNJ PGOU ND[[GFGJEO J[[CKO GO FCDHY _J              % GE[CKILOGCE CDONGYJ C[ 821ZN ^DKSGJPW BCD FLE
& YGNFJKEJYW                                              & LENPJK LN OC RCDK DEYJKNOLEYGEV> _DOW
'          4B A/W ,44,2;                                  '          85. T980.22; BJLU> 9 YCEZO cECPW
(     ?W =C RCD NJJ GE $++) OULO ICKJ OULE $%)>+++        (          4B A/W ,44,2;
) ECIGELOGCEN PJKJ KJFJGSJY _R 821d                       )      ?W 1LE [CKJGVE VCSJKEIJEON ECIGELOJ ^JKNCEN
%     &' 4 *)'                                            * OC OUJ 82=4d
#+ ?W ,EY OUJE GE $+#' OULO EDI_JK YCD_HJY OC             #+         A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
## &++ MM ICKJ OULE &#)>+++ OCOLH ECIGELOGCENW =C RCD     ## FLHHN [CK LER HLP JE[CKFJIJEO CK ^COJEOGLHHR NOLOJ
#$ NJJ OULOd                                              #$ NJFKJONM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJKW 9[
"# &' 4 *)'                                               #" RCD OUGEc RCD FLE LENPJK PGOUCDO PLGSGEV> RCD FLEW
#% ?W TULO UL^^JEJY _JOPJJE $++) OC $+#' OULO             #%         85. T980.22; -COJEOGLHHR ^DKNDLEO OC OUJ
#& HJY OC L YCD_HGEV C[ OUJ OCOLH ECIGELOGCEN OULO 821    #& LVKJJIJEO PGOU OULO [CKJGVE VCSJKEIJEOW
#' KJFJGSJYd                                              #'         4B A/W ,44,2;
#(         A2W X30X36B; 3_fJFOGCEW ]LVDJW 9O GN           #( ?W ,EY ^COJEOGLHHRW 2C 9 OUGEc GO GN FHJLK
#) ECO FHJLK OC IJ OULO RCD LKJ DNGEV OUGN OJKI           #) GE OUJ CSJKSGJP YCFDIJEOW 9N GO 821 OULO LFFJ^ON
#* FCENGNOJEOHR PGOU OUJ PLR GO PLN J\^KJNNHR YJ[GEJY     #* ECIGELOGCEN OC OUJ 82=4 [KCI [CKJGVE ^LKOEJKNd
$+ PGOUGE OUGN GEOJKKCVLOCKRW 7DKOUJK C_fJFOGCE LN OC     $+         A2W X30X36B; ,NcJY LEY LENPJKJYW 2LIJ
$# LER GE[CKILOGCE OULO MM 9 [DKOUJK C_fJFO OC OUJ        $# C_fJFOGCEN  GENC[LK LN OUJ LENPJK FLHHN [CK
$$ J\OJEO OULO OUJ LENPJK PCDHY FLHH [CK GE[CKILOGCE      $$ GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO LEY
                                                  "''                                                      "')
# ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJW 9[ RCD      # ^COJEOGLHHR NOLOJ NJFKJONW BCD FLE LENPJK G[ RCD
$ OUGEc RCD DEYJKNOLEY OUJ gDJNOGCE LEY FLE LENPJK>       $ FLEW
" RCD FLEW                                                "          85. T980.22; BJNW
%          85. T980.22; 9 OUGEc GE SJKR _KCLY             %          4B A/W ,44,2;
& NOKCcJN MM NC> CEJ> RCD LKJ KJ[JKKGEV OC OCOLH          &     ?W 5LN OUJ EDI_JK C[ MM 9 NJJ OUJ OCOLH
' ECIGELOGCENW 8COLH MM PUGFU OULO FLE _J                 ' LYYNW =CJN 821 cECP UCP ILER ^JKNCEN LKJ GE OUJ
( ICYG[GFLOGCEN C[ KJFCKY> C[ FCDKNJ> KGVUO> ECO LYYN     ( 82=4 KGVUO ECPd
) PUJE RCD LKJ KJ[JKKGEV OC OUCNJ EDI_JKNW 2C OULO        )          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
* KJ[JKN> GE NCIJ FLNJN> OC 82=4 _JGEV D^YLOJY> KGVUO>    * GE[CKILOGCE ^KCOJFOJY _R MM OULO PLN [CKIDHLOJY>
#+ LN C^^CNJY OC OUJ LYYN> PUGFU 9 MM RCD cECP> PUGFU     #+ KGVUO> G[ OUJR cECPW 2C 9 PGHH fDNO NLR NC [LK LN
## FHJLKHR ULSJ LHNC VCEJ D^W                             ## LE LENPJK> L FCI^HJOJ LENPJK PCDHY GI^HGFLOJ LER
#$         4DO 9 fDNO PLEO OC _J N^JFG[GF UJKJW 4DO       #$ GE[CKILOGCE ^KCOJFOJY _R HLP JE[CKFJIJEO CK
#" 9 OUGEc> RCD cECP> G[ RCD fDNO HCCc MM 9 OUGEc 9 FLE   #" ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJ> _DO RCD FLE
#% _KCLYHR NLR [KCI L VJC^CHGOGFLH NOLEY^CGEO OULO PJ     #% LENPJK GENC[LK LN RCD FLEW
#& ULSJ _JJE JEVLVJY GE L FCE[HGFO PGOU 9292 GE OULO      #&         85. T980.22; BJN> PJ cECP UCP ILER
#' ^JKGCY C[ OGIJ LN CEJ C[ ILER VHC_LH [LFOCKN VCGEV     #' ^JC^HJ LKJ GE 82=4W
#( CE> _DO OULO _JGEV L SJKR NGVEG[GFLEO CEJW             #(         4B A/W ,44,2;
#)         4B A/W ,44,2;                                  #) ?W 5CP ILER ^JC^HJ LKJ GE OUJ 82=4d
#* ?W 5LN OUJ EDI_JK C[ ^JKNCEN OULO ND_IGO               #*         A2W X30X36B; ,EY OUJKJ 9 LI VCGEV OC
$+ ECIGELOGCEN OC OUJ 8JKKCK 2FKJJEGEV 1JEOJK VCEJ D^     $+ C_fJFO  CE  OUJ _LNGN C[ HLP JE[CKFJIJEO LEY
$# [KCI $++) OC $+#'d                                     $# ^COJEOGLHHR NOLOJ NJFKJON ^KGSGHJVJ LEY GENOKDFO OUJ
$$ &' 0)D +17- 6A1 .-*.M.*D78 K1)K81 .- 6A1               $$ PGOEJNN ECO OC LENPJKW
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14340
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                  ,+ #+-, $% +.('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                   "'*                                                      "(#
#          4B A/W ,44,2;                                  #     ?W TGOU KJVLKYN OC OUJ ICKJ OULE CEJ IGHHGCE
$      ?W 9N OUJKJ MM LKJ OUJKJ ICKJ OULE L IGHHGCE       $ ^JKNCEN GE OUJ 82=4> NCIJ C[ OUCNJ MM NCIJ C[ OUCNJ
" ^JC^HJ GE OUJ 82=4d                                     " 82=4 HGNOJJN ULSJ EJSJK VJEJKLOJY LER JEFCDEOJK
%          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK              % GE[CKILOGCE> FCKKJFOd
& GE[CKILOGCE ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO LEY        <     &' 012'
' ^COJEOGLHHR NOLOJ NJFKJONW ,EY 9 LI GENOKDFOGEV OUJ     '          A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
( PGOEJNN ECO OC LENPJKW                                  ( LENPJKJYW
)          4B A/W ,44,2;                                  )          4B A/W ,44,2;
*      ?W ,KJ OUJKJ ICKJ OULE [GSJ ^JC^HJ GE OUJ          *     ?W 3DO C[ OUJ IGHHGCE ELIJN GE OUJ 82=4 MM
#+ 82=4d ,KJ OUJKJ MM 9 IJLE> NCIJ EDIJKGFLH              #+ CDO C[ OUJ ICKJ OULE IGHHGCE ELIJN GE OUJ 82=4> GN
## GE[CKILOGCE GN L^^KC^KGLOJW                            ## OUJKJ L HCO C[ GEYGSGYDLHN PUC ULSJ ECO VJEJKLOJY
#$         A2W X30X36B; 3cLRW 3_fJFOGCE GENC[LK LN        #$ LER JEFCDEOJK GE[CKILOGCEd
#" OUGN gDJNOGCE FLHHN [CK GE[CKILOGCE ^KCOJFOJY _R HLP   #"         A2W X30X36B; 3_fJFOGCEW ]LVDJW
#% JE[CKFJIJEO CK ^COJEOGLHHR NOLOJ NJFKJONW 4DO          #% 3_fJFOGCEW 1LHHN [CK N^JFDHLOGCEW 3_fJFOGCE
#& GENC[LK LN OUJKJ LKJ ^D_HGF GE[CKILOGCE OULO ULN       #& GENC[LK LN GO GI^HGFLOJN LER HLP
#' _JJE ILYJ LSLGHL_HJ> OUJ PGOEJNN FLE LENPJKW           #' JE[CKFJIJEOM^KCOJFOJY GE[CKILOGCEW BCD FLE LENPJK
#(         85. T980.22; 8UJR LKJ GE J\FJNN C[ MM          #( GENC[LK LN RCD FLEW
#) OUJKJ LKJ CSJK L IGHHGCE GEYGSGYDLHN GE 82=4W          #)         85. T980.22; BJN> OUJKJ LKJ L HCOW
#*         4B A/W ,44,2;                                  #*         4B A/W ,44,2;
$+ ?W 5LN OUJ GEFKJLNJ GE OUJ EDI_JK C[                   $+ ?W 1LE RCD MM VGSJ IJ RCDK _JNO
$# GEYGSGYDLHN GE OUJ 82=4 GE 821ZN SGJP JEULEFJY OUJ     $# FULKLFOJKGhLOGCE C[ PULO LICDEO C[ 82=4 HGNOJJN ULSJ
$$ J[[JFOGSJEJNN C[ OUJ 82=4d                             $$ EJSJK VJEJKLOJY JEFCDEOJK GE[CKILOGCEd
                                                   "(+                                                      "($
#           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             #          A2W X30X36B; 3_fJFOGCEW ]LVDJW
$  N^JFDHLOGCEW                                           $  3_fJFOGCEW   1LHHN [CK N^JFDHLOGCEW 3_fJFOGCE
"           4B A/W ,44,2;                                 " GENC[LK LN OUJ LENPJK PCDHY GI^HGFLOJ LER HLP
%      ?W 9O GN 821ZN SGJPd                               % JE[CKFJIJEOM^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK
<      &' 012'                                            & OC OUJ J\OJEO OULO RCD FLEW
'      ?W ACKJ ELIJN GE OUJ 82=4 MM 9 PGHH PGOUYKLP       '          85. T980.22; 2LR _R [LK OUJ ILfCKGOR C[
(  OULO  gDJNOGCEW TURd TUR YCJN 821 _JHGJSJ OULO ICKJ    (  ^JC^HJ  GE 82=4 ULSJ EJSJK VJEJKLOJY LE JEFCDEOJKW
) ELIJN GE OUJ 82=4 [DKOUJKN GON FCDEOJKMOJKKCKGNI        )          4B A/W ,44,2;
* C_fJFOGSJNd                                             *      ?W ACKJ OULE (& ^JKFJEOd
#+          A2W X30X36B; 3_fJFOGCEW 1LHHN [CK             "? &' 4 6A.-T 6A76X2 C7.,'
## N^JFDHLOGCEW 3_fJFOGCE GENC[LK LE LENPJK PCDHY         ## ?W ACKJ OULE *+ ^JKFJEOd
#$ GI^HGFLOJ LER HLP JE[CKFJIJEOM^KGSGHJVJY               #$         A2W X30X36B; 3_fJFOGCEW 1LHHN [CK
#" GE[CKILOGCEW BCD FLE LENPJK GENC[LK LN RCD FLEW        #" N^JFDHLOGCEW
#%          85. T980.22; 9O GN ECO ICKJ ELIJN _R          #%         A/W ,44,2; 9[ UJ cECPNW 9[ RCD YCEZO
#& GONJH[W 9O GN ICKJ ELIJN OULO LKJ L^^KC^KGLOJHR        #& cECP> RCD FLE fDNO NOC^ MM
#' ECIGELOJY> 9 _JHGJSJ> JEULEFJ OUJ 82=4W 9[ MM PJ       #'         A2W X30X36B; 3_fJFOGCE GENC[LK LN LER
#( ULSJ EC GEOJKJNO GE GO _JGEV _GVVJK [CK OUJ NLcJ C[    #( LENPJK  PCDHY GI^HGFLOJ L HLP JE[CKFJIJEO CK
#) GO _JGEV _GVVJKW 9O GN _GVVJK _LNJY CE OUJ             #) ^COJEOGLHHR NOLOJ NJFKJO ^KGSGHJVJW 9[ RCD OUGEc
#* GEOJHHGVJEFJ OULO PJ ULSJW 8UJ _JOOJK OULO OULO        #* RCD FLE LENPJK PGOUCDO PLGSGEVW
$+ KJ^KJNJEON OUJ OUKJLO OULO GN [LFGEV OUJ ELOGCE LEY    $+         85. T980.22; 9 OUGEc 9 PCDHY NLR GE
$# CDK ^LKOEJKN> OUJ ICKJ J[[JFOGSJ GO PGHH _JW           $# J\FJNN C[ *+ ^JKFJEOW ,EY 9 PCDHY PLEO OC FDO GO
$$          4B A/W ,44,2;                                 $$ C[[ OUJKJW
                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14341
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                 ,& #+.+ $% +.-'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  "("                                                     "(&
#          4B A/W ,44,2;                                 #      ?W 5CP ILER HLRJKN C[ KJSGJP LKJ OUJKJ [CK
$      ?W 3cLRW ,EY NC GE J\FJNN C[ *+ ^JKFJEO C[        $ KJICSLH LFOGCENd
" LHH 82=4 HGNOJJN ULSJ EJSJK VJEJKLOJY LER JEFCDEOJK    #      &' @=)'
% GE[CKILOGCEd                                           %      ?W 5CP ILER HLRJKN C[ KJSGJP LKJ OUJKJ [CK
<      &' @A76X2 >),,1>6'                                & YJFGNGCEN KJVLKYGEV 82=4 ECIGELOGCENd
'          A2W X30X36B; 1CDHY PJ OLcJ L _KJLcd 9         '           A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
( FCDHY NOLEY OC NOKJOFU MM                              ( PCDHY FLHH [CK GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
)          A/W ,44,2; BJLU> 9 UJLK RCDW 9ZI ECO          ) JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
* VCGEV OC [GVUO OULOW                                   * OULO RCD FLEW
#+         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ        #+          85. T980.22; 2C 9 OUGEc OULO YJ^JEYN CE
## KJFCKYW  8UJ OGIJ GN ';#$ ^WIW                        ## OUJ ECIGELOGCEW 9O GN LO HJLNO OPCW 9O ILR _J ICKJ
#$         `, KJFJNN PLN UJHYWa                          #$ YJ^JEYGEV CE ^LKOGFDHLKGhJY FKGOJKGL ^JKOLGEGEV OC
#"         85. ]9=.3</,-5./; TJ LKJ _LFc CE OUJ          #" OULO ECIGELOGCEW
#% KJFCKYW 8UJ OGIJ GN ';$) ^WIW ,EY PJ ULSJ _JJE CE     #%          4B A/W ,44,2;
#& OUJ KJFCKY [CK ' UCDKN LEY %" IGEDOJNW                #& ?W 5CP ILER ^JKNCEN YCJN 821 KJICSJ [KCI OUJ
#'         4B A/W ,44,2;                                 #' 82=4 CE L RJLKHR _LNGNd
#( ?W TULO GN OUJ HLNO ^D_HGFHR LSLGHL_HJ OCOLH          #(          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#) C[ 82=4 HGNOJJNd                                      #) FLHHN [CK LER GE[CKILOGCE ^KCOJFOJY _R OUJ HLP
"% &' 4 B18.1M1 .6 =72 7 +.88.)- .-*.M.*D782 .-          #* JE[CKFJIJEO ^KGSGHJVJW BCD FLE LENPJK OC OUJ J\OJEO
$? $?"J II $?"J'                                         $+ OULO RCD FLEW
$# ?W , IGHHGCE OCOLHd                                   $#          85. T980.22; 9 YCEZO _JHGJSJ 9 FLE
$$ &' 012'                                               $$ LENPJK OULOW
                                                  "(%                                                     "('
#      ?W 5CP ILER 821 JI^HCRJJN LKJ LDOUCKGhJY OC       #          4B A/W ,44,2;
$  KJICSJ   ^JKNCEN [KCI OUJ 82=4d                       $      ?W   =CJN 821 cECP UCP ILER ^JKNCEN ULSJ _JJE
#      &' @) ,1+)M1 K1,2)-2_                             " KJICSJY [KCI OUJ 82=4 GE $+#(d
%          A2W X30X36B; 3_fJFOGCEW ]LVDJW                %          A2W X30X36B; 3_fJFOGCE GENC[LK LN L
&          85. T980.22; ,HH C[ OUCNJ OKLENLFOGCEN        & FCI^HJOJ LENPJK PCDHY FLHH [CK LER GE[CKILOGCE
' KJgDGKJ OPC GEYGSGYDLHNW 2C 9 PCDHY NLR LO HJLNO "&    ' ^KCOJFOJY _R OUJ HLP JE[CKFJIJEO ^KGSGHJVJ> _DO RCD
( GEYGSGYDLHN> _DO GO ILR _J LN UGVU LN *+ CE L          ( FLE LENPJKW
) KJICSLHW 4DO MM LEY OULO PCDHY KJgDGKJ OPC             )          85. T980.22; BJN> 821 cECPNW
* GEYGSGYDLHNW 4DO OUJ NJFCEY CEJ ILR ULSJ OC _J CEJ     *          4B A/W ,44,2;
#+ C[ OUJ "&> _DO GO ILR _J LN UGVU LN *+W 9 LI _LNGEV   #+ ?W =CJN 821 cECP UCP ILER GEYGSGYDLHN PJKJ
## GO CE OULO HJSJH C[ LDOUCKGOR PGOUGEW                 ## KJICSJY [KCI OUJ 82=4 GE LHH FLHJEYLK RJLKNd
#$         A/W ,44,2; 9EYGLELW                           #$         A2W X30X36B; 2LIJ C_fJFOGCE GENC[LK LN
#"         4B A/W ,44,2;                                 #" LER LENPJK PCDHY FLHH [CK LER HLP JE[CKFJIJEO
#% ?W 5CP ILER 821 JI^HCRJJN LKJ LDOUCKGhJY OC           #% ^KGSGHJVJY GE[CKILOGCEW 4DO RCD FLE LENPJKW
#& LFFJ^O CK KJfJFO ECIGELOGCEN OC OUJ 82=4d             #&         85. T980.22; 9 PCDHY NLR VJEJKLHHR> RJNW
#'         A2W X30X36B; 3_fJFOGCEW ]LVDJW                #' 8UJ CEHR OUGEV GN RCD VC PLR _LFc OC OUJ _JVGEEGEVW
#(         85. T980.22; 8UJKJ LKJ L^^KC\GILOJHR "&       #( ,EY 9 FLEZO LOOJNO OC J\LFOHR PUJE OULO FL^L_GHGOR
#) GEYGSGYDLHN OULO PCDHY _J OUJ [GELH MM OUJKJ ILR _J   #) FLIJ CEHGEJW 9 _JHGJSJ GO PCDHY _J OUJ FLNJ [CK
#* COUJK ^JC^HJ OULO HCCcJY LO GO _J[CKJ OULOW 4DO OC    #* JSJKROUGEV KJ^KJNJEOJY CE OUGN FULKOW
$+ _J OUJ [GELH L^^KCSLH _J[CKJ GO LFODLHHR VCJN GEOC    $+         4B A/W ,44,2;
$# 82=4> L^^KC\GILOJHR "&W                               $# ?W 2C [CK OUJ HLNO #+ RJLKN> 821 cECPN UCP
$$         4B A/W ,44,2;                                 $$ ILER ^JKNCEN GO ULN KJICSJY [KCI OUJ 82=4d
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14342
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                    ,) #+.. $% +*/'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                 "((                                                         "(*
#          A2W X30X36B; 3_fJFOGCEW                       # NOLOGNOGFLH GE[CKILOGCE L_CDO 82=4W 9 PCDHY NLR GO
$ AGNFULKLFOJKGhJY UGN ^KGCK OJNOGICERW                  $ VJEJKLHHR KJHLOJN OC ^JK[CKILEFJ> _DO 9 YCEZO cECP
"          85. T980.22; BJNW                             " GE ^LKOGFDHLK PULO RCD IJLE _R OULOW
%          4B A/W ,44,2;                                 %           4B A/W ,44,2;
&     ?W 1LE L MM FLE 821 FCIIJEFJ L KJICSLH             &      ?W BCD LKJ LE J\JFDOGSJ LO 821> FCKKJFOd
'  LFOGCE LO OUJ JEY C[ OUJ =52 8/9- KJYKJNN ^KCFJNNW    J      &' 4 7+'
( 9ZI NCKKRW 6JO IJ KJ^UKLNJ OULO gDJNOGCEW =CJN OUJ     (      ?W 9N OUJKJ HGcJ LE J\JFDOGSJ OJLI OULO KDEN
) =52 8/9- KJYKJNN ^KCFJNN MM GN CEJ C[ OUJ CDOFCIJN     ) 821d
* MM GN CEJ C[ OUJ ^CNNG_HJ CDOFCIJN C[ OUJ =52 8/9-     %      &' 012'
#+ KJYKJNN ^KCFJNN L KJICSLH LFOGCEd                     #+ ?W TULO LKJ OUJ ELIJN C[ OUJ ^CNGOGCEN OULO
"" &' 012'                                               ## LKJ ^LKO C[ OUJ J\JFDOGSJ OJLI C[ 821d
#$         A/W ,44,2; TJHH> 9 LI ^KJNNGEVW 5CP           "$ &' 4 B18.1M1 =1 7,1 -7+1* 72 *1C1-*7-62' F)
#" ILER ICKJ IGEDOJN YC PJ ULSJd 8UGKOJJEd               "# 6A1 6A,11 1L1>D6.M12 )C @F5 7,1 +9218C3 6A1 *.,1>6),
#%         85. ]9=.3</,-5./; 8PJHSJW                     "; \,' Z7B813 7-* 6A1 K,.->.K78 *1KD69 *.,1>6), \2'
#&         4B A/W ,44,2;                                 "< RD,,.12>.'
#' ?W =CJN 821 FCIIJEFJ LHH KJICSLH LFOGCEN              #' ?W ,EY OUCNJ OUKJJ FCI^KGNJ OUJ J\JFDOGSJ
#( [KCI OUJ 82=4d                                        #( HJLYJK LO OUJ 821d
#)         A2W X30X36B; 3_fJFOGCE GENC[LK LN LE          "N &' @A19 7,1 6A,11 1L1>D6.M12' V1 A7M1 )6A1,
#* LENPJK PCDHY GI^HGFLOJ LER HLP JE[CKFJIJEO            "% K1)K81 )- )D, 617+ 6A76 7,1 -)6 1L1>D6.M12 6A76 =),T
$+ ^KGSGHJVJY GE[CKILOGCEW BCD FLE LENPJK OC OUJ         $? .- 6A1 C,)-6 )CC.>1'
$# J\OJEO OULO RCD FLEW                                  $# ?W 2DKJW =C OUJ OUKJJ C[ RCD KJSGJP
$$         85. T980.22; TUJE RCD NLR FCIIJEFJ MM         $$ NOLOGNOGFLH GE[CKILOGCE KJVLKYGEV OUJ 82=4d
                                                 "()                                                         ")+
#         A2W X30X36B; ,EY SLVDJW                        "      &' 012'
$         4B A/W ,44,2;                                  $      ?W 9E PULO [CKI MM PULO YCFDIJEON MM UCP
"     ?W 8ULOZN [LGKW 9 PGHH PGOUYKLPW 6JO IJ            " YCJN OUJ NOLOGNOGFLH GE[CKILOGCE KJVLKYGEV OUJ 82=4
% OKR OC KJ^UKLNJW =CJN MM 821 ^JKNCEEJH LKJ OUJ CEJN    % VJO ^KJNJEOJY OC OUJ J\JFDOGSJ HJLYJKNUG^ OJLI C[
& OULO J\JFDOJ OUJ cJR NOKCcJN OC J\JFDOJ L KJICSLH      & 821d
' LFOGCE KJVLKYGEV L ^JKNCE OULOZN HGNOJY GE OUJ 82=4d   J      &' @A1,1 7,1 7 -D+B1, )C *.CC1,1-6 K1,.)*.>
(         A2W X30X36B; 3_fJFOGCEW ]LVDJW                 U ,1K),623 1M1,96A.-/ C,)+ *7.89 6) =11T89 6) +)-6A89
)         85. T980.22; BJNW                              N ,1K),62 6A76 =1 8))T 76 .- 788 *.CC1,1-6 72K1>62 )C
*         4B A/W ,44,2;                                  % )D, )K1,76.)-2 7>,)22 @FHR 7-* 7>,)22 1->)D-61,2'
#+ ?W ,EY OULO KJICSLH LFOGCE FLE FCIJ L_CDO LN          #+ ?W ,KGhCELW 9N OUJKJ HGcJ L NOLEYLKY
## L KJNDHO C[ 821ZN LDYGOGEV ^KCFJNNJNd                 ## ICEOUHR KJ^CKO OULO RCD KJFJGSJ OULO GEFHDYJN OUJ
"$ &' 0123 .6 >)D8*'                                     #$ NOLOGNOGFLH GE[CKILOGCE KJVLKYGEV OUJ 82=4d
#" ?W =CJN 821 cJJ^ NOLOGNOGFLH GE[CKILOGCE              "# &' G,)B7B89 +D86.K81 )-12'
#% KJVLKYGEV UCP MM OUJ CDOFCIJN C[ GON LDYGOGEV         #% ?W =C OUJR MM LKJ OUJR OGOHJYd
#& ^KCFJNNd                                              "< &' (1-1,78893 912'
"J &' 012'                                               #' ?W TULO LKJ OUJ OGOHJN C[ OUJ KJ^CKON OULO
#( ?W =CJN OUJ J\JFDOGSJ HJLYJKNUG^ C[ 821               #( 821ZN J\JFDOGSJ HJLYJKNUG^ OJLI KJFJGSJN OULO KJVLKY
#) KJFJGSJ NOLOGNOGFLH GE[CKILOGCE KJVLKYGEV OUJ         #) NOLOGNOGFLH GE[CKILOGCEd
#* ^JK[CKILEFJ C[ OUJ 82=4d                              #*          A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ
$+        A2W X30X36B; 3_fJFOGCEW ]LVDJW                 $+ LENPJK   PCDHY GI^HGFLOJ LER HLP JE[CKFJIJEO NJENGOGSJ
$#        85. T980.22; BCD cECP> KJVLKYGEV OUJ           $# GE[CKILOGCEW BCD FLE LENPJK OC OUJ J\OJEO OULO RCD
$$ ^JK[CKILEFJ> PJ KJFJGSJ L HCO C[ YG[[JKJEO            $$ FLEW
                                          -6,0.8 =.-32
                             )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                   ,- #+*" $% +*&'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  ")#                                                       ")"
#          85. T980.22; 9 OUGEc OUJKJ GN L 82=4           #      ?W ,EY OUCNJ ^JC^HJ LKJ FLHHJY _R OUJ
$ ICEOUHR KJ^CKOW 9 OUGEc OUJKJ GN LE JEFCDEOJK           $ NFKJJEGEV LVJEFGJNd
" PJJcHR KJ^CKOW 8UJKJ GN L YLGHR JEFCDEOJK KJ^CKOW       #      &' 4- 2)+1 >7212'
% 9 LI OKRGEV OC OUGEc C[ MM 9 _JHGJSJ /JYKJNN            %      ?W 9E COUJK FLNJN> PULO UL^^JENd
& ^KCYDFJN L KJ^CKOW 9O YCJNEZO FCIJ OC IJ> _DO GO        <      &' 46 >)D8* B1 M.7 2)+1 )6A1, K876C),+' 46
' VCJN OC ANW 4DKKGJNFGW 9 LI NDKJ OUJKJ LKJ ICKJ>        J  >)D8*   B1 M.7 1+7.8' 46 *1K1-*2 )- 6A1 -76D,1 )C 6A1
( _DO OUCNJ LKJ OUJ CEJN OULO FCIJ OC IGEYW               U 1-C),>1+1-6'
)          4B A/W ,44,2;                                  )      ?W 82, FLHHN 821> FCKKJFOd 9 LI NCKKRW
*      ?W ,KGhCELW 9N 821 GESCHSJY GE LNNGNOGEV           * TUJE 82, ULN L ^COJEOGLH 82=4 HGNOJJ OULOZN OKRGEV
#+ [JYJKLH LVJEFGJN PUC DOGHGhJ 82=4 GE[CKILOGCE [CK      #+ OC FUJFc GEOC L [HGVUO> 821 KJFJGSJN L FLHH [KCI
## NFKJJEGEV ^DK^CNJN LEY UC^GEV OUCNJ LVJEFGJN FCE[GKI   ## 82,W
#$ PUJOUJK CK ECO OUJR ULSJ LFODLHHR JEFCDEOJKJY L        #$          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#" ^JKNCE GE OUJ 82=4d                                    #" PCDHY GI^HGFLOJ LER 229W
"; &' 012' V1 >788 6A76 .*1-6.69 ,12)8D6.)-'              #%          4B A/W ,44,2;
#& ?W 5CP YCJN 821 ^KCSGYJ GYJEOGOR KJNCHDOGCE            #& ?W 9 PGHH LNc OUJ gDJNOGCE YG[[JKJEOHRW 9
#' ND^^CKO OC [JYJKLH LVJEFGJN OULO DOGHGhJ 82=4          #' PGHH LNc OUJ gDJNOGCE YG[[JKJEOHRW =CJN 821 KJFJGSJ
#( GE[CKILOGCEd                                           #( FLHHN [KCI 82,d
#)         A2W X30X36B; 3_fJFOGCE GENC[LK LN OUJ          "N &' V1 7,1 >)-67>61* B9 @F&' 4 *)-X6 B18.1M1
#* LENPJK PCDHY GI^HGFLOJ LER HLP JE[CKFJIJEO             "% 4 >7- II 4 >7- 26761 1L7>689 A)= 6A19 >)-67>6 D2'
$+ ^KGSGHJVJY GE[CKILOGCEW 4DO RCD FLE LENPJKW            $+ ?W =C OUJR FCEOLFO RCD _R ^UCEJd
$#         85. T980.22; 8UJ NFKJJEGEV LVJEFR PGHH         $#          A2W X30X36B; 3_fJFOGCE GENC[LK LN LER
$$ FCEOLFO DN OUKCDVU LER CEJ C[ L EDI_JK C[ SLKGJOR C[   $$ LENPJK PCDHY GI^HGFLOJ 229W 9[ RCD OUGEc RCD FLE
                                                  ")$                                                       ")%
# IJLENW 8UJR ^KCSGYJ OUJ GE[CKILOGCE OULO OUJR           # LENPJK> RCD FLEW
$ _JHGJSJ OULO HJLYN OUJI OC _JHGJSJ OUJR ILR ULSJ        $          85. T980.22; 9 YCEZO _JHGJSJ 9 FLE
" JEFCDEOJKJY NCIJCEJW ,EY PJ OUJE FCI^LKJ OULO OC        " [DKOUJK N^JFG[R UCP OUJR FCEOLFO DNW
% GE[CKILOGCE GE 82=4W ,EY> GE NCIJ FLNJN> PJ FCI^LKJ     %          4B A/W ,44,2;
& OULO OC GE[CKILOGCE _JRCEY 82=4W 9O ILR JSJE FCIJ       &      ?W BCD OJNOG[GJY OULO NFKJJEGEV LVJEFGJN
' YCPE OC OUJ CKGVGELH YJKCVLOCKR GE[CKILOGCEW TJ ILR     ' FCEOLFO MM HJOZN OLHc L_CDO 14-W =CJN OUJ 14-
( ECO _J L_HJ OC NULKJ OULO PGOU OUJ NFKJJEGEV LVJEFRW    ( FCEOLFO 821 _R ^UCEJ PUJE GO _JHGJSJN OULO GO GN
) 4DO OUJKJ ILR _J GE[CKILOGCE OUJKJ OULO PJ FLE LNc      ) NFKJJEGEV L ^JKNCE PUC GN GE OUJ 82=4d
* gDJNOGCEN OC KDHJ GE CK KDHJ CDO OUJ GEYGSGYDLH         *          A2W X30X36B; 3_fJFOGCE GENC[LK LN OULO
#+ OULOZN _JJE JEFCDEOJKJYW ,EY PJ FLE ILcJ OUJ           #+ PCDHY FLHH [CK HLP JE[CKFJIJEO ^KGSGHJVJY
## YJFGNGCE LN OC PUJOUJK CK ECO PJ _JHGJSJ OUJ ^JKNCE    ## GE[CKILOGCEW BCD FLE LENPJK G[ RCD OUGEc RCD FLEW
#$ GN GYJEOGFLH OC OUJ ^JKNCE GE OUJ YLOL_LNJW            #$         85. T980.22; ,VLGE> PGOU 14- 9 YCEZO
#"          4B A/W ,44,2;                                 #" OUGEc 9 FLE VJO GEOC YJOLGHN L_CDO UCP OUJR> GE
#% ?W ,KJ OUJKJ MM GN OUJKJ YJYGFLOJY 821 NOL[[           #% ^LKOGFDHLK> FCEOLFO DNW 4DO OUJR YC FCEOLFO DNW
#& OULO LNNGNON KJFG^GJEON C[ 82=4 GE[CKILOGCE GE         #&         4B A/W ,44,2;
#' GYJEOGOR KJNCHDOGCE J[[CKONd                           #' ?W BCD FLEZO OJHH IJ PUJOUJK GO PLN _R ^UCEJ
"U &' 012'                                                #( CK _R JILGHd
#) ?W 5CP ILER 821 ^JKNCEN ^KCSGYJ KJFG^GJEON             #)         A2W X30X36B; 3_fJFOGCEW ,NcJY LEY
#* C[ 82=4 GE[CKILOGCE LNNGNOLEFJ PGOU GYJEOGOR           #* LENPJKJYW
$+ KJNCHDOGCE J[[CKONd                                    $+         4B A/W ,44,2;
$" &' 4 6A.-T 6A76 D-.6 A72 7KK,)L.+76189 ;?              $# ?W TUR FLEZO RCD OJHH IJ PUJOUJK OUJ 82 MM
$$ .-*.M.*D782'                                           $$ 14- FCEOLFON RCD _R ^UCEJ CK _R JILGHd
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14344
                       8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ                           ,. #+*) $% +**'

                                      1CEYDFOJY CE ALKFU #> $+#)
                                                  ")&                                                                 ")(
#           A2W X30X36B; 3_fJFOGCEW 1LHHN [CK HLP          # KJFCKYW 8UJ OGIJ GN ';%% ^WIW
$ JE[CKFJIJEO MM                                           $        `,O ';%% ^WIW> OUJ YJ^CNGOGCE PLN
"           A/W ,44,2; 9 PGOUYKLP OUJ gDJNOGCEW            " FCEFHDYJYWa
%           4B A/W ,44,2;                                  %
&      ?W 5LSJ RCD> AKW <KCU> LN LE J\JFDOCK C[ OUJ        &
'  8JKKCK  2FKJJEGEV 1JEOJK JSJK KJFCIIJEYJY KLGNGEV OUJ   '
( _LK [CK OUJ 82=4ZN GEFHDNGCE NOLEYLKYd                   (
)           A2W X30X36B; 3_fJFOGCEW ]LVDJW                 )
* 3_fJFOGCE GENC[LK LN OULO PCDHY FLHH [CK                 *
#+ YJHG_JKLOGSJ ^KCFJNN ^KGSGHJVJY GE[CKILOGCEW BCD        #+
## FLE LENPJK G[ RCD FLEW                                  ##
#$          85. T980.22; 9 ULSJ ECO ^JKNCELHHR             #$
#" LYSCFLOJY [CK FULEVGEV OUJ KJLNCEL_HJ NDN^GFGCE         #"
#% NOLEYLKYW                                               #%
#&          4B A/W ,44,2;                                  #&
#' ?W ,KJ RCD LPLKJ C[ LER ^KGCK IJI_JKN C[                #'
#( 821ZN J\JFDOGSJ HJLYJKNUG^ OJLI PUC ULSJ KJFCIIJEYJY    #(
#) KLGNGEV OUJ _LK [CK OUJ 82=4ZN GEFHDNGCE NOLEYLKYd      #)
#*          A2W X30X36B; 3_fJFOGCEW 9 OUGEc OULO           #*
$+ FLHHN [CK YJHG_JKLOGSJ ^KCFJNN> ^KCOJFOJY               $+
$# GE[CKILOGCEW 9[ RCD OUGEc OUJKJ GN L PLR OC LENPJK      $#
$$ PGOUCDO PLGSGEV OULO ^KGSGHJVJ> RCD FLEW                $$
                                                  ")'                                                                 "))
#          85. T980.22; 0C> 9 YCEZO OUGEc 9 FCDHY          #           ,1X03T6.=<A.08 37 =.-30.08
$  PLGSJ  OULOW BJLU> 9 OUGEc OUJ ^KGSGHJVJ L^^HGJNW       $
"          4B A/W ,44,2;                                   "
%      ?W 8PC IGEDOJNW 5LN 1ULKHJN XL_HJ MM LEY            %            9> 89A385B -W </35> YC UJKJ_R LFcECPHJYVJ
& OULOZN OUJ ELIJ C[ OUJ 8JKKCK 2FKJJEGEV 1JEOJK>          &    OULO 9 ULSJ KJLY LEY J\LIGEJY OUJ [CKJVCGEV
' KGVUOd                                                   '    OJNOGICER LEY OUJ NLIJ GN L OKDJ> FCKKJFO LEY
U      &' 46 .2 5A7,812 Z7B81'                             (    FCI^HJOJ OKLENFKG^OGCE C[ OUJ OJNOGICER VGSJE _R IJ
)      ?W 5LN 1ULKHJN XL_HJ JSJK KJFCIIJEYJY               )    LEY LER FCKKJFOGCEN L^^JLK CE OUJ LOOLFUJY JKKLOL
* KLGNGEV OUJ _LK [CK OUJ 82=4ZN GEFHDNGCE NOLEYLKYd       *    NUJJO NGVEJY _R IJW
#+         A2W X30X36B; 9 LI VCGEV OC C_fJFO OULO          #+
## OULO L^^JLKN OC FLHH [CK YJHG_JKLOGSJ ^KCFJNN           ##   mmmmmmmmmmmmmmmmmmmmmm mmmmmmmmmmmmmmmmmmmmmmm
#$ ^KGSGHJVJY GE[CKILOGCEW 9[ RCD OUGEc RCD FLE LENPJK     #$      `29<0,8@/.a        `=,8.a
#" PGOUCDO PLGSGEV OULO ^KGSGHJVJ> RCD FLEW                #"
#%         85. T980.22; 9 YC ECOW                          #%
#&         4B A/W ,44,2;                                   #&
#' ?W TUJE GN OUJ EJ\O IJJOGEV C[ OUJ TLOFU                #'
#( 6GNOGEV ,YSGNCKR 1CDEFGHd                               #(
"N &' V.6A.- 6A1 -1L6 6=) =11T2'                           #)
#*         A/W ,44,2; 1LE 9 FCIJd 9 OUGEc OULOZN           #*
$+ GOW TJ LKJ YCEJW 8ULEcN NC IDFUW 9 KJLHHR               $+
$# L^^KJFGLOJ GOW                                          $#
$$         85. ]9=.3</,-5./; TJ LKJ VCGEV C[[ OUJ          $$
                                           -6,0.8 =.-32
                              )))W%""W"('( b TTTW-6,0.8=.-32W13A
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                                     14345
                        8KLENFKG^O C[ 8GICOUR -W <KCU> =JNGVELOJY /J^KJNJEOLOGSJ   ,* #+*, $% +,('

                                       1CEYDFOJY CE ALKFU #> $+#)
                                                    ")*
#          1./89791,8. 37 038,/B -@4691
$
"          9> 1LKHL 6W ,EYKJPN> OUJ C[[GFJK _J[CKJ
% PUCI OUJ [CKJVCGEV YJ^CNGOGCE PLN OLcJE> YC UJKJ_R
& FJKOG[R OULO OUJ PGOEJNN> PUCNJ OJNOGICER L^^JLKN GE
' OUJ [CKJVCGEV YJ^CNGOGCE PLN YDHR NPCKE _R OUJ
( 0COLKR> OULO OUJ OJNOGICER C[ NLGY PGOEJNN PLN OLcJE
) _R IJ GE NOJECOR^J LEY OUJKJL[OJK KJYDFJY OC
* OR^JPKGOOJE [CKI DEYJK IR ND^JKSGNGCE> OULO NLGY
#+ YJ^CNGOGCE GN L OKDJ KJFCKY C[ OUJ OJNOGICER VGSJE
## _R NLGY PGOEJNNi OULO 9 LI EJGOUJK FCDENJH [CK>
#$ KJHLOJY OC> ECK JI^HCRJY _R LER C[ OUJ ^LKOGJN OC
#" OUJ LFOGCE GE PUGFU OUGN YJ^CNGOGCE PLN OLcJE> LEY
#% [DKOUJK OULO 9 LI ECO L KJHLOGSJ CK JI^HCRJJ C[ LER
#& LOOCKEJR CK FCDENJH JI^HCRJY _R OUJ ^LKOGJN OUJKJOC
#' ECK [GELEFGLHHR CK COUJKPGNJ GEOJKJNOJY GE OUJ
#( CDOFCIJ C[ OUJ LFOGCEW
#)
#*               mmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmmm
$+               1LKHL 6W ,EYKJPN> 0COLKR -D_HGF
$#               [CK OUJ =GNOKGFO C[ 1CHDI_GL
$$ AR 1CIIGNNGCE .\^GKJN; QLEDLKR #%> $+#*




                                            -6,0.8 =.-32
                               )))W%""W"('( b TTTW-6,0.8=.-32W13A
